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     PROPOSED ATTORNEYS FOR DEBTORS

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 In re:                                                     §     Chapter 11
                                                            §
 Corsicana Bedding, LLC, et al.,1                           §     Case No. 22-90016-elm11
                                                            §
 Debtors.                                                   §     Joint Administration Requested

     DEBTORS’ EMERGENCY MOTION FOR INTERIM AND FINAL ORDERS
  PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 364, 503 AND 507 (I) AUTHORIZING
 THE DEBTORS TO OBTAIN SENIOR SECURED SUPERPRIORITY POSTPETITION
 FINANCING; (II) GRANTING (A) LIENS AND SUPERPRIORITY ADMINISTRATIVE
      EXPENSE CLAIMS AND (B) ADEQUATE PROTECTION TO CERTAIN
 PREPETITION LENDERS; (III) AUTHORIZING USE OF CASH COLLATERAL; (IV)
    SCHEDULING A FINAL HEARING; AND (V) GRANTING RELATED RELIEF




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Corsicana Bedding, LLC (3019) (“Corsicana”); Thetford Leasing LLC (7227) (“Thetford”); Olive
 Branch Building, LLC (7227) (“Olive Branch”); Eastern Sleep Products Company (1185) (“Eastern Sleep”);
 Englander-Symbol Mattress of Mississippi, LLC (5490) (“Englander Symbol”); Hylton House Furniture, Inc. (5992)
 (“Hylton House”); Luuf, LLC (3450) (“Luuf”); Symbol Mattress of Florida, Inc. (4172) (“Symbol Florida”); Symbol
 Mattress of Pennsylvania, Inc. (3160) (“Symbol Pennsylvania”); Symbol Mattress of Wisconsin, Inc. (0871) (“Symbol
 Wisconsin”); Symbol Mattress Transportation, Inc. (1185) (“Symbol Transportation”); and Master Craft Sleep
 Products, Inc. (4961) (“Master Craft”). The location of the Debtors’ service address is P.O. Box 3233, Fort Worth,
 Texas 76113.



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            Corsicana Bedding, LLC and its debtor affiliates, as debtors and debtors-in-possession in

 the above-referenced chapter 11 cases (collectively, the “Debtors”) hereby file this Debtors’

 Emergency Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,

 364, 503 and 507 (I) Authorizing the Debtors to Obtain Senior Secured Superpriority Postpetition

 Financing; (II) Granting (A) Liens and Superpriority Administrative Expense Claims and (B)

 Adequate Protection to Certain Prepetition Lenders; (III) Authorizing Use Of Cash Collateral;

 (IV) Scheduling a Final Hearing; and (V) Granting Related Relief (the “Motion”). In support of

 the Motion, the Debtors respectfully state as follows:

                                              Preliminary Statement2

            1.        As described in greater detail in the First Day Declaration, the Debtors commenced

 these chapter 11 cases to effectuate a transaction with Blue Torch, or such other party that may

 emerge through the section 363 sale process, to implement an overall operational and financial

 restructuring. In furtherance of these goals, the Debtors propose to enter into two, separate DIP

 Facilities: (i) the DIP Revolver Facility pursuant to the terms of the Revolver DIP Agreement and

 (ii) the DIP Term Loan Facility pursuant to the terms of the Term DIP Term Loan Note.

            2.        The agreements with the DIP Secured Parties reflect the only terms under which

 the Debtors have been able to obtain the financing necessary to fund critical expenses, to provide

 the Debtors with an orderly transition into the Chapter 11 Cases, and to preserve the going-concern

 value of the Debtors.

            3.        The DIP Facilities provide the Debtors with the necessary liquidity to continue

 operating their business and fund the expenses of these Chapter 11 Cases by providing the Debtors




 2
     Terms not defined in this Preliminary Statement are defined elsewhere in this Motion.



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 with access to Cash Collateral and: (i) up to $40 million in DIP Revolving Commitments and (ii)

 term loans in an aggregate principal amount not to exceed $18 million under the DIP Term Loan.

          4.          The Debtors are at a critical juncture, and the DIP Facilities provide the necessary

 financing to allow the Debtors to preserve value for all stakeholders and pursue value maximizing

 transactions in these Chapter 11 Cases that will benefit the Debtors’ estates and creditors.

                                           Jurisdiction and Venue

          5.          The United States District Court for the Northern District of Texas (the “District

 Court”) has jurisdiction over the subject matter of this Motion pursuant to 28 U.S.C. § 1334. The

 District Court’s jurisdiction has been referred to this Court pursuant to 28 U.S.C. § 157 and the

 District Court’s Miscellaneous Order No. 33, Order of Reference of Bankruptcy Cases and

 Proceedings Nunc Pro Tunc dated August 3, 1984. This is a core matter pursuant to 28 U.S.C.

 § 157(b), which may be heard and finally determined by this Court. Venue is proper pursuant to

 28 U.S.C. §§ 1408 and 1409.

          6.          The statutory bases for the relief requested herein include sections 105, 361, 362,

 363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d), 364(e), 503 and 507 of Title 11 of the United States

 Code (the “Bankruptcy Code”), Rules 2002, 4001, 6004, and 9014 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 4001-2 of the Local Rules of the United

 States Bankruptcy Court for the Northern District of Texas (together, the “Local Rules”).

                                                 Background

          7.          On June 25, 2022 (the “Petition Date”), the Debtors each filed voluntary petitions

 for relief under chapter 11 of the Bankruptcy Code commencing the above captioned cases (the

 “Chapter 11 Cases”). The Debtors continue to manage and operate their businesses as debtors-in-

 possession pursuant to section 1107 and 1108 of the Bankruptcy Code.




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            8.        An official committee of unsecured creditors has yet to be appointed in these

 Chapter 11 Cases. No trustee or examiner has been requested or appointed in these Chapter 11

 Cases.

            9.        A detailed description of the Debtors and their businesses, and the facts and

 circumstances supporting the Motion and the Debtors’ Chapter 11 Cases are set forth in the

 Declaration of Michael Juniper in Support of the Debtors’ Chapter 11 Petitions and First Day

 Motions (the “First Day Declaration”),3 which was filed on the Petition Date and is incorporated

 by reference in this Motion, and the Declaration of Michael Juniper in Support of Debtors’

 Emergency Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,

 364, 503 and 507 (I) Authorizing the Debtors to Obtain Senior Secured Superpriority Postpetition

 Financing; (II) Granting (A) Liens and Superpriority Administrative Expense Claims and (B)

 Adequate Protection to Certain Prepetition Lenders; (III) Authorizing Use Of Cash Collateral;

 (IV) Scheduling a Final Hearing; and (V) Granting Related Relief (the “Juniper DIP Declaration”),

 which is attached hereto as Exhibit 1.

                                                   Relief Requested

            10.       The Debtors request the entry of an interim order, substantially in the form attached

 hereto as Exhibit 2 (the “Interim Order”) and a final order (the “Final Order”), authorizing and

 approving the Debtors to obtain postpetition financing pursuant to section 363 and 364 of the

 Bankruptcy Code by entering into (a) a senior secured postpetition debtor-in-possession asset-

 based revolving credit facility in the aggregate principal amount (subject to availability) of up to

 $40 million provided by Wingspire Capital LLC (“Wingspire”), as administrative agent, and the

 lenders from time to time party to the Revolver DIP Agreement (as defined herein) and (b) a senior


 3
     Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Juniper Declaration.



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 secured postpetition debtor-in-possession term loan facility in the aggregate principal amount of

 up to $18 million4 provided by the lenders from time to time party to the DIP Term Loan Note (as

 defined herein); (c) granting adequate protection to the Prepetition Secured Parties (as defined

 herein); (d) granting liens and providing super-priority claims with respect to such postpetition

 financing; (e) authorizing the Debtors to use cash collateral of the Preptition Secured Parties (the

 “Cash Collateral”) on an interim basis in accordance with the budget attached to the Interim Order

 as Exhibit C (the “Initial Budget”) which reflects the Debtors’ anticipated cash receipts and

 anticipated disbursements for each calendar week during the period from the Petition Date through

 and including the end of the thirteenth (13th) calendar week following the Petition Date (the Initial

 Budget and each subsequent budget approved by the DIP Agents and then in effect, the “Approved

 Budget”); (f) modifying the automatic stay to the extent necessary to effectuate the terms and

 conditions of the Interim Order and the Final Order; (g) scheduling a final hearing (the “Final

 Hearing”) on the Motion no later than thirty (30) days after the Petition Date; and (h) granting

 related relief.

                      Concise Statement of the Material Terms of the Interim Order

           11.        In accordance with Bankruptcy Rule 4001, below is a summary of the material

 proposed terms of the DIP Facility and the Debtors’ use of Cash Collateral.5

                               Summary of Material Terms                                              Location
     Borrowers          DIP Revolver Facility:                                                 Interim Order, ¶¶
                                                                                               (1)(a)–(b)
                        Corsicana Bedding, LLC
                        Eastern Sleep Products Company                                         Revolver DIP
                                                                                               Agreement, preamble


 4
  Inclusive of $3 million of Protective Advances (as defined in the Prepetition Term Loan Agreement) made by the
 Prepetition Term Loan Lenders on June 7, 2022 to provide the Debtors with necessary working capital to avoid
 immediate and irreparable harm pending the preparation for and commencement of these Chapter 11 Cases.
 5
   To the extent the terms and conditions listed herein conflict or are inconsistent with those in the Interim Order, the
 terms and conditions of the Interim Order shall control. All terms not otherwise defined below shall have the meanings
 ascribed to them in the Interim Order.



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                             Summary of Material Terms                                               Location
                      DIP Term Loan Facility:                                                  DIP Term Loan Note,
                                                                                               preamble
                      Corsicana Bedding, LLC

  Guarantors          DIP Revolver Facility:                                                   Revolver DIP
                                                                                               Agreement, preamble,
                      Corsicana Parent Co., LLC                                                § 1.1
                      Chesterfield Landco, L.L.C.
                      Eastern Sleep-Fort Wayne, LLC                                            DIP Term Loan Note,
                      Eastern Sleep-Poinciana, LLC                                             preamble
                      Englander-Symbol Mattress of Mississippi, LLC
                      Hylton House Furniture, Inc.
                      Master Craft Sleep Products, Inc.
                      Olive Branch Building, LLC
                      Symbol Mattress – Las Vegas, LLC
                      Symbol Mattress of Florida, Inc.
                      Symbol Mattress of Pennsylvania, Inc.
                      Symbol Mattress of Wisconsin, Inc.
                      Symbol Mattress Transportation, Inc.
                      Thetford Leasing, LLC

                      DIP Term Loan Facility:

                      Each of the Debtors other than Corsicana Bedding, LLC.

  Purpose             Both DIP Facilities                                                      Interim Order, ¶ (4)

                      The proceeds of the DIP Facilities shall be used to: (A) pay costs,      Revolver DIP
                      premiums, fees, and expenses related to the Chapter 11 Cases and         Agreement, § 6.8
                      in connection with the DIP Facilities; (B) immediately use
                      borrowings under the DIP Revolver Facility to fully repay the            DIP Term Loan Note,
                      Prepetition ABL Obligations and borrowings under the DIP Term            § 1(d)
                      Loan Facility to repay the Protective Advances (as each are defined
                      in the Interim Order); (C) make permitted adequate protection
                      payments in respect of the Prepetition Obligations (as defined
                      Interim Order) as provided for in the Interim Order and the
                      Approved Budget; and (D) provide financing for working capital
                      and for other general corporate purposes of the Debtors in
                      accordance with the Approved Budget.

  Amount              DIP Revolver Facility:                                                   Interim Order, ¶¶
                                                                                               (1)(a)–(b)
                      The DIP Revolver Facility consists of a senior secured super-priority
                      asset-based revolving credit facility (the “DIP Revolver Facility”) in   Revolver DIP
                      an aggregate principal amount (subject to availability) of up to $40     Agreement, Recitals ¶
                      million in revolving commitments available for borrowing by the          E
                      Borrowers subject to the applicable Borrowing Base (as defined in
                      the Revolver DIP Agreement) (such commitments, the “DIP                  DIP Term Loan Note,
                      Revolving Commitments,” and the loans outstanding under any of           § 1(a)
                      the DIP Revolving Commitments from time to time, collectively, the
                      “DIP Revolving Loans”).




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                                Summary of Material Terms                                             Location
                         DIP Term Loan Facility:

                         The DIP Term Loan Facility consists of a senior secured super-
                         priority term loan facility (the “DIP Term Loan Facility,” and,
                         together with the DIP Revolver Facility, collectively, the “DIP
                         Facilities”) in an aggregate principal amount of up to $18 million 6
                         which shall be available as term loans (the “DIP Term Loans,” and,
                         together with the DIP Revolving Loans, the “DIP Loans”) to the
                         Borrowers (as defined in the DIP Term Loan Note) upon entry of
                         the Interim Order and satisfaction of the other conditions set forth
                         in the DIP Term Loan Note in an interim amount not to exceed
                         $9,750,000, which amount is inclusive of the $3,000,000 Protective
                         Advances (as defined in the Interim Order) (the “Interim DIP Term
                         Loan”), prior to entry of the Final Order, and the remainder of the
                         DIP Term Loans available upon entry of the Final Order and
                         satisfaction of the other conditions set forth in the DIP Term Loan
                         Note.

     DIP Agents and      Agent to the DIP Revolver Facility:                                    Interim Order, ¶¶
     Lenders                                                                                    (1)(a)–(b)
                         Wingspire Capital LLC (“Wingspire”), as administrative agent (in
                         such capacity, the “DIP Revolver Administrative Agent).”               Revolver DIP
                                                                                                Agreement, preamble
                         DIP Revolver Lenders:
                                                                                                DIP Term Loan Note,
                         Wingspire and the lenders from time to time party to the Revolver      preamble
                         DIP Agreement (in such capacity, the “DIP Revolver Lenders,” and
                         together with the DIP Revolver Administrative Agent, the “DIP
                         Revolver Secured Parties”).

                         Agent to the DIP Term Loan Facility:

                         Blue Torch Finance, LLC (“Blue Torch”), as administrative agent
                         and collateral agent (in such capacities, the “DIP Term
                         Administrative Agent,” and together with the DIP Revolver
                         Administrative Agent, the “DIP Agents”)).

                         DIP Term Lenders:

                         The lenders from time to time party to the DIP Term Loan Note
                         (the “DIP Term Lenders,” and, together with the DIP Term
                         Administrative Agent, the “DIP Term Secured Parties,” and the
                         DIP Term Lenders, together with the DIP Revolver Lenders, the
                         “DIP Lenders,” and the DIP Lenders, together with the DIP Agents,
                         collectively, the “DIP Secured Parties”), including:

                         Lenders:
                                    BTC Holdings Fund II LLC
                                    BTC Holdings SBAF Fund LLC
                                    BTC Holdings KRS Fund LLC
                                    BTC Offshore Holdings Fund II-B LLC
                                    BTC Holdings SC Fund LLC

 6
     See supra note 4.



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                               Summary of Material Terms                                              Location
                               Swiss Capital BTC OL Private Debt Offshore SP, a
                               Segregated Portfolio of Swiss Capital Private Debt
                               (Offshore) Funds SPC
                               Swiss Capital BTC OL Private Debt Fund L.P.

                      Protective Advance Holders
                               Blue Torch Credit Opportunities SBAF Fund LP
                               Blue Torch Credit Opportunities SC Master Fund LP
                               Blue Torch Offshore Credit Opportunities Master Fund II
                               LP
                               Blue Torch Credit Opportunities KRS Fund LP
                               Swiss Capital BTC OL Private Debt Offshore SP, a
                               Segregated Portfolio of Swiss Capital Private Debt
                               (Offshore) Funds SPC
                               Swiss Capital BTC OL Private Debt Fund L.P.

     Interest Rate    DIP Revolver Facility:                                                    Revolver DIP
                                                                                                Agreement, § 3.1(a)
                      Alternate Base Rate7 + 3.75%
                                                                                                DIP Term Loan Note,
                      DIP Term Loan Facility:                                                   § 4(a)

                      Adjusted Term SOFR8 + 9.00%

     Maturity         DIP Revolver Facility:                                                    Interim Order, § 3.1

                      The DIP Revolver Facility and the Debtors’ authorization to use the       Revolver DIP
                      proceeds of the DIP Revolving Loans will terminate upon the earliest      Agreement, § 1.1
                      to occur of:                                                              (defining “Maturity
                                                                                                Date”)
                      (a) October 23, 2022, or if such date is not a Business Day, the
                      immediately following Business Day,                                       DIP Term Loan Note,
                                                                                                § 18 (defining
                      (b) July 30, 2022, if the Final Order has not been entered by the Court   “Maturity Date”)
                      on or prior to such date, or if such date is not a Business Day, the
                      immediately following Business Day,

                      (c) the maturity date of the DIP Term Loan Facility,

                      (d) the date of the substantial consummation (as defined in section
                      1101(2) of the Bankruptcy Code) of a plan of reorganization that has
                      been confirmed by an order of the Bankruptcy Court,




 7
   Under the Revolver DIP Agreement, “Alternate Base Rate means, for any day, a rate per annum equal to the greatest
 of (a) the Prime Rate in effect on such day, and (b) the Federal Funds Effective Rate in effect on such day plus 0.50%
 per annum, provided that the Alternate Base Rate shall at no time be less than 1.00% per annum. Any change in the
 Alternate Base Rate due to a change in the Prime Rate or the Federal Funds Effective Rate shall be effective from and
 including the effective date of such change in the Prime Rate or the Federal Funds Effective Rate.” Revolver DIP
 Agreement, § 1.1.
 8
  Under the DIP Term Loan Note, “Adjusted Term SOFR means, for purposes of any calculation, the rate per annum
 equal to (a) Term SOFR for such calculation plus (b) the Term SOFR Adjustment.” DIP Term Loan Note, § 18(a).



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                               Summary of Material Terms                                         Location
                      (e) the date of termination of all of the Revolving Commitments
                      pursuant to Section 2.3 of the Revolver DIP Agreement,

                      (f) the date on which the Obligations become due and payable
                      pursuant to this Agreement, whether by acceleration or otherwise,

                      (g) the date of consummation of a sale of all or substantially all of
                      the Debtors’ assets under section 363 of the Bankruptcy Code,

                      (h) the date of consummation of a sale of all or substantially all of
                      the Collateral under section 363 of the Bankruptcy Code,

                      (i) the date the Loan Parties’ file a motion seeking to convert any or
                      all of the Chapter 11 Cases to a case under chapter 7 of the
                      Bankruptcy Code,

                      (j) (i) the date of conversion of any of the Chapter 11 Cases to a case
                      under chapter 7 of the Bankruptcy Code or (ii) the appointment or
                      election of a trustee under Chapter 11 of the Bankruptcy Code or a
                      responsible officer or examiner with enlarged powers relating to the
                      operation of the Loan Parties’ business (powers beyond those set
                      forth in section 1106(a)(3) and (4) of the Bankruptcy Code) under
                      section 1106 of the Bankruptcy Code,

                      (k) the date the Loan Parties’ file a motion seeking a dismissal of any
                      or all of the Chapter 11 Cases, or

                      (l) the date of dismissal of any of the Chapter 11 Cases.

                      DIP Term Loan Facility:

                      The DIP Term Loan Facility and the Debtors’ authorization to use
                      the proceeds of the DIP Term Loans will terminate upon the earliest
                      to occur of

                      (i) October 23, 2022, or if such date is not a Business Day the
                      immediately following Business Day,

                      (ii) July 30, 2022, if the Final Order has not been entered by the
                      Bankruptcy Court on or prior to such date, or if such date is not a
                      Business Day the immediately following Business Day,

                      (iii) the consummation of a sale of all or substantially of the Debtors’
                      assets pursuant to the Sale Motion or otherwise;

                      (iv) the substantial consummation of a plan of reorganization filed in
                      the Chapter 11 Cases that is confirmed pursuant to an order of the
                      Bankruptcy Court, or

                      (v) the date on which the Term Loans are accelerated pursuant to
                      Section Error! Reference source not found. of the DIP Term Loan
                      Note.




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                             Summary of Material Terms                                                 Location
  Events of           Both DIP Facilities:                                                      Interim Order, §§ 3.1,
  Default                                                                                       3.2(a)–(b)
                      Each of the following shall constitute a “DIP Termination Event”
                      unless waived in writing by the applicable DIP Secured Parties and        Revolver DIP
                      in accordance with the applicable DIP Loan Documents:                     Agreement, § 8.1

                      (i) the occurrence of any “Event of Default” as that term is defined      DIP Term Loan Note,
                      in each of the DIP Loan Agreements;                                       § 16

                      (ii) any failure to meet or satisfy any Milestone in accordance with
                      the applicable DIP Loan Documents;

                      (iii) the occurrence of the “Maturity Date” as defined in each of the
                      DIP Term Loan Note and the Revolver DIP Agreement;

                      (iv) any material violation, breach, or default by any Debtor with
                      respect to any of its obligations under the Interim Order or the DIP
                      Loan Documents,

                      (v) the termination of the DIP Loan Documents, or the modification
                      of the DIP Loan Documents or the Interim Order in a manner adverse
                      to any of the DIP Secured Parties or the Prepetition Secured Parties
                      without the prior written consent of such party,

                      (vi) entry of any order authorizing any party in interest to reclaim
                      any of the DIP Collateral, granting any party in interest relief from
                      the automatic stay with respect to the DIP Collateral, or requiring
                      that Debtors turnover any of the DIP Collateral, in each case prior to
                      full, final and indefeasible repayment of all DIP Obligations and
                      Prepetition Obligations and with respect to DIP Collateral having
                      value in excess of $50,000;

                      (vii) conversion of any Chapter 11 Case to a case under chapter 7 of
                      the Bankruptcy Code;

                      (viii) a trustee is appointed or elected in any Chapter 11 Case, or an
                      examiner with the power to operate the Debtors’ businesses is
                      appointed in any Chapter 11 Case;

                      (ix) (A) with respect to the Debtors, commencement of an adversary
                      proceeding or contested matter objecting to the extent, validity or
                      priority of any Prepetition Obligations and/or the Prepetition Liens
                      and (B) with respect to any party in interest with standing (other than
                      the Debtors), commencement of such proceeding or matter to the
                      extent such proceeding or matter is not overruled by the Court or
                      dismissed within thirty (30) days;

                      (x) the date that is thirty-five (35) calendar days following the entry
                      of the Interim Order if a Final Order is not entered in form and
                      substance acceptable to the DIP Secured Parties and the Prepetition
                      Secured Parties by such date;




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                                Summary of Material Terms                                       Location
                      (xi) the date of the Final Hearing, if the Interim Order is modified at
                      the Final Hearing in a manner unacceptable to the DIP Secured
                      Parties or the Prepetition Secured Parties;

                      (xii) the Debtors shall withdraw the Sale Motion and/or propose an
                      alternative restructuring transaction, chapter 11 plan or course of
                      these Cases other than a sale of substantially all assets pursuant to
                      the Sale Motion (as defined in the Interim Order) (in any event, the
                      “New Approach”) that, in any case, does not provide for the
                      repayment in full, in cash, of the DIP Obligations substantially
                      contemporaneously with such withdrawal of the Sale Motion or
                      proposal of such New Approach; and

                      (xiii) any modification, amendment, vacatur or stay of the Interim
                      Order in any manner not consented to in writing by the DIP Agents
                      and the Prepetition Agents.

                      Prior to the payment in full of all Prepetition Obligations and all DIP
                      Obligations, any request by the Debtors with respect to the following
                      shall also constitute a DIP Termination Event:

                      (i) to obtain postpetition loans or other financial accommodations
                      pursuant to sections 364(c) or 364(d) of the Bankruptcy Code that
                      does not provide for the repayment in full of the DIP Obligations and
                      the Prepetition Obligations, other than as provided in the Interim
                      Order or as may be otherwise permitted pursuant to the DIP Loan
                      Documents;

                      (ii) to challenge the application of any payments authorized by the
                      Interim Order pursuant to section 506(b) of the Bankruptcy Code;
                      and

                      (iii) to propose or support any challenge pursuant to Section 4.1 of
                      the Interim Order, or any challenge by any party in interest seeking
                      to limit or prevent the DIP Secured Parties or the Prepetition Secured
                      Parties from exercising their credit bid rights in connection with the
                      sale of any assets of the Debtors; provided, that the Debtors’ response
                      to any information request by a party in interest shall not constitute
                      “support” of a challenge; or

                      (iv) to seek relief under the Bankruptcy Code, including, without
                      limitation, under section 105 of the Bankruptcy Code, to the extent
                      any such relief would restrict or impair (A) the rights and remedies
                      of any of the DIP Secured Parties or the Prepetition Secured Parties
                      against the Debtors as provided in the Interim Order, any of the DIP
                      Loan Documents, or any of the Prepetition Documents (B) the
                      exercise of such rights or remedies by any of the DIP Secured Parties
                      or the Prepetition Secured Parties against the Debtors in accordance
                      with the DIP Loan Documents, the Interim Order or the Prepetition
                      Documents; provided, however, that the DIP Agents and the
                      Prepetition Agents may otherwise consent in writing, but no such
                      consent shall be implied from any other action, inaction, or




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                               Summary of Material Terms                                              Location
                      acquiescence by the DIP Secured Parties and the Prepetition Secured
                      Parties.

                      It shall also be a DIP Termination Event if the Debtors propose or
                      support any chapter 11 plan or the sale of all or substantially all of
                      the Debtors’ assets (other than pursuant to the Sale Motion (as
                      defined in the Interim Order)), or seek entry of an order confirming
                      a chapter 11 plan or approving such non-conforming sale, that is not
                      conditioned upon the payment of the DIP Obligations, the Prepetition
                      Obligations and the Debtors’ obligations with respect to the
                      Adequate Protection granted hereunder, in full in cash, within a
                      commercially reasonable period of time, and in any event no later
                      than the effective date of such chapter 11 plan or sale, without the
                      written consent of the DIP Agents and the Prepetition Agents, as
                      applicable.

  Payment of DIP      DIP Revolver Facility:                                                   Interim Order, § 1.3(c)
  Fees                Unused Line Fee: 0.5% per annum on the average daily unused
                      amount of the Revolving Commitment (as defined in the Revolver           Revolver DIP
                      DIP Agreement).                                                          Agreement,§§ 2.5(e),
                                                                                               3.2
                      Exit Fee: Upon the Maturity Date, Borrowers shall pay an exit fee
                      of $800,000, which fee represents (i) two percent (2.0%) multiplied      DIP Term Loan Note,
                      by (ii) the aggregate amount of the Revolving Commitments on the         §8
                      Second Amendment Date.

                      Collection Day Fees: Additional interest that the Borrowers would
                      have paid in respect of the Revolving Loans, at the Alternate Base
                      Rate plus the Applicable Margin, as if each payment received
                      (whether in the form of cash, check or otherwise) which has been
                      presented for application to the Revolving Loans had not been
                      received in the Collections Account and credited to the Borrowers
                      until three Business Days after the Business Day that such payment
                      was actually received in the Collections Account.

                      DIP Term Loan Facility:
                      Facility Fee: 2.0% of the aggregate principal amount of the
                      Commitment, payable on the Closing Date (as such terms are defined
                      in the DIP Term Loan Note).

                      Agent Fee: $100,000 payable on the Closing Date (as defined in the
                      DIP Term Loan Note) and on the anniversary of the Closing Date.

                      Exit Fee: 2.0% of the aggregate principal amount of the
                      Commitments (as defined in the DIP Term Loan Note), payable on
                      the Maturity Date or such earlier date on which the DIP Term Loan
                      Obligations are paid in full.

  Payment of          Both DIP Facilities:                                                     Interim Order, §§
  Expenses                                                                                     2.4(c), 2.4(d), 5.15
                      The Debtors shall pay (i) the reasonable and documented fees and
                      expenses reimbursable under the DIP Facilities, the DIP Loan             Revolver DIP
                      Agreements, or the other DIP Loan Documents, as applicable,              Agreement, § 10.3(a)
                      whether incurred before or after the Petition Date and (ii) all
                      reasonable and documented out-of-pocket costs and expenses of the


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                      DIP Agents and the DIP Revolver Lenders including, without                 DIP Term Loan Note,
                      limitation, reasonable and documented fees and disbursements of            § 1(d)
                      counsel in connection with the enforcement or preservation of any
                      rights under the DIP Facilities, the DIP Loan Agreements, or the
                      other DIP Loan Documents. With respect to payment of fees and
                      expenses incurred from and after the Petition Date, the DIP Agents
                      and the DIP Revolver Lenders shall comply with the procedures set
                      forth in Section 2.4(d) of the Interim Order.

  Indemnity           Both DIP Facilities:                                                       Interim Order, ¶
  Obligations                                                                                    (E)(viii)
                      The Debtors shall indemnify and hold harmless the Prepetition
                      Secured Parties, the DIP Agents and the DIP Lenders in respect of          Revolver DIP
                      any claim or liability incurred in respect thereof or in any way related   Agreement, § 10.3(b)
                      thereto, provided that no such parties will be indemnified for any
                      cost, expense, or liability to the extent determined in a final, non-      DIP Term Loan Note,
                      appealable judgment of a court of competent jurisdiction to have           §9
                      resulted primarily from such parties’ gross negligence or willful
                      misconduct. No exception or defense exists in contract, law, or
                      equity as to any obligation set forth, as the case may be, in paragraph
                      E(viii) of the Interim Order, in the Prepetition Documents, or in the
                      DIP Loan Documents, to the Debtors’ obligation to indemnify and/or
                      hold harmless the Prepetition Secured Parties, the DIP Agents or the
                      DIP Lenders, as the case may be.

  DIP                 Both DIP Facilities                                                        Interim Order, § 2.2(a)
  Superpriority
  Claims              Subject to the priorities set forth on Exhibit E of the Interim Order      Revolver DIP
                      and the Carve Out, on account of all DIP Obligations now existing          Agreement, § 1.1
                      or hereafter arising pursuant to the Interim Order, the DIP Loan           (definition of
                      Documents, or otherwise, the DIP Agents, for the benefit of                “Adequate Protection
                      themselves and the DIP Lenders, will be granted allowed                    Superpriority Claim”)
                      superpriority administrative expense claims pursuant to section
                      364(c)(1) of the Bankruptcy Code, having priority in right of              DIP Term Loan Note,
                      payment over any and all other obligations, liabilities, and               § 11
                      indebtedness of the Debtors, whether now in existence or hereafter
                      incurred by the Debtors, and over any and all administrative
                      expenses or priority claims of the kind specified in, or ordered
                      pursuant to, inter alia, sections 105, 326, 328, 330, 331, 364(c)(1),
                      365, 503(b), 507(a), 507(b), 546(c), 1113, or 1114 of the Bankruptcy
                      Code, whether or not such expenses or claims may become secured
                      by a judgment lien or other non-consensual lien, levy, or attachment,
                      which allowed superpriority administrative claim shall be payable
                      from and have recourse to all prepetition and postpetition property
                      of the Debtors and all proceeds thereof (including, subject to entry
                      of the Final Order, proceeds of Avoidance Actions) (such
                      superpriority administrative expense claim as to the DIP Revolver
                      Facility, the “Revolver Superpriority Claim” and, as to such
                      superpriority administrative expense claim as to the DIP Term Loan
                      Facility, the “DIP Term Loan Superpriority Claim” and, collectively,
                      the “DIP Superpriority Claims”).

  DIP Priming         To secure performance and payment when due (whether at the stated          Interim Order, § 2.1
  Liens               maturity, by acceleration or otherwise) of any and all DIP
                      Obligations of the Debtors to the DIP Secured Parties of whatever


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                      kind, nature, or description, whether absolute or contingent, now           Revolver DIP
                      existing or hereafter arising, the DIP Agents, for the benefit of           Agreement, § 2.10
                      themselves and the DIP Lenders, are granted, effective as of the
                      Petition Date, continuing, valid, binding, enforceable, non-                DIP Term Loan Note,
                      avoidable, and automatically and properly perfected security                § 11
                      interests in and liens (such security interests and liens as to the DIP
                      Revolver Facility, the “Revolver DIP Liens” and, such security
                      interests and liens as to the DIP Term Loan Facility, the “DIP Term
                      Loan Liens,” and, collectively, the “DIP Liens”) in and upon all DIP
                      Collateral, subject to Permitted Liens and the rankings and priority
                      set forth in Section 2.1(b) of the Interim Order and as set forth on
                      Exhibit E of the Interim Order.

                      Revolver DIP Liens Rankings and Priority: The Revolver DIP
                      Liens on the DIP Collateral securing the DIP Revolver Obligations
                      shall be first and senior in priority to all other interests and liens of
                      every kind, nature, and description, whether created consensually, by
                      an order of the Court or otherwise, including, without limitation,
                      liens or security interests granted in favor of third parties in
                      conjunction with sections 363, 364, or any other section of the
                      Bankruptcy Code or other applicable law; provided, however, that
                      the Revolver DIP Liens on (A) the Prepetition ABL Priority
                      Collateral (whether in existence on the Petition Date or hereafter
                      arising) shall be subject to the Carve Out and Permitted Liens; (B)
                      the Prepetition Term Priority Collateral (whether in existence on the
                      Petition Date or hereafter arising) shall be subject to the Carve Out,
                      Permitted Liens, the DIP Term Loan Liens, the Prepetition Term
                      Loan Liens and the Prepetition Term Loan Adequate Protection
                      Liens; (C) assets of the Debtors (the “Non-Lender Encumbered
                      Assets”) that were subject to validly perfected liens or security
                      interests as of the Petition Date other than the Prepetition Liens (if
                      any, the “Non-Lender Existing Liens”) shall be subject
                      (notwithstanding anything in the Prepetition Intercreditor Agreement
                      to the contrary) to such Non-Lender Existing Liens, the Carve Out
                      and pari passu with the DIP Term Loan Liens; and (D) any other
                      assets of the Debtors (“Unencumbered Assets”) that were not subject
                      to any validly perfected liens or security interest as of the Petition
                      Date (including, subject to the entry of a Final Order, Avoidance
                      Proceeds) shall be subject (notwithstanding anything in the
                      Prepetition Intercreditor Agreement to the contrary) to the Carve Out
                      and pari passu with the DIP Term Loan Liens, in each case as such
                      priorities are set forth in Exhibit E of the Interim Order.

                      DIP Term Loan Liens Rankings and Priority: The DIP Term
                      Loan Liens on the DIP Collateral securing the DIP Term Loan
                      Obligations shall be first and senior in priority to all other interests
                      and liens of every kind, nature, and description, whether created
                      consensually, by an order of the Court or otherwise, including,
                      without limitation, liens or interests granted in favor of third parties
                      in conjunction with sections 363, 364, or any other section of the
                      Bankruptcy Code or other applicable law; provided, however, that
                      the DIP Term Loan Liens on (A) the Prepetition ABL Priority
                      Collateral (whether in existence on the Petition Date or hereafter
                      arising) shall be subject to the Carve Out, Permitted Liens, the
                      Revolver DIP Liens, the Prepetition ABL Liens and the Prepetition


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                      ABL Adequate Protection Liens (as defined in the Interim Order);
                      (B) the Prepetition Term Priority Collateral (whether in existence on
                      the Petition Date or hereafter arising) shall be subject to the Carve
                      Out and Permitted Liens; (C) the Non-Lender Encumbered Assets
                      shall be subject (notwithstanding anything in the Prepetition
                      Intercreditor Agreement to the contrary) to the Non-Lender Existing
                      Liens, the Carve Out and pari passu with the Revolver DIP Liens;
                      and (D) the Unencumbered Assets shall be subject (notwithstanding
                      anything in the Prepetition Intercreditor Agreement to the contrary)
                      to the Carve Out and pari passu with the Revolver DIP Liens, in each
                      case as such priorities are set forth in Exhibit E of the Interim Order.

  Automatic Stay      After expiration of the Remedies Notice Period, the automatic stay          Interim Order, § 3.4
  Waiver              provisions of section 362 of the Bankruptcy Code and any other
                      restriction imposed by an order of the Court or applicable law are
                      hereby modified without further notice, application, or order of the
                      Court to the extent necessary to (i) permit the DIP Agents and
                      Prepetition Agents to perform any act authorized or permitted under
                      or by virtue of the Interim Order, the DIP Loan Agreements, or the
                      other DIP Loan Documents, as applicable, including, without
                      limitation, (ii) to implement the postpetition financing arrangements
                      authorized by the Interim Order, (iii) to take any act to create,
                      validate, evidence, attach or perfect any lien, security interest, right
                      or claim in the DIP Collateral, (iv) to assess, charge, collect, advance,
                      deduct and receive payments with respect to the Prepetition
                      Obligations and DIP Obligations (or any portion thereof), including,
                      without limitation, all interests, fees, costs, and expenses permitted
                      under any of the DIP Loan Documents and apply such payments to
                      the Prepetition Obligations, and (v) subject to the Remedies Notice
                      Period, to take any action and exercise all rights and remedies
                      provided to it by the Interim Order, the DIP Loan Documents, or
                      applicable law.

  Adequate            DIP Revolver Facility:                                                      Interim Order, § 2.4(a)
  Protection
                      Prepetition ABL Adequate Protection Liens.

                      Prepetition ABL Adequate Protection Liens. The Prepetition ABL
                      Secured Parties are granted (effective and perfected upon the date of
                      the Interim Order and without the necessity of any Perfection Act (as
                      defined therein)) valid and perfected postpetition replacement
                      security interests in and liens upon the DIP Collateral (the
                      “Prepetition ABL Adequate Protection Liens”), which liens shall be,
                      with respect to: (A) the Prepetition ABL Priority Collateral (whether
                      in existence on the Petition Date or hereafter arising), subject and
                      subordinate solely to the Carve Out (as defined in the Interim Order),
                      Permitted Liens (as defined in the Interim Order), the Revolver DIP
                      Liens and the Prepetition ABL Liens; (B) the Prepetition Term
                      Priority Collateral (whether in existence on the Petition Date or
                      hereafter arising), subject and subordinate solely to the Carve Out,
                      Permitted Liens, the DIP Liens, the Prepetition Liens and the
                      Prepetition Term Loan Adequate Protection Liens; (C) the Non-
                      Lender Encumbered Assets, subject to the Non-Lender Existing
                      Liens, the Carve Out and the DIP Liens, and pari passu with the Term
                      Loan Adequate Protection Liens; and (D) Unencumbered Assets,


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                      subject to the Carve Out and the DIP Liens, and pari passu with the
                      Prepetition Term Loan Adequate Protection Liens, in each case as
                      such priorities are set forth in Exhibit E to the Interim Order.

                      Adequate Protection Payments. Subject to the Approved Budget, the
                      Debtors are authorized to pay to the Prepetition ABL Lenders on the
                      first business day of each calendar month after the entry of the
                      Interim Order, an amount equal to all accrued and unpaid prepetition
                      or postpetition interest (at the non-default rate), fees, and costs under
                      the Prepetition ABL Documents. For the avoidance of doubt, (a) no
                      payment of interest pursuant to section 2.4(a) of the Interim Order
                      shall be required so long as interest is being timely paid in respect of
                      the Revolver DIP Obligations, and (b) the payment of interest
                      pursuant to section 2.4(a) of the Interim Order shall be without
                      prejudice to the rights of the Prepetition ABL Secured Parties to
                      assert claims for payment of interest at the default rate in accordance
                      with the Prepetition Documents in the event of a successful
                      Challenge (as defined in the Interim Order) to the ABL Refinancing
                      (as defined herein).

                      DIP Term Loan Facility:

                      Prepetition Term Loan Adequate Protection Liens. The Prepetition
                      Term Loan Secured Parties are hereby granted (effective and
                      perfected upon the date of the Interim Order and without the
                      necessity of any Perfection Act (as defined therein)) valid and
                      perfected postpetition replacement security interests in and liens
                      upon the DIP Collateral (the “Prepetition Term Loan Adequate
                      Protection Liens” and, together with the Prepetition ABL Adequate
                      Protection Liens, the “Prepetition Secured Parties Adequate
                      Protection Liens”), which liens shall be, with respect to: (A) the
                      Prepetition ABL Priority Collateral (whether in existence on the
                      Petition Date or hereafter arising), subject and subordinate solely to
                      the Carve Out, Permitted Liens, the DIP Liens, the Prepetition Liens
                      and the Prepetition ABL Adequate Protection Liens; (B) the
                      Prepetition Term Priority Collateral (whether in existence on the
                      Petition Date or hereafter arising), subject and subordinate solely to
                      the Carve Out, Permitted Liens, the DIP Term Loan Liens and the
                      Prepetition Term Loan Liens; (C) the Non-Lender Encumbered
                      Assets, subject to the Non-Lender Existing Liens, the Carve Out and
                      the DIP Liens, and pari passu with the Prepetition ABL Adequate
                      Protection Liens; and (D) the Unencumbered Assets, subject to the
                      Carve Out and the DIP Liens, and pari passu with the Prepetition
                      ABL Adequate Protection Liens, in each case as such priorities are
                      set forth in Exhibit E to the Interim Order.

                      Both DIP Facilities:

                      Adequate Protection Superpriority Claims. The Prepetition Secured
                      Parties are granted allowed superpriority administrative expense
                      claims pursuant to sections 503(b), 507(a), and 507(b) of the
                      Bankruptcy Code (the “Prepetition Secured Parties Adequate
                      Protection Claims”), which shall be allowed claims against each of
                      the Debtors (jointly and severally), with priority (except as otherwise
                      provided in the Interim Order) over any and all administrative


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                      expenses and all other claims against the Debtors now existing or
                      hereafter arising, of any kind specified in sections 503(b) and 507(b)
                      of the Bankruptcy Code, and all other administrative expenses or
                      other claims arising under any other provision of the Bankruptcy
                      Code, including, without limitation, sections 105, 326, 327, 328, 330,
                      331, 365, 503(b), 507(a), 507(b), or 1114 of the Bankruptcy Code,
                      whether or not such expenses or claims may become secured by a
                      judgment lien or other nonconsensual lien, levy, or attachment. The
                      Prepetition Secured Parties Adequate Protection Claims shall be
                      payable from and have recourse to all pre- and post-petition property
                      of the Debtors, subject to the Carve Out, Permitted Liens and the
                      rankings and priorities set forth in Exhibit E to the Interim Order.

                      Financial Reporting. The Debtors shall timely provide the
                      Prepetition Secured Parties with (x) reasonable access to the
                      Debtors’ facilities, management, books, and records required under
                      the Prepetition Documents and (y) copies of all financial reporting
                      provided to the DIP Agent and DIP Lenders pursuant to the DIP Loan
                      Documents substantially simultaneously with such delivery to the
                      DIP Lenders. The Debtors are also directed to allow the Prepetition
                      Secured Parties (and their representatives and advisors), reasonable
                      access to all of the Debtors’ premises, information systems, facilities,
                      management, books, and records for the purpose of enabling
                      Prepetition Secured Parties to inspect, appraise and audit the DIP
                      Collateral.

  Roll Up             DIP Revolver Facility:                                                     Interim Order, §§
  Provisions                                                                                     1.4(a), (b)
                      Upon the entry of the Interim Order and the satisfaction or waiver of
                      all other closing conditions in the Revolver DIP Agreement, without        Revolver DIP
                      any further action by the Debtors, the Court or any other party, the       Agreement, § 1.1
                      Debtors shall be (i) authorized to immediately borrow under the            (definition of
                      Revolver DIP Agreement the full amount necessary to fully and              “Refinancing
                      immediately pay off in full all Prepetition ABL Obligations and (ii)       Indebtedness”)
                      subject to Section 4.1 hereof, deemed to have contemporaneously
                      fully repaid all Prepetition ABL Obligations (clauses (i) and (ii)         DIP Term Loan Note,
                      together, the “ABL Refinancing”).                                          § 1(b)

                      Moreover, as set forth in the Juniper DIP Declaration, in
                      consideration of the entry of the Interim Order authorizing the
                      payment of all Prepetition ABL Obligations with the proceeds of the
                      DIP Revolver Facility (x) the Prepetition ABL Lenders agreed to
                      waive any claims for interest at the Default Rate (as such term is
                      defined in the Prepetition ABL Credit Agreement), (y) the DIP
                      Revolver Lenders have agreed to reduce the Availability Block from
                      $8 million to $4 million so as to provide the Debtors with access to
                      significant additional working capital; and (z) the DIP Revolver
                      Lenders have agreed to defer payment of the Exit Fee required to be
                      paid under the Prepetition ABL Credit Agreement until the Maturity
                      Date of the DIP Revolver Facility.

                      DIP Term Loan Facility:

                      Upon the entry of the Interim Order and the satisfaction or waiver of
                      all other closing conditions in the DIP Term Loan Note, without any


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                      further action by the Debtors, the Court or any other party, the
                      Debtors shall be (i) authorized to immediately borrow under the DIP
                      Term Loan Note the full amount necessary to fully and immediately
                      pay off in full the Protective Advances and (ii) subject to Section 4.1
                      hereof, deemed to have contemporaneously fully repaid all
                      Protective Advances (clauses (i) and (ii) together, the “Protective
                      Advance Refinancing,” together with the ABL Refinancing, the
                      “Roll-Up Provisions”).

                      Moreover, as set forth in the Juniper DIP Declaration, in
                      consideration of the entry of the Interim Order authorizing the
                      repayment of the Protective Advances with the proceeds of the DIP
                      Term Loan Facility, the Prepetition Term Loan Secured Parties
                      agreed to waive any claims for interest at the Default Rate (as such
                      term is defined in the Prepetition Term Loan Agreement) on $3
                      million of Prepetition Term Loan Obligations.

  506(c)              Both DIP Facilities:                                                      Interim Order, § 5.11
  Surcharge
  Waiver              Except as otherwise set forth therein, upon entry of the Interim
                      Order, no costs or expenses of administration which have been or
                      may be incurred in these Chapter 11 Cases at any time (including,
                      without limitation, any costs and expenses incurred in connection
                      with the preservation, protection, or enhancement of value by the
                      DIP Agents or the DIP Lenders upon the DIP Collateral, or by the
                      Prepetition Secured Parties upon the Prepetition Collateral, as
                      applicable) shall be charged against any of the DIP Agents, DIP
                      Lenders, or (subject to entry of the Final Order) the Prepetition
                      Secured Parties, or any of the DIP Obligations or Prepetition
                      Obligations or the DIP Collateral or the Prepetition Collateral
                      pursuant to sections 105 or 506(c) of the Bankruptcy Code or
                      otherwise without the prior express written consent of the affected
                      DIP Secured Parties and/or affected Prepetition Secured Parties, in
                      their sole discretion, and no such consent shall be implied, directly
                      or indirectly, from any other action, inaction, or acquiescence by any
                      such agents or creditors (including, without limitation, consent to the
                      Carve Out or the approval of any budget hereunder).

  Release of          Subject to Section 4.1 of the Interim Order, each of the Debtors, their   Interim Order, § 5.17
  Claims              Estates and the Prepetition Obligors, on their own behalf and on
                      behalf of each of their past, present and future predecessors,
                      successors, heirs, subsidiaries, and assigns, hereby forever,
                      unconditionally, permanently, and irrevocably release, discharge,
                      and acquit each of the DIP Secured Parties and the Prepetition
                      Secured Parties, and (in such capacity) each of their respective
                      successors, assigns, affiliates, parents, subsidiaries, partners,
                      controlling persons, representatives, agents, attorneys, advisors,
                      financial advisors, consultants, professionals, officers, directors,
                      members, managers, shareholders, and employees, past, present and
                      future, and their respective heirs, predecessors, successors and
                      assigns (collectively, the “Released Parties”) of and from any and all
                      claims, controversies, disputes, liabilities, obligations, demands,
                      damages, expenses (including, without limitation, attorneys’ fees),
                      debts, liens, actions, and causes of action of any and every nature
                      whatsoever, whether arising in law or otherwise, and whether known


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                      or unknown, matured or contingent, arising under, in connection
                      with, or relating to (i) the Prepetition Obligations and the DIP
                      Facilities or (ii) the DIP Loan Documents and the Prepetition
                      Documents, as applicable, including, without limitation, (a) any so-
                      called “lender liability” or equitable subordination claims or
                      defenses, (b) any and all “claims” (as defined in the Bankruptcy
                      Code) and causes of action arising under the Bankruptcy Code, and
                      (c) any and all offsets, defenses, claims, counterclaims, set off rights,
                      objections, challenges, causes of action, and/or choses in action of
                      any kind or nature whatsoever, whether arising at law or in equity,
                      including any recharacterization, recoupment, subordination,
                      avoidance, or other claim or cause of action arising under or pursuant
                      to section 105 or chapter 5 of the Bankruptcy Code or under any other
                      similar provisions of applicable state, federal, or foreign law,
                      including, without limitation, any right to assert any disgorgement or
                      recovery, in each case, with respect to the extent, amount, validity,
                      enforceability, priority, security, and perfection of any of the
                      Prepetition Obligations and the DIP Obligations, the Prepetition
                      Documents and the DIP Loan Documents, or the Prepetition Liens
                      and the DIP Liens, and further waive and release any defense, right
                      of counterclaim, right of setoff, or deduction to the payment of the
                      Prepetition Obligations and the DIP Obligations that the Debtors
                      now have or may claim to have against the Released Parties, arising
                      under, in connection with, based upon, or related to any and all acts,
                      omissions, conduct undertaken, or events occurring prior to entry of
                      the Interim Order. The Debtors are authorized in any payoff letter or
                      similar agreement into which they enter upon payment in full of any
                      DIP Obligations to provide a waiver and release substantially similar
                      to the waiver and release set forth in section 5.17 of the Interim Order
                      of the applicable DIP Agent(s) and the applicable DIP Lenders and
                      their respective related parties.

  Remedies            Both DIP Facilities:                                                        Interim Order, § 3.3

                      Upon the expiration of five (5) Business Days following the delivery
                      of a written notice by any DIP Agent or Prepetition Agent, as
                      applicable, of the occurrence of and during the continuance of a DIP
                      Termination Event (the “Remedies Notice Period”), (a) the DIP
                      Agents shall each be entitled to independently take any act or
                      exercise any right or remedy as provided in the Interim Order or any
                      DIP Loan Document, as applicable, including, without limitation, (i)
                      declare all DIP Obligations owing under their respective DIP Loan
                      Documents to be immediately due and payable; (ii) terminate,
                      reduce, or restrict any commitment to extend additional credit to the
                      Debtors to the extent any such commitment remains; (iii) terminate
                      the DIP Facilities and any DIP Loan Document as to any future
                      liability or obligation of the DIP Secured Parties, but without
                      affecting any of the DIP Obligations or the DIP Liens securing the
                      DIP Obligations; (iv) invoke the right to charge interest at the default
                      rate under the DIP Loan Documents; and/or (v) stop lending; and (b)
                      the Prepetition Agents shall (i) be entitled to terminate and/or revoke
                      the Debtors’ right, if any, under the Interim Order and the other DIP
                      Loan Documents to use any Cash Collateral and all such authority to
                      use Cash Collateral shall cease and (ii) each have automatic and
                      immediate relief from the automatic stay with respect to the


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                      Prepetition Collateral (without regard to the passage of time provided
                      for in Fed. R. Bankr. P. 4001(a)(3)), and shall be entitled to exercise
                      all rights and remedies available under the Prepetition Documents
                      and applicable non-bankruptcy law (subject to the Prepetition
                      Intercreditor Agreement). For the avoidance of doubt,
                      notwithstanding the foregoing, during the Remedies Notice Period,
                      the Debtors (x) may not borrow under the DIP Revolver Facility or
                      make any Withdrawal from the Escrow Account (as those terms are
                      defined in the Interim Order), and (y) may use Cash Collateral solely
                      in amounts necessary to avoid immediate and irreparable harm to the
                      Debtors’ Estates (including funding payroll and paying other
                      administrative expenses) all in accordance with the Interim Order
                      and the Approved Budget, or that have otherwise been approved in
                      advance in writing by the DIP Secured Parties.
  Credit Bid          Both DIP Facilities:                                                      Interim Order, § 5.14
  Rights
                      The Debtors acknowledge and agree that, pursuant to Section 363(k)
                      of the Bankruptcy Code and subject to the Prepetition Intercreditor
                      Agreement, each of the DIP Revolver Secured Parties, Prepetition
                      ABL Secured Parties, the DIP Term Secured Parties and the
                      Prepetition Term Loan Secured Parties shall have the right to credit
                      bid the full amount of the DIP Revolver Obligations, the Prepetition
                      ABL Obligations, the DIP Term Loan Obligations and the
                      Prepetition Term Loan Obligations, respectively, in connection with
                      any sale of the Debtors’ assets pursuant to the Sale Motion or
                      otherwise.

  Milestones          Both DIP Facilities:                                                      Interim Order, Ex. D

                      The Milestones are set forth in Exhibit D to the Interim Order, as        Revolver DIP
                      follows:                                                                  Agreement, § 6.18,
                                                                                                Schedule 6.18
                      (i) No later than three (3) Business Days after the Petition Date, the
                      Interim Order approving the DIP Facilities and the adequate               DIP Term Loan Note,
                      protection of the Prepetition Liens shall be entered by the Court;        § 14(h)

                      (ii) No later than three (3) Business Days following the Petition Date,
                      the Debtors shall file the Sale Motion (as defined in the Interim
                      Order), which motion shall be in form and substance reasonably
                      acceptable to the DIP Agents;

                      (iii) No later than thirty-five (35) days after the Petition Date, the
                      Final Order approving the DIP Facilities and the adequate protection
                      of the Prepetition Liens shall be entered by the Court;

                      (iv) No later than thirty-five (35) days after the Petition Date the
                      Court shall have entered an order approving bid and auction
                      procedures, in form and substance reasonably acceptable to the DIP
                      Secured Parties;

                      (v) If the asset purchase agreement provided by the stalking horse
                      bidder in connection with the Sale Motion does not provide for the
                      payment in full in cash of the DIP Revolver Facility (and the
                      Prepetition ABL Facility to the extent any amounts remain due and



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                                 Summary of Material Terms                                                Location
                        owing thereunder), than the later of 50 days after the Petition Date or
                        3 Business Days prior to the deadline for objecting to the approval
                        of the sale of all or substantially all of the Debtors’ assets, the
                        stalking horse bidder shall have provided a commitment letter for
                        replacement/refinancing of the DIP Revolver Facility (and the
                        Prepetition ABL Facility to the extent any amounts remain due and
                        owing thereunder), in form and substance reasonably acceptable to
                        the DIP Revolver Administrative Agent and DIP Revolver Lenders.
                        For the avoidance of doubt, Wingspire may provide such
                        commitment letter;

                        (vi) No later than sixty (60) days after the Petition Date the Court
                        shall have entered one or more orders authorizing and approving the
                        sale of all or substantially all of the Debtors’ assets pursuant to one
                        or a series of related or unrelated transactions, and such order(s) shall
                        be in a form and substance reasonably acceptable to the DIP Secured
                        Parties; and

                        (vii) No later than seventy-five (75) days after the Petition Date, the
                        approved sale(s) of all or substantially all of the Debtors’ assets shall
                        have been consummated.

  Cash Collateral       Entities with an Interest in Cash Collateral:                               Interim Order, ¶ (E)

                        The Prepetition ABL Secured Parties have a first lien on the Cash
                        Collateral.

                        The Prepetition Term Loan Secured Parties have a second lien on the
                        Cash Collateral.

                        Purposes for the Use of Cash Collateral:                                    Interim Order, ¶ (F)

                        The Debtors have an immediate need to obtain the postpetition
                        financing and to use Cash Collateral as set forth in the Interim Order
                        to, among other things, permit the orderly continuation of the
                        operation and maintenance of their businesses, minimize the
                        disruption of their business operations and other efforts and activities
                        and preserve and maximize the value of the assets of the Debtors’
                        Estates to maximize the recovery to all creditors of the Estates.

                                             Basis for Relief Requested

   I.     The Debtors’ Prepetition Indebtedness

          A.          ABL Facility

          12.         Corsicana Bedding, LLC (“Corsicana”), and certain of its affiliates designated

 therein, as borrowers, Corsicana Parent Co., LLC, designated as “Holdings” thereunder, certain

 other parties (including, without limitation, Holdings) designated as “Guarantors” thereto (such




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 parties, collectively, the “Prepetition ABL Obligors”), the financial institutions from time to time

 party thereto (collectively, the “Prepetition ABL Lenders”), and Wingspire, as administrative

 agent (in such capacity, the “Prepetition ABL Agent”), are parties to that certain Credit Agreement,

 dated as of April 28, 2021 (as amended, restated, amended and restated, supplemented, or

 otherwise modified from time to time, the “Prepetition ABL Credit Agreement” and, together with

 all other agreements, documents, and instruments executed and/or delivered with, to or in favor of

 the Prepetition ABL Agent and the Prepetition ABL Lenders, including, without limitation, all

 security agreements, deposit account control agreements (including, without limitation, the

 Control Agreements (as defined below)), control agreements, notes, guarantees, mortgages,

 Uniform Commercial Code financing statements, documents, and instruments, including any fee

 letters, executed and/or delivered in connection therewith or related thereto, the “Prepetition ABL

 Loan Documents”). The Prepetition ABL Credit Agreement provided the Prepetition ABL

 Obligors with an asset-based revolving credit facility (the “Prepetition ABL Facility”) with $40

 million of maximum aggregate availability to the borrowers thereunder, subject to a borrowing

 base (as reduced by reserves), as set forth in the Prepetition ABL Credit Agreement.

          13.         As of the Petition Date, approximately $18,545,929.18 in principal was outstanding

 under the Prepetition ABL Facility in the form of “Loans” (as defined under the Prepetition ABL

 Credit Agreement), plus interest accrued and accruing at the rates set forth in the Prepetition ABL

 Credit Agreement (together with any other amounts outstanding under the Prepetition ABL Loan

 Documents, including, without limitation, obligations in respect of fees, expenses, and indemnity

 the “Prepetition ABL Obligations”).9 The Prepetition ABL Agent and the Prepetition ABL

 Lenders are referred to collectively herein as the “Prepetition ABL Secured Parties.”


 9
  The defined term “Obligations” in the Prepetition ABL Credit Agreement means “the due and punctual payment and
 performance of all advances to, and debts, liabilities, obligations, covenants and duties of, any Loan Party [i.e., the


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          14.         As more specifically described in the various loan documents entered into in

 connection with the Prepetition ABL Facility, the Prepetition ABL Facility is secured by (a) first

 priority security interests in and liens (subject only to certain of the liens permitted under the

 Prepetition ABL Loan Documents) on certain of the Debtors’ property, including (i) all Accounts10

 (other than Accounts which constitute identifiable proceeds of Term Priority Collateral), (ii) all

 cash, money and cash equivalents (other than, in each instances, as set forth in the Prepetition

 Intercreditor Agreement), (iii) all Deposit Accounts, Securities Accounts and Commodity

 Accounts (other than, in each instance as set forth in the Prepetition Intercreditor Agreement), (iv)

 all Inventory, (v) to the extent evidencing or governing any of the items referred to in clauses (i)

 through (iv) above, all Documents, General Intangibles, Instruments, Chattel Paper, Commercial

 Tort Claims, Investment Property and Letter-of-Credit Rights (other than, in each instance as set

 forth in the Prepetition Intercreditor Agreement), (vi) ABL Intercompany Debt, certain payments

 constituting certain proceeds of ABL Priority Collateral and the ABL Secured Parties’ Business

 Interruption Insurance Percentage, (vii) all supporting obligations with respect to the ABL Priority

 Collateral (other than as set forth in the Prepetition Intercreditor Agreement), (viii) all books and

 records constituting ABL Priority Collateral, (ix) all collateral security and guarantees with respect

 to any of the items referred to in the preceding clauses (i) through (viii), and (x) all proceeds of




 Prepetition ABL Obligors] under or pursuant to each of the [Prepetition ABL] Loan Documents or otherwise with
 respect to any Loan [as defined under the Prepetition ABL Credit Agreement], including, without limitation all
 principal, interest, fees and other amounts payable under the [Prepetition ABL] Loan Documents, and all costs and
 expenses incurred in connection with enforcement and collection of the foregoing, including the fees, charges and
 disbursements of counsel, in each case whether direct or indirect (including those acquired by assumption), absolute
 or contingent, due or to become due, now existing or hereafter arising, and including interest, expenses and fees that
 accrue after the commencement by or against any Loan Party or any [affiliate] thereof of any proceeding under any
 [applicable bankruptcy and insolvency laws] naming such [person] as the debtor in such proceeding, regardless of
 whether such interest, expenses and fees are allowed in such proceeding.”
 10
   Capitalized terms used but not defined in this paragraph shall have the meanings ascribed to them in the Interim
 Order.



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 any of the items referred to in the preceding clauses (i) through (ix) (such property, whether now

 existing or hereafter arising or acquired, in clauses (i) through (ix), collectively, the “Prepetition

 ABL Priority Collateral”); and (b) second priority security interests in and liens on certain of the

 Debtors’ property, including (i) all Property of the Borrowers and Guarantors, whenever arising

 and wherever located, on which a Lien is granted as security for any Term Obligations and that

 does not constitute Prepetition ABL Priority Collateral, and (ii) goodwill (such property, whether

 now existing or hereafter arising or acquired, in clauses (i) and (ii) collectively, the “Prepetition

 Term Priority Collateral” and, together with the Prepetition ABL Priority Collateral, the

 “Prepetition Collateral” and, such liens and security interests in clauses (a) and (b), the “Prepetition

 ABL Liens”) provided further, that the Prepetition Collateral does not include, and the Prepetition

 ABL Obligations are not secured by, any Excluded Assets (as defined in the Prepetition

 Documents (as defined below)).

          B.          Term Obligations

          15.         Corsicana Bedding, as borrower, and certain of its affiliates designated therein as

 “Guarantors” (such parties, collectively, the “Prepetition Term Loan Obligors” and, together with

 the Prepetition ABL Obligors, the “Prepetition Obligors”), each “Lender” from time to time party

 thereto (collectively, the “Prepetition Term Loan Lenders” and, together with the Prepetition ABL

 Lenders, the “Prepetition Lenders”), and Blue Torch, as administrative agent and collateral agent

 (in such capacities, the “Prepetition Term Loan Agent” and, together with the Prepetition ABL

 Agent, the “Prepetition Agents”, and, the Prepetition Term Loan Agent together with the

 Prepetition Term Loan Lenders, the “Prepetition Term Loan Secured Parties” and, together with

 the Prepetition ABL Secured Parties, the “Prepetition Secured Parties”), are parties to that certain

 Financing Agreement, dated as of April 28, 2021 (as amended, restated, amended and restated,

 supplemented, or otherwise modified from time to time, the “Prepetition Term Loan Agreement”


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 and, together with all other agreements, documents, and instruments executed and/or delivered

 with, to or in favor of the Prepetition Term Loan Secured Parties, including, without limitation, all

 security agreements, deposit account control agreements (including, without limitation, the

 Control Agreements (as defined in the Interim order)), control agreements, notes, guarantees,

 mortgages, Uniform Commercial Code financing statements, documents, and instruments,

 including any fee letters, executed and/or delivered in connection therewith or related thereto, the

 “Prepetition Term Loan Documents” and, together with the Prepetition ABL Loan Documents, the

 “Prepetition Documents”). Pursuant to the Prepetition Term Loan Agreement, the Prepetition

 Term Loan Lenders made term loans in the aggregate principal amount of $128,500,000, exclusive

 of the Protective Advance (the “Prepetition Term Loans”).

          16.         As of the Petition Date, approximately $129,407,386.16 of indebtedness under the

 Prepetition Term Loan Agreement was outstanding, which amount includes the Applicable

 Premium (as such term is defined in the Prepetition Term Loan Agreement) in the amount of

 $2,512,717.34, capitalized interest in the amount of $161,419.83, and accrued and unpaid interest

 through the Petition Date in the amount of $1,097,382.22 (and, together with any other amounts

 outstanding under the Prepetition Term Loan Documents, including interest, fees, and expenses,

 the “Prepetition Term Loan Obligations” and, together with the Prepetition ABL Obligations, the

 “Prepetition Obligations”).

          17.         As more specifically described in the various loan documents entered into in

 connection with the Prepetition Term Loan Obligations, the Prepetition Term Loans are secured

 by (a) first priority security interests in and liens (subject only to certain of the liens permitted

 under the Prepetition Senior Note Documents) on the Prepetition Term Priority Collateral; and (b)

 second priority security interests in and liens on the Prepetition ABL Priority Collateral (such liens




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 and security interests in clauses (a) and (b), the “Prepetition Term Loan Liens” and, together with

 the Prepetition ABL Liens, the “Prepetition Liens”); provided, that the Prepetition Term

 Obligations are not secured by any Excluded Assets (as defined in the Prepetition Term Loan

 Documents).

          C.          Intercreditor Agreement

          18.         Wingspire, in its capacity as Prepetition ABL Agent, and Blue Torch, in its capacity

 as Prepetition Term Loan Agent, inter alia, are parties to that certain Intercreditor Agreement,

 dated as of April 28, 2021 (as amended, restated, supplemented or otherwise modified from time

 to time, the “Prepetition Intercreditor Agreement”). As more specifically set forth and defined in

 the Prepetition Intercreditor Agreement, (i) the Prepetition ABL Liens have (a) first priority with

 respect to the ABL Priority Collateral, which includes all Accounts, cash, money, and cash

 equivalents, and Inventory, among others and (b) second priority with respect to Term Priority

 Collateral, and (ii) the Prepetition Term Loan Liens have (a) first priority with respect to Term

 Priority Collateral, which includes the Equity Interests, Equipment, Real Estate, Fixtures, and

 Intellectual Property, among others and (b) second priority with respect to the ABL Priority

 Collateral.

          D.          Prepetition Collateral

          19.         To secure the Prepetition Obligations, the Debtors entered into certain guaranty and

 collateral agreements and certain other security documents governing the Prepetition Secured

 Parties’ respective security interests in the Prepetition Collateral (such agreements, as amended,

 restated, amended and restated, supplemented or otherwise modified from time to time, and

 together with any ancillary collateral documents, including, without limitation, any related

 mortgages and deeds of trust, the “Prepetition Collateral Documents”). Pursuant to the Prepetition

 Collateral Documents, and on the terms set forth therein and subject to the Prepetition Intercreditor


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 Agreement, the Debtors granted to the Prepetition Secured Parties the Prepetition Liens on the

 Prepetition Collateral.

  II.     The Debtors’ Immediate Need for Cash

          20.         The Debtors do not have sufficient liquidity, including Cash Collateral, to operate

 and maintain their businesses in the ordinary course of business without the financing requested

 in this Motion. The Debtors’ ability to maintain business relationships with their vendors,

 suppliers, and customers, to pay their employees, pay certain fees and expenses as set forth herein,

 and to otherwise fund their operations and other efforts and activities is essential to the Debtors’

 continued viability as the Debtors seek to maximize the value of the assets of the Estates (as

 defined in the Interim Order) for the benefit of all creditors of the Debtors. The ability of the

 Debtors to obtain sufficient working capital and liquidity through the proposed postpetition

 financing arrangements with the DIP Secured Parties and the use of Cash Collateral as set forth in

 the Interim Order, the DIP Loan Agreements and the other DIP Loan Documents, as applicable, is

 vital to the preservation and maintenance of the going concern value of each Debtor. Accordingly,

 the Debtors have an immediate need to obtain the postpetition financing and to use Cash Collateral

 as set forth in the Interim Order to, among other things, permit the orderly continuation of the

 operation and maintenance of their businesses, minimize the disruption of their business operations

 and other efforts and activities and preserve and maximize the value of the assets of the Debtors’

 Estates to maximize the recovery to all creditors of the Estates.

 III.     Events Leading to the Debtors’ Entry into the DIP Loan Agreements

          21.         As set forth in further detail in the First Day Declaration, the Debtors’ financial

 performance has been negatively impacted by an ongoing slump in the mattress industry, reduced

 consumer spending, and increased production costs. The Debtors have also faced internal

 obstacles and company-specific business challenges. Internal logistics obstacles and the Debtors’


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 overall capital structure have resulted in decreased productivity and revenues. The Debtors

 continue to experience sales levels below historical levels, resulting in further liquidity pressures.

 The Debtors’ revenue and profitability remain insufficient to support its debt service, working

 capital, and capital expenditures requirements.

          22.         Given the short amount of time between when the Debtors decided to pursue the

 filing of the Chapter 11 Cases and the Petition Date, the Debtors needed to act quickly to agree

 upon the terms of the DIP Facilities with their lenders. The DIP Lenders promptly responded to

 the Debtors’ request for term sheets regarding the terms of potential DIP financing during June

 2022. After extensive arm’s length negotiations, the Debtors chose to accept the DIP financing

 proposals from the DIP Lenders.

  IV.     The Proposed DIP Facilities

          23.         The Debtors are proposing two (2) debtor-in-possession financing facilities, which

 are summarized herein. After extended good faith, arm’s length negotiations, the DIP Lenders

 agreed to provide the DIP Facilities on the terms provided in the DIP Loan Documents and the

 Interim Order, which are summarized herein. The proceeds of the DIP Facilities, which the

 Debtors estimate will be sufficient to finance these Chapter 11 Cases, will be used to (a) pay costs,

 premiums, fees, and expenses related to Chapter 11 Cases and in connection with the DIP

 Facilities; (b) immediately use borrowings under the DIP Revolver Facility to fully repay the

 Prepetition ABL Obligations; (c) make permitted adequate protection payments in respect of the

 Prepetition Obligations as provided for in the Interim Order and the Approved Budget; and

 (d) provide financing for working capital and for other general corporate purposes of the Debtors.

          24.         The Debtors are unable to procure financing in the form of unsecured credit

 allowable as an administrative expense under sections 364(a), 364(b), or 503(b)(1) of the

 Bankruptcy Code or in exchange for the grant of a superpriority administrative expense, or liens


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 on property of the Estates not subject to a lien pursuant to sections 364(c)(1), 364(c)(2), or

 364(c)(3) of the Bankruptcy Code. As set forth herein, in the First Day Declaration, and in the

 Juniper DIP Declaration, it would be futile under the circumstances for the Debtors to undertake

 any further efforts to seek, and they would not obtain, the necessary postpetition financing, let

 alone on terms more favorable, taken as a whole, than the financing offered by each of the DIP

 Secured Parties pursuant to the DIP Loan Documents. The Debtors’ Prepetition Lenders would

 not consent to any priming liens being granted to third parties, and the Debtors do not have any

 significant unencumbered assets to which a non-priming lien could attached. In light of the

 foregoing, and considering the futility of all other alternatives, the Debtors have reasonably and

 properly concluded, in the exercise of their sound business judgment, that the DIP Facilities

 represent the best financing available to the Debtors at this time, and are in the best interests of the

 Debtors, their Estates, and all of their stakeholders.

          25.         The Debtors also considered that the DIP Agents, each of whom serves as the

 administrative agent under the Debtors’ prepetition secured credit agreements, have intimate

 knowledge of the Debtors’ business and capital structure, allowing the Debtors to efficiently

 negotiate and document the DIP Loan Agreements prior to the commencement of the Chapter 11

 Cases.

          26.         Additional information about the Debtors’ DIP Financing process can be found in

 the First Day Declaration and the Juniper DIP Declaration, which are incorporated herein by

 reference.

          A.          DIP Revolver Facility

          27.         The Prepetition ABL Secured Parties have committed to providing the DIP

 Revolver Facility, on the terms and conditions substantially in the form annexed to the Interim

 Order as Exhibit A (as the same may be amended, restated, amended and restated, supplemented,


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 waived, extended or otherwise modified from time to time, the “Revolver DIP Agreement,” and,

 together with any other related agreements, documents, security agreements, or pledge agreements,

 including the Interim Order and the Final Order (each as defined below), collectively, the

 “Revolver DIP Documents”), by and among the Borrowers (as defined in the Revolver DIP

 Documents), the Guarantors (as defined in the Revolver DIP Documents), the DIP Revolver

 Administrative Agent, and the DIP Revolver Lenders, in an aggregate principal amount (subject

 to availability) of up to $40 million in revolving commitments available for borrowing by the

 Borrowers.

          B.          DIP Term Loan Facility

          28.         The Prepetition Term Loan Secured Parties have committed to the DIP Term Loan

 Facility, on the terms and conditions substantially in the form annexed to the Interim Order as

 Exhibit B (as the same may be amended, restated, amended and restated, supplemented, waived,

 extended, or otherwise modified from time to time, the “DIP Term Loan Note,” and, together with

 the Revolver DIP Agreement, collectively, the “DIP Loan Agreements” and the DIP Term Loan

 Note, together with any other related agreements, documents, security agreements, or pledge

 agreements, including the Interim Order and the Final Order, collectively, the “DIP Term

 Documents,” and the DIP Term Documents, together with the Revolver DIP Documents, the “DIP

 Loan Documents”), by and among the Borrowers (as defined in the DIP Term Loan Note), the

 Guarantors (as defined in the DIP Term Loan Note), the DIP Term Administrative Agent, and the

 DIP Term Lenders, in an aggregate principal amount of up to $18 million11 in term loan

 commitments which shall be available as term loans to the Borrowers (as defined in the DIP Term



 11
    Inclusive of $3,000,000 of Protective Advances (as defined in the Prepetition Term Loan Agreement) made by the
 Prepetition Term Loan Lenders on June 7, 2022 to provide the Debtors with necessary working capital to avoid
 immediate and irreparable harm pending the preparation for and commencement of these Chapter 11 Cases.



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 Loan Note) upon entry of the Interim Order and satisfaction of the other conditions set forth therein

 in an interim amount not to exceed $9,750,000, which amount is inclusive of the $3,000,000

 Protective Advances, prior to entry of the Final Order, and the remainder of the DIP Term Loan

 Facility available upon entry of the Final Order to the extent set forth therein.

          C.          Roll-Up Provisions

          29.         The Debtors also seek authorization, immediately upon entry of the Interim Order,

 to be (i) authorized to immediately borrow under the Revolver DIP Agreement the full amount

 necessary to fully and immediately pay off in full all Prepetition ABL Obligations and (ii) subject

 to Section 4.1 of the Interim Order, deemed to have contemporaneously fully repaid all Prepetition

 ABL Obligations (clauses (i) and (ii) together, the “ABL Refinancing”). The full and immediate

 payoff of the Prepetition ABL Obligations with the proceeds of borrowings under the DIP

 Revolver Facility in accordance with the Interim Order (but subject to the provisions of Section

 4.1 thereof) is necessary as the DIP Revolver Facility would not have been made available to the

 Debtors by the DIP Revolver Lenders and the Prepetition ABL Secured Parties have not otherwise

 consented to the use of their Cash Collateral, the subordination of their liens to the Carve Out, the

 Revolver DIP Liens, the DIP Term Loan Liens and the Prepetition Term Loan Adequate Protection

 Liens (as defined in the Interim Order), in each case as provided in the Interim Order, or the

 extension of credit to fund the Debtors’ critical working capital needs in the form of the DIP

 Revolver Facility. Moreover, as set forth in the Juniper DIP Declaration, in consideration of the

 ABL Refinancing, (x) the Prepetition ABL Lenders have agreed to waive any claims for interest

 at the Default Rate (as such term is defined in the Prepetition ABL Credit Agreement), (y) the DIP

 Revolver Lenders have agreed to reduce the Availability Block (as such term is defined in the

 Revolver DIP Agreement) from $8 million to $4 million so as to provide the Debtors with access

 to significant additional working capital during the Chapter 11 Cases; and (z) the DIP Revolver


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 Lenders have agreed to defer payment of the Exit Fee required to be paid under the Prepetition

 ABL Credit Agreement until the Maturity Date of the DIP Revolver Facility. Thus, the ABL

 Refinancing will confer material benefits on the Debtors.

          30.         The Debtors also seek authorization, immediately upon entry of the Interim Order,

 to be (i) authorized to immediately borrow under the DIP Term Loan Note the full amount

 necessary to fully and immediately pay off in full the Protective Advances and (ii) subject to

 Section 4.1 of the Interim Order, deemed to have contemporaneously fully repaid all Protective

 Advances (clauses (i) and (ii) together, the “Protective Advance Refinancing,” and together with

 the ABL Refinancing, the “Roll-Up Provisions”). As set forth in the Juniper DIP Declaration, the

 Protective Advances in the amount of $3 million were made by the Prepetition Term Loan Lenders

 shortly before the commencement of these Chapter 11 Cases so as to provide working capital to

 avoid immediate and irreparable harm to the Debtors’ businesses, their estates and their creditors

 as the Debtors prepared for filing the Chapter 11 Cases. The full and immediate payoff of the

 Protective Advances with the proceeds of borrowings under the DIP Term Loan Facility in

 accordance with the Interim Order (but subject to the provisions of Section 4.1 thereof) is necessary

 as the Prepetition Term Loan Secured Parties have not otherwise consented to the use of their Cash

 Collateral, the subordination of their liens to the Carve Out, the Revolver DIP Liens, the DIP Term

 Loan Liens and the Prepetition Revolver Adequate Protection Liens (as defined below), in each

 case as provided in this Interim Order, or the extension of credit to fund the Debtors’ critical

 working capital needs in the form of the DIP Term Loan Facility. Moreover, as set forth in the

 Juniper DIP Declaration, in consideration of the entry of the Interim Order authorizing the

 repayment of the Protective Advances with the proceeds of the DIP Term Loan Facility, the

 Prepetition Term Loan Secured Parties have agreed to waive any claims for interest at the Default




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 Rate (as such term is defined in the Prepetition Term Loan Agreement) on $3 million of Prepetition

 Term Loan Obligations.

          D.          DIP Loan Lien Rankings and Priority

          31.         The Revolver DIP Liens on the DIP Collateral securing the DIP Revolver

 Obligations shall be first and senior in priority to all other interests and liens of every kind, nature,

 and description, whether created consensually, by an order of the Court or otherwise, including,

 without limitation, liens or security interests granted in favor of third parties in conjunction with

 sections 363, 364, or any other section of the Bankruptcy Code or other applicable law; provided,

 however, that the Revolver DIP Liens on (A) the Prepetition ABL Priority Collateral (whether in

 existence on the Petition Date or thereafter arising) shall be subject to the Carve Out and Permitted

 Liens (as defined in the Interim Order); (B) the Prepetition Term Priority Collateral (whether in

 existence on the Petition Date or thereafter arising) shall be subject to the Carve Out, Permitted

 Liens, the DIP Term Loan Liens, the Prepetition Term Loan Liens and the Prepetition Term Loan

 Adequate Protection Liens; (C) assets of the Debtors (the “Non-Lender Encumbered Assets”) that

 were subject to validly perfected liens or security interests as of the Petition Date other than the

 Prepetition Liens (if any, the “Non-Lender Existing Liens”) shall be subject (notwithstanding

 anything in the Prepetition Intercreditor Agreement to the contrary) to such Non-Lender Existing

 Liens, the Carve Out and pari passu with the DIP Term Loan Liens; and (D) any other assets of

 the Debtors (“Unencumbered Assets”) that were not subject to any validly perfected liens or

 security interest as of the Petition Date (including, subject to the entry of a Final Order, Avoidance

 Proceeds) shall be subject (notwithstanding anything in the Prepetition Intercreditor Agreement to

 the contrary) to the Carve Out and pari passu with the DIP Term Loan Liens, in each case as such

 priorities are set forth in Exhibit E to the Interim Order.




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          32.         The DIP Term Loan Liens on the DIP Collateral securing the DIP Term Loan

 Obligations shall be first and senior in priority to all other interests and liens of every kind, nature,

 and description, whether created consensually, by an order of the Court or otherwise, including,

 without limitation, liens or interests granted in favor of third parties in conjunction with sections

 363, 364, or any other section of the Bankruptcy Code or other applicable law; provided, however,

 that the DIP Term Loan Liens on (A) the Prepetition ABL Priority Collateral (whether in existence

 on the Petition Date or hereafter arising) shall be subject to the Carve Out, Permitted Liens, the

 Revolver DIP Liens, the Prepetition ABL Liens and the Prepetition ABL Adequate Protection

 Liens (as defined below); (B) the Prepetition Term Priority Collateral (whether in existence on the

 Petition Date or hereafter arising) shall be subject to the Carve Out and Permitted Liens; (C) the

 Non-Lender Encumbered Assets shall be subject (notwithstanding anything in the Prepetition

 Intercreditor Agreement to the contrary) to the Non-Lender Existing Liens, the Carve Out and pari

 passu with the Revolver DIP Liens; and (D) the Unencumbered Assets shall be subject

 (notwithstanding anything in the Prepetition Intercreditor Agreement to the contrary) to the Carve

 Out and pari passu with the Revolver DIP Liens, in each case as such priorities are set forth in

 Exhibit E attached to the Interim Order.

          33.         Subject to the priorities set forth on Exhibit E to the Interim Order and the Carve

 Out, on account of all DIP Obligations now existing or hereafter arising pursuant to the Interim

 Order, the DIP Loan Documents, or otherwise, the DIP Agents, for the benefit of themselves and

 the DIP Lenders, will be granted allowed superpriority administrative expense claims pursuant to

 section 364(c)(1) of the Bankruptcy Code, having priority in right of payment over any and all

 other obligations, liabilities, and indebtedness of the Debtors, whether now in existence or

 hereafter incurred by the Debtors, and over any and all administrative expenses or priority claims




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 of the kind specified in, or ordered pursuant to, inter alia, sections 105, 326, 328, 330, 331,

 364(c)(1), 365, 503(b), 507(a), 507(b), 546(c), 1113, or 1114 of the Bankruptcy Code, whether or

 not such expenses or claims may become secured by a judgment lien or other non-consensual lien,

 levy, or attachment, which allowed superpriority administrative claim shall be payable from and

 have recourse to all prepetition and postpetition property of the Debtors and all proceeds thereof

 (including, subject to entry of the Final Order, proceeds of Avoidance Actions) (such superpriority

 administrative expense claim as to the DIP Revolver Facility, the “Revolver Superpriority Claim”

 and, as to such superpriority administrative expense claim as to the DIP Term Loan Facility, the

 “DIP Term Loan Superpriority Claim” and, collectively, the “DIP Superpriority Claims”). The

 Prepetition Secured Parties have consented to the DIP Superpriority Claims.

          E.          Use of Cash Collateral

          34.         In addition to the DIP Facilities, the Debtors require the continued use of their

 existing Cash Collateral. The DIP Lenders have agreed to the terms of the proposed use of Cash

 Collateral reflected in the Interim Order and the DIP Loan Agreements. Therefore, the Debtors

 have the requisite consent to use Cash Collateral.

                                            Supporting Authority

          35.         For the following reasons, the Debtors respectfully submit that they have satisfied

 the standards applicable for the Court’s approval of the DIP Facilities and entry of the Interim

 Order.

   I.     The Debtors Should be Authorized to Obtain Postpetition Financing

          A.          Entering into the DIP Facilities is an Exercise of the Debtors’ Sound Business
                      Judgment

          36.         The Court should authorize the Debtors, as an exercise of the Debtors’ sound

 business judgment, to enter into the DIP Loan Agreements, obtain access to the DIP Facilities, and



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 continue using the Cash Collateral as an exercise of the Debtors’ sound business judgment.

          37.         Section 364 of the Bankruptcy Code authorizes a debtor to obtain secured or super-

 priority financing under certain circumstances discussed in detail below.            Provided that an

 agreement to obtain secured credit does not run afoul of the provisions of, and policies underlying,

 the Bankruptcy Code, courts grant debtors considerable deference in acting in accordance with

 their sound business judgment in obtaining such credit. See, e.g., In re ERG Intermediate

 Holdings, L.L.C., Case No. 15-31858 (HDH) (Bankr. N.D. Tex. June 15, 2015) (order approving

 postpetition financing as an exercise of the debtors’ business judgment); In re Barbara K. Enters.,

 Inc., Case No. 08-11474, 2008 WL 2439649, at *14 (Bankr. S.D.N.Y. June 16, 2008) (explaining

 that courts defer to a debtor’s business judgment “so long as a request for financing does not

 ‘leverage the bankruptcy process’ and unfairly cede control of the reorganization to one party in

 interest.”) (citations omitted); In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y.

 1990) (“[C]ases consistently reflect that the court’s discretion under section 364 [of the Bankruptcy

 Code] is to be utilized on grounds that permit [a debtor’s] reasonable business judgment to be

 exercised so long as the financing agreement does not contain terms that leverage the bankruptcy

 process and powers or its purpose is not so much to benefit the estate as it is to benefit a party-

 in-interest.”); In re Farmland Indus., Inc., 294 B.R. 855, 881 (Bankr. W.D. Mo. 2003) (“[T]he

 applicable factors can be synthesized as follows: (1) That the proposed financing is an exercise of

 sound and reasonable business judgment . . . .”). Moreover, the Court may appropriately take into

 consideration non-economic benefits to the debtors offered by a proposed postpetition facility. For

 example, in In re ION Media Networks. Inc., the bankruptcy court for the Southern District of New

 York held that:

          Although all parties, including the Debtors and the Committee, are naturally
          motivated to obtain financing on the best possible terms, a business decision to



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          obtain credit from a particular lender is almost never based purely on economic
          terms. Relevant features of the financing must be evaluated, including
          non-economic elements such as the timing and certainty of closing, the impact on
          creditor constituencies and the likelihood of a successful reorganization. This is
          particularly true in a bankruptcy setting where cooperation and establishing
          alliances with creditor groups can be a vital part of building support for a
          restructuring that ultimately may lead to a confirmable reorganization plan. That
          which helps to foster consensus may be preferable to a notionally better transaction
          that carries the risk of promoting unwanted conflict.

 No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009).

          38.         The Debtors’ execution of the DIP Loan Documents is an exercise of their sound

 business judgment that warrants approval by the Court. Prior to the Petition Date, the Debtors and

 their advisors undertook a detailed investigation as to the Debtors’ projected financing needs

 during the pendency of any chapter 11 case and determined that the Debtors would require

 substantial postpetition financing to support their operational and restructuring activities.

 Accordingly, after significant negotiations by the Debtors and their advisors, the Debtors

 negotiated the DIP Facilities with the DIP Lenders in good faith, at arm’s-length, and with the

 assistance of outside counsel, to obtain the required postpetition financing on terms favorable to

 the Debtors.

          39.         The Debtors believe that the Court’s consideration of non-economic factors, as

 permitted by ION Media, is especially appropriate here. Absent the DIP Lenders’ willingness and

 ability to fund the DIP Facilities, and interim approval by the Court of the DIP Facilities, the

 Debtors will run out of cash in the near term. Moreover, as set forth in the Juniper DIP Declaration,

 it is unlikely any third-party lenders would be in a position to provide as certain a financing

 arrangement as currently available under the DIP Facilities. The Debtors submit that the certainty

 afforded by the DIP Facilities—with respect to both the consensual nature as well as the likelihood

 of closing and the DIP Lenders’ support of the Debtors’ efforts with these Chapter 11 Cases—

 provides additional and ample reason to authorize it.


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          40.         The DIP Facilities will provide the Debtors with access to the necessary liquidity,

 which the Debtors and their advisors have independently determined should be sufficient to

 support the Debtors’ operations and activities through the pendency of the Chapter 11 Cases, and

 will send a strong signal to employees, customers, suppliers, and other parties of the Debtors’ long-

 term prospects. Thus, the Debtors submit that entering into the DIP Agreements constitutes an

 exercise of the Debtors’ sound business judgment that should be approved by the Court.

          B.          The Debtors Should be Authorized to Obtain Postpetition Financing on a
                      Senior Secured, Priming and Superpriority Basis, and the Roll-Up Provisions
                      Should be Approved

          41.         The Debtors should be authorized to obtain postpetition financing on a senior

 secured, priming, and superpriority basis. Section 364 of the Bankruptcy Code authorizes a debtor

 to obtain, in certain circumstances, postpetition financing on a secured or superpriority basis, or

 both. Specifically, section 364(c) of the Bankruptcy Code provides, in pertinent part, that the

 Court, after notice and a hearing, may authorize a debtor that is unable to obtain credit allowable

 as an administrative expense under section 503(b)(1) of the Bankruptcy Code to obtain credit or

 incur debt:

                      (1) with priority over any or all administrative expenses of the kind
                      specified in section 503(b) or 507(b);

                      (2) secured by a lien on property of the estate that is not otherwise subject
                      to a lien; or

                      (3) secured by a junior lien on property of the estate that is subject to a lien.

 11 U.S.C. § 364(c).

          42.         Pursuant to the terms of the DIP Loan Documents and in accordance with

 Bankruptcy Code section 364(c)(1), the Debtors request that the DIP Obligations be allowed as

 DIP Superpriority Claims against each of the Debtors with priority in payment over any and all

 administrative expenses, adequate protection claims, diminution claims, prepetition unsecured


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 claims, and all other claims against the Debtors, now existing or hereafter arising, of any kind

 whatsoever, including, without limitation, any prepetition claims and adequate protection claims

 of the Prepetition Lenders, and any and all administrative expenses or other claims of the kinds

 specified or ordered pursuant to any provision of the Bankruptcy Code, including, but not limited

 to, sections 105, 326, 328, 330, 331, 503(b), 506(c) (with respect to the Prepetition Secured Parties,

 subject to entry of the Final Order), 507(a), 507(b), 546, 726, 1113, and 1114 of the Bankruptcy

 Code or otherwise, including those resulting from the conversion of any of the Chapter 11 Cases

 pursuant to section 1112 of the Bankruptcy Code, whether or not such expenses or claims may

 become secured by a judgment lien or other non-consensual lien, levy, or attachment; provided,

 however, that the DIP Superpriority Claims shall be subject to (i) the priority set forth on Exhibit

 E to the Interim Order and (ii) the Carve Out (as set forth in the Interim Order).

          43.         In addition to authorizing financing under section 364(c) of the Bankruptcy Code,

 courts may authorize a debtor to obtain postpetition credit secured by a lien that is senior or equal

 in priority to existing liens on property already subject to a lien if the debtor cannot otherwise

 obtain such credit and the interests of existing lienholders are adequately protected. See 11 U.S.C.

 § 364(d)(1). When determining whether to authorize a debtor to obtain credit secured by a

 “priming” lien as authorized by section 364(d) of the Bankruptcy Code, courts focus on whether

 the transaction will enhance the value of the debtors’ assets. Courts consider a number of factors,

 including, without limitation:

                         •   whether alternative financing is available on any other basis (i.e., whether
                             any better offers, bids or timely proposals are before the court);

                         •   whether the proposed financing is necessary to preserve estate assets and is
                             necessary, essential and appropriate for continued operation of the debtors’
                             business;

                         •   whether the terms of the proposed financing are reasonable and adequate
                             given the circumstances of both the debtors and proposed lender(s);

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                         •   whether the proposed financing agreement was negotiated in good faith and
                             at arm’s length and entry therein is an exercise of sound and reasonable
                             business judgment and in the best interest of the debtor’s estate and its
                             creditors; and whether the proposed financing agreement adequately
                             protects prepetition secured creditors.

 See, e.g., Ames Dep’t Stores, 115 B.R. at 37–39; Bland v. Farmworker Creditors, 308 B.R. 109,

 113–14 (S.D. Ga. 2003); see also 3 Collier on Bankruptcy ¶ 364.04[1] (16th ed. rev. 2022).

          44.         Here, the Debtors seek authority to enter into the DIP Loan Agreements, which will

 grant the DIP Lenders the DIP Liens in the DIP Collateral, as described above. The Debtors

 believe the DIP Liens should be authorized for the following reasons.

          45.         First, the Debtors conducted arm’s-length negotiations with the DIP Agents

 regarding the terms of the respective DIP Facilities, and those agreements reflect the most

 favorable terms on which the DIP Lenders were willing to offer financing. No alternative

 financing at the favorable terms offered in the DIP Facilities is available to the Debtors, and the

 Debtors are not able to obtain financing from the DIP Lenders other than financing secured by first

 priority priming liens. In light of the unavailability of other financing with which to fund their

 ongoing operations and preserve the value of their assets, the Debtors determined that entering into

 the DIP Loan Agreements would best maximize value of their estates.

          46.         Second, the Debtors need the funds to be provided under the DIP Facilities to

 preserve the value of their estates for the benefit of all creditors and other parties in interest. Absent

 the DIP Facilities and use of the Cash Collateral, the Debtors will be unable to prosecute these

 Chapter 11 Cases and preserve the Debtors’ significant going concern value. Providing the

 Debtors with the liquidity necessary to preserve their going concern value through the pendency

 of these Chapter 11 Cases is in the best interest of all stakeholders.

          47.         Third, the terms of the DIP Loan Agreements are reasonable and adequate to ensure

 the Debtors’ ongoing ability to satisfy obligations in connection with the Chapter 11 Cases.

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 Indeed, the DIP Facilities will provide the Debtors with access to: (i) $40 million in DIP Revolving

 Commitments and (ii) an aggregate principal amount not to exceed $18 million under the DIP

 Term Loan. The Debtors and their advisors have independently determined that these amounts are

 sufficient and necessary to allow the Debtors to administer these Chapter 11 Cases.

          48.         Fourth, the Debtors and the DIP Agents negotiated the DIP Facilities in good faith

 and at arm’s-length, and the Debtors’ entry into the DIP Loan Agreements are an exercise of their

 sound business judgment and is in the best interests of their estates, creditors, and other parties in

 interest.

          49.         Fifth, as described below, the Debtors will provide adequate protection for the

 Prepetition Liens on and security interests in the Prepetition Collateral as well as any decline in,

 or diminution of, the value of the Prepetition Liens or security interests.

          50.         Additionally, as a condition of the DIP Facilities, the Debtors agree to the terms of

 the Roll-Up Provisions, including the ABL Refinancing and the Protective Advance Refinancing,

 as explained above. The DIP Lenders’ requirement of the Roll-Up Provisions should be approved,

 since as a practical matter in the context of the Chapter 11 Cases, the roll-up does not run afoul of

 the provisions of, or the policies underlying, the Bankruptcy Code. See In re Barbara K. Enters.,

 Inc., 2008 WL 2439649, at *14 (explaining that courts defer to a debtor’s business judgment “so

 long as a request for financing does not ‘leverage the bankruptcy process’ and unfairly cede control

 of the reorganization to one party in interest.”) (internal citation omitted). The Roll-Up Provisions

 are justified under the circumstances because, among other things: (i) the Prepetition Secured

 Parties are consenting to the use of Cash Collateral; (ii) the Prepetition Lenders, in their capacity

 as DIP Lenders, are agreeing to provide postpetition liquidity through the DIP Facilities; and (iii)

 the Roll-Up Provisions will result in a decrease of the prepetition debt.




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          51.         Moreover, many courts, including courts in this District, have approved the

 refinancing or repayment of revolving and term loan prepetition obligations pursuant to debtor-in-

 possession loan facilities on an interim basis. See, e.g., In re Rockall Energy Holdings, LLC, Case

 No. 22-90000-MXM-11 (Bankr. N.D. Tex. Mar. 11, 2022) (authorizing, on an interim basis, a roll-

 up of prepetition secured claims, including term loan claims and hedge claims, in an aggregate

 amount of $10,000,000); In re Studio Movie Grill Holdings, LLC, Case No. 20-32633-SGJ-11

 (Bankr. N.D. Tex. Oct. 27, 2022) (authorizing the refinancing of certain term loan debt in an

 aggregate amount of $16,200,000); In re Tuesday Morning Corp., Case No. 20-31476-HDH-11

 (Bankr. N.D. Tex. June 26, 2020) (authorizing refinancing of all but a small portion of prepetition

 secured claims under the postpetition revolving credit facility); In re Erickson Inc., Case No. 16-

 34393-hdh (Bankr. N.D. Tex. Sept. 10, 2016) (authorizing, on an interim basis, repayment of

 $14,890,364 under the existing first lien credit facility).12

          52.         The Court should therefore (a) approve the DIP Superpriority Claims as provided

 for in section 364(c)(1) of the Bankruptcy Code, (b) authorize the Debtors to provide the DIP

 Lenders with DIP Liens on the DIP Collateral as provided in section 364(d)(1) of the Bankruptcy




 12
   See also In re ATP Oil & Gas Corp., Case No. 12-36187 (Bankr. S.D. Tex. Sept. 21, 2012) (authorizing refinancing
 of $367,600,000 plus accrued and unpaid interest under the post-petition facility); In re United Retail, Case No. 12-
 10405 (Bankr. S.D.N.Y. Feb. 1, 2012) (authorizing the refinancing of $11,500,000 of existing letter of credit
 obligations); In re Velo Holdings, Inc., et al., Case No. 12-11384 (Bankr. S.D.N.Y. April 2, 2012) (authorizing a
 dollar-for-dollar refinancing of prepetition obligations up to $20,000,000); In re Blockbuster, Inc., Case No. 10-14997
 (Bankr. S.D.N.Y. Sept. 23, 2010) (authorizing the roll up of secured notes of up to $125 million); In re Chemtura
 Corp., Case No. 09-11233 (Bankr. S.D.N.Y. Mar. 18, 2009) (authorizing a $86.5 million refinancing revolving credit
 facility under a $400 million debtor-in-possession financing facility); In re Lyondell Chemical Co., Case No. 09-
 10023 (Bankr. S.D.N.Y. Mar. 1, 2009) (approving a dollar-for-dollar roll up of $3.25 billion of a prepetition secured
 debt facility); In re Tronox Inc., Case No. 09-10156 (Bankr. S.D.N.Y. Feb. 6, 2009) (approving the payment of $79.5
 million of prepetition secured indebtedness); In re Lenox Sales, Inc., No. 08-14679 (Bankr. S.D.N.Y. Dec. 16, 2008)
 (approving payment of $72.1 million in prepetition secured indebtedness); In re deCODE genetics, Inc., Case No. 09-
 14063 (JPW) (Bankr. D. Del. Nov. 16, 2009) (authorizing the refinancing of over $3,000,000 outstanding under certain
 prepetition obligations).



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 Code; and (c) authorize the Debtors to consummate the ABL Refinancing and the Protective

 Advance Refinancing.

          C.          The Interests of Prepetition Secured Parties are Adequately Protected

          53.         A debtor may obtain postpetition credit “secured by a senior or equal lien on

 property of the estate that is subject to a lien only if” the debtor, among other things, provides

 “adequate protection” to those parties whose liens are primed. See 11 U.S.C. § 364(d)(1)(B). By

 requiring debtors to provide adequate protection to those creditors whose liens are being primed,

 the Bankruptcy Code seeks to protect a secured creditor from diminution in the value of its interest

 in the particular collateral. See Suntrust Bank v. Den-Mark Const., Inc., 406 B.R. 683, 702

 (E.D.N.C. 2009) (“Adequate protection is designed to preserve the pre-petition position of the

 existing lender.”); In re Cont’l Airlines, Inc., 146 B.R. 536, 539–40 (Bankr. D. Del. 1992) (secured

 creditor only entitled to adequate protection to the extent the collateral declined in value); In re

 Pursuit Athletic Footwear, Inc., 193 B.R. 713, 716 (Bankr. D. Del. 1996) (“[I]f there is no actual

 diminution in the value of [the secured creditor’s] collateral” and the debtor “can operate profitably

 post-petition,” the secured creditor “is adequately protected against the use of cash [collateral].”).

          54.         What constitutes sufficient adequate protection is decided on a case-by-case basis.

 See In re Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986) (“[W]e conclude that a judicial

 determination of…adequate protection is a question of fact rooted in measurements of value and

 the credibility of the witnesses.”); see also Resolution Trust Corp. v. Swedeland Dev. Group, Inc.

 (In re Swedeland Dev. Grp., Inc.), 16 F.3d 552, 564 (3d Cir. 1994); In re Martin, 761 F.2d 472,

 474 (8th Cir. 1985); In re Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y. 1996); In re Realty S.W.

 Assocs., 140 B.R. 360, 366 (Bankr. S.D.N.Y. 1992).

          55.         Here, the Prepetition Secured Parties have consented to the priming of the

 Prepetition Liens in favor of the DIP Facilities. Given the Prepetition Secured Parties’ consent,


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 the Debtors do not need to show that those parties are adequately protected. See Anchor Say. Bank

 FSB v. Sky Valley, Inc., 99 B.R. 117, 122 (N.D. Ga. 1989) (“[B]y tacitly consenting to the super-

 priority lien, those [undersecured] creditors relieved the debtor of having to demonstrate that they

 were adequately protected.”); see also In re Sun Healthcare Grp., Inc., 245 B.R. 779, 781 n.5

 (Bankr. D. Del. 2000) (“Their consent (to the use of their cash collateral and priming of their liens)

 was given in exchange for certain payments . . . as adequate protection[.]”); In re El Paso Refinery,

 L P, 171 F.3d 249, 252 (5th Cir. 1999) (stating that priming lien given to a postpetition lender by

 “agreement was given a priority over the preexisting first lien of a group of Term Lenders”); In re

 Outboard Marine Corp., No. 00-37405, 2002 WL 571661, at *1 (Bankr. N.D. Ill. Jan. 9, 2002)

 (“[T]he DIP Lenders committed to provide certain financing to the Debtors . . . pursuant to which

 the Prepetition Lenders consented to the imposition of priming liens upon the Prepetition Collateral

 and in favor of the DIP Lenders[.]”), aff’d, Bank of Am., N.A. v. Moglia, 330 F.3d 942 (7th Cir.

 2003). Nonetheless, the Debtors granted the Adequate Protection Liens and a superpriority

 administrative expense claim, junior and subordinate only to the Carve Out and the priorities set

 forth on Exhibit E to the Interim Order, as adequate protection to the Prepetition Secured Parties.

          56.         The DIP Lenders were unwilling to provide the Debtors the DIP Facilities without

 the DIP Liens. While the Debtors attempted to find other alternatives, the proposed DIP Facilities

 are the only postpetition financing they were able to secure under the circumstances. Accordingly,

 pursuant to section 364(d) of the Bankruptcy Code and consistent with the purposes underlying

 the provision of adequate protection, the Court should authorize the Debtors to grant the DIP Liens

 to the DIP Lenders to secure the Debtors’ obligations under the DIP Facilities.




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  II.     The Debtors Should be Authorized to Use the Cash Collateral

          57.         The requisite Prepetition Lenders have consented to the Debtors’ use of Cash

 Collateral under the terms of the DIP Loan Documents. The Debtors submit that their request to

 use Cash Collateral complies with applicable Bankruptcy Code requirements.

          58.         The Debtors’ use of property of their estates is governed by section 363 of the

 Bankruptcy Code, which provides in pertinent part, as follows:

          If the business of the debtor is authorized to be operated under section... 1108... of
          this title and unless the court orders otherwise, the [debtor] may enter into
          transactions, including the sale or lease of property of the estate, in the ordinary
          course of business, without notice or a hearing, and may use property of the estate
          in the ordinary course of business without notice or a hearing.

 11 U.S.C. § 363(c)(1).

          59.         Section 363(c)(2)(A) of the Bankruptcy Code permits a debtor in possession to use

 cash collateral with the consent of the secured party. Alternatively, section 363(c)(2)(B) of the

 Bankruptcy Code permits the Bankruptcy Court, after notice and a hearing, to authorize a debtor

 in possession’s use of cash collateral without the consent of the secured party so long as the use is

 consistent with the provisions of section 363 of the Bankruptcy Code.

          60.         The Debtors have the Prepetition Secured Parties’ consent to use Cash Collateral

 subject to the terms and conditions set forth in the Interim Order. Accordingly, the Debtors’ use

 of Cash Collateral should be approved under section 363(c)(2)(A) of the Bankruptcy Code.

          61.         Second, the Debtors’ proposed adequate protection is consistent with the

 requirements of section 363 of the Bankruptcy Code and, therefore, the Debtors’ use of Cash

 Collateral—in addition to the requisite Prepetition Secured Parties having consented to it—meets

 the standard for approval under section 363(c)(2)(B) of the Bankruptcy Code. As described above,

 the Adequate Protection (as defined in the Interim Order) adequately protects the Prepetition




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 Secured Parties’ interests in the Prepetition Collateral from diminution during the Chapter 11

 Cases, including by the Debtors’ use of the Cash Collateral.

          62.         In addition to the adequate protection relief itself, the Debtors’ preservation of

 estate assets through the use of Cash Collateral serves as its own form of “adequate protection.”

 Indeed, the Debtors’ secured creditors will inherently benefit from the Debtors’ proposed use of

 the Cash Collateral, which will prevent avoidable diminution of the value of the Collateral and

 enhance the likelihood of increasing or preserving the Debtors’ overall going concern value. In re

 495 Cent. Park Ave. Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992) (noting that, in determining

 whether protection is “adequate,” courts consider “whether the value of the debtor’s property will

 increase as a result of the” use of collateral or provision of financing); In re Sky Valley, Inc., 100

 B.R. 107, 114 (Bankr. N.D. Ga. 1988), aff’d sub nom., Anchor Savs. Bank FSB v. Sky Valley, Inc.,

 99 B.R. 117, 120 n.4 (N.D. Ga. 1989) (“an increase in the value of the collateral . . . resulting from

 superpriority financing could result in adequate protection.”). Accordingly, the Court should

 authorize the Debtors to use the Cash Collateral under section 363(c)(2) of the Bankruptcy Code.

 III.     The Debtors Should Be Authorized to Pay the Fees Required by the DIP Lenders
          under the DIP Loan Documents

          63.         As described above, the Debtors have agreed, subject to Court approval, to pay the

 reasonable and documented fees, costs and expenses of counsel and financial advisors of the DIP

 Lenders pursuant to the terms of the DIP Loan Documents.

          64.         Paying the fees, costs and expenses of counsel and financial advisors to the DIP

 Lenders taken together with the other provisions of the DIP Loan Documents, represent the most

 favorable terms to the Debtors on which the DIP Secured Parties would agree to make the DIP

 Facilities available. The Debtors considered the fees, costs and expenses described above when

 determining in their sound business judgment that the DIP Facilities constituted the best terms on



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 which the Debtors could obtain the postpetition financing necessary to continue their operations

 and prosecute their Chapter 11 Cases.           The Debtors believe that paying these amounts in

 connection with the DIP Facilities is in the best interests of the Debtors’ estates, creditors and other

 parties in interest. Accordingly, the Court should authorize the Debtors to pay the fees, costs, and

 expenses provided under the DIP Loan Documents.

  IV.     The DIP Lenders Should Be Deemed Good-Faith Lenders under Section 364(e) of the
          Bankruptcy Code

          65.         Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

 collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

 authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

 appeal. Section 364(e) of the Bankruptcy Code provides that:

          The reversal or modification on appeal of an authorization under this section [364
          of the Bankruptcy Code] to obtain credit or incur debt, or of a grant under this
          section of a priority or a lien, does not affect the validity of any debt so incurred, or
          any priority or lien so granted, to an entity that extended such credit in good faith,
          whether or not such entity knew of the pendency of the appeal, unless such
          authorization and the incurring of such debt, or the granting of such priority or lien,
          were stayed pending appeal.

          66.         Here, the DIP Loan Agreements are the result of (a) the Debtors’ reasonable and

 informed determination that the DIP Lenders offered the only available terms on which to obtain

 needed postpetition financing, and (b) extended arm’s length, good-faith negotiations between the

 Debtors and the DIP Lenders. The terms and conditions of the DIP Loan Agreements are

 reasonable and appropriate under the circumstances, and the proceeds of the DIP Facilities will be

 used only for purposes that are permissible under the Bankruptcy Code. Further, no consideration

 is being provided to any party to the DIP Loan Agreements other than as described herein.

 Accordingly, the Court should find that the DIP Lenders are “good faith” lenders within the




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 meaning of section 364(e) of the Bankruptcy Code and are entitled to all of the protections afforded

 by that section.

  V.      The Debtors Require Immediate Access to the Cash Collateral and DIP Facilities

          67.         The Court may grant interim relief in respect of a motion filed pursuant to sections

 363(c) or 364 of the Bankruptcy Code where, as here, interim relief is “necessary to avoid

 immediate and irreparable harm to the estate pending a final hearing.” FED. R. BANKR. P.

 4001(b)(2) and (c)(2).

          68.         The Debtors and their estates will suffer immediate and irreparable harm if the

 interim relief requested herein, including authorizing the Debtors to use the Cash Collateral and to

 borrow under the DIP Facilities, is not granted promptly.               The Debtors believe that the

 commencement of the Chapter 11 Cases has already and will continue to significantly increase the

 demands on their cash as a result of, among other things, the costs of administering the Chapter 11

 Cases. Indeed, as explained in the First Day Declaration and the Juniper DIP Declaration, unless

 the Court approves the Debtors’ interim access to the funds of the DIP Facilities, the Debtors will

 run out of cash in the near term. The Debtors have an immediate need for access to liquidity to,

 among other things, to make payroll, and to satisfy other working capital and operation needs, all

 of which are required to preserve and maintain the Debtors’ going concern value for the benefit of

 all parties in interest.

          69.         Accordingly, for all of the reasons set forth above, prompt entry of the Interim

 Order is necessary to avert immediate and irreparable harm to the Debtors’ estates and is consistent

 with, and warranted under, Bankruptcy Rules 4001(b)(2) and (c)(2). In addition, to implement the

 terms of the DIP Facilities, the Debtors request a waiver of the notice requirements under

 Bankruptcy Rule 6004(a) and any stay of an order granting the relief requested herein pursuant to

 Bankruptcy Rule 6004(h), or otherwise.


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                                          Request for Final Hearing

          70.         Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

 the Court set a date for the Final Hearing that is as soon as practicable and fix the time and date

 prior to the Final Hearing for parties to file objections to this Motion.

                                                     Notice

          71.         Notice of this Motion will be provided to: (a) the Office of the United States Trustee

 for the Northern District of Texas (the “U.S. Trustee”); (b) the entities listed as holding the 20

 largest unsecured claims against the Debtors (on a consolidated basis) (the “20 Largest Unsecured

 Creditors”); (c) Schulte Roth & Zabel LLP and Munsch Hardt Kopf & Harr, P.C., as primary and

 Texas counsel to the Prepetition Term Loan Agent and the DIP Term Administrative Agent;

 (d) McGuireWoods LLP, counsel to the Prepetition ABL Agent and the DIP Revolver

 Administrative Agent; (e) all governmental agencies having a regulatory or statutory interest in

 these Chapter 11 Cases; (f) any other notice parties required under any Prepetition Loan

 Document; (g) all parties which, to the best of the Debtors’ knowledge, information, and belief,

 have asserted or may assert a lien in the Debtors’ assets; and (h) any party that has requested notice

 pursuant to Bankruptcy Rule 2002.

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                                             Conclusion

          WHEREFORE, based on the foregoing, the Debtors respectfully request that the Court

 (i) enter the Interim Order attached hereto as Exhibit 2, and (ii) grant such other and further relief

 as is just and proper.

          RESPECTFULLY SUBMITTED this 25th day of June, 2022.



                                                By: /s/ Eli O. Columbus
                                                Stephen M. Pezanosky
                                                State Bar No. 15881850
                                                Eli O. Columbus
                                                State Bar No. 24028062
                                                David L. Staab
                                                State Bar No. 24093194
                                                Martha Wyrick
                                                State Bar No. 24101606
                                                HAYNES AND BOONE, LLP
                                                301 Commerce Street, Suite 2600
                                                Fort Worth, TX 76102
                                                Telephone: 817.347.6600
                                                Facsimile: 817.347.6650
                                                Email: stephen.pezanosky@haynesboone.com
                                                Email: eli.columbus@haynesboone.com
                                                Email: david.staab@haynesboone.com
                                                Email: martha.wyrick@haynesboone.com

                                                PROPOSED ATTORNEYS FOR DEBTORS




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                                   Certificate of Conference

        I hereby certify that on or before June 25, 2022, the undersigned counsel for the Debtors
 conferred with and received comments to the relief requested in this Motion from counsel to the
 DIP Agents and Prepetition Agents.


                                             By: /s/ Eli O. Columbus
                                                    Eli O. Columbus




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                                     Exhibit 1
                              Juniper DIP Declaration




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 In re:                                                       §   Chapter 11
                                                              §
 Corsicana Bedding, LLC, et al.,1                             §   Case No. 22-90016-elm11
                                                              §
 Debtors.                                                     §   Joint Administration Requested

            DECLARATION OF MICHAEL JUNIPER IN SUPPORT OF DEBTORS’
      EMERGENCY MOTION FOR INTERIM AND FINAL ORDERS PURSUANT TO 11
     U.S.C. §§ 105, 361, 362, 363, 364, 503 AND 507 (I) AUTHORIZING THE DEBTORS TO
      OBTAIN SENIOR SECURED SUPERPRIORITY POSTPETITION FINANCING; (II)
       GRANTING (A) LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE
        CLAIMS AND (B) ADEQUATE PROTECTION TO CERTAIN PREPETITION
     LENDERS; (III) AUTHORIZING USE OF CASH COLLATERAL; (IV) SCHEDULING
                A FINAL HEARING; AND (V) GRANTING RELATED RELIEF

 I, Michael Juniper, hereby declare under penalty of perjury:

          1.      I am a Partner of the firm, CR3 Partners, LLC (“CR3”), which has its principal

 office at 13355 Noel Road, Suite 2005, Dallas, Texas 75240. In June 2022, I was appointed as the

 Debtors’ Chief Restructuring Officer (“CRO”).

          2.      I submit this declaration (the “Juniper DIP Declaration”) in support of the Debtors’

 Emergency Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,

 364, 503 and 507 (I) Authorizing the Debtors to Obtain Senior Secured Superpriority Postpetition

 Financing; (II) Granting (A) Liens and Superpriority Administrative Expense Claims and (B)




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Corsicana Bedding, LLC (3019) (“Corsicana”); Thetford Leasing LLC (7227) (“Thetford”); Olive
 Branch Building, LLC (7227) (“Olive Branch”); Eastern Sleep Products Company (1185) (“Eastern Sleep”);
 Englander-Symbol Mattress of Mississippi, LLC (5490) (“Englander Symbol”); Hylton House Furniture, Inc. (5992)
 (“Hylton House”); Luuf, LLC (3450) (“Luuf”); Symbol Mattress of Florida, Inc. (4172) (“Symbol Florida”); Symbol
 Mattress of Pennsylvania, Inc. (3160) (“Symbol Pennsylvania”); Symbol Mattress of Wisconsin, Inc. (0871) (“Symbol
 Wisconsin”); Symbol Mattress Transportation, Inc. (1185) (“Symbol Transportation”); and Master Craft Sleep
 Products, Inc. (4961) (“Master Craft”). The location of the Debtors’ service address is P.O. Box 3233, Fort Worth,
 TX 76113.



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 Adequate Protection to Certain Prepetition Lenders; (III) Authorizing Use Of Cash Collateral;

 (IV) Scheduling a Final Hearing; and (V) Granting Related Relief (the “Motion”).2

            3.       In forming the opinions set forth herein, I have relied upon and/or considered,

 among other things, the following: (a) my experiences in chapter 11 cases, including with debtor-

 in-possession (“DIP”) financing facilities; (b) the Motion; (c) the Declaration of Michael Juniper

 in Support of the Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day

 Declaration”), which is incorporated herein by reference; (d) certain of the Debtors’ financial

 statements and reports; (e) documents related to the proposed DIP Financing (as defined below);

 (f) CR3’s analyses regarding the proposed DIP Financing and DIP financings in other chapter 11

 cases; (g) discussions with the Debtors’ management concerning the Debtors’ business and

 finances; and (h) discussions with certain other professionals at CR3 and other advisors to the

 Debtors.

            4.       I am authorized to execute this declaration in support of the Motion, in my capacity

 as the Debtors’ CRO. I am not being compensated specifically for this testimony other than

 through payments received by CR3 as a professional proposed to be retained by the Debtors in the

 Chapter 11 Cases. If called upon to testify, I could and would testify to the facts set forth herein.

 A.         Qualifications

            5.       CR3 is a financial advisory and turnaround firm specializing in underperforming

 businesses and distressed situations, including financial, balance sheet and operational

 restructurings, both in and out of bankruptcy. CR3, whose predecessor firm was founded in 2001,

 provides a range of services to debtors, creditors, shareholders, and other interested parties,

 including financial advisory, interim management, litigation support, forensic financial review,



 2
     Each capitalized term used but not defined herein shall have the meaning ascribed to it in the Motion.


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 and independent oversight services. CR3 and its professionals have on numerous occasions

 advised debtor-in-possession or official and unofficial committees in large and complicated

 chapter 11 proceedings.

        6.      I have more than 20 years of experience in financial and operational analysis and

 improvement, turnaround and restructuring consulting, and interim management. I have advised

 companies across a diverse range of industries. I have assisted clients both in and outside of

 chapter 11, and have acted as financial advisor to companies, lenders, and unsecured creditors’

 committees. More specifically, I have served as a CRO for both private and public companies,

 including companies that have filed chapter 11 bankruptcy.

        7.      I attended Washington University in St. Louis, where I earned an MBA. I also

 attended University of Arkansas at Little Rock, where I earned a BBA in finance. I am a Certified

 Turnaround Professional by the Turnaround Management Association (“TMA”). I was previously

 the president of the Dallas/Fort Worth TMA, and I am currently on the Board of the Dallas/Fort

 Worth TMA. Prior to joining CR3, I served in finance functions for private manufacturing and

 distribution companies. I have significant experience in structuring and negotiating DIP facilities.

        8.      I lead the CR3 professional team assisting the Debtors in connection with the

 Debtors’ proposed use of Cash Collateral and the DIP financing. As explained in the First Day

 Declaration, I am also serving as the Debtors’ CRO. As part of my duties as the CRO, I have been

 advising and assisting with the Debtors’ accounting, operations, reporting, budgets, forecasts, cash

 flows, and, more recently, overseeing overall turnaround and sale efforts. I am therefore familiar

 with the Debtors’ businesses, financial affairs, books and records, as well as the facts and

 circumstances surrounding the Debtors’ chapter 11 filing and restructuring strategy. I participated

 directly in discussions, due diligence, and negotiations with respect to the Debtors’ DIP financing




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 and proposed DIP Facilities. In doing so, I worked closely with the Debtors’ management, outside

 counsel, and other advisors.

 B.     Background

        9.       As set forth in further detail in the First Day Declaration, the Debtors’ financial

 performance has been negatively impacted by an ongoing slump in the mattress industry, reduced

 consumer spending, and increased production costs.           The Debtors have also faced internal

 obstacles and company-specific business challenges. Internal logistics obstacles and the Debtors’

 overall capital structure have resulted in decreased productivity and revenues. The Debtors

 continue to experience sales levels below historical levels, resulting in further liquidity pressures.

 The Debtors’ revenue and profitability remain insufficient to support its debt service, working

 capital, and capital expenditures requirements.

        10.      Given the short amount of time between when the Debtors decided to pursue the

 filing of the Chapter 11 Cases, the Debtors needed to act quickly to agree upon the terms of the

 DIP Facilities with their lenders. The DIP Lenders promptly responded to the Debtors’ request for

 term sheets regarding the terms of potential DIP Financing during June 2022. After extensive

 arm’s length negotiations, the Debtors chose to accept the DIP Financing proposals from the DIP

 Lenders (the “DIP Financing”). As described below, I contacted several other potential DIP

 lenders for proposals, but the Debtors chose not to commence a formal marketing process for

 several reasons, as explained herein.

 C.     The Terms of the Proposed DIP Facilities are Reasonable Under Current Market
        Conditions, and the Debtors Could Not Obtain Proposals for DIP Financing on Better
        Terms

        11.      The DIP Loan Agreements each contain favorable, below-market pricing terms for

 loans of the size and nature of the DIP Facilities, particularly in light of uncertainties in the global




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 corporate debt markets caused by current market conditions and the continued spread of COVID-

 19. Based upon my experience and the negotiations resulting in the proposed DIP Facilities, the

 terms of the DIP Facilities, including the ABL Refinancing on the terms set forth in the Revolver

 DIP Agreement and the Protective Advance Refinancing on the terms set forth in the DIP Term

 Loan Note, are exceedingly reasonable when evaluated within the backdrop of the Debtors’ current

 secured debt amounts, current operations, including the temporary shutdown of several of its core

 manufacturing facilities, and current market conditions. The negotiations of the DIP Facilities were

 based in large part by the terms and conditions on which the DIP Lenders had provided prepetition

 financing to the Debtors.

         12.    I believe it would be futile for the Debtors to undertake any further efforts to seek,

 and they would not obtain, the necessary postpetition financing, let alone on terms more favorable,

 taken as a whole, than the financing offered by each of the DIP Secured Parties pursuant to the

 DIP Loan Documents. The Debtors’ Prepetition Lenders would not consent to any priming liens

 being granted to third parties, and the Debtors do not have any significant unencumbered assets to

 which a non-priming lien could attach. The certainty afforded by the DIP Facilities, with respect

 to both the consensual nature as well as the likelihood of closing and the DIP Lenders’ support of

 the Chapter 11 Cases, provides additional and ample reason to authorize the proposed DIP

 Facilities.

         13.    Moreover, I reached out to eight (8) potential DIP lenders for proposals for DIP

 financing. Given the circumstances, including the fact that the Prepetition Lenders hold an

 aggregate of at least $145 million in secured debt and will not consent to third party priming DIP

 financing, I did not receive any proposals for DIP financing from any of the parties I contacted for




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 proposals. Further, the Debtors were not able to obtain postpetition financing in the form of

 unsecured credit as an administrative claim pursuant to section 503(b)(1) of the Bankruptcy Code.

        14.     Under these circumstances, the Debtors determined that the time and expense

 involved in pursuing a more formal marketing process for seeking alternative lenders was not

 justified and would not result in any practical proposals that would be better than the DIP Facilities

 and the terms set forth in the DIP Credit Agreements.

 D.     The Roll-Up Provisions are Justified Under the Circumstances and Confer Material
        Benefits on the Debtors

        15.     With respect to the ABL Refinancing on the terms set forth in the Revolver DIP

 Agreement, I was advised during the course of such negotiations, that absent the ABL Refinancing,

 the DIP Revolver Facility would not have been made available to the Debtors by the DIP Revolver

 Lenders and that the Prepetition ABL Secured Parties would not otherwise have consented to the

 use of their Cash Collateral, the subordination of their liens to the Carve Out, the Revolver DIP

 Liens, the DIP Term Loan Liens and the Prepetition Term Loan Adequate Protection Liens, in

 each case as provided in the Interim Order, or the extension of credit to fund the Debtors’ critical

 working capital needs in the form of the DIP Revolver Facility. Moreover, in consideration of the

 entry of the Interim Order authorizing the ABL Refinancing, (x) the Prepetition ABL Lenders have

 agreed to waive any claims for interest at the Default Rate, (y) the DIP Revolver Lenders agreed

 to reduce the Availability Block from $8 million to $4 million so as to provide the Debtors with

 access to significant additional working capital during the Chapter 11 Cases; and (z) the DIP

 Revolver Lenders have agreed to defer payment of the Exit Fee required to be paid under the

 Prepetition ABL Credit Agreement until the Maturity of the DIP Revolver Facility. Thus, in light

 of the commitment of up to $40 million of liquidity available to the Debtors under the DIP

 Revolver Facility, the ABL Refinancing, will confer material benefits on the Debtors.



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        16.     The Protective Advances in the amount of $3 million were made by the Prepetition

 Term Loan Lenders shortly before the commencement of the Chapter 11 Cases so as to provide

 working capital to avoid immediate and irreparable harm to the Debtors’ businesses, their estates,

 and their creditors as the Debtors prepared for filing the Chapter 11 Cases. With respect to the

 Protective Advance Refinancing on the terms set forth in the DIP Term Loan Note, I was advised

 during the course of such negotiations, that absent the Protective Advance Refinancing, the

 Prepetition Term Loan Secured Parties would not otherwise have consented to the use of their

 Cash Collateral, the subordination of their liens to the Carve Out, the Revolver DIP Liens, the DIP

 Term Loan Liens and the Prepetition Revolver Adequate Protection Liens, in each case as provided

 in the Interim Order, or the extension of credit to fund the Debtors’ critical working capital needs

 in the form of the DIP Term Loan Facility. Moreover, in consideration of the entry of the Interim

 Order authorizing the repayment of the Protective Advances with the proceeds of the DIP Term

 Loan Facility, the Prepetition Term Loan Secured Parties have agreed to waive any claims for

 interest at the Default Rate (as such term is defined in the Prepetition Term Loan Agreement) on

 $3 million of Prepetition Term Loan Obligations. Based on the foregoing, and in light of a

 commitment of $18 million available to the Debtors under the DIP Term Loan Facility, the

 Protective Advance Refinancing will also confer material benefits on the Debtors.

 E.     The Proposed DIP Facilities are Necessary, in the Best Interest of All Stakeholders,
        and were Negotiated in Good Faith

        17.     The Debtors do not have sufficient liquidity, including Cash Collateral, to operate

 and maintain their businesses in the ordinary course of business without the financing requested

 in the Motion. The Debtors’ ability to maintain business relationships with their vendors,

 suppliers, and customers, to pay their employees, pay certain fees and expenses as set forth herein,

 and to otherwise fund their operations and other efforts and activities are essential to the Debtors’



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 continued viability as the Debtors seek to maximize the value of the assets of the Estates for the

 benefit of all creditors of the Debtors. The ability of the Debtors to obtain sufficient working

 capital and liquidity through the proposed postpetition financing arrangements with the DIP

 Secured Parties and the use of Cash Collateral, the DIP Loan Agreements and the other DIP Loan

 Documents, as applicable, is vital to the preservation and maintenance of the going concern value

 of each Debtor. Accordingly, the Debtors have an immediate need to obtain the postpetition

 financing and to use Cash Collateral as requested in the Motion to, among other things, permit the

 orderly continuation of the operation and maintenance of their businesses, minimize the disruption

 of their business operations and other efforts and activities and preserve and maximize the value

 of the assets of the Debtors’ Estates to maximize the recovery to all creditors of the Debtors’

 estates.

            18.   The Debtors and their estates will suffer immediate and irreparable harm if the

 interim relief requested in the Motion, including authorizing the Debtors to use the Cash Collateral

 and to borrow under the DIP Facilities, is not granted promptly. The Debtors believe that the

 commencement of the Chapter 11 Cases has already and will continue to significantly increase the

 demands on their cash as a result of, among other things, the costs of administering the Chapter 11

 Cases. It is my belief that unless the Court approves the Debtors’ interim access to the funds of

 the DIP Facilities, the Debtors will run out of cash in the near term. The Debtors have an

 immediate need for access to liquidity to, among other things, to make payroll, and to satisfy other

 working capital and operation needs, all of which are required to preserve and maintain the

 Debtors’ going concern value for the benefit of all parties in interest.

            19.   The Debtors also considered that the DIP Agents, each of whom serves as the

 administrative agent under the Debtors’ prepetition secured credit agreements, have intimate




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 knowledge of the Debtors’ business and capital structure, allowing the Debtors to efficiently

 negotiate and document the DIP Loan Agreements prior to the commencement of the Chapter 11

 Cases. Moreover, the Prepetition Secured parties have consented to the terms of the DIP Loan

 Agreements.

         20.     I believe, based on my experience and involvement in the negotiation of the

 Debtors’ DIP Facilities, that the negotiations with the DIP Lenders were conducted at arm’s length

 and in good faith. I believe the Debtors conducted a successful postpetition financing process, as

 they were able to obtain the DIP Facilities on highly favorable pricing terms. I believe that the

 fees and expenses associated with the DIP Facilities are usual, customary, and reasonable for

 facilities of the size and nature of the DIP Facilities.

         21.     I believe that, based on the Debtors’ projections, the proposed DIP Facilities will

 allow the Debtors access to the necessary liquidity to fund and continue operations during the

 Chapter 11 Cases, and will send a strong signal to employees, customers, suppliers, and other

 parties of the Debtors’ long-term prospects. I believe that, if approved, the DIP Facilities will

 preserve and maximize the value of the Debtors’ businesses and give them the liquidity they need

 to prosecute the Chapter 11 Cases and preserve the Debtors’ significant going concern value. I

 believe that entry into the DIP Agreements to provide Debtors with the liquidity necessary to

 preserve their going concern value through the pendency of the Chapter 11 Cases is in the best

 interest of all stakeholders.




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        I declare under penalty of perjury that the foregoing is true and correct.

 Dated: June 25, 2022
        Dallas, Texas

                                                       /s/ Michael Juniper
                                                       Michael Juniper
                                                       Chief Restructuring Officer
                                                       Corsicana Bedding, LLC




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                                     Exhibit 2

                           PROPOSED INTERIM ORDER




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION
 In re:                                                       §   Chapter 11
                                                              §
 Corsicana Bedding, LLC, et al.,1                             §   Case No. 22-90016-elm-11
                                                              §
 Debtors.                                                     §   Jointly Administered

  INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 364, 503 AND 507 (I)
  AUTHORIZING THE DEBTORS TO OBTAIN SENIOR SECURED SUPERPRIORITY
   POSTPETITION FINANCING; (II) GRANTING (A) LIENS AND SUPERPRIORITY
    ADMINISTRATIVE EXPENSE CLAIMS AND (B) ADEQUATE PROTECTION TO
       CERTAIN PREPETITION LENDERS; (III) AUTHORIZING USE OF CASH
     COLLATERAL; (IV) SCHEDULING A FINAL HEARING; AND (V) GRANTING
                            RELATED RELIEF



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Corsicana Bedding, LLC (3019) (“Corsicana”); Thetford Leasing LLC (7227) (“Thetford”); Olive
 Branch Building, LLC (7227) (“Olive Branch”); Eastern Sleep Products Company (1185) (“Eastern Sleep”);
 Englander-Symbol Mattress of Mississippi, LLC (5490) (“Englander Symbol”); Hylton House Furniture, Inc. (5992)
 (“Hylton House”); Luuf, LLC (3450) (“Luuf”); Symbol Mattress of Florida, Inc. (4172) (“Symbol Florida”); Symbol
 Mattress of Pennsylvania, Inc. (3160) (“Symbol Pennsylvania”); Symbol Mattress of Wisconsin, Inc. (0871) (“Symbol
 Wisconsin”); Symbol Mattress Transportation, Inc. (1185) (“Symbol Transportation”); and Master Craft Sleep
 Products, Inc. (4961) (“Master Craft”). The location of the Debtors’ service address is P.O. Box 3233, Fort Worth,
 Texas 76113.




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          Upon the Debtors’ Emergency Motion for Interim and Final Orders Pursuant to 11 U.S.C.

 §§ 105, 361, 362, 363, 364, 503 and 507 (I) Authorizing the Debtors to Obtain Senior Secured

 Superpriority Postpetition Financing; (II) Granting (A) Liens and Superpriority Administrative

 Expense Claims and (B) Adequate Protection to Certain Prepetition Lenders; (III) Authorizing

 Use Of Cash Collateral; (IV) Scheduling a Final Hearing; and (V) Granting Related Relief (the

 “Motion”)2 of Corsicana Bedding, LLC, et al. (collectively, the “Debtors”) in the above-captioned

 chapter 11 cases (collectively, the “Chapter 11 Cases”), for entry of an interim order (this “Interim

 Order”) and a final order (the “Final Order”), pursuant to sections 105, 361, 362, 363, 364(c)(1),

 364(c)(2) 364(c)(3), 364(d), 364(e), 503 and 507 of title 11 of the United States Code (the

 “Bankruptcy Code”), Rules 2002, 4001(b) and (c), 6003, 6004, and 9014 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 4001-1 and 9013-1 of the Local Rules

 of the United States Bankruptcy Court for the Northern District of Texas (together, the “Local

 Rules”), requesting, among other things:

          (1)          authorization for the Borrowers (as defined in the respective DIP Loan Agreements

 (as defined below)) to obtain postpetition financing pursuant to the DIP Facilities (as defined

 below), and for each of the Guarantors (as defined in the respective DIP Loan Agreements) to

 guarantee unconditionally on a joint and several basis, and subject to the terms and limitations set

 forth in the DIP Loan Agreements in all respects, the applicable Borrowers’ obligations under the

 respective DIP Facilities, consisting of:

                       a)     a senior secured super-priority asset-based revolving credit facility (the
                              “DIP Revolver Facility”), on the terms and conditions substantially in the
                              form annexed hereto as Exhibit A (as the same may be amended, restated,
                              amended and restated, supplemented, waived, extended or otherwise
                              modified from time to time, the “Revolver DIP Agreement,” and, together

 2
  Each capitalized term used but not defined herein shall have the meaning ascribed to it in the applicable DIP Loan
 Documents (as defined below).



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                            with any other related agreements, documents, security agreements, or
                            pledge agreements, including this Interim Order and the Final Order,
                            collectively, the “Revolver DIP Documents”), by and among the Borrowers
                            (as defined in the Revolver DIP Documents), the Guarantors (as defined in
                            the Revolver DIP Documents), Wingspire Capital LLC (“Wingspire”), as
                            administrative agent (in such capacity, the “DIP Revolver Administrative
                            Agent”), and the lenders from time to time party thereto (in such capacity,
                            the “DIP Revolver Lenders” and, together with the DIP Revolver
                            Administrative Agent, the “DIP Revolver Secured Parties”), in an aggregate
                            principal amount (subject to availability) of up to $40 million in revolving
                            commitments available for borrowing by the Borrowers subject to the
                            applicable Borrowing Base (as defined in the Revolver DIP Agreement,
                            and, such commitments, the “DIP Revolving Commitments,” and the loans
                            outstanding under any of the DIP Revolving Commitments from time to
                            time, collectively, the “DIP Revolving Loans”); and

                       b)   a senior secured super-priority term loan facility (the “DIP Term Loan
                            Facility,” and, together with the DIP Revolver Facility, collectively, the
                            “DIP Facilities”), on the terms and conditions substantially in the form
                            annexed hereto as Exhibit B (as the same may be amended, restated,
                            amended and restated, supplemented, waived, extended, or otherwise
                            modified from time to time, the “DIP Term Loan Note,” and, together with
                            the Revolver DIP Agreement, collectively, the “DIP Loan Agreements” and
                            the DIP Term Loan Note, together with any other related agreements,
                            documents, security agreements, or pledge agreements, including this
                            Interim Order and the Final Order, collectively, the “DIP Term
                            Documents,” and the DIP Term Documents, together with the Revolver DIP
                            Documents, the “DIP Loan Documents”), by and among the Borrowers (as
                            defined in the DIP Term Loan Note), the Guarantors (as defined in the DIP
                            Term Loan Note), Blue Torch Finance, LLC (“Blue Torch”), as
                            administrative agent and collateral agent (in such capacities, the “DIP Term
                            Administrative Agent,” and, together with the DIP Revolver Administrative
                            Agent, the “DIP Agents”), and the lenders party thereto from time to time
                            (the “DIP Term Lenders,” and, together with the DIP Term Administrative
                            Agent, the “DIP Term Secured Parties,” and the DIP Term Lenders,
                            together with the DIP Revolver Lenders, the “DIP Lenders,” and the DIP
                            Lenders, together with the DIP Agents, collectively, the “DIP Secured
                            Parties”), in an aggregate principal amount of up to $18 million3 in term
                            loan commitments, which shall be available as term loans (the “DIP Term
                            Loans,” and, together with the DIP Revolving Loans, the “DIP Loans”) to
                            the Borrowers (as defined in the DIP Term Loan Note) upon entry of this
                            Interim Order and satisfaction of the other conditions set forth therein in an
                            interim amount not to exceed $9,750,000, which amount is inclusive of the

 3
  Inclusive of $3,000,000 of Protective Advances (as defined in the Prepetition Term Loan Agreement) made by the
 Prepetition Term Loan Lenders on June 7, 2022 to provide the Debtors with necessary working capital to avoid
 immediate and irreparable harm pending the preparation for and commencement of these Chapter 11 Cases.



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                              $3,000,000 Protective Advances (the “Interim DIP Term Loan”), prior to
                              entry of the Final Order, and the remainder of the DIP Term Loan Facility
                              available upon entry of the Final Order to the extent set forth therein.

          (2)          authorization for the Debtors to execute, deliver, and enter into the DIP Loan

 Documents and to perform all of the Debtors’ respective obligations thereunder, and such other

 and further acts as may be required in connection with the DIP Loan Documents;

          (3)          authorization for the Debtors to pay the principal, interest, fees, expenses, and other

 amounts payable to the DIP Secured Parties pursuant to the DIP Loan Documents, including,

 without limitation, any principal, interest, fees, commitment fees, administrative agent fees, audit

 fees, closing fees, service fees, facility fees, or other fees, costs, expenses, charges, and

 disbursements of the respective DIP Secured Parties (including the reasonable and documented

 fees and expenses of each of the DIP Secured Parties’ attorneys, advisors, accountants and other

 consultants), any obligations in respect of indemnity claims, whether contingent or absolute, in

 each case, to the extent constituting Debtor and/or Guarantor obligations of any kind under the

 DIP Loan Documents (such obligations as to the DIP Revolver Facility, the “DIP Revolver

 Obligations,” and such obligations as to the DIP Term Loan Facility, the “DIP Term Loan

 Obligations,” and, collectively, the “DIP Obligations”);

          (4)          authorization for the Debtors, immediately upon entry of this Interim Order, to use

 proceeds of the DIP Facilities as expressly provided in the DIP Loan Documents and solely in

 accordance with this Interim Order and the applicable Approved Budget (as defined below),

 subject to permitted variances and other exclusions set forth in the DIP Loan Documents, to: (A)

 pay costs, premiums, fees, and expenses related to the Chapter 11 Cases and in connection with

 the DIP Facilities; (B) immediately use borrowings under the DIP Revolver Facility to fully repay

 the Prepetition ABL Obligations (as defined below) and the Protective Advances (as defined

 below); (C) make permitted adequate protection payments in respect of the Prepetition Obligations


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 (as defined below) as provided for in this Interim Order and the Approved Budget; and (D) provide

 financing for working capital and for other general corporate purposes of the Debtors;

          (5)          the grant and approval of superpriority administrative expense claim status,

 pursuant to sections 364(c)(1), 503(b)(1) and 507(b) of the Bankruptcy Code, to the DIP Agents,

 for the benefit of themselves and the other DIP Secured Parties, in respect of all DIP Obligations,

 subject only to the Carve Out (as defined below);

          (6)          to grant the DIP Secured Parties valid, enforceable, non-avoidable, automatically

 and fully perfected DIP Liens (as defined below) in all DIP Collateral (as defined below),

 including, without limitation, all property constituting Prepetition Collateral (as defined below),

 including, without limitation, any Cash Collateral (as that term is defined in section 363(a) of the

 Bankruptcy Code and further defined below), to secure the DIP Obligations, which DIP Liens shall

 be subject to the Carve Out and Permitted Liens (as defined below) and the relative rankings and

 priorities set forth herein and in Exhibit E;

          (7)          authorization for the Debtors to use, solely in accordance with the Approved Budget

 (subject to permitted variances and other exclusions set forth in the DIP Loan Documents) and the

 limitations provided herein and in the DIP Loan Documents, any Cash Collateral in which any of

 the Prepetition Secured Parties (as defined below) may have an interest, and the granting of

 adequate protection solely to the extent of any postpetition diminution in the value of their

 respective interests in the Prepetition Collateral, including, without limitation, the Cash Collateral,

 as a result of (i) the incurrence of the DIP Obligations, (ii) the Debtors’ use of Cash Collateral, (iii)

 the subordination of the Prepetition Obligations to the Carve Out, (iv) any other diminution in

 value of the Prepetition Collateral arising from the Debtors’ use, sale, or disposition of such

 Prepetition Collateral or the proceeds thereof, (v) the priming of the Prepetition Term Loan Liens




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 by the Revolver DIP Liens and the DIP Term Loan Liens on the Prepetition ABL Priority

 Collateral (each as defined below), (vi) the priming of the Prepetition Term Loan Liens by the DIP

 Term Loan Liens on the Prepetition Term Priority Collateral (as defined below), (vii) the priming

 of the Prepetition ABL Liens (as defined below) by the Revolver DIP Liens on the Prepetition

 ABL Priority Collateral, (viii) the priming of the Prepetition ABL Liens by the DIP Term Loan

 Liens and the Revolver DIP Liens on the Prepetition Term Priority Collateral, and (ix) the

 imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code (collectively,

 “Diminution in Value”);

          (8)          the modification of the automatic stay imposed by section 362 of the Bankruptcy

 Code to the extent necessary to implement and effectuate the terms and provisions of this Interim

 Order and the other DIP Loan Documents to the extent hereinafter set forth;

          (9)          a waiver of the Debtors’ ability to surcharge pursuant to section 506(c) of the

 Bankruptcy Code against any DIP Collateral and, subject to entry of the Final Order, the

 Prepetition Collateral, and any right of the Debtors under the “equities of the case” exception in

 section 552(b) of the Bankruptcy Code;

          (10)         this Court’s waiver of any applicable stay (including under Bankruptcy Rule 6004)

 and providing for immediate effectiveness of this Interim Order;

          (11)         the scheduling of a final hearing on the Motion (the “Final Hearing”) to consider

 entry of the Final Order granting the relief requested in the Motion on a final basis, and approving

 the form of notice with respect to the Final Hearing; and

          (12)         granting the Debtors such other and further relief as is just and proper.

          The initial hearing on the Motion having been held by this Court on June 27, 2022 (the

 “Interim Hearing”), and the Court having found that, under the circumstances, due and sufficient




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 notice of the Motion and Interim Hearing was provided by the Debtors as set forth in Paragraph D

 of this Interim Order, and upon the record made by the Debtors at the Interim Hearing, including

 the Motion, the Declaration of Michael Juniper in Support of the Debtors’ Chapter 11 Petitions

 and First Day Motions (the “First Day Declaration”) and the Declaration of Michael Juniper in

 Support of Debtors’ Emergency Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§

 105, 361, 362, 363, 364, 503 and 507 (I) Authorizing the Debtors to Obtain Senior Secured

 Superpriority Postpetition Financing; (II) Granting (A) Liens and Superpriority Administrative

 Expense Claims and (B) Adequate Protection to Certain Prepetition Lenders; (III) Authorizing

 Use Of Cash Collateral; (IV) Scheduling a Final Hearing; and (V) Granting Related Relief (the

 “Juniper DIP Declaration”), attached as Exhibit 1 to the Motion; any exhibits in connection with

 the foregoing, and the filings and pleadings in these Chapter 11 Cases, the Court having found that

 the interim relief requested in the Motion is fair and reasonable and is in the best interests of the

 Debtors, the Debtors’ bankruptcy estates (as defined under section 541 of the Bankruptcy Code,

 the “Estates”), their stakeholders and other parties in interest, and represents a sound exercise of

 the Debtors’ business judgment and is essential for the continued operation and maintenance of

 the Debtors’ businesses; it appearing to the Court that granting the interim relief requested in the

 Motion is necessary to avoid immediate and irreparable harm to the Debtors and their Estates

 pending the Final Hearing; and all objections, if any, to the relief requested in the Motion having

 been withdrawn, resolved, or overruled by the Court; and after due deliberation sufficient cause

 appearing therefor;




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     THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND
 CONCLUSIONS OF LAW:4

          (A)          Petition Date. On June 25, 2022 (the “Petition Date”), each Debtor filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to operate and

 maintain their businesses and manage their properties as debtors-in-possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code. No chapter 11 trustee or examiner has been appointed

 in any of the Chapter 11 Cases.

          (B)          Jurisdiction and Venue.       This Court has jurisdiction over these proceedings

 pursuant to 28 U.S.C. § 1334 and the Order of Reference of Bankruptcy Cases and Proceedings

 Nunc Pro Tunc entered by the United States District Court for the Northern District of Texas, dated

 August 3, 1984. This is a core proceeding pursuant to 28 U.S.C. § 157(b), and the Debtors confirm

 their consent to the entry of a final order by the Court in connection with the Motion if it is

 determined that this Court, absent consent of the parties, cannot enter final orders or judgments

 consistent with Article III of the United States Constitution. Venue is proper before this Court

 pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory and legal predicates for the relief sought

 herein are sections 105, 361, 362, 363, 364, 503 and 507 of the Bankruptcy Code and Bankruptcy

 Rules 2002, 4001, 6003, 6004 and 9014 and Local Rules 4001-1 and 9013-1.

          (C)          Committee Formation. As of the date hereof, no official committee of unsecured

 creditors under section 1102 of the Bankruptcy Code (the “Committee”) or any other statutory

 committee has been appointed in the Chapter 11 Cases.




 4
   The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law pursuant
 to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent that
 any of the following findings of fact constitute conclusions of law, they are adopted as such. To the extent any of the
 following conclusions of law constitute findings of fact, they are adopted as such.



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          (D)          Notice. Notice of the Motion, the interim relief requested therein, and the Interim

 Hearing (the “Notice”) has been provided by the Debtors in accordance with Bankruptcy Rules

 4001 and 9014 and the Local Rules on: (a) the Office of the United States Trustee for the Northern

 District of Texas (the “U.S. Trustee”); (b) the entities listed as holding the 20 largest unsecured

 claims against the Debtors (on a consolidated basis) (the “20 Largest Unsecured Creditors”);

 (c) Schulte Roth & Zabel LLP and Munsch Hardt Kopf & Harr, P.C., as primary and Texas counsel

 to the Prepetition Term Loan Agent and the DIP Term Administrative Agent; (d) McGuireWoods

 LLP, counsel to the Prepetition ABL Agent and the DIP Revolver Administrative Agent; (e) all

 governmental agencies having a regulatory or statutory interest in these Chapter 11 Cases; (f) any

 other notice parties required under any Prepetition Loan Document; (g) all parties which, to the

 best of the Debtors’ knowledge, information, and belief, have asserted or may assert a lien in the

 Debtors’ assets; and (h) any party that has requested notice pursuant to Bankruptcy Rule 2002

 (collectively, the “Notice Parties”).

          (E)          Parties’ Acknowledgments, Agreements, and Stipulations. In requesting the DIP

 Facilities and use of Cash Collateral, and in exchange for and as a material inducement to the DIP

 Secured Parties and the Prepetition Secured Parties to agree to provide, or consent to, the DIP

 Facilities, access to the Cash Collateral, and subordination of the Prepetition Liens (as defined

 below) to the Carve Out, as provided herein, and as a condition to providing financing under the

 DIP Facilities and consenting to the use of Cash Collateral as set forth herein, subject to the rights

 of parties in interest (other than the Debtors) set forth in Section 4.1 of this Interim Order, the

 Debtors permanently and irrevocably admit, stipulate, acknowledge, and agree, as follows:

                       (i)    Prepetition ABL Facility. Corsicana Bedding, LLC (herein, “Corsicana

 Bedding”), and certain of its affiliates designated therein, as borrowers, Corsicana Parent Co.,




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 LLC, designated as “Holdings” thereunder, certain other parties (including, without limitation,

 Holdings) designated as “Guarantors” thereto (such parties, collectively, the “Prepetition ABL

 Obligors”), the financial institutions from time to time party thereto (collectively, the “Prepetition

 ABL Lenders”), and Wingspire, as administrative agent (in such capacity, the “Prepetition ABL

 Agent”), are parties to that certain Credit Agreement, dated as of April 28, 2021 (as amended,

 restated, amended and restated, supplemented, or otherwise modified from time to time, the

 “Prepetition ABL Credit Agreement” and, together with all other agreements, documents, and

 instruments executed and/or delivered with, to or in favor of the Prepetition ABL Agent and the

 Prepetition ABL Lenders, including, without limitation, all security agreements, deposit account

 control agreements (including, without limitation, the Control Agreements (as defined below)),

 control agreements, notes, guarantees, mortgages, Uniform Commercial Code financing

 statements, documents, and instruments, including any fee letters, executed and/or delivered in

 connection therewith or related thereto, the “Prepetition ABL Loan Documents”). The Prepetition

 ABL Credit Agreement provided the Prepetition ABL Obligors with an asset-based revolving

 credit facility (the “Prepetition ABL Facility”) with $40 million of maximum aggregate

 availability to the borrowers thereunder, subject to a borrowing base (as reduced by reserves), as

 set forth in the Prepetition ABL Credit Agreement. As of the Petition Date, approximately

 $18,545,929.18 in principal was outstanding under the Prepetition ABL Facility in the form of

 “Loans” (as defined under the Prepetition ABL Credit Agreement), plus interest accrued and

 accruing at the rates set forth in the Prepetition ABL Credit Agreement (together with any other

 amounts outstanding under the Prepetition ABL Loan Documents, including, without limitation,

 obligations in respect of fees, expenses, and indemnity the “Prepetition ABL Obligations”).5 The


 5
  The defined term “Obligations” in the Prepetition ABL Credit Agreement means “the due and punctual payment and
 performance of all advances to, and debts, liabilities, obligations, covenants and duties of, any Loan Party [i.e., the


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 Prepetition ABL Agent and the Prepetition ABL Lenders are referred to collectively herein as the

 “Prepetition ABL Secured Parties.” The Prepetition ABL Facility is secured by (a) first priority

 security interests in and liens (subject only to certain of the liens permitted under the Prepetition

 ABL Loan Documents) on certain of the Debtors’ property, including (i) all Accounts6 (other than

 Accounts which constitute identifiable proceeds of Term Priority Collateral), (ii) all cash, money

 and cash equivalents (other than, in each instances, as set forth in the Prepetition Intercreditor

 Agreement), (iii) all Deposit Accounts, Securities Accounts and Commodity Accounts (other than,

 in each instance as set forth in the Prepetition Intercreditor Agreement), (iv) all Inventory, (v) to

 the extent evidencing or governing any of the items referred to in clauses (i) through (iv) above,

 all Documents, General Intangibles, Instruments, Chattel Paper, Commercial Tort Claims,

 Investment Property and Letter-of-Credit Rights (other than, in each instance, as set forth in the

 Prepetition Intercreditor Agreement), (vi) ABL Intercompany Debt, certain payments constituting

 certain proceeds of ABL Priority Collateral and the ABL Secured Parties’ Business Interruption

 Insurance Percentage, (vii) all supporting obligations with respect to the ABL Priority Collateral

 (other than as set forth in the Prepetition Intercreditor Agreement), (viii) all books and records

 constituting ABL Priority Collateral, (ix) all collateral security and guarantees with respect to any

 of the items referred to in the preceding clauses (i) through (viii), and (x) all proceeds of any of




 Prepetition ABL Obligors] under or pursuant to each of the [Prepetition ABL] Loan Documents or otherwise with
 respect to any Loan [as defined under the Prepetition ABL Credit Agreement], including, without limitation all
 principal, interest, fees and other amounts payable under the [Prepetition ABL] Loan Documents, and all costs and
 expenses incurred in connection with enforcement and collection of the foregoing, including the fees, charges and
 disbursements of counsel, in each case whether direct or indirect (including those acquired by assumption), absolute
 or contingent, due or to become due, now existing or hereafter arising, and including interest, expenses and fees that
 accrue after the commencement by or against any Loan Party or any [affiliate] thereof of any proceeding under any
 [applicable bankruptcy and insolvency laws] naming such [person] as the debtor in such proceeding, regardless of
 whether such interest, expenses and fees are allowed in such proceeding.”
 6
  Capitalized terms used but not defined in this paragraph E shall have the meanings ascribed to them in the Prepetition
 Intercreditor Agreement (as defined below).



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 the items referred to in the preceding clauses (i) through (ix) (such property, whether now existing

 or hereafter arising or acquired, in clauses (i) through (ix), collectively, the “Prepetition ABL

 Priority Collateral”); and (b) second priority security interests in and liens on certain of the

 Debtors’ property, including (i) all Property of the Borrowers and Guarantors, whenever arising

 and wherever located, on which a Lien is granted as security for any Term Obligations and that

 does not constitute Prepetition ABL Priority Collateral, and (ii) goodwill (such property, whether

 now existing or hereafter arising or acquired, in clauses (i) and (ii) collectively, the “Prepetition

 Term Priority Collateral” and, together with the Prepetition ABL Priority Collateral, the

 “Prepetition Collateral” and, such liens and security interests in clauses (a) and (b), the “Prepetition

 ABL Liens”) provided further, that the Prepetition Collateral does not include, and the Prepetition

 ABL Obligations are not secured by, any Excluded Assets (as defined in the Prepetition

 Documents (as defined below)).

                       (ii)   Prepetition Term Obligations. Corsicana Bedding, as borrower, and certain

 of its affiliates designated therein as “Guarantors” (such parties, collectively, the “Prepetition Term

 Loan Obligors” and, together with the Prepetition ABL Obligors, the “Prepetition Obligors”), each

 “Lender” from time to time party thereto (collectively, the “Prepetition Term Loan Lenders” and,

 together with the Prepetition ABL Lenders, the “Prepetition Lenders”), and Blue Torch, as

 administrative agent and collateral agent (in such capacities, the “Prepetition Term Loan Agent”

 and, together with the Prepetition ABL Agent, the “Prepetition Agents,” and, the Prepetition Term

 Loan Agent together with the Prepetition Term Loan Lenders, the “Prepetition Term Loan Secured

 Parties” and, together with the Prepetition ABL Secured Parties, the “Prepetition Secured Parties”),

 are parties to that certain Financing Agreement, dated as of April 28, 2021 (as amended, restated,

 amended and restated, supplemented, or otherwise modified from time to time, the “Prepetition




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 Term Loan Agreement” and, together with all other agreements, documents, and instruments

 executed and/or delivered with, to or in favor of the Prepetition Term Loan Secured Parties,

 including, without limitation, all security agreements, deposit account control agreements

 (including, without limitation, the Control Agreements (as defined below)), control agreements,

 notes, guarantees, mortgages, Uniform Commercial Code financing statements, documents, and

 instruments, including any fee letters, executed and/or delivered in connection therewith or related

 thereto, the “Prepetition Term Loan Documents” and, together with the Prepetition ABL Loan

 Documents, the “Prepetition Documents”). Pursuant to the Prepetition Term Loan Agreement, the

 Prepetition Term Loan Lenders made term loans in the aggregate principal amount of

 $128,500,000, exclusive of the Protective Advance (the “Prepetition Term Loans”). As of the

 Petition Date, approximately $129,407,386.16 of indebtedness under the Prepetition Term Loan

 Agreement was outstanding, which amount includes the Applicable Premium (as such term is

 defined in the Prepetition Term Loan Agreement) in the amount of $2,512,717.34, capitalized

 interest in the amount of $161,419.83, and accrued and unpaid interest through the Petition Date

 in the amount of $1,097,382.22 (and, together with any other amounts outstanding under the

 Prepetition Term Loan Documents, including interest, fees, and expenses, the “Prepetition Term

 Loan Obligations” and, together with the Prepetition ABL Obligations, the “Prepetition

 Obligations”). The Prepetition Term Loans are secured by (a) first priority security interests in

 and liens (subject only to certain of the liens permitted under the Prepetition Senior Note

 Documents) on the Prepetition Term Priority Collateral; and (b) second priority security interests

 in and liens on the Prepetition ABL Priority Collateral (such liens and security interests in clauses

 (a) and (b), the “Prepetition Term Loan Liens” and, together with the Prepetition ABL Liens, the




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 “Prepetition Liens”); provided, that the Prepetition Term Obligations are not secured by any

 Excluded Assets (as defined in the Prepetition Term Loan Documents).

                       (iii)   Prepetition Intercreditor Agreement. Wingspire, in its capacity as

 Prepetition ABL Agent, and Blue Torch, in its capacity as Prepetition Term Loan Agent, inter alia,

 are parties to that certain Intercreditor Agreement, dated as of April 28, 2021 (as amended, restated,

 supplemented or otherwise modified from time to time, the “Prepetition Intercreditor Agreement”).

 The Prepetition ABL Agent and the Prepetition Term Loan Agent acknowledge and agree that the

 Prepetition Intercreditor Agreement is a valid and enforceable “subordination agreement” under

 section 510(a) of the Bankruptcy Code and other applicable non-bankruptcy law and is, as of the

 Petition Date, binding on the Prepetition ABL Agent, the Prepetition ABL Lenders, the Prepetition

 Term Loan Agent, the Prepetition Term Loan Lenders and each of the other parties thereto.

                       (iv)    Prepetition Collateral. To secure the Prepetition Obligations, the Debtors

 entered into certain guaranty and collateral agreements and certain other security documents

 governing the Prepetition Secured Parties’ respective security interests in the Prepetition Collateral

 (such agreements, as amended, restated, amended and restated, supplemented or otherwise

 modified from time to time, and together with any ancillary collateral documents, including,

 without limitation, any related mortgages and deeds of trust, the “Prepetition Collateral

 Documents”). Pursuant to the Prepetition Collateral Documents, and on the terms set forth therein

 and subject to the Prepetition Intercreditor Agreement, the Debtors granted to the Prepetition

 Secured Parties the Prepetition Liens on the Prepetition Collateral.

                       (v)     Prepetition Obligations. The Prepetition Obligations owing to the

 Prepetition Secured Parties constitute legal, valid, and binding obligations of the Debtors and their

 applicable affiliates, enforceable against them in accordance with their respective terms (other than




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 in respect of the stay of enforcement arising from section 362 of the Bankruptcy Code), and no

 portion of the Prepetition Obligations owing to the Prepetition Secured Parties is subject to

 avoidance, recharacterization, reduction, set-off, offset, counterclaim, cross-claim, recoupment,

 defenses, disallowance, impairment, recovery, subordination, or any other challenges pursuant to

 the Bankruptcy Code or applicable non-bankruptcy law or regulation by any person or entity,

 including in any Successor Cases (as defined below).

                       (vi)    Prepetition Liens. The Prepetition Liens granted to the Prepetition Secured

 Parties constitute legal, valid, binding, enforceable (other than in respect of the stay of enforcement

 arising from section 362 of the Bankruptcy Code), and perfected security interests in and liens on

 the Prepetition Collateral, were granted to, or for the benefit of, the Prepetition Secured Parties for

 fair consideration and reasonably equivalent value, and are not subject to defense, counterclaim,

 recharacterization, subordination, avoidance, or recovery pursuant to the Bankruptcy Code or

 applicable non-bankruptcy law or regulation by any person or entity.

                       (vii)   No Challenges/Claims. No offsets, challenges, objections, defenses, claims

 or counterclaims of any kind or nature to any of the Prepetition Liens or Prepetition Obligations

 exist, and no portion of the Prepetition Liens or Prepetition Obligations is subject to any challenge

 or    defense         including,    without   limitation,    avoidance,   disallowance,   disgorgement,

 recharacterization, or subordination (equitable or otherwise) pursuant to the Bankruptcy Code or

 applicable non-bankruptcy law. The Debtors and their Estates have no valid Claims (as such term

 is defined in section 101(5) of the Bankruptcy Code) objections, challenges, causes of action,

 and/or choses in action against any of the Prepetition Secured Parties or any of their respective

 affiliates, agents, attorneys, advisors, professionals, officers, directors or employees with respect

 to the Prepetition Documents, the Prepetition Obligations, the Prepetition Liens, or otherwise,




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 whether arising at law or at equity, including, without limitation, any challenge, recharacterization,

 subordination, avoidance, recovery, disallowance, reduction, or other claims arising under or

 pursuant to sections 105, 502, 510, 541, 542 through 553, inclusive, or 558 of the Bankruptcy

 Code or applicable state law equivalents. The Prepetition Obligations constitute allowed, secured

 claims within the meaning of sections 502 and 506 of the Bankruptcy Code. The aggregate value

 of the Prepetition ABL Priority Collateral exceeds the amount of the Prepetition ABL Obligations.

                       (viii) Indemnity. The DIP Agents, the DIP Lenders and the Prepetition Secured

 Parties have acted in good faith, and without negligence or violation of public policy or law, in

 respect of all actions taken by them in connection with or related in any way to negotiating,

 implementing, documenting, or obtaining the requisite approvals of the DIP Facilities and the use

 of Cash Collateral, including in respect of the granting of the DIP Liens and the Prepetition Secured

 Parties Adequate Protection Liens (as defined below), any challenges or objections to the DIP

 Facilities or the use of Cash Collateral, and all documents related to any and all transactions

 contemplated by the foregoing. Accordingly, the Prepetition Secured Parties, the DIP Agents and

 the DIP Lenders shall be and hereby are indemnified and held harmless by the Debtors in respect

 of any claim or liability incurred in respect thereof or in any way related thereto, provided that, no

 such parties will be indemnified for any cost, expense, or liability to the extent determined in a

 final, non-appealable judgment of a court of competent jurisdiction to have resulted primarily from

 such parties’ gross negligence or willful misconduct. No exception or defense exists in contract,

 law, or equity as to any obligation set forth, as the case may be, in this Paragraph E(viii), in the

 Prepetition Documents, or in the DIP Loan Documents, to the Debtors’ obligation to indemnify

 and/or hold harmless the Prepetition Secured Parties, the DIP Agents or the DIP Lenders, as the

 case may be.




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                       (ix)   Release. Subject to Section 4.1 of this Interim Order, each of the Debtors,

 their Estates and the Prepetition Obligors, on their own behalf and on behalf of each of their past,

 present and future predecessors, successors, heirs, subsidiaries, and assigns have agreed to provide

 releases to each of the Released Parties (as defined below) as provided in Section 5.17 of this

 Interim Order.

                       (x)    Cash Collateral. The Debtors admit, stipulate, acknowledge, and agree that

 all of the cash of the Debtors, wherever located, and all cash equivalents, including any cash in

 deposit accounts of the Debtors, whether as Prepetition ABL Priority Collateral or Term Loan

 Priority Collateral, as income, proceeds, products, rents or profits of other Prepetition ABL Priority

 Collateral or Term Loan Priority Collateral, or otherwise, constitutes “cash collateral” of the

 Prepetition Secured Parties within the meaning of section 363(a) of the Bankruptcy Code (the

 “Cash Collateral”).

          (F)          Findings Regarding the Postpetition Financing and Use of Cash Collateral.

                       (i)    Request for Postpetition Financing. The Debtors have requested from each

 of the DIP Secured Parties, and the DIP Secured Parties are willing, subject to the terms of this

 Interim Order and satisfaction of the conditions set forth in the DIP Loan Agreements, to extend

 the DIP Loans on the terms and conditions set forth in this Interim Order and the DIP Loan

 Documents, respectively.

                       (ii)   Need for Postpetition Financing and Use of Cash Collateral. The Debtors

 do not have sufficient liquidity, including Cash Collateral, to operate and maintain their businesses

 in the ordinary course of business without the financing requested in the Motion. The Debtors’

 ability to maintain business relationships with their vendors, suppliers, and customers, to pay their

 employees, pay certain fees and expenses as set forth herein, and to otherwise fund their operations




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 and other efforts and activities is essential to the Debtors’ continued viability as the Debtors seek

 to maximize the value of the assets of the Estates for the benefit of all creditors of the Debtors.

 The ability of the Debtors to obtain sufficient working capital and liquidity through the proposed

 postpetition financing arrangements with the DIP Secured Parties and the use of Cash Collateral

 as set forth in this Interim Order, the DIP Loan Agreements and the other DIP Loan Documents,

 as applicable, is vital to the preservation and maintenance of the going concern value of each

 Debtor. Accordingly, the Debtors have an immediate need to obtain the postpetition financing and

 to use Cash Collateral as set forth in this Interim Order to, among other things, permit the orderly

 continuation of the operation and maintenance of their businesses, minimize the disruption of their

 business operations and other efforts and activities and preserve and maximize the value of the

 assets of the Debtors’ Estates to maximize the recovery to all creditors of the Estates.

                       (iii)   No Credit Available on More Favorable Terms. The Debtors are unable to

 procure financing in the form of unsecured credit allowable as an administrative expense under

 sections 364(a), 364(b), or 503(b)(1) of the Bankruptcy Code or in exchange for the grant of a

 superpriority administrative expense, or liens on property of the Estates not subject to a lien

 pursuant to sections 364(c)(1), 364(c)(2), or 364(c)(3) of the Bankruptcy Code. The Debtors assert

 in the Motion, the First Day Declaration, and in the Juniper DIP Declaration, and demonstrated at

 the Interim Hearing, that it would be futile under the circumstances for the Debtors to undertake

 further efforts to seek, and they would not obtain, the necessary postpetition financing, let alone

 on terms more favorable, taken as a whole, than the financing offered by each of the DIP Secured

 Parties pursuant to the DIP Loan Documents. In light of the foregoing, and considering the futility

 of all other alternatives, the Debtors have reasonably and properly concluded, in the exercise of

 their sound business judgment, that the DIP Facilities represent the best financing available to the




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 Debtors at this time, and are in the best interests of the Debtors, their Estates, and all of their

 stakeholders.

                       (iv)   Budget. The Debtors have prepared and delivered to the DIP Agents an

 initial budget (the “Initial Budget”), a copy of which is attached hereto as Exhibit C. The Initial

 Budget reflects the Debtors’ anticipated cash receipts and anticipated disbursements for each

 calendar week during the period from the Petition Date through and including the end of the

 thirteenth (13th) calendar week following the Petition Date (the Initial Budget and each subsequent

 budget approved by the DIP Agents and then in effect, the “Approved Budget”), in each case,

 subject to (i) permitted variances with respect to maximum cumulative collection and

 disbursement variances (“Permitted Variances,” which variances shall be tested on a weekly

 basis), in each case, of (A) in respect of the aggregate amount of Actual Operating Disbursement

 Amounts, (x) 20% for the Initial Two Week Disbursements Period, (y) 20% for the Initial Three

 Week Disbursements Period, and (z) 15% for the Initial Four Week Disbursements Period and

 each Four Week Disbursements Period thereafter, and (B) in respect of Actual Cash Receipts (as

 determined by reference to the “Total Collected” line of the Approved Budget), (x) 20% for the

 Initial Two Week Receipts Period, (y) 15% for the Initial Three Week Receipts Period, and (z)

 15% for the Initial Four Week Receipts Period and each Four Week Receipts Period thereafter;

 and (ii) other exclusions set forth in the DIP Loan Documents. The Debtors believe that the Initial

 Budget is reasonable under the facts and circumstances. The DIP Secured Parties are relying upon

 the Debtors’ agreement to comply with the terms set forth in the DIP Loan Agreements, the other

 DIP Loan Documents and this Interim Order, and with the Approved Budget, in determining to

 enter into the postpetition financing arrangements provided for herein and to consent to the

 Debtors’ use of Cash Collateral as set forth herein. The Debtors shall provide the DIP Agents a




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 revised proposed budget every Thursday beginning on July 14, 2022, and continuing each week

 thereafter (each, a “Proposed Budget”). If a Proposed Budget is approved by the DIP Agents, it

 shall become the Approved Budget. If the DIP Agents do not approve a Proposed Budget, the last

 Approved Budget prior to the delivery of the applicable Proposed Budget shall remain the

 Approved Budget as provided herein.

                       (v)    Sale Process. The DIP Lenders’ willingness to make the DIP Loans and the

 Prepetition Secured Parties’ willingness to consent to the use of Cash Collateral (each on the terms

 and subject to the conditions set forth in the DIP Loan Documents and this Interim Order) is

 predicated upon (i) the Debtors seeking authority to sell all or substantially of their assets to one

 or more buyers pursuant to Section 363 of the Bankruptcy Code by filing a motion (the “Sale

 Motion”) to approve bidding and sale procedures and the sale of the Debtors’ assets to the

 successful bidder(s) by no later than 3 Business Days after the Petition Date and (ii) the Debtors

 seeking to retain Houlihan Lokey Capital, Inc. (“Houlihan Lokey”) as their investment banker and

 advisor in connection with the sale of the Debtors’ assets. Absent such arrangements, the DIP

 Lenders and the Prepetition Secured Parties would not have agreed to make the DIP Loans or

 consent to the use of Cash Collateral as provided in the DIP Loan Documents and this Interim

 Order.

                       (vi)   Certain Conditions to DIP Facilities. The DIP Lenders’ willingness to make

 the DIP Loans is conditioned upon, among other things: (a) the Debtors obtaining Court approval

 to enter into the DIP Loan Documents and to incur all of the obligations thereunder, and to confer

 upon the DIP Secured Parties all applicable rights, powers, and remedies thereunder in each case

 as modified by this Interim Order; (b) the Debtors’ obtaining Court approval of and compliance

 with the “Milestones” set forth on Exhibit D, which are hereby approved in all respects; (c) the




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 provision of adequate protection of the Prepetition Secured Parties’ interests in the Prepetition

 Collateral pursuant to sections 361, 363, and 364 of the Bankruptcy Code; and (d) the DIP Secured

 Parties being granted, as security for the prompt payment of the DIP Facilities and all other

 obligations of the Debtors under the DIP Loan Documents, subject to the priorities described in

 Exhibit E annexed hereto, superpriority perfected security interests in and liens upon all property

 and assets of the Debtors, including, but not limited to, a valid and perfected security interest in

 and lien upon all of the following now existing or hereafter arising or acquired property and assets:

 (i) all property and assets comprising Prepetition Collateral and (ii) all other property and assets

 of the Debtors, including any property or assets consisting of “Excluded Assets” under any of the

 Prepetition Documents (collectively hereinafter referred to as the “DIP Collateral” which, for

 avoidance of doubt, shall (subject to the entry of the Final Order) include, the proceeds (the

 “Avoidance Proceeds”) of any claim or cause of action arising under or pursuant to chapter 5 of

 the Bankruptcy Code or under any other similar provisions of applicable state, federal, or foreign

 law (including any other avoidance actions under the Bankruptcy Code) (collectively, the

 “Avoidance Actions”)).

                       (vii)   Business Judgment and Good Faith Pursuant to Section 364(e). Any credit

 extended, loans made, and other financial accommodations extended to the Debtors by the DIP

 Secured Parties, including, without limitation, pursuant to this Interim Order, have been extended,

 issued, or made, as the case may be, in “good faith” within the meaning of section 364(e) of the

 Bankruptcy Code and in express reliance upon the protections offered by section 364(e) of the

 Bankruptcy Code, and the DIP Facilities, the DIP Liens, and the DIP Superpriority Claims (as

 defined below) shall be entitled to the full protection of section 364(e) of the Bankruptcy Code in




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 the event that this Interim Order or any provision hereof is vacated, reversed, or modified on appeal

 or otherwise.

                       (viii) Sections 506(c) and 552(b). The Debtors have agreed as a condition to

 obtaining financing under the DIP Facilities and the use of Cash Collateral as set forth in this

 Interim Order that as a material inducement to the DIP Secured Parties to agree to provide the DIP

 Facilities and the Prepetition Secured Parties’ consent to the use of Cash Collateral as set forth in

 this Interim Order, and in exchange for (a) the DIP Secured Parties’ willingness to provide the DIP

 Facilities to the extent set forth herein, (b) the DIP Secured Parties’ and the Prepetition Secured

 Parties’ agreement to subordinate their liens and superpriority claims to the Carve Out, and (c) the

 consensual use of Cash Collateral consistent with the Approved Budget, the terms of the DIP Loan

 Agreements, and the terms of this Interim Order, each of the DIP Secured Parties and the

 Prepetition Secured Parties are entitled (subject to the entry of the Final Order) to receive (1) a

 waiver of any equities of the case exceptions or claims under section 552(b) of the Bankruptcy

 Code, and (2) a waiver of the provisions of section 506(c) of the Bankruptcy Code.

                       (ix)   Good Cause. Good cause has been shown for the entry of this Interim Order.

 The relief requested in the Motion is necessary, essential, and appropriate and is in the best interest

 of and will benefit the Debtors, their creditors, and their Estates, as its implementation will, among

 other things, provide the Debtors with the necessary liquidity to (1) minimize disruption to the

 Debtors’ remaining operating businesses, on-going operations and other applicable activities and

 efforts, (2) preserve and maximize the value of the Debtors’ Estates for the benefit of all the

 Debtors’ creditors, and (3) avoid immediate and irreparable harm to the Debtors, their creditors,

 their businesses, their employees, and their assets. The terms of the DIP Facilities and this Interim

 Order are fair and reasonable, reflect each Debtor’s exercise of its business judgment, and are




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 supported by reasonably equivalent value and fair consideration. The DIP Facilities and this

 Interim Order are the product of reasonable, arm’s length, good faith negotiations between the

 Debtors, the DIP Secured Parties and the Prepetition Secured Parties.

                       (x)   Refinancing of Prepetition ABL Obligations and Protective Advances.

                       (a)   The full and immediate payoff of the Prepetition ABL Obligations with the

 proceeds of borrowings under the DIP Revolver Facility in accordance with this Interim Order

 (but subject to the provisions of Section 4.1 hereof) is necessary as the Prepetition ABL Secured

 Parties have not otherwise consented to the use of their Cash Collateral, the subordination of their

 liens to the Carve Out, the Revolver DIP Liens, the DIP Term Loan Liens and the Prepetition Term

 Loan Adequate Protection Liens (as defined below), in each case as provided in this Interim Order,

 or the extension of credit to fund the Debtors’ critical working capital needs in the form of the DIP

 Revolver Facility. Moreover, as set forth in the Juniper DIP Declaration, in consideration of the

 entry of this Interim Order authorizing the refinancing of the Prepetition ABL Obligations, (x) the

 Prepetition ABL Lenders have agreed to waive any claims for interest at the Default Rate (as such

 term is defined in the Prepetition ABL Credit Agreement), (y) the DIP Revolver Lenders have

 agreed to reduce the Availability Block (as such term is defined in the Revolver DIP Agreement)

 from $8 million to $4 million so as to provide the Debtors with access to significant additional

 working capital, and (z) the DIP Revolver Lenders have agreed to defer payment of the Exit Fee

 required to be paid under the Prepetition ABL Credit Agreement until the Maturity Date of the

 DIP Revolver Facility. Thus, the refinancing of the Prepetition ABL Obligations with the DIP

 Revolver Facility will confer material benefits on the Debtors.

                       (b)   The full and immediate payoff of the Protective Advances with the proceeds

 of borrowings under the DIP Term Loan Facility in accordance with this Interim Order (but subject




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 to the provisions of Section 4.1 hereof) is necessary as the Prepetition Term Loan Secured Parties

 have not otherwise consented to the use of their Cash Collateral, the subordination of their liens to

 the Carve Out, the Revolver DIP Liens, the DIP Term Loan Liens and the Prepetition Revolver

 Adequate Protection Liens (as defined below), in each case as provided in this Interim Order, or

 the extension of credit to fund the Debtors’ critical working capital needs in the form of the DIP

 Term Loan Facility. Moreover, as set forth in the Juniper DIP Declaration, in consideration of the

 entry of this Interim Order authorizing the repayment of the Protective Advances with the proceeds

 of the DIP Term Loan Facility, the Prepetition Term Loan Secured Parties have agreed to waive

 any claims for interest at the Default Rate (as such term is defined in the Prepetition Term Loan

 Agreement) on $3,000,000 of Prepetition Term Loan Obligations. As set forth in the Juniper DIP

 Declaration, the Protective Advances were made by the Prepetition Term Loan Lenders shortly

 before the commencement of these Chapter 11 Cases so as to avoid immediate and irreparable

 harm to the Debtors’ businesses, their estates and their creditors.

                       (xi)    Adequate Protection. The Prepetition Secured Parties are entitled, pursuant

 to sections 361, 362, 363, and 364 of the Bankruptcy Code, to receive adequate protection against

 any Diminution in Value of their respective interests in the Prepetition Collateral (including Cash

 Collateral), as set forth in this Interim Order.

                       (xii)   Immediate Entry. Sufficient cause exists for immediate entry of this Interim

 Order pursuant to Bankruptcy Rule 4001(c)(2). Any objections that were made (to the extent such

 objections have not been withdrawn, waived, resolved, or settled) are hereby overruled on the

 merits.




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                       (xiii) Interim Hearing. Notice of the Interim Hearing and the relief requested in

 the Motion has been provided by the Debtors, whether by facsimile, electronic mail, overnight

 courier or hand delivery, to the Notice Parties.

          Based upon the foregoing, and upon the record made before the Court at the Interim

 Hearing and after due consideration and good cause appearing therefor;

          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

 Section 1.            Authorization and Conditions to Financing and Use of Cash Collateral.

          1.1          Motion Granted. The Motion is granted solely to the extent provided in this Interim

 Order. Any objections to the entry of this Interim Order that have not been withdrawn, waived,

 resolved, or settled, and all reservations of rights included therein, are hereby denied and overruled

 on the merits.

          1.2          Authorization of DIP Financing and Use of Cash Collateral.

                       (a)    The Debtors are hereby authorized to execute and deliver the DIP Loan

 Documents and to immediately borrow, incur, and guarantee (as applicable), (i) loans under the

 DIP Revolver Facility, pursuant to the terms and conditions of the Revolver DIP Documents, this

 Interim Order and the Approved Budget, up to an aggregate principal amount of up to $40 million

 in DIP Revolving Commitments; and (ii) DIP Term Loans, pursuant to the terms and conditions

 of the DIP Term Documents, this Interim Order and the Approved Budget, in an aggregate

 principal amount not to exceed $18 million, with such Interim DIP Term Loan to be made upon

 entry of this Interim Order and satisfaction of other conditions set forth in the DIP Term

 Documents and in accordance with the Approved Budget.

                       (b)    The Debtors are hereby authorized to (i) borrow under the DIP Facilities

 and use Cash Collateral during the period (the “Interim Financing Period”) commencing on the

 date of this Interim Order through and including the earlier to occur of (x) the date of entry of the


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 Final Order or (y) the occurrence of a DIP Termination Event (as defined below) solely in

 accordance with, and for the purposes permitted by, the DIP Loan Documents, this Interim Order

 and the Approved Budget, (ii) pay all interest, costs, fees, and other amounts and obligations

 accrued or accruing under the DIP Loan Agreements and other DIP Loan Documents, all pursuant

 to the terms and conditions of this Interim Order, the Approved Budget, the DIP Loan Agreements,

 and the other DIP Loan Documents, (iii) complete the ABL Refinancing (as defined below), and

 (iv) complete the Protective Advance Refinancing (as defined below). The Initial Budget is hereby

 approved in all respects.

          1.3          Financing Documents.

                       (a)   Authorization. The Debtors are hereby authorized to enter into, execute,

 deliver, and perform all obligations under the DIP Loan Documents. No obligation, payment,

 transfer, or grant of security hereunder or under the DIP Loan Documents shall be stayed,

 restrained, voidable, avoidable, or recoverable under the Bankruptcy Code or under any applicable

 state, federal, or foreign law (including, without limitation, under chapter 5 of the Bankruptcy

 Code or under any applicable state Uniform Fraudulent Transfer Act, Uniform Fraudulent

 Conveyance Act, or similar statute or foreign law), or be subject to any defense, reduction, setoff,

 counterclaim, recoupment, offset, recharacterization, subordination (whether equitable,

 contractual or otherwise), cross-claims, or any other challenge under the Bankruptcy Code or any

 applicable law, rule, or regulation by any person or entity.

                       (b)   Approval; Evidence of Borrowing Arrangements. The DIP Loan

 Documents and DIP Obligations shall be valid, binding, and enforceable against the Debtors, their

 Estates, and any successors thereto, including, without limitation, any trustee appointed in any of

 these Chapter 11 Cases or any case under chapter 7 of the Bankruptcy Code upon the conversion




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 of any of these Chapter 11 Cases (collectively, the “Successor Cases”), and their creditors and

 other parties in interest, in each case, in accordance with the terms of this Interim Order and the

 DIP Loan Documents.

                       (c)   Payment of DIP Fees and Other Expenses. Any and all fees and expenses

 payable pursuant to the DIP Loan Documents (collectively, any and all such fees and expenses,

 the “DIP Fees”) are hereby approved and the Debtors are hereby authorized and directed to pay,

 in cash and on a current basis, all reasonable and documented out-of-pocket costs, disbursements,

 and expenses of the DIP Agents and the DIP Lenders incurred at any time, as provided by the DIP

 Loan Documents and this Interim Order in accordance with Section 5.15 hereof. The DIP Fees

 shall not be subject to any offset, defense, claim, counterclaim, or diminution of any type, kind, or

 nature whatsoever.

                       (d)   Amendments to DIP Loan Documents. Subject to the terms and conditions

 of the applicable DIP Loan Documents, the Debtors and the applicable DIP Secured Parties may

 make amendments, modifications, or supplements to any DIP Loan Document, and the DIP Agents

 (acting at the direction of the Required Lenders (as defined in the applicable DIP Loan Documents)

 if so required by the applicable DIP Loan Documents) and the DIP Lenders may waive any

 provisions in the DIP Loan Documents, without further approval of the Court; provided that any

 amendments, modifications, or supplements to any DIP Loan Documents that operate to increase

 the aggregate commitments, the rate of interest payable thereunder, or existing fees or add new

 fees thereunder (excluding, for the avoidance of doubt, any amendment, consent or waiver fee)

 other than as currently provided in the DIP Loan Documents (collectively, the “Material DIP

 Amendments”), shall be filed with the Court, and the Debtors shall provide prior written notice of

 the Material DIP Amendment to (i) counsel to the DIP Agents, (ii) counsel to the DIP Lenders,




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 (iii) counsel for each of the Prepetition Secured Parties, (iv) counsel to the Committee, or, in the

 event no such Committee is appointed at the time of such Material DIP Amendment, the 20 Largest

 Unsecured Creditors, and (v) the U.S. Trustee; provided, further, that the consent of the foregoing

 parties will not be necessary to effectuate any such amendment, modification or supplement,

 except that any Material DIP Amendment that is subject to an objection filed within five (5)

 Business Days following receipt of such Material DIP Amendment must be approved by the Court.

 For the avoidance of doubt, the Debtors must receive written consent as to any Material DIP

 Amendment prior to filing notice thereof with the Court from the applicable Prepetition Agents

 for any amendment, modification, supplement, or waiver that materially and adversely affects any

 rights of any Prepetition Secured Parties hereunder or the treatment of the Prepetition Obligations

 hereunder.

          1.4          Refinancing of Prepetition ABL Obligations and Protective Advances.

                       (a)    Upon the entry of this Interim Order and the satisfaction or waiver of all

 other closing conditions in the Revolver DIP Agreement, without any further action by the

 Debtors, the Court or any other party, the Debtors shall be (i) authorized to immediately borrow

 under the Revolver DIP Agreement the full amount necessary to fully and immediately pay off in

 full all Prepetition ABL Obligations and (ii) subject to Section 4.1 hereof, deemed to have

 contemporaneously fully repaid all Prepetition ABL Obligations (clauses (i) and (ii) together, the

 “ABL Refinancing”). Until (a) the payment in full of all DIP Revolver Obligations and Prepetition

 ABL Obligations, (b) the commitments to lend under the DIP Revolver Facility have terminated,

 (c) all objections and challenges (including, without limitation, any Challenge Proceeding (as

 defined in Section 4.1 hereof)) to (1) the liens, security interests and claims of the Prepetition ABL

 Agent (including, without limitation, liens granted for adequate protection purposes) and/or (2) the




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 Prepetition ABL Obligations have been waived, denied or barred, and (d) all of the Debtors’

 Stipulations (as defined in Section 4.1 hereof) have become binding on their estates and parties in

 interest in accordance with Section 4.1 hereof, all liens, security interests and claims of the

 Prepetition ABL Agent (including, without limitation, liens granted for adequate protection

 purposes) shall remain valid and enforceable with the same continuing priority as described herein

 and the Prepetition ABL Loan Documents shall remain in full force and effect; provided, however,

 that, subject to the results of any applicable Challenge Proceeding, to the extent that Prepetition

 ABL Obligations have been paid pursuant to the ABL Refinancing and have become and are DIP

 Revolver Obligations, such Prepetition ABL Obligations shall not be due or owing separately

 under the Prepetition ABL Loan Documents; provided, further, however, that nothing in the

 foregoing proviso shall alter or diminish, or be deemed to alter or diminish, the Adequate

 Protection (as defined herein) of the Prepetition ABL Agent and the Prepetition ABL Lenders.

                       (b)   Upon the entry of this Interim Order and the satisfaction or waiver of all

 other closing conditions in the DIP Term Loan Note, without any further action by the Debtors,

 the Court or any other party, the Debtors shall be (i) authorized to immediately borrow under the

 DIP Term Loan Note the full amount necessary to fully and immediately pay off in full the

 Protective Advances and (ii) subject to Section 4.1 hereof, deemed to have contemporaneously

 fully repaid all Protective Advances (clauses (i) and (ii) together, the “Protective Advance

 Refinancing”). Until (a) all objections and challenges (including, without limitation, any Challenge

 Proceeding (as defined in Section 4.1 hereof)) to (1) the liens, security interests and claims of the

 Prepetition Term Loan Agent (including, without limitation, liens granted for adequate protection

 purposes) and/or (2) the Prepetition Term Loan Obligations (in each case in respect of the

 Protective Advances) have been waived, denied or barred, and (b) all of the Debtors’ Stipulations




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 (as defined in Section 4.1 hereof) have become binding on their estates and parties in interest in

 accordance with Section 4.1 hereof, all liens, security interests and claims of the Prepetition Term

 Loan Agent (including, without limitation, liens granted for adequate protection purposes) in

 respect of the Protective Advances shall remain valid and enforceable with the same continuing

 priority as described herein and the Prepetition Term Loan Documents shall remain in full force

 and effect; provided, however, that, subject to the results of any applicable Challenge Proceeding,

 to the extent that Protective Advances Obligations have been paid pursuant to the Protective

 Advance Refinancing and have become and are DIP Term Loan Obligations, such Protective

 Advances shall not be due or owing separately under the Prepetition Term Loan Documents;

 provided, further, however, that nothing in the foregoing proviso shall alter or diminish, or be

 deemed to alter or diminish, the Adequate Protection (as defined herein) of the Prepetition Term

 Loan Agent and the Prepetition Term Loan Lenders.

          1.5          Continuation of Prepetition Procedures; DIP Term Loan Escrow Account;

 Prepetition Intercreditor Agreement.

                       (a)   Except to the extent expressly set forth in the Prepetition Documents, DIP

 Loan Documents, or in other “first day” orders, all prepetition practices and procedures for the

 payment, collection and application of proceeds of the Prepetition Collateral, sweeping, the

 turnover of cash, the delivery of property to the Prepetition Agents and the Prepetition Lenders,

 including that certain (i) Deposit Account Control Agreement, dated as of April 28, 2021 (the

 “Primis DACA”), among Eastern Sleep Products Company (“Eastern Sleep Products”), the

 Prepetition ABL Agent, the Prepetition Term Loan Agent and Primis Bank (“Primis”);

 (ii) Blocked Account Control Agreement, dated as of April 28, 2021 (the “Primis BACA”), among

 Eastern Sleep Products, the Prepetition ABL Agent, the Prepetition Term Loan Agent and Primis;




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 (iii) Deposit Account Control Agreement, entered into as of April 28, 2021 (the “First 5/3

 DACA”), among Corsicana Bedding, the Prepetition ABL Agent, the Prepetition Term Loan

 Agent and Fifth Third Bank, National Association (“5/3”); and (iv) Deposit Account Control

 Agreement, entered into as of April 28, 2021 (the “Second 5/3 DACA” and, together with the

 Primis DACA, the Primis BACA and the First 5/3 DACA, the “Control Agreements”), among

 Corsicana Bedding, the Prepetition ABL Agent, the Prepetition Term Loan Agent and 5/3 and any

 other similar lockbox or blocked depository bank account arrangements, are hereby approved and

 shall continue without interruption.

                       (b)   The proceeds of the DIP Term Loans shall be funded into an escrow account

 at Key Bank in the name of Alter Domus (US) LLC, as escrow agent (the “Escrow Agent”), with

 the account number ending in x2268 (the “DIP Term Loan Escrow Account”), which DIP Term

 Loan Escrow Account shall be maintained by the Escrow Agent pursuant to the terms of the

 Escrow Agreement dated as of June 24, 2022 (the “Escrow Agreement”) by and among the DIP

 Term Administrative Agent and the Escrow Agent. The Debtors shall be permitted to make

 Withdrawals from the DIP Term Loan Escrow Account upon submission of a Withdrawal Notice

 to the DIP Term Administrative Agent and the Escrow Agent that provides, among other things,

 that the amount of the requested Withdrawal complies with the Withdrawal Liquidity Condition.7

 Withdrawals from the DIP Term Loan Escrow Account shall be deposited in the DIP holding


 7
   The term “Withdrawal” is defined in the DIP Term Loan Note as “a withdrawal from the [DIP Term Loan] Escrow
 Account made in accordance with Section 2.” The term “Withdrawal Liquidity Condition” is defined in the DIP Term
 Loan Note to mean “with respect to any Withdrawal, the amount of the requested withdrawal does not exceed the
 positive difference of (a) the amount of disbursements reasonably anticipated to be made during the period from such
 withdrawal date to the last Business Day of the week following such withdrawal date as set forth in the Approved
 Budget (subject to Permitted Variances), minus (b) the sum (without duplication) of (x) the amount of cash receipts
 reasonably expected to be received by the Debtors during the period from such withdrawal date to the last Business
 Day of the week following such withdrawal date as set forth in the Budget (subject to Permitted Variances), (y)
 estimated cash in certain designated Debtor bank accounts as of such withdrawal date, and (z) Availability (as defined
 in the DIP Revolver Facility) expected to be available to the Debtors from the withdrawal date to the last Business
 Day of the week following such Withdrawal Date.”



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 account ending in x7135 maintained by the Debtors under their cash management system (the

 “DIP Holding Account”). Funds on deposit in the DIP Holding Account may be transferred to the

 Debtors’ primary disbursement account on a daily basis to the extent necessary to fund the

 Debtors’ disbursements on such day or the immediately succeeding day. The DIP Holding

 Account and the DIP Term Loan Escrow Account (and all amounts from time to time on deposit

 therein) shall constitute Term Loan Priority Collateral for all purposes.

                       (c)    Except to the extent that it is modified as expressly set forth herein, the

 Prepetition Intercreditor Agreement shall remain in full force and effect.

          1.6          Indemnification. The Debtors are authorized to indemnify and hold harmless the

 DIP Agents, each DIP Lender, and, solely in their capacities as such, each of their respective

 successors, assigns, affiliates, parents, subsidiaries, partners, controlling persons, representatives,

 agents, attorneys, advisors, financial advisors, consultants, professionals, officers, directors,

 members, managers, shareholders and employees, past, present and future, and their respective

 heirs, predecessors, successors and assigns (each, an “Indemnified Party”), in accordance with,

 and subject to, the DIP Loan Documents.

 Section 2.            Postpetition Lien; Superpriority Administrative Claim Status.

          2.1          Postpetition Lien.

                       (a)    Postpetition DIP Lien Granting. To secure performance and payment when

 due (whether at the stated maturity, by acceleration or otherwise) of any and all DIP Obligations

 of the Debtors to the DIP Secured Parties of whatever kind, nature, or description, whether absolute

 or contingent, now existing or hereafter arising, the DIP Agents, for the benefit of themselves and

 the DIP Lenders, shall have and are hereby granted, effective as of the Petition Date, continuing,

 valid, binding, enforceable, non-avoidable, and automatically and properly perfected security

 interests in and liens (such security interests and liens as to the DIP Revolver Facility, the


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 “Revolver DIP Liens” and, such security interests and liens as to the DIP Term Loan Facility, the

 “DIP Term Loan Liens,” and, collectively, the “DIP Liens”) in and upon all DIP Collateral, subject

 to Permitted Liens and the rankings and priority set forth in Section 2.1(b) below and as set forth

 on Exhibit E hereto.

                       (b)   DIP Lien Priority in DIP Collateral.

                       (i)   Revolver DIP Liens Rankings and Priority. The Revolver DIP Liens on the

 DIP Collateral securing the DIP Revolver Obligations shall be first and senior in priority to all

 other interests and liens of every kind, nature, and description, whether created consensually, by

 an order of the Court or otherwise, including, without limitation, liens or security interests granted

 in favor of third parties in conjunction with sections 363, 364, or any other section of the

 Bankruptcy Code or other applicable law; provided, however, that the Revolver DIP Liens on

 (A) the Prepetition ABL Priority Collateral (whether in existence on the Petition Date or hereafter

 arising) shall be subject to the Carve Out and Permitted Liens8; (B) the Prepetition Term Priority

 Collateral (whether in existence on the Petition Date or hereafter arising) shall be subject to the

 Carve Out, Permitted Liens, the DIP Term Loan Liens, the Prepetition Term Loan Liens, and the

 Prepetition Term Loan Adequate Protection Liens; (C) assets of the Debtors (the “Non-Lender

 Encumbered Assets”) that were subject to validly perfected liens or security interests as of the

 Petition Date other than the Prepetition Liens (if any, the “Non-Lender Existing Liens”) shall be

 subject (notwithstanding anything in the Prepetition Intercreditor Agreement to the contrary) to

 such Non-Lender Existing Liens, the Carve Out and pari passu with the DIP Term Loan Liens;

 and (D) any other assets of the Debtors (“Unencumbered Assets”) that were not subject to any


 8
   For purposes of this Interim Order, “Permitted Liens” shall mean any liens that are senior by operation of law
 (including any such liens that are perfected subsequent to the Petition Date as permitted by section 546(b) of the
 Bankruptcy Code) or that were, as of the Petition Date, valid, properly perfected, non-avoidable and senior in priority
 to the Prepetition Liens.



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 validly perfected liens or security interest as of the Petition Date (including, subject to the entry of

 a Final Order, Avoidance Proceeds) shall be subject (notwithstanding anything in the Prepetition

 Intercreditor Agreement to the contrary) to the Carve Out and pari passu with the DIP Term Loan

 Liens, in each case as such priorities are set forth in Exhibit E.9

                       (ii)   DIP Term Loan Liens Rankings and Priority. The DIP Term Loan Liens on

 the DIP Collateral securing the DIP Term Loan Obligations shall be first and senior in priority to

 all other interests and liens of every kind, nature, and description, whether created consensually,

 by an order of the Court or otherwise, including, without limitation, liens or interests granted in

 favor of third parties in conjunction with sections 363, 364, or any other section of the Bankruptcy

 Code or other applicable law; provided, however, that the DIP Term Loan Liens on (A) the

 Prepetition ABL Priority Collateral (whether in existence on the Petition Date or hereafter arising)

 shall be subject to the Carve Out, Permitted Liens, the Revolver DIP Liens, the Prepetition ABL

 Liens and the Prepetition ABL Adequate Protection Liens (as defined below); (B) the Prepetition

 Term Priority Collateral (whether in existence on the Petition Date or hereafter arising) shall be

 subject to the Carve Out and Permitted Liens; (C) the Non-Lender Encumbered Assets shall be

 subject (notwithstanding anything in the Prepetition Intercreditor Agreement to the contrary) to

 the Non-Lender Existing Liens, the Carve Out and pari passu with the Revolver DIP Liens; and

 (D) the Unencumbered Assets shall be subject (notwithstanding anything in the Prepetition

 Intercreditor Agreement to the contrary) to the Carve Out and pari passu with the Revolver DIP

 Liens, in each case as such priorities are set forth in Exhibit E.




 9
  In the event of any conflict or inconsistency between the terms and provisions of this Interim Order and Exhibit E,
 Exhibit E shall control.



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                       (c)   Postpetition Lien Perfection. This Interim Order shall be sufficient and

 conclusive evidence of the priority, perfection, and validity of the DIP Liens, the Prepetition

 Secured Parties Adequate Protection Liens, and the other security interests granted herein,

 effective as of the Petition Date, without any further act and without regard to any other federal,

 state, or local requirements or law requiring notice, filing, registration, recording, or possession of

 the DIP Collateral, or other act to validate or perfect such security interest or lien, including,

 without limitation, control agreements with any financial institution(s) party to a control agreement

 (including, without limitation, the Control Agreements) or other depository account consisting of

 DIP Collateral, or requirement to register liens on any certificates of title (a “Perfection Act”).

 Notwithstanding the foregoing, if any DIP Agent or Prepetition Agent, as applicable, shall, in its

 sole discretion, elect for any reason to file, record, or otherwise effectuate any Perfection Act, then

 such DIP Agent or Prepetition Agent, as applicable, is authorized to perform such act, and the

 Debtors are authorized and directed to perform such act to the extent necessary or required by the

 DIP Loan Documents and this Interim Order, which act or acts shall be deemed to have been

 accomplished as of the date and time of entry of this Interim Order notwithstanding the date and

 time actually accomplished, and, in such event, the subject filing or recording office is authorized

 to accept, file, or record any document in regard to such act in accordance with applicable law.

 The DIP Agents or Prepetition Agents, as applicable, may choose to file, record, or present a

 certified copy of this Interim Order in the same manner as a Perfection Act, which shall be

 tantamount to a Perfection Act, and, in such event, the subject filing or recording office is

 authorized to accept, file, or record such certified copy of this Interim Order in accordance with

 applicable law. Should any DIP Agent or Prepetition Agent, as applicable, so choose and attempt

 to file, record, or perform a Perfection Act, no defect or failure in connection with such attempt




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 shall in any way limit, waive, or alter the validity, enforceability, attachment, priority, or perfection

 of the postpetition liens and security interests granted herein by virtue of the entry of this Interim

 Order.

                       (d)   To the extent that any applicable non-bankruptcy law otherwise would

 restrict the granting, scope, enforceability, attachment, or perfection of any liens and security

 interests granted and created by this Interim Order (including the DIP Liens and the Prepetition

 Secured Parties Adequate Protection Liens) or otherwise would impose filing or registration

 requirements with respect to such liens and security interests, such law is hereby preempted to the

 maximum extent permitted by the Bankruptcy Code, applicable federal or foreign law, and the

 judicial power and authority of this Court; provided, however, that nothing herein shall excuse the

 Debtors from payment of any local fees, if any, required in connection with such liens. By virtue

 of the terms of this Interim Order, to the extent that any DIP Agent or Prepetition Agent, as

 applicable, has filed Uniform Commercial Code financing statements, mortgages, deeds of trust,

 or other security or perfection documents under the names of any of the Debtors (including all

 Guarantors), such filings shall be deemed to properly perfect its liens and security interests granted

 and confirmed by this Interim Order without further action by the DIP Agent or Prepetition Agent,

 as applicable.

                       (e)   Except as provided in this Interim Order, the DIP Liens, the DIP

 Superpriority Claims, the Prepetition Secured Parties Adequate Protection Liens, and the

 Prepetition Secured Parties Adequate Protection Claims (as defined below) (i) shall not be made

 subject to or pari passu with (A) any lien, security interest, or claim heretofore or hereinafter

 granted in any of these Chapter 11 Cases or any Successor Cases and shall be valid and enforceable

 against the Debtors, their Estates, any trustee, or any other estate representative appointed or




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  elected in these Chapter 11 Cases or any Successor Cases and/or upon the dismissal of any of these

  Chapter 11 Cases or any Successor Cases; (B) any lien that is avoided and preserved for the benefit

  of the Debtors and their Estates under section 551 of the Bankruptcy Code or otherwise; and

  (C) any intercompany or affiliate lien or claim; and (ii) shall not be subject to sections 510, 549,

  550, or 551 of the Bankruptcy Code.

           2.2          Superpriority Administrative Expenses.

                        (a)    DIP Loans. Subject to the priorities set forth on Exhibit E and the Carve

  Out, on account of all DIP Obligations now existing or hereafter arising pursuant to this Interim

  Order, the DIP Loan Documents, or otherwise, the DIP Agents, for the benefit of themselves and

  the DIP Lenders, are granted allowed superpriority administrative expense claims pursuant to

  section 364(c)(1) of the Bankruptcy Code, having priority in right of payment over any and all

  other obligations, liabilities, and indebtedness of the Debtors, whether now in existence or

  hereafter incurred by the Debtors, and over any and all administrative expenses or priority claims

  of the kind specified in, or ordered pursuant to, inter alia, sections 105, 326, 328, 330, 331,

  364(c)(1), 365, 503(b), 507(a), 507(b), 546(c), 1113, or 1114 of the Bankruptcy Code, whether or

  not such expenses or claims may become secured by a judgment lien or other non-consensual lien,

  levy, or attachment, which allowed superpriority administrative claim shall be payable from and

  have recourse to all prepetition and postpetition property of the Debtors and all proceeds thereof

  (including, subject to entry of the Final Order, proceeds of Avoidance Actions) (such superpriority

  administrative expense claim as to the DIP Revolver Facility, the “Revolver Superpriority Claim”

  and, as to such superpriority administrative expense claim as to the DIP Term Loan Facility, the

  “DIP Term Loan Superpriority Claim” and, collectively, the “DIP Superpriority Claims”).

           2.3          Carve Out Provisions.




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                        (a)   Definitions; No Independent Obligation. For purposes of this Interim Order,

  “Carve Out” shall mean the sum of: (i) all fees required to be paid to the Clerk of the Court and to

  the U.S. Trustee under section 1930(a) of title 28 of the United States Code plus interest at the

  statutory rate (collectively, the “Statutory Fees”); (ii) all reasonable fees and expenses up to

  $25,000 incurred by a trustee under section 726(b) of the Bankruptcy Code (the “Chapter 7 Trustee

  Carve Out”); (iii) to the extent allowed at any time, whether by final order, interim order,

  procedural order, or otherwise, subject to and in the amounts set forth in the Approved Budget, all

  unpaid fees (excluding any success or transaction fees, provided, that the foregoing exclusion does

  not apply to the Debtors’ proposed investment banker, Houlihan Lokey, and any Restructuring Fee

  or Sale Transaction Fee payable to Houlihan Lokey pursuant to the terms of that certain

  engagement letter between the Debtors and Houlihan Lokey dated as of June 8, 2022 that is

  approved by the Court (the “Houlihan Transaction Fee”)), costs, disbursements and expenses (the

  “Allowed Professional Fees”) incurred or earned by persons or firms retained by the Debtors

  pursuant to sections 327, 328, or 363 of the Bankruptcy Code (the “Debtor Professionals”) and the

  Committee pursuant to sections 327, 328 or 1103 of the Bankruptcy Code (the “Committee

  Professionals” and, together with the Debtor Professionals, the “Professional Persons”) at any time

  before or on the first business day following delivery by any DIP Agent of a Carve Out Trigger

  Notice (as defined below), whether allowed by the Court prior to, on or after delivery of a Carve

  Out Trigger Notice (the “Pre-Trigger Carve Out Cap”); and (iv) Allowed Professional Fees of

  Professional Persons in an aggregate amount not to exceed $200,000 (inclusive of any prepetition

  retainer held by the applicable Professional Person to the extent not previously applied or returned)

  incurred after the first business day following delivery by any DIP Agent of the Carve Out Trigger

  Notice (such date, the “Trigger Date”), to the extent allowed at any time, whether by final order,




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  interim order, procedural order, or otherwise (the amounts set forth in this clause (iv) being the

  “Post-Carve Out Trigger Notice Cap” and such amounts set forth in clauses (i) through (iv), the

  “Carve Out Cap”); provided that, nothing herein shall be construed to impair any party’s ability to

  object to court approval of the fees, expenses, reimbursement of expenses or compensation of any

  Professional Person. For purposes of the foregoing, “Carve Out Trigger Notice” shall mean a

  written notice delivered by email by any DIP Agent to the Debtors, their lead restructuring counsel,

  counsel to the Prepetition Agents, the U.S. Trustee, and counsel to the Committee, if any

  (collectively, the “Carve Out Trigger Notice Parties”), which notice may be delivered following

  the occurrence and during the continuation of a DIP Termination Event, and shall describe in

  reasonable detail such DIP Termination Event that is alleged to have occurred and be continuing

  and stating that the Post-Carve Out Trigger Notice Cap has been invoked. None of the DIP Secured

  Parties or the Prepetition Secured Parties shall be responsible for the payment or reimbursement

  of any fees or disbursements of any Professional Person incurred in connection with the Chapter

  11 Cases or any Successor Cases under any chapter of the Bankruptcy Code, other than payment

  or reimbursement of any fees or disbursements from proceeds of DIP Collateral to the extent of

  the Carve Out. Nothing in this Interim Order or otherwise shall be construed to obligate the DIP

  Secured Parties or the Prepetition Secured Parties, in any way, to pay compensation to, or to

  reimburse expenses of, any Professional Person or to guarantee that the Debtors have sufficient

  funds to pay such compensation or reimbursement.

                        (b)   Carve Out Reserves. On the last business day of each week, the Debtors

  shall fund a professional fee reserve (the “Professional Fee Reserve”) in an amount equal to the

  professional fees for Professional Persons as set forth in the Approved Budget for the week then

  ended. All Professional Fee Reserve amounts shall be deposited on a weekly basis in a segregated




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  account at Fifth Third Bank with the account number ending x7143 (the “Professional Fee Reserve

  Account”). All funds in the Professional Fee Reserve Account shall be used first to pay the Carve

  Out (whether such fees are allowed on an interim or final basis) for Allowed Professional Fees of

  Professional Persons, and all Professional Persons shall have all professional fees paid from the

  Professional Fee Reserve prior to seeking payment from any other DIP Collateral. If, after

  payment in full of the Carve Out for Allowed Professional Fees of Professional Persons, the

  Professional Fee Reserve has not been reduced to zero, all remaining funds in the Professional Fee

  Reserve Account shall be returned to the DIP Term Administrative Agent on behalf of the DIP

  Term Lenders. Upon the closing of any sale, restructuring, or other transaction (collectively, a

  “Transaction”) upon which the Houlihan Transaction Fee is earned and payable, to the extent (i)

  the Houlihan Transaction Fee is not paid to Houlihan Lokey upon the closing of such Transaction

  out of the cash proceeds of such Transaction or otherwise, or (ii) budgeted amounts for the

  Houlihan Transaction Fee have not previously been deposited in the Professional Fee Reserve

  Account, the Debtors shall deposit into the Professional Fee Reserve Account an amount equal to

  the portion(s) of the Houlihan Transaction Fee that has not been paid to Houlihan Lokey or

  previously deposited in the Professional Fee Reserve Account.

           2.4          Prepetition Secured Parties Adequate Protection.

                        (a)    Adequate Protection Claims and Liens. The Prepetition Secured Parties are

  entitled, pursuant to sections 361, 363(e), 364(d)(1), 503(b), 507(a), and 507(b) of the Bankruptcy

  Code and effective as of the Petition Date, to adequate protection of their respective interests in

  the Prepetition Collateral, including any Cash Collateral, in an amount equal to the aggregate

  Diminution in Value of the Prepetition Secured Parties’ respective interests in the Prepetition

  Collateral from and after the Petition Date. On account of such adequate protection, the Prepetition




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  Secured Parties are hereby granted the following, in each case subject to the priorities set forth on

  Exhibit E and the Carve Out (collectively, the “Adequate Protection”):

                        (i)    Prepetition ABL Adequate Protection Liens. The Prepetition ABL Secured

  Parties are hereby granted (effective and perfected upon the date of this Interim Order and without

  the necessity of any Perfection Act) valid and perfected postpetition replacement security interests

  in and liens upon the DIP Collateral (the “Prepetition ABL Adequate Protection Liens”), which

  liens shall be, with respect to: (A) the Prepetition ABL Priority Collateral (whether in existence on

  the Petition Date or hereafter arising), subject and subordinate solely to the Carve Out, Permitted

  Liens, the Revolver DIP Liens and the Prepetition ABL Liens; (B) the Prepetition Term Priority

  Collateral (whether in existence on the Petition Date or hereafter arising), subject and subordinate

  solely to the Carve Out, Permitted Liens, the DIP Liens, the Prepetition Liens and the Prepetition

  Term Loan Adequate Protection Liens; (C) the Non-Lender Encumbered Assets, subject to the

  Non-Lender Existing Liens, the Carve Out and the DIP Liens, and pari passu with the Term Loan

  Adequate Protection Liens; and (D) Unencumbered Assets, subject to the Carve Out and the DIP

  Liens, and pari passu with the Prepetition Term Loan Adequate Protection Liens, in each case as

  such priorities are set forth in Exhibit E.

                        (ii)   Prepetition Term Loan Adequate Protection Liens. The Prepetition Term

  Loan Secured Parties are hereby granted (effective and perfected upon the date of this Interim

  Order and without the necessity of any Perfection Act) valid and perfected postpetition

  replacement security interests in and liens upon the DIP Collateral (the “Prepetition Term Loan

  Adequate Protection Liens” and, together with the Prepetition ABL Adequate Protection Liens,

  the “Prepetition Secured Parties Adequate Protection Liens”), which liens shall be, with respect

  to: (A) the Prepetition ABL Priority Collateral (whether in existence on the Petition Date or




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  hereafter arising), subject and subordinate solely to the Carve Out, Permitted Liens, the DIP Liens,

  the Prepetition Liens and the Prepetition ABL Adequate Protection Liens; (B) the Prepetition Term

  Priority Collateral (whether in existence on the Petition Date or hereafter arising), subject and

  subordinate solely to the Carve Out, Permitted Liens, the DIP Term Loan Liens and the Prepetition

  Term Loan Liens; (C) the Non-Lender Encumbered Assets, subject to the Non-Lender Existing

  Liens, the Carve Out and the DIP Liens, and pari passu with the Prepetition ABL Adequate

  Protection Liens; and (D) the Unencumbered Assets, subject to the Carve Out and the DIP Liens,

  and pari passu with the Prepetition ABL Adequate Protection Liens, in each case as such priorities

  are set forth in Exhibit E.

                        (iii)   Adequate Protection Payments. Subject to the Approved Budget, the

  Debtors are authorized to pay to the Prepetition ABL Lenders on the first business day of each

  calendar month after the entry of this Interim Order, an amount equal to all accrued and unpaid

  prepetition or postpetition interest (at the non-default rate), fees, and costs under the Prepetition

  ABL Documents. For the avoidance of doubt, (a) no payment of interest pursuant to this Paragraph

  shall be required so long as interest is being timely paid in respect of the Revolver DIP Obligations,

  and (b) the payment of interest pursuant to this Paragraph shall be without prejudice to the rights

  of the Prepetition ABL Secured Parties to assert claims for payment of interest at the default rate

  in accordance with the Prepetition Documents in the event of a successful Challenge to the ABL

  Refinancing.

                        (iv)    Adequate Protection Superpriority Claims. The Prepetition Secured Parties

  are hereby granted allowed superpriority administrative expense claims pursuant to sections

  503(b), 507(a), and 507(b) of the Bankruptcy Code (the “Prepetition Secured Parties Adequate

  Protection Claims”), which shall be allowed claims against each of the Debtors (jointly and




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  severally), with priority (except as otherwise provided herein) over any and all administrative

  expenses and all other claims against the Debtors now existing or hereafter arising, of any kind

  specified in sections 503(b) and 507(b) of the Bankruptcy Code, and all other administrative

  expenses or other claims arising under any other provision of the Bankruptcy Code, including,

  without limitation, sections 105, 326, 327, 328, 330, 331, 365, 503(b), 507(a), 507(b), or 1114 of

  the Bankruptcy Code, whether or not such expenses or claims may become secured by a judgment

  lien or other nonconsensual lien, levy, or attachment. The Prepetition Secured Parties Adequate

  Protection Claims shall be payable from and have recourse to all pre- and post-petition property

  of the Debtors, subject to the Carve Out, Permitted Liens and the rankings and priorities set forth

  in Exhibit E.

                        (b)   Reporting. The Debtors shall timely provide the Prepetition Secured Parties

  with (x) reasonable access to the Debtors’ facilities, management, books, and records required

  under the Prepetition Documents and (y) copies of all financial reporting provided to the DIP

  Agent and DIP Lenders pursuant to the DIP Loan Documents substantially simultaneously with

  such delivery to the DIP Lenders. The Debtors are also directed to allow the Prepetition Secured

  Parties (and their representatives and advisors), reasonable access to all of the Debtors’ premises,

  information systems, facilities, management, books, and records for the purpose of enabling

  Prepetition Secured Parties to inspect, appraise and audit the DIP Collateral.

                        (c)   Fees and Expenses. The Debtors are authorized and directed to pay: (i) on

  the date of the first advance under the DIP Facilities, all reasonable and documented fees and out-

  of-pocket expenses of the Prepetition Agents that are required to be paid by the Debtors under the

  Prepetition Documents, including such fees and expenses of counsel and financial advisors to such

  Prepetition Agents; and (ii) on an ongoing basis, from time to time after the Petition Date, and




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  without duplication, all reasonable and documented fees and out-of-pocket expenses incurred by

  such Prepetition Agents and required to be paid by the Debtors under the Prepetition Documents

  and incurred by the Prepetition ABL Lenders, including the reasonable and documented fees and

  out-of-pocket expenses of (A) Schulte Roth & Zabel LLP, (B) Munsch Hardt Kopf & Harr, P.C.,

  (C) McGuireWoods LLP, and (D) Carl Marks Advisors (such professionals, the “Adequate

  Protection Professionals,” and such fees and expenses, collectively, the “Adequate Protection

  Professional Fees and Expenses”).

                        (d)   Requests for Payment of Fees and Expenses. With respect to Adequate

  Protection Professional Fees and Expenses incurred postpetition, such Adequate Protection

  Professionals shall deliver an invoice in summary form (which shall not be required to include

  time entry detail, but shall include a general, brief description of the nature of the matters for which

  services were performed, and which may be redacted for privileged or confidential information)

  to counsel to the Debtors, the U.S. Trustee, and any Committee, with a copy of such invoices

  delivered simultaneously to counsel to the DIP Lenders, the DIP Agents, the Prepetition Secured

  Parties, and the Prepetition Agents. If no written objection is received by 12:00 p.m., prevailing

  Central Time, on the date that is ten (10) calendar days after delivery of such invoice, the Debtors

  shall promptly pay such fees and expenses in full. If an objection to a professional’s invoice is

  timely received, the undisputed portion of any such invoice will be deemed allowed, the Debtors

  shall promptly pay such undisputed amount and the Court shall have jurisdiction to determine the

  disputed portion of such invoice if the parties are unable to resolve the dispute consensually.

  Notwithstanding the foregoing, the Debtors are authorized and directed to pay on the Closing Date

  (as defined in the DIP Term Loan Note) or the Effective Date (as defined in the DIP Revolver

  Agreement) all Adequate Protection Professional Fees and Expenses incurred on or prior to




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  (including prior to the Petition Date) such date without the need for any Adequate Protection

  Professionals to first deliver a copy of its invoice as provided for herein. The Adequate Protection

  Professionals shall not be required to comply with the U.S. Trustee fee guidelines or file

  applications or motions with, or obtain approval of, the Court for the payment of any of their fees

  or out-of-pocket expenses (other than with respect to disputed amounts). Subject to Section 4.1

  hereof, payments of any amounts set forth in this Paragraph are not subject to recharacterization,

  avoidance, subordination, or disgorgement.

  Section 3.            DIP Termination Events; Waivers; Rights and Remedies; Relief from Stay.

           3.1          DIP Termination Events. Each of the following shall constitute a “DIP Termination

  Event” unless waived in writing by the applicable DIP Secured Parties and in accordance with the

  applicable DIP Loan Documents: (i) the occurrence of any “Event of Default” as that term is

  defined in each of the DIP Loan Agreements; (ii) any failure to meet or satisfy any Milestone in

  accordance with the applicable DIP Loan Documents; (iii) the occurrence of the “Maturity Date”

  as defined in each of the DIP Term Loan Note and the Revolver DIP Agreement; (iv) any material

  violation, breach, or default by any Debtor with respect to any of its obligations under this Interim

  Order or the DIP Loan Documents, (v) the termination of the DIP Loan Documents, or the

  modification of the DIP Loan Documents or this Interim Order in a manner adverse to any of the

  DIP Secured Parties or the Prepetition Secured Parties without the prior written consent of such

  party, (vi) entry of any order authorizing any party in interest to reclaim any of the DIP Collateral,

  granting any party in interest relief from the automatic stay with respect to the DIP Collateral, or

  requiring that Debtors turnover any of the DIP Collateral, in each case prior to full, final and

  indefeasible repayment of all DIP Obligations and Prepetition Obligations and with respect to DIP

  Collateral having value in excess of $50,000; (vii) conversion of any Chapter 11 Case to a case

  under chapter 7 of the Bankruptcy Code; (viii) a trustee is appointed or elected in any Chapter 11


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  Case, or an examiner with the power to operate the Debtors’ businesses is appointed in any Chapter

  11 Case; (ix) (A) with respect to the Debtors, commencement of an adversary proceeding or

  contested matter objecting to the extent, validity or priority of any Prepetition Obligations and/or

  the Prepetition Liens and (B) with respect to any party in interest with standing (other than the

  Debtors), commencement of such proceeding or matter to the extent such proceeding or matter is

  not overruled by the Court or dismissed within thirty (30) days; (x) the date that is thirty-five (35)

  calendar days following the entry of this Interim Order if a Final Order is not entered in form and

  substance acceptable to the DIP Secured Parties and the Prepetition Secured Parties by such date;

  (xi) the date of the Final Hearing, if this Interim Order is modified at the Final Hearing in a manner

  unacceptable to the DIP Secured Parties or the Prepetition Secured Parties; (xii) the Debtors shall

  withdraw the Sale Motion and/or propose an alternative restructuring transaction, chapter 11 plan,

  or course of these Chapter 11 Cases, other than a sale of substantially all assets pursuant to the

  Sale Motion (in any event, the “New Approach”) that, in any case, does not provide for the

  repayment in full, in cash, of the DIP Obligations substantially contemporaneously with such

  withdrawal of the Sale Motion or proposal of such New Approach; and (xiii) any modification,

  amendment, vacatur or stay of this Interim Order in any manner not consented to in writing by the

  DIP Agents and the Prepetition Agents.

           3.2          Additional DIP Termination Events.

                        (a)    Prior to the payment in full of all Prepetition Obligations and all DIP

  Obligations, any request by the Debtors with respect to the following shall also constitute a DIP

  Termination Event: (i) to obtain postpetition loans or other financial accommodations pursuant to

  section 364(c) or 364(d) of the Bankruptcy Code that does not provide for the repayment in full of

  the DIP Obligations and the Prepetition Obligations, other than as provided in this Interim Order




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  or as may be otherwise permitted pursuant to the DIP Loan Documents; (ii) to challenge the

  application of any payments authorized by this Interim Order pursuant to section 506(b) of the

  Bankruptcy Code; and (iii) to propose or support any challenge pursuant to Section 4.1 of this

  Interim Order, or any challenge by any party in interest seeking to limit or prevent the DIP Secured

  Parties or the Prepetition Secured Parties from exercising their credit bid rights in connection with

  the sale of any assets of the Debtors; provided, that the Debtors’ response to any information

  request by a party in interest shall not constitute “support” of a challenge; or (iv) to seek relief

  under the Bankruptcy Code, including, without limitation, under section 105 of the Bankruptcy

  Code, to the extent any such relief would restrict or impair (A) the rights and remedies of any of

  the DIP Secured Parties or the Prepetition Secured Parties against the Debtors as provided in this

  Interim Order, any of the DIP Loan Documents, or any of the Prepetition Documents (B) the

  exercise of such rights or remedies by any of the DIP Secured Parties or the Prepetition Secured

  Parties against the Debtors in accordance with the DIP Loan Documents, this Interim Order or the

  Prepetition Documents; provided, however, that the DIP Agents and the Prepetition Agents may

  otherwise consent in writing, but no such consent shall be implied from any other action, inaction,

  or acquiescence by the DIP Secured Parties and the Prepetition Secured Parties.

                        (b)   It shall also be a DIP Termination Event if the Debtors propose or support

  any chapter 11 plan or the sale of all or substantially all of the Debtors’ assets (other than pursuant

  to the Sale Motion), or seek entry of an order confirming a chapter 11 plan or approving such non-

  conforming sale, that is not conditioned upon the payment of the DIP Obligations, the Prepetition

  Obligations and the Debtors’ obligations with respect to the Adequate Protection granted

  hereunder, in full in cash, within a commercially reasonable period of time, and in any event no




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  later than the effective date of such chapter 11 plan or sale, without the written consent of the DIP

  Agents and the Prepetition Agents, as applicable.

           3.3          Rights and Remedies upon a DIP Termination Event. Upon the expiration of

  five (5) Business Days following the delivery of a written notice by any DIP Agent or Prepetition

  Agent, as applicable, of the occurrence of and during the continuance of a DIP Termination Event

  (the “Remedies Notice Period”), (a) the DIP Agents shall each be entitled to independently take

  any act or exercise any right or remedy as provided in this Interim Order or any DIP Loan

  Document, as applicable, including, without limitation, (i) declare all DIP Obligations owing under

  their respective DIP Loan Documents to be immediately due and payable; (ii) terminate, reduce,

  or restrict any commitment to extend additional credit to the Debtors to the extent any such

  commitment remains; (iii) terminate the DIP Facilities and any DIP Loan Document as to any

  future liability or obligation of the DIP Secured Parties, but without affecting any of the DIP

  Obligations or the DIP Liens securing the DIP Obligations; (iv) invoke the right to charge interest

  at the default rate under the DIP Loan Documents; and/or (v) stop lending; and (b) the Prepetition

  Agents shall (i) be entitled to terminate and/or revoke the Debtors’ right, if any, under this Interim

  Order and the other DIP Loan Documents to use any Cash Collateral and all such authority to use

  Cash Collateral shall cease and (ii) each have automatic and immediate relief from the automatic

  stay with respect to the Prepetition Collateral (without regard to the passage of time provided for

  in Fed. R. Bankr. P. 4001(a)(3)), and shall be entitled to exercise all rights and remedies available

  under the Prepetition Documents and applicable non-bankruptcy law (subject to the Prepetition

  Intercreditor Agreement). For the avoidance of doubt, notwithstanding the foregoing, during the

  Remedies Notice Period, the Debtors (x) may not borrow under the DIP Revolver Facility or make

  any Withdrawal from the Escrow Account, and (y) may use Cash Collateral solely in amounts




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  necessary to avoid immediate and irreparable harm to the Debtors’ Estates (including funding

  payroll and paying other administrative expenses) all in accordance with this Interim Order and

  the Approved Budget, or that have otherwise been approved in advance in writing by the DIP

  Secured Parties.

           3.4          Modification of Automatic Stay. The automatic stay provisions of section 362 of

  the Bankruptcy Code and any other restriction imposed by an order of the Court or applicable law

  are hereby modified without further notice, application, or order of the Court to the extent

  necessary to (i) permit the DIP Agents and Prepetition Agents to perform any act authorized or

  permitted under or by virtue of this Interim Order, the DIP Loan Agreements, or the other DIP

  Loan Documents, as applicable, including, without limitation, (i) to implement the postpetition

  financing arrangements authorized by this Interim Order, (ii) to take any act to create, validate,

  evidence, attach or perfect any lien, security interest, right or claim in the DIP Collateral, (iii) to

  assess, charge, collect, advance, deduct, and receive payments with respect to the Prepetition

  Obligations and DIP Obligations (or any portion thereof), including, without limitation, all

  interests, fees, costs, and expenses permitted under any of the DIP Loan Documents and apply

  such payments to the Prepetition Obligations, and (iv) subject to the Remedies Notice Period, to

  take any action and exercise all rights and remedies provided to it by this Interim Order, the DIP

  Loan Documents, or applicable law.

  Section 4.            Representations and Covenants.

           4.1          Reservation of Third Party Challenge Rights. The stipulations, releases,

  agreements, and admissions contained in this Interim Order, including, without limitation,

  Paragraph E hereof, and the releases contained in clause (ix) thereof (collectively, the “Debtors’

  Stipulations”), shall be binding on the Debtors in all circumstances. The Debtors’ Stipulations

  shall be binding on each other party in interest, including, without limitation, the Committee (if


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  any), unless, and solely to the extent that (a) any such party in interest, including the Committee

  (if any), with standing and requisite authority has timely commenced an adversary proceeding or

  other appropriate contested matter (subject to the limitations contained herein, including, inter alia,

  in this Section 4.1) by no later than either (i) the earlier of (A) (1) with respect to parties in interest

  with standing (other than a Committee), 75 calendar days after entry of this Interim Order or

  (2) with respect to a Committee, if any, 60 calendar days after the appointment of the Committee

  or (B) subject to the entry of a Final Order, the deadline to object to the entry of the order approving

  the bidding and sale procedures portion of the Sale Motion, (ii) any such later date as has been

  agreed to, in writing, by the applicable Prepetition Agent (with the consent of the applicable

  Prepetition Secured Parties), or (iii) such later date as set by an order of the Court for cause shown

  (such time period established by the foregoing clauses (i) through (iii), the “Challenge Period”)

  against the Prepetition Secured Parties in connection with matters arising from or related to the

  Prepetition Documents, the Prepetition Obligations, the Prepetition Liens, and the Prepetition

  Collateral, and notwithstanding the ABL Refinancing, including by (A) objecting to or challenging

  the amount, validity, perfection, enforceability, priority, or extent of the Prepetition Obligations or

  Prepetition Liens, or (B) otherwise asserting or prosecuting any action for preferences, fraudulent

  transfers or conveyances, other avoidance power claims or any other claims, counterclaims, or

  causes of action (including, without limitation, causes of action asserting claims for equitable

  subordination or lender liability), objections, contests, or defenses with respect to the Prepetition

  Obligations or Prepetition Liens or otherwise seeking affirmative relief (a “Challenge

  Proceeding”) and (b) there is a final, non-appealable order in favor of the plaintiff sustaining any

  Challenge Proceeding in any such timely filed adversary proceeding or contested matter; provided

  that, any pleadings filed in connection with any Challenge Proceeding shall set forth with




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  specificity the basis for such Challenge Proceeding and any challenges or claims not so specified

  prior to the expiration of the Challenge Period shall be deemed forever waived, released, and

  barred; provided, further, that the Challenge Period shall be extended for a chapter 7 trustee for an

  additional 45 days if the case is converted prior to the expiration of the Challenge Period. For the

  avoidance of doubt, a party in interest’s commencement of a timely Challenge Proceeding shall

  preserve the Challenge Period only with respect to such party in interest commencing the

  Challenge Proceeding and only to the extent of the express content of such Challenge Proceeding.

  If no such Challenge Proceeding is timely commenced, then: (v) the Debtors’ stipulations,

  admissions, agreements, and releases contained in this Interim Order, including, without

  limitation, those contained in Paragraph E of this Interim Order, and the releases contained in

  clause (ix) thereof, shall be binding on all parties in interest; (w) any and all Challenge Proceedings

  by any party (including, without limitation, the Committee, any chapter 11 trustee, or any examiner

  and/or other estate representative appointed or elected in these Chapter 11 Cases, and any chapter 7

  trustee and/or examiner or other estate representative appointed or elected in any Successor Case)

  shall be deemed to be forever waived, released, and barred; (x) to the extent not theretofore repaid,

  the Prepetition Obligations shall constitute allowed claims, not subject to counterclaim, setoff,

  subordination, recharacterization, reduction, defense or avoidance, for all purposes in these

  Chapter 11 Cases and any subsequent chapter 7 case; (y) the Prepetition Liens on the Prepetition

  Collateral shall be deemed to have been, as of the Petition Date, and to be, legal, valid, binding,

  perfected and of the priority specified in Paragraph E hereof, not subject to defense, counterclaim,

  recharacterization, subordination or avoidance; and (z) the obligations under the Prepetition

  Documents and the Prepetition Liens on the Prepetition Collateral shall not be subject to any other

  or further challenge by the Debtors, the Committee (if any) or any other party in interest, including,




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  without limitation, any successor thereto (including, without limitation, any estate representative

  or a chapter 7 or chapter 11 trustee appointed or elected for any of the Debtors with respect

  thereto). If any Challenge Proceeding is timely commenced, the stipulations, releases, agreements,

  and admissions contained in Paragraph E of this Interim Order, and the releases contained in clause

  (ix) thereof, shall nonetheless remain binding and preclusive (as provided in this Paragraph) on

  the Debtors, the Committee (if any), and any other person or entity, except as to any such findings

  and admissions that were expressly and successfully challenged in such Challenge Proceeding as

  set forth in a final, non-appealable order of a court of competent jurisdiction. In the event of a

  successful Challenge Proceeding in accordance with this Section 4.1 with respect to the ABL

  Refinancing, the Court may fashion any appropriate remedy in accordance with applicable law.

  Nothing in this Interim Order vests or confers on any Person (as defined in the Bankruptcy Code),

  including the Committee (if any), standing or authority to pursue any cause of action belonging to

  the Debtors or their estates, including, without limitation, claims and defenses with respect to the

  Prepetition Documents or the Prepetition Liens on the Prepetition Collateral.

  Section 5.            Other Rights and DIP Obligations.

           5.1          No Modification or Stay of this Interim Order. The DIP Agents and the DIP Lenders

  have acted in good faith in connection with the DIP Facilities and with this Interim Order, and

  their reliance on this Interim Order is in good faith, and the DIP Agents and the DIP Lenders are

  entitled to the protections of section 364(e) of the Bankruptcy Code.

           5.2          Rights of Access and Information. The Debtors shall comply with the rights of

  access and information afforded to the DIP Secured Parties under the DIP Loan Documents and

  the Prepetition Secured Parties under the Prepetition Documents.

           5.3          Power to Waive Rights; Duties to Third Parties.




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                        (a)   Subject to the terms of the DIP Loan Documents, the DIP Revolver

  Administrative Agent and the DIP Term Administrative Agent shall have the right (acting at the

  direction of the Required Lenders (as defined in the applicable DIP Loan Documents) if so required

  by the applicable DIP Loan Documents) to waive any of the terms, rights, and remedies provided

  or acknowledged in this Interim Order that are in favor of the DIP Revolver Lenders and the DIP

  Term Lenders, respectively (as applicable, the “DIP Lender Rights”), and shall have no obligation

  or duty to any other party with respect to the exercise or enforcement, or failure to exercise or

  enforce, any DIP Lender Rights; provided that, the DIP Agents shall obtain the prior written

  consent of the applicable Prepetition Agent for any waiver that affects any rights of the Prepetition

  Secured Parties hereunder or any treatment of the Prepetition Obligations. Any waiver by the DIP

  Agents of any DIP Lender Rights shall not be nor shall it constitute a continuing waiver unless

  otherwise expressly provided therein. Any delay in or failure to exercise or enforce any DIP

  Lender Right shall neither constitute a waiver of such DIP Lender Right, subject the DIP Agents

  or any DIP Lender to any liability to any other party, nor cause or enable any party other than the

  Debtors to rely upon or in any way seek to assert as a defense to any obligation owed by the

  Debtors to the DIP Agents or any DIP Lender.

                        (b)   Each of the Prepetition ABL Agent and the Prepetition Term Loan Agent

  shall have the right to waive any of the terms, rights, and remedies provided or acknowledged in

  this Interim Order that are in favor of the Prepetition ABL Lenders and the Prepetition Term Loan

  Lenders, respectively (as applicable, the “Prepetition Lender Rights”), and shall have no obligation

  or duty to any other party with respect to the exercise or enforcement, or failure to exercise or

  enforce, any Prepetition Lender Rights; provided that, the Prepetition Agents shall obtain the prior

  written consent of the applicable DIP Agent for any waiver that affects any rights of the DIP




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  Secured Parties hereunder or any treatment of the DIP Obligations. Any waiver by the Prepetition

  Agents of any Prepetition Lender Rights shall not be nor shall it constitute a continuing waiver

  unless otherwise expressly provided therein. Any delay in or failure to exercise or enforce any

  Prepetition Lender Right shall neither constitute a waiver of such Prepetition Lender Right, subject

  the Prepetition Agents or any Prepetition Lender to any liability to any other party, nor cause or

  enable any party other than the Debtors to rely upon or in any way seek to assert as a defense to

  any obligation owed by the Debtors to the Prepetition Agents or any Prepetition Lender.

           5.4          No Unauthorized Disposition of Collateral; Use of Cash Collateral; Investigation

  Budget.

                        (a)    The Debtors shall not sell, transfer, lease, encumber, use, or otherwise

  dispose of any portion of the DIP Collateral (including inventory and Cash Collateral), other than

  pursuant to the terms of this Interim Order or as permitted by the DIP Loan Documents, and the

  Debtors are authorized to use Cash Collateral solely in a manner consistent with this Interim Order,

  the Approved Budget and the DIP Loan Documents (including permitted variances and exclusions

  to the Approved Budget permitted thereunder).

                        (b)    Notwithstanding anything herein to the contrary, no portion of the proceeds

  of the DIP Revolver Facility, the DIP Term Loan Facility, the DIP Collateral or the Prepetition

  Collateral, including Cash Collateral, may be used for the payment of professional fees,

  disbursements, costs, or expenses incurred by any person in connection with (i) preventing,

  hindering, impeding, or delaying any of the DIP Secured Parties’ or Prepetition Secured Parties’

  enforcement or realization upon, or exercise of rights in respect of, any of the DIP Collateral or

  Prepetition Collateral, other than to seek a determination that a Termination Event (as defined

  below) has not occurred or is not continuing or in connection with a remedies hearing, (ii) seeking




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  to amend or modify any of the rights or interests granted to the DIP Secured Parties or Prepetition

  Secured Parties under this Interim Order or the DIP Loan Documents, including seeking to use

  Cash Collateral on a contested basis, (iii) asserting, commencing, or prosecuting any claims or

  causes of action, including, without limitation, any Challenge or any other actions under chapter 5

  of the Bankruptcy Code (or any similar law), against any DIP Secured Party or Prepetition Secured

  Party, or any of their respective affiliates, agents, attorneys, advisors, professionals, officers,

  directors, or employees, or (iv) asserting, joining, commencing, supporting, investigating, or

  prosecuting any Challenge, or any other action for any claim, counterclaim, action, cause of action,

  proceeding, application, motion, objection, defense, or other contested matter seeking any order,

  judgment, determination, or similar relief against, or adverse to the material interests of any DIP

  Secured Party or Prepetition Secured Party, arising out of, in connection with, or relating to the

  DIP Loan Documents or the Prepetition Documents, or the transactions contemplated thereunder,

  including, without limitation, (A) any action arising under the Bankruptcy Code, (B) any so-called

  “lender liability” claims and causes of action, (C) any action with respect to the validity and extent

  of the DIP Obligations or the Prepetition Obligations or the validity, extent, perfection and priority

  of the DIP Liens or the Prepetition Liens, (D) any action seeking to invalidate, set aside, avoid,

  reduce, set off, offset, re-characterize, subordinate (whether equitable, contractual, or otherwise),

  recoup against, disallow, impair, raise any defenses, cross-claims, or counterclaims, or raise any

  other challenges under the Bankruptcy Code or any other applicable domestic or foreign law or

  regulation against, or with respect to, the DIP Liens or the Prepetition Liens, in whole or in part,

  or (E) appeal or otherwise challenge this Interim Order or the Final Order. Notwithstanding the

  foregoing, no more than $25,000 in the aggregate of the proceeds of the DIP Facilities, DIP




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  Collateral, or Cash Collateral may be used by any Committee in connection with the investigation

  of, but not litigation of, any potential Challenge.

           5.5          No Waiver. The failure of the DIP Lenders or the Prepetition Lenders, as

  applicable, to seek relief or otherwise exercise their rights and remedies under the DIP Loan

  Documents, the DIP Facilities, the Prepetition Documents, or this Interim Order, as applicable,

  shall not constitute a waiver of any of the DIP Lenders’ or Prepetition Lenders’ rights hereunder,

  thereunder, or otherwise. Notwithstanding anything herein, the entry of this Interim Order is

  without prejudice to, and does not constitute a waiver of, expressly or implicitly, or otherwise

  impair the rights of the DIP Lenders or the Prepetition Lenders under the Bankruptcy Code or

  under non-bankruptcy law, including, without limitation, the rights of the DIP Lenders and the

  Prepetition Lenders to: (a) request conversion of the Chapter 11 Cases to cases under chapter 7,

  dismissal of the Chapter 11 Cases, or the appointment of a trustee in the Chapter 11 Cases; (b)

  propose, subject to the provisions of section 1121 of the Bankruptcy Code, a plan; or (c) exercise

  any of the rights, claims, or privileges (whether legal, equitable, or otherwise) of the DIP Lenders

  or the Prepetition Lenders.

           5.6          Maintenance of Collateral. Unless the DIP Agents, acting at the direction of the

  applicable Required Lenders (as defined in the DIP Loan Documents), otherwise consent in

  writing, until (i) the payment in full or otherwise acceptable satisfaction of all DIP Obligations and

  (ii) the termination of the DIP Agents’ and the DIP Lenders’ obligations to extend credit under the

  DIP Facilities, the Debtors shall comply with the covenants contained in the DIP Loan Documents

  regarding the maintenance and insurance of the DIP Collateral. Upon entry of this Interim Order

  and to the fullest extent provided by applicable law, each of the DIP Agents (on behalf of the

  applicable DIP Lenders) shall be, and shall be deemed to be, without any further action or notice,




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  named as additional insureds and loss payees on each insurance policy maintained by the Debtors

  that in any way relates to the DIP Collateral.

           5.7          Reservation of Rights. The terms, conditions, and provisions of this Interim Order

  are in addition to and without prejudice to the rights of each DIP Secured Party and Prepetition

  Secured Party, as applicable, to pursue any and all rights and remedies under the Bankruptcy Code,

  the DIP Loan Documents, the Prepetition Documents, or any other applicable agreement or law,

  including, without limitation, rights to seek adequate protection and/or additional or different

  adequate protection, to seek relief from the automatic stay, to seek an injunction, to oppose any

  request for use of Cash Collateral or granting of any interest in the DIP Collateral or the Prepetition

  Collateral, as applicable, or priority in favor of any other party, to object to any sale of assets, and

  to object to applications for allowance and/or payment of compensation of professionals or other

  parties seeking compensation or reimbursement from the Estates.

           5.8          Binding Effect.

                        (a)    All of the provisions of this Interim Order and the DIP Loan Documents,

  the DIP Obligations, all liens, and claims granted hereunder in favor of each of the DIP Secured

  Parties and the Prepetition Secured Parties, and any and all rights, remedies, privileges, immunities

  and benefits in favor of each DIP Agent, DIP Lender, and Prepetition Secured Party set forth

  herein, including, without limitation, the parties’ acknowledgements, stipulations, and agreements

  in Paragraph E of this Interim Order, subject to Section 4.1 hereof (without each of which the DIP

  Secured Parties would not have entered into or provided funds under the DIP Loan Documents

  and the Prepetition Secured Parties would not have consented to the priming of the Prepetition

  Liens as set forth herein and use of Cash Collateral provided for hereunder) provided or

  acknowledged in this Interim Order, and any actions taken pursuant thereto, shall be effective and




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  enforceable as of the Petition Date immediately upon entry of this Interim Order and not subject

  to any stay of execution or effectiveness (all of which are hereby waived), notwithstanding

  Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), 7062, and 9024, or any other Bankruptcy Rule,

  or Rule 62(a) of the Federal Rules of Civil Procedure, shall continue in full force and effect, and

  shall survive entry of any other order or action, including, without limitation, any order which may

  be entered confirming any chapter 11 plan providing for the refinancing, repayment, or

  replacement of the DIP Obligations, converting one or more of the Chapter 11 Cases to any other

  chapter under the Bankruptcy Code, dismissing one or more of the Chapter 11 Cases, approving

  any sale of any or all of the DIP Collateral or the Prepetition Collateral, or vacating, terminating,

  reconsidering, revoking, or otherwise modifying this Interim Order or any provision hereof;

  provided that, in the event a Final Order is entered, the terms and conditions of such Final Order

  shall control over this Interim Order; provided further that such Final Order must affirm each of

  the provisions, protections, grants, statements, stipulations, and agreements in this Interim Order

  in order for such provisions, protections, grants, statements, stipulations, and agreements to remain

  in effect after entry of the Final Order.

                        (b)   Nothing in these Chapter 11 Cases may impair the DIP Superpriority Claim,

  the Prepetition Secured Parties Adequate Protection Claims, and the DIP Secured Parties’ and the

  Prepetition Secured Parties’ respective liens on and security interests in the DIP Collateral and the

  Prepetition Collateral, respectively, and all other claims, liens, adequate protections, and other

  rights granted pursuant to the terms of this Interim Order, which shall continue in full force and

  effect notwithstanding such dismissal until the DIP Obligations and Prepetition Obligations are

  indefeasibly paid and satisfied in full. Notwithstanding any such dismissal, this Court shall retain




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  jurisdiction for the purposes of enforcing all such claims, liens, protections, and rights referenced

  in this Paragraph and otherwise in this Interim Order.

                        (c)   Except as set forth in this Interim Order, in the event this Court modifies,

  reverses, vacates, or stays any of the provisions of this Interim Order or any of the DIP Loan

  Documents, such modifications, reversals, vacatur, or stays shall not affect the (i) validity, priority,

  or enforceability of any DIP Obligations incurred prior to the actual receipt of written notice by

  the DIP Agents or Prepetition Agents, as applicable, of the effective date of such modification,

  reversal, vacatur, or stay, (ii) validity, priority, or enforceability of the DIP Liens, the DIP

  Superpriority Claims, the Prepetition Secured Parties Adequate Protection Liens and the

  Prepetition Secured Parties Adequate Protection Claims or (iii) rights or priorities of any DIP

  Secured Party or Prepetition Secured Party pursuant to this Interim Order with respect to the DIP

  Collateral or any portion of the DIP Obligations. All such liens, security interests, claims and other

  benefits shall be governed in all respects by the original provisions of this Interim Order, and the

  DIP Secured Parties and the Prepetition Secured Parties shall be entitled to all the rights, remedies,

  privileges and benefits granted hereto, including the liens and priorities granted herein.

                        (d)   This Interim Order shall be binding upon the Debtors, all parties in interest

  in the Chapter 11 Cases, and their respective successors and assigns, including, without limitation,

  (i) any trustee or other fiduciary appointed in the Chapter 11 Cases or any subsequently converted

  bankruptcy case(s) of any Debtor and (ii) any liquidator, receiver, administrator, or similar such

  person or entity appointed in any jurisdiction or under any applicable law. This Interim Order

  shall also inure to the benefit of the Debtors, DIP Agents, DIP Lenders, Prepetition Secured Parties,

  and each of their respective successors and assigns.




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           5.9          No Discharge. The DIP Obligations and the obligations of the Debtors with respect

  to adequate protection hereunder, including granting the Prepetition Secured Parties Adequate

  Protection Liens and the Prepetition Secured Parties Adequate Protection Claims, shall not be

  discharged by the entry of an order confirming any plan of reorganization in any of these Chapter

  11 Cases, notwithstanding the provisions of section 1141(d) of the Bankruptcy Code, unless such

  obligations have been indefeasibly paid in full in cash, on or before the effective date of such

  confirmed plan of reorganization, or each of the DIP Secured Parties or the Prepetition Secured

  Parties, as applicable, has otherwise agreed in writing.

           5.10         No Priming of Prepetition Obligations. Notwithstanding anything to the contrary

  herein, from and after the entry of this Interim Order, absent the express written consent of the

  applicable Prepetition Lenders, no Debtor shall seek authorization from this Court to obtain or

  incur any indebtedness or enter into an alternative financing facility other than the DIP Facilities

  (a “Competing DIP Facility”) seeking to impose liens on any Prepetition Collateral ranking on a

  pari passu or priming basis with respect to the Prepetition Liens held by the Prepetition Secured

  Parties; provided, however, that nothing herein shall preclude the Debtors from seeking

  authorization to incur any indebtedness or enter into any Competing DIP Facility that provides for

  the payment in full of the DIP Obligations and the Prepetition Obligations at the initial closing of

  such Competing DIP Facility.

           5.11         Section 506(c) Waiver. No costs or expenses of administration which have been or

  may be incurred in these Chapter 11 Cases at any time (including, without limitation, any costs

  and expenses incurred in connection with the preservation, protection, or enhancement of value by

  the DIP Agents or the DIP Lenders upon the DIP Collateral, or by the Prepetition Secured Parties

  upon the Prepetition Collateral, as applicable) shall be charged against any of the DIP Agents, DIP




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  Lenders, or (subject to entry of the Final Order) the Prepetition Secured Parties, or any of the DIP

  Obligations or Prepetition Obligations or the DIP Collateral or the Prepetition Collateral pursuant

  to sections 105 or 506(c) of the Bankruptcy Code or otherwise without the prior express written

  consent of the affected DIP Secured Parties and/or affected Prepetition Secured Parties, in their

  sole discretion, and no such consent shall be implied, directly or indirectly, from any other action,

  inaction, or acquiescence by any such agents or creditors (including, without limitation, consent

  to the Carve Out or the approval of any budget hereunder).

           5.12         Section 552(b) Waiver. The Debtors have agreed as a condition to obtaining

  financing under the DIP Facilities and using Cash Collateral as provided in this Interim Order that

  the Prepetition Secured Parties are and shall each be entitled to all of the rights and benefits of

  section 552(b) of the Bankruptcy Code and that the “equities of the case” exception under section

  552(b) shall not apply to the DIP Agents, the DIP Lenders, the DIP Obligations, the Prepetition

  Secured Parties, or the Prepetition Obligations.

           5.13         No Marshaling/Application of Proceeds.

                        (a)    In no event shall the DIP Agents, the DIP Lenders, or, subject to the entry

  of the Final Order, the Prepetition Secured Parties be subject to the equitable doctrine of

  “marshaling” or any similar doctrine with respect to the DIP Collateral or the Prepetition

  Collateral, as applicable, and all proceeds shall be received and applied in accordance with the DIP

  Loan Documents and the Prepetition Documents (including the Prepetition Intercreditor

  Agreement), as applicable.

                        (b)    Notwithstanding anything to the contrary in this Interim Order, but subject

  in all respects to the priorities set forth on Exhibit E hereto, the respective DIP Obligations shall

  be satisfied from the proceeds of DIP Collateral.




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           5.14         Right to Credit Bid. The Debtors acknowledge and agree that, pursuant to Section

  363(k) of the Bankruptcy Code and subject to the Prepetition Intercreditor Agreement, each of the

  DIP Revolver Secured Parties, Prepetition ABL Secured Parties, the DIP Term Secured Parties

  and the Prepetition Term Loan Secured Parties shall have the right to credit bid the full amount of

  the DIP Revolver Obligations, the Prepetition ABL Obligations, the DIP Term Loan Obligations

  and the Prepetition Term Loan Obligations, respectively, in connection with any sale of the

  Debtors’ assets pursuant to the Sale Motion or otherwise.

           5.15         Payment of DIP Lender Fees and Expenses.         The Debtors shall pay (i) the

  reasonable and documented fees and expenses reimbursable under the DIP Facilities, the DIP Loan

  Agreements, or the other DIP Loan Documents, as applicable, whether incurred before or after the

  Petition Date and (ii) all reasonable and documented out-of-pocket costs and expenses of the DIP

  Agents and the DIP Revolver Lenders including, without limitation, reasonable and documented

  fees and disbursements of counsel in connection with the enforcement or preservation of any rights

  under the DIP Facilities, the DIP Loan Agreements, or the other DIP Loan Documents. With

  respect to payment of fees and expenses incurred from and after the Petition Date, the DIP Agents

  and the DIP Revolver Lenders shall comply with the procedures set forth in Section 2.4(d) hereof.

           5.16         Limits on Lender Liability.

                        (a)    Solely as a result of making any loan under the DIP Loan Agreements,

  authorizing the use of Cash Collateral or in exercising any rights or remedies as and when

  permitted pursuant to this Interim Order or the DIP Loan Documents, the DIP Agents, the DIP

  Lenders, and, subject to entry of the Final Order, the Prepetition Secured Parties, shall not be

  deemed to (i) be in control of the operations of the Debtors or to be acting as a “controlling person,”

  “responsible person,” or “owner or operator” with respect to the operation or management of the




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  Debtors, so long as the such party’s actions do not constitute, within the meaning of 42 U.S.C.

  § 9601(20)(F), actual participation in the management or operational affairs of a facility owned or

  operated by a Debtor, or otherwise cause liability to arise to the federal or state government or the

  status of responsible person or managing agent to exist under applicable law (as such terms, or any

  similar terms, are used in the Internal Revenue Code, WARN Act, the United States

  Comprehensive Environmental Response, Compensation and Liability Act, 42 U.S.C. §§ 9601 et

  seq., as amended, or any similar federal or state statute) or (ii) owe any fiduciary duty to any of

  the Debtors. Furthermore, nothing in this Interim Order shall in any way be construed or

  interpreted to impose or allow the imposition upon any of the DIP Secured Parties or, subject to

  the entry of the Final Order, the Prepetition Secured Parties, of any liability for any claims arising

  from the prepetition or postpetition activities of any of the Debtors and their respective affiliates

  (as defined in section 101(2) of the Bankruptcy Code).

                        (b)    As to the United States, its agencies, departments, or agents, nothing in this

  Interim Order or the DIP Loan Documents shall discharge, release or otherwise preclude any valid

  right of setoff or recoupment that any such entity may have.

           5.17         Release. Subject to Section 4.1 of this Interim Order, each of the Debtors, their

  Estates and the Prepetition Obligors, on their own behalf and on behalf of each of their past, present

  and future predecessors, successors, heirs, subsidiaries, and assigns, hereby forever,

  unconditionally, permanently, and irrevocably release, discharge, and acquit each of the DIP

  Secured Parties and the Prepetition Secured Parties, and (in such capacity) each of their respective

  successors, assigns, affiliates, parents, subsidiaries, partners, controlling persons, representatives,

  agents, attorneys, advisors, financial advisors, consultants, professionals, officers, directors,

  members, managers, shareholders, and employees, past, present and future, and their respective




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  heirs, predecessors, successors and assigns (collectively, the “Released Parties”) of and from any

  and all claims, controversies, disputes, liabilities, obligations, demands, damages, expenses

  (including, without limitation, attorneys’ fees), debts, liens, actions, and causes of action of any

  and every nature whatsoever, whether arising in law or otherwise, and whether known or unknown,

  matured or contingent, arising under, in connection with, or relating to (i) the Prepetition

  Obligations and the DIP Facilities or (ii) the DIP Loan Documents and the Prepetition Documents,

  as applicable, including, without limitation, (a) any so-called “lender liability” or equitable

  subordination claims or defenses, (b) any and all “claims” (as defined in the Bankruptcy Code)

  and causes of action arising under the Bankruptcy Code, and (c) any and all offsets, defenses,

  claims, counterclaims, set off rights, objections, challenges, causes of action, and/or choses in

  action of any kind or nature whatsoever, whether arising at law or in equity, including any

  recharacterization, recoupment, subordination, avoidance, or other claim or cause of action arising

  under or pursuant to section 105 or chapter 5 of the Bankruptcy Code or under any other similar

  provisions of applicable state, federal, or foreign law, including, without limitation, any right to

  assert any disgorgement or recovery, in each case, with respect to the extent, amount, validity,

  enforceability, priority, security, and perfection of any of the Prepetition Obligations and the DIP

  Obligations, the Prepetition Documents and the DIP Loan Documents, or the Prepetition Liens and

  the DIP Liens, and further waive and release any defense, right of counterclaim, right of setoff, or

  deduction to the payment of the Prepetition Obligations and the DIP Obligations that the Debtors

  now have or may claim to have against the Released Parties, arising under, in connection with,

  based upon, or related to any and all acts, omissions, conduct undertaken, or events occurring prior

  to entry of this Interim Order. The Debtors are authorized in any payoff letter or similar agreement

  into which they enter upon payment in full of any DIP Obligations to provide a waiver and release




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  substantially similar to the waiver and release set forth in this Section 5.17 of the applicable DIP

  Agent(s) and the applicable DIP Lenders and their respective related parties.

           5.18         Survival. The provisions of this Interim Order, the validity, priority, and

  enforceability of the DIP Liens, the DIP Superpriority Claims, the Prepetition Secured Parties

  Adequate Protection Liens, the Prepetition Secured Parties Adequate Protection Claims, and any

  actions taken pursuant hereto shall survive, and shall not be modified, impaired or discharged by,

  entry of any order that may be entered (a) confirming any plan of reorganization in any of these

  Chapter 11 Cases, (b) converting any or all of these Chapter 11 Cases to a case under chapter 7 of

  the Bankruptcy Code, (c) dismissing any or all of these Chapter 11 Cases, (d) terminating the joint

  administration of these Chapter 11 Cases or any other act or omission, (e) approving the sale of

  any DIP Collateral pursuant to section 363(b) of the Bankruptcy Code (except to the extent

  permitted by the DIP Loan Documents), or (f) pursuant to which the Court abstains from hearing

  any of these Chapter 11 Cases. The terms and provisions of this Interim Order, including the

  claims, liens, security interests, and other protections (as applicable) granted to the DIP Agents,

  the DIP Lenders, and the Prepetition Secured Parties pursuant to this Interim Order,

  notwithstanding the entry of any such order, shall continue in any of these Chapter 11 Cases,

  following dismissal of any of these Chapter 11 Cases or any Successor Cases, and shall maintain

  their priority as provided by this Interim Order until (i) in respect of the DIP Facilities, all of the

  DIP Obligations, pursuant to the DIP Loan Documents and this Interim Order, have been

  indefeasibly paid in full in cash (such payment being without prejudice to any terms of provisions

  contained in the DIP Facilities which survive such discharge by their terms) and all commitments

  to extend credit under the DIP Facilities are terminated, and (ii) in respect of the Prepetition

  Obligations, all of the adequate protection obligations owed to the Prepetition Secured Parties




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  provided for in this Interim Order and under the Prepetition Documents have been indefeasibly

  paid in full in cash.

           5.19         Proofs of Claim. None of the Prepetition Secured Parties shall be required to file

  proofs of claim in any of these Chapter 11 Cases or subsequent cases of any of the Debtors under

  any chapter of the Bankruptcy Code, and the Debtors’ Stipulations in this Interim Order shall be

  deemed to constitute a timely filed proof of claim against the applicable Debtor(s).

  Notwithstanding the foregoing, each Prepetition Agent (on behalf of itself and the applicable

  Prepetition Lenders) is hereby authorized and entitled, in its discretion, but not required, to file

  (and amend and/or supplement, as applicable) a master proof of claim in the Debtors’ lead Case

  (and such master proof of claim shall be also deemed filed in each of the Debtors’ individual

  Cases) for any claims of the applicable Prepetition Secured Parties arising from the Prepetition

  Documents or in respect of the Prepetition Obligations; provided, however, that nothing in this

  Interim Order shall waive the right of any Prepetition Lender to file its own proof of claim against

  any of the Debtors.

           5.20         No Third Party Rights. Except as specifically provided for herein, this Interim

  Order does not create any rights for the benefit of any third party, creditor, equity holders, or any

  direct, indirect, or incidental beneficiary.

           5.21         No Avoidance. No obligations incurred or payments or other transfers made by or

  on behalf of the Debtors on account of the DIP Facilities shall be avoidable or recoverable from

  the DIP Agents or the DIP Lenders under any section of the Bankruptcy Code, or any other federal,

  state, or other applicable law, provided that, nothing within this Paragraph is intended to limit or

  curtail the provisions of Section 4.1 hereof, with respect to the Prepetition Obligations.




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           5.22         Reliance on Order. All postpetition advances under the DIP Loan Documents are

  made in reliance on this Interim Order.

           5.23         Payments Free and Clear. Subject to Section 4.1, any and all payments or proceeds

  remitted to the DIP Agents on behalf of the applicable DIP Secured Parties or the Prepetition

  Agents on behalf of the applicable Prepetition Secured Parties, pursuant to the provisions of this

  Interim Order, any subsequent order of this Court or the DIP Loan Documents, shall, subject to

  the terms of this Section 5.23, be irrevocable, received free and clear of any claims, charge,

  assessment, or other liability, including, without limitation, any such claim or charge arising out

  of or based on, directly or indirectly, section 506(c) of the Bankruptcy Code or section 552(b) of

  the Bankruptcy Code, whether asserted or assessed by, through or on behalf of the Debtors, and in

  the case of payments made or proceeds remitted after the delivery of a Trigger Notice, subject to

  the Carve Out in all respects.

           5.24         Limited Effect. In the event of a conflict between the terms and provisions of any

  of the DIP Loan Documents and this Interim Order, the terms and provisions of this Interim Order

  shall govern.

           5.25         Headings. Section headings used herein are for convenience only and are not to

  affect the construction of or to be taken into consideration in interpreting this Interim Order.

           5.26         Bankruptcy Rules. The requirements of Bankruptcy Rules 4001, 6003, and 6004,

  in each case to the extent applicable, are satisfied by the contents of the Motion.

           5.27         General Authorization. The Debtors, the DIP Secured Parties, and the Prepetition

  Secured Parties are authorized to take any and all actions necessary to effectuate the relief granted

  in this Interim Order.




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           5.28         Retention of Exclusive Jurisdiction. This Court shall retain exclusive jurisdiction

  and power with respect to all matters arising from or related to the implementation or interpretation

  of this Interim Order, the DIP Loan Agreements, and the other DIP Loan Documents.

           5.29         Final Hearing and Response Dates. The Final Hearing on the Motion pursuant to

  Bankruptcy Rule 4001(c)(2) will be held on July __, 2022, at __:__ _.m., prevailing Central Time.

  The Debtors shall promptly mail copies of this Interim Order to the Notice Parties, and to any other

  party that has filed a request for notices with this Court and to any Committee after same has been

  appointed, or the Committee’s counsel if same shall have filed a request for notice. The Debtors

  may serve the Motion and this Interim Order without the exhibits attached thereto as such exhibits

  are voluminous and available, free of charge, at the Debtors’ claims and noting agent’s website:

  www.donlinrecano.com/corsicana, and such notice is deemed good and sufficient, and no further

  notice need be given. Any party in interest objecting to the relief sought at the Final Hearing shall

  serve and file written objections, which objections shall be served upon the Notice Parties and

  shall be filed with the Clerk of the Court, in each case, to allow actual receipt of the foregoing no

  later than 4:00 p.m. (prevailing Central Time), on July __, 2022.

                                         # # # END OF ORDER # # #

  Submitted by:

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  PROPOSED ATTORNEYS FOR DEBTORS




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                                     EXHIBIT A
                               (Revolver DIP Agreement)




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                                                                                Execution Version




                       SENIOR SECURED, SUPER-PRIORITY DEBTOR-IN-POSSESSION
                                        CREDIT AGREEMENT

                                       dated as of June 25, 2022

                                                among

                                   CORSICANA PARENT CO., LLC,
                                           as Holdings,

                                     CORSICANA BEDDING, LLC
                                                and
                                   CERTAIN OF ITS SUBSIDIARIES,
                                           as Borrowers,

                                   CERTAIN OF ITS SUBSIDIARIES,
                                          as Guarantors,

                                   THE LENDERS PARTY HERETO,

                                                 and

                                     WINGSPIRE CAPITAL LLC,
                                       as Administrative Agent




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   SENIOR SECURED, SUPER-PRIORITY DEBTOR-IN-POSSESSION CREDIT AGREEMENT

          This SENIOR SECURED, SUPER-PRIORITY DEBTOR-IN-POSSESSION CREDIT
  AGREEMENT (this “Agreement”), dated as of June 25, 2022, is entered into by and among CORSICANA
  PARENT CO., LLC, a (“Holdings”), CORSICANA BEDDING, LLC, a Delaware limited liability
  company (the “Company”), the Subsidiaries of the Company from time to time party hereto as Borrowers
  (together with the Company each, a “Borrower” and individually and collectively, jointly and severally, the
  “Borrowers”), the Subsidiaries of the Company from time to time party hereto as Guarantors (together with
  Holdings, each, a “Guarantor” and collectively, the “Guarantors”), the financial institutions from time to
  time party hereto as lenders (each, a “Lender” and, collectively, the “Lenders”), and WINGSPIRE
  CAPITAL LLC, as administrative agent for the Lenders (in such capacity, together with its successors and
  assigns in such capacity, the “Administrative Agent”).

                                                  RECITALS

           A.       On June 25, 2022 (the “Petition Date”), (i) the Company, (ii) Eastern Sleep Products
  Company, a Virginia corporation, (iii) Englander-Symbol Mattress of Mississippi, LLC, a Virginia limited
  liability company, (iv) Hylton House Furniture, Inc., a Virginia corporation, (v) Luuf, LLC, a Virginia
  limited liability company, (vi) Master Craft Sleep Products, Inc., an Alabama corporation, (vii) Olive
  Branch Building, LLC, a Virginia limited liability company, (viii) Symbol Mattress of Florida, Inc., a
  Virginia corporation, (ix) Symbol Mattress of Pennsylvania, Inc., a Virginia corporation, (x) Symbol
  Mattress of Wisconsin, Inc., a Virginia corporation, (xi) Symbol Mattress Transportation, Inc., a Virginia
  corporation., and (xii) Thetford Leasing, LLC, a Virginia limited liability company (clauses (i) through (xii)
  collectively, the “Debtors” and each individually, a “Debtor”), commenced chapter 11 Case Nos. 22-90016-
  elm11 through 22-90027-elm11, as administratively consolidated as chapter 11 Case No. 22-90016-elm11
  (collectively, the “Chapter 11 Cases” and each individually, a “Chapter 11 Case”), with the United States
  Bankruptcy Court for the Northern District of Texas, Fort Worth Division (the “Bankruptcy Court”). The
  Debtors continue to operate their businesses and manage their properties as debtors and debtors in
  possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

          B.      Prior to the Petition Date, the Lenders provided financing to the Borrowers pursuant to that
  certain Credit Agreement, dated as of April 28, 2021, by and among the Company, the other Borrowers,
  Holdings, certain Subsidiaries of the Company party thereto as Borrowers, and certain Subsidiaries of the
  Company party thereto as Guarantors, Wingspire Capital LLC, as administrative agent (in such capacity,
  the “Prepetition ABL Agent”), and the lenders from time to time party thereto (the “Prepetition ABL
  Lenders”) (as amended, restated, modified, waived or supplemented through the date hereof, the
  “Prepetition ABL Credit Agreement”).

           C.     As of the Petition Date, the Prepetition ABL Lenders under the Prepetition ABL Credit
  Agreement were owed: $18,545,929.18 in outstanding principal with respect to Loans (as such term is
  defined in the Prepetition ABL Credit Agreement), plus interest, fees, costs and expenses and all other
  Prepetition ABL Obligations under the Prepetition ABL Credit Agreement.

           D.      The Prepetition ABL Obligations (as defined below) are secured by a security interest in
  certain existing and after-acquired assets of the Loan Parties as more fully set forth in the Prepetition ABL
  Loan Documents (as defined below) and such security interest is perfected and has, with certain exceptions
  as described in the Prepetition ABL Loan Documents, priority over other security interests;

          E.       The Borrowers have requested, and, upon the terms and conditions set forth in this
  Agreement, the Lenders have agreed to make available to the Borrowers, a senior secured, super-priority
  revolving credit facility of up to $40,000,000 in the aggregate to fund the working capital requirements of


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  the Borrowers and other transactions as more fully set forth in Section 6.8 during the pendency of the
  Chapter 11 Cases;

           F.      Each Loan Party has agreed to secure all of the Obligations under the Loan Documents by
  granting to the Administrative Agent, for the benefit of the Administrative Agent and the other Secured
  Parties, a security interest in and lien upon substantially all of their existing and after-acquired personal
  property (subject to the limitations and priorities contained in the Loan Documents and the Orders);

          G.       Each Loan Party’s business is a mutual and collective enterprise and the Loan Parties
  believe that the loans and other financial accommodations to the Borrowers under this Agreement will
  enhance the aggregate borrowing powers of the Borrowers and facilitate the administration of the Chapter
  11 Cases and their loan relationship with the Administrative Agent and the Lenders, all to the mutual
  advantage of the Loan Parties;

          H.      Each Loan Party acknowledges that it will receive substantial direct and indirect benefits
  by reason of the making of loans and other financial accommodations to the Borrowers as provided in this
  Agreement; and

          I.       The Administrative Agent’s and the Lenders’ willingness to extend financial
  accommodations to the Borrowers, as more fully set forth in this Agreement and the other Loan Documents,
  is done solely as an accommodation to the Loan Parties and at the Loan Parties’ request and in furtherance
  of the Loan Parties’ mutual and collective enterprise.

           NOW THEREFORE, in consideration of the mutual covenants and agreements herein contained,
  the parties hereto covenant and agree as follows:

                                                   ARTICLE 1

                             DEFINITIONS AND RULES OF CONSTRUCTION

          Section 1.1        Definitions. As used in this Agreement, the following terms have the meanings
  specified below:

          “ABLSoft” means the electronic and/or internet-based system approved by the Administrative
  Agent for the purpose of making notices, requests, deliveries, communications and for the other purposes
  contemplated in this Agreement or otherwise approved by Lender, whether such system is owned, operated
  or hosted by the Administrative Agent, any of its Affiliates or any other Person.

          “Account Debtor” means each Person who is or may become obligated to a Loan Party in respect
  of any Receivable or any Supporting Obligation or Collateral Support relating thereto.

            “Acquisition” means any transaction or series of related transactions resulting, directly or
  indirectly, in: (a) the acquisition by any Person of (i) all or substantially all of the assets of another Person
  or (ii) all or substantially all of any business line, unit or division of another Person, (b) the acquisition by
  any Person (i) of in excess of 50% of the Equity Interests of any other Person, or (ii) otherwise causing any
  other Person to become a Subsidiary of such Person, or (c) a merger, amalgamation consolidation, or any
  other combination of any Person with another Person (other than a Person that is a Loan Party or a
  Subsidiary of a Loan Party) in which a Loan Party or any of its Subsidiaries is the surviving Person.

           “Actual Cash Receipts” shall mean with respect to any period, the actual amount that corresponds
  to the line item “Total Operating Receipts” as determined by reference to the Budget as then in effect.



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          “Actual Net Operating Cash Flow” shall mean with respect to any period, the actual amount that
  corresponds to the line item “Net Cash Flow” in the Budget as then in effect.

         “Actual Operating Disbursement Amounts” shall mean with respect to any period, the actual
  amount that corresponds to the line item “Total Operating Disbursements” in the Budget as then in effect.

          “Actual Outstanding Debt” shall mean with respect to any period, the actual amount that
  corresponds to the “Ending Loan Balance” line item under the “Wingspire Post-Petition DIP Loan
  Balances” and “BT DIP Loan Balance” in the Budget as then in effect.

         “Adequate Protection Liens” has the meaning assigned to the term “Prepetition Secured Parties
  Adequate Protection Liens” in the Interim Order (or the Final Order, when applicable).

         “Adequate Protection Superpriority Claims” has the meaning assigned to the term “Prepetition
  Secured Parties Adequate Protection Claims” in the Interim Order (or the Final Order, when applicable).

           “Administrative Agent” has the meaning assigned to such term in the preamble of this Agreement.

           “Administrative Agent Advisor” means any financial advisor, attorney, accountant, appraiser,
  auditor, business valuation expert, environmental engineer or consultant, turnaround consultant, and other
  consultants, professionals and experts retained by the Administrative Agent or other advisors of the
  Administrative Agent on behalf of the Administrative Agent in connection with the Loan Documents.

          “Administrative Agent’s Payment Office” means the Administrative Agent’s office located at
  Deerfield Corporate Center, 13010 Morris Road, Building One, Suite 175, Alpharetta, GA 30004, or such
  other office as to which the Administrative Agent may from time to time notify the Borrower Agent and
  the Lenders.

         “Administrative Questionnaire” means an Administrative Questionnaire in a form supplied by the
  Administrative Agent.

           “Affected Financial Institution” means (a) any EEA Financial Institution or (b) any UK Financial
  Institution.

          “Affiliate” means, with respect to a specified Person, another Person that directly, or indirectly
  through one or more intermediaries, Controls or is Controlled by or is under common Control with the
  Person specified.

          “Alternate Base Rate” means, for any day, a rate per annum equal to the greatest of (a) the Prime
  Rate in effect on such day, and (b) the Federal Funds Effective Rate in effect on such day plus 0.50% per
  annum, provided that the Alternate Base Rate shall at no time be less than 1.00% per annum. Any change
  in the Alternate Base Rate due to a change in the Prime Rate or the Federal Funds Effective Rate shall be
  effective from and including the effective date of such change in the Prime Rate or the Federal Funds
  Effective Rate.

          “Anti-Corruption Laws” means all laws, rules, and regulations of any jurisdiction applicable to the
  Loan Parties or their respective Subsidiaries from time to time concerning or relating to bribery or
  corruption.

           “Anti-Money Laundering Laws” means the applicable laws, regulations, and sanctions, state and
  federal, criminal and civil, in any jurisdiction in which any Loan Party or any of its Subsidiaries or Affiliates



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  is located or is doing business that: (a) limit the use of and/or seek the forfeiture of proceeds from illegal
  transactions; (b) limit commercial transactions with designated countries or individuals believed to be
  terrorists, narcotics dealers or otherwise engaged in activities contrary to the interests of the United States;
  (c) require identification and documentation of the parties with whom a financial institution conducts
  business; or (d) are designed to disrupt the flow of funds to terrorist organizations. Such laws, regulations
  and sanctions shall be deemed to include the USA PATRIOT Act, the Bank Secrecy Act, 31 U.S.C. § 5311
  et seq., the Trading with the Enemy Act, 50 U.S.C. App. § 1 et seq., the International Emergency Economic
  Powers Act, 50 U.S.C. § 1701 et seq., and the sanction regulations promulgated pursuant thereto by the
  OFAC, as well as laws relating to prevention and detection of money laundering in 18 U.S.C. §§ 1956 and
  1957.

           “Anti-Terrorism Laws” has the meaning assigned to such term in Section 5.18(e).

           “Applicable Margin” means, with respect to Revolving Loans which are Base Rate Loans, 3.75%.

           “Applicable Percentage” means, at any time with respect to any Revolving Lender, the percentage
  equal to a fraction the numerator of which is the amount of such Lender’s Revolving Commitment and the
  denominator of which is the aggregate amount of all Revolving Commitments of all Revolving Lenders
  (provided that if the Revolving Commitments have terminated or expired, the Applicable Percentages of
  the Revolving Lenders shall be determined based upon the Revolving Exposure of the Revolving Lenders
  at such time of the determination).

        “Approved Budget” means the budget prepared by the Borrowers in the form of Annex A, as the
  same may be updated, modified or supplemented from time to time as provided in Section 6.17.

           “Approved Budget Variance Report” means a report provided by the Borrowers to the
  Administrative Agent and the Lenders (a) showing, in each case, on a line item by line item and a
  cumulative basis, the Actual Cash Receipts, the Actual Operating Disbursement Amounts, the Actual Net
  Operating Cash Flow and the Actual Outstanding Debt, in each case as of the last day of the Variance
  Testing Period then most recently ended, noting therein (i) all variances, on a cumulative basis, from the
  Budgeted Cash Receipts, the Budgeted Operating Disbursement Amounts, the Budgeted Net Operating
  Cash Flow and the Budgeted Outstanding Debt for such period as set forth in the Approved Budget as in
  effect for such period and (ii) containing an indication as to whether each variance is temporary or
  permanent and analysis and explanations for all material variances, (iii) certifying compliance or non-
  compliance in such Variance Testing Period with the Permitted Variances and (iv) including explanations
  for all material variances and violations, if any, of such covenant and if any such violation exists, setting
  forth the actions which the Borrowers have taken or intend to take with respect thereto and (b) which such
  reports shall contain supporting information, satisfactory to the Administrative Agent in its sole discretion.

          “Approved Electronic Communication” means each notice, demand, communication, information,
  document and other material transmitted, posted or otherwise made or communicated by e-mail, facsimile,
  ABLSoft or any other equivalent electronic service, whether owned, operated or hosted by the
  Administrative Agent, any of its Affiliates or any other Person, that any party is obligated to, or otherwise
  chooses to, provide to the Administrative Agent pursuant to this Agreement or any other Loan Document,
  including any financial statement, financial and other report, notice, request, certificate and other
  information or material; provided, that Approved Electronic Communications shall not include any notice,
  demand, communication, information, document or other material that the Administrative Agent
  specifically instructs a Person to deliver in physical form.

          “Approved Fund” means any Fund that is administered or managed by (a) a Lender, (b) an Affiliate
  of a Lender or (c) an entity or an Affiliate of an entity that administers or manages a Lender.


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           “Approved Line of Business” means, collectively, (a) those lines of business in which Holdings
  and its Subsidiaries operate on the Effective Date and (b) any business or activity that is the same, similar
  or otherwise reasonably related, ancillary, complementary or incidental thereto.

          “Assignment and Assumption” means an assignment and assumption entered into by a Lender and
  an Eligible Assignee (with the consent of any party whose consent is required by Section 10.4) and accepted
  by the Administrative Agent, in substantially the form of Exhibit A or any other form approved by the
  Administrative Agent.

           “Attorney Costs” means, with respect to (a) the Administrative Agent, all reasonable, documented,
  and out-of-pocket fees and out-of-pocket expenses, charges, disbursements and other charges of counsel to
  the Administrative Agent (limited to McGuireWoods LLP), and (b) the Credit Parties other than the
  Administrative Agent, all reasonable, documented and out-of-pocket fees and out of pocket expenses,
  charges, disbursements and other charges of one law firm (and one local counsel in each relevant
  jurisdiction and one special or regulatory counsel for each relevant subject matter to the extent reasonably
  necessary) for such Credit Parties and, solely in the case of an actual or potential conflict of interest, one
  additional counsel (and one additional local counsel in each relevant jurisdiction one special or regulatory
  counsel for each relevant subject matter to the extent reasonably necessary) for such Credit Parties affected
  by such conflict of interest.

           “Attributable Indebtedness” means, at any date, (a) in respect of any Capitalized Lease of any
  Person, the capitalized amount thereof that would appear on a balance sheet of such Person prepared as of
  such date in accordance with GAAP, and (b) in respect of any Synthetic Lease Obligation of any Person,
  the capitalized or principal amount of the remaining lease payments under the relevant lease that would
  appear on a balance sheet of such Person prepared as of such date in accordance with GAAP if such lease
  or other agreement were accounted for as a Capitalized Lease.

           “Automatic Stay” shall mean the automatic stay provided under Section 362 of the Bankruptcy
  Code.

         “Availability” means, at any time, the difference of (a) the lesser of (i) Revolving Credit Maximum
  Amount, and (ii) the Borrowing Base at such time, minus (b) the amount of the Total Revolving
  Outstandings at such time.

           “Availability Block” means $4,000,000.

           “Availability Period” means the period from and including the Effective Date to but excluding the
  earlier of the Maturity Date.

          “Avoidance Action” means any and all claims and causes of action of any Borrower’s estate arising
  under sections 542, 544, 545, 547, 548, 549, 550, 551, 553(b) or 724(a) of the Bankruptcy Code, together
  with any proceeds therefrom.

           “Avoided Payment” has the meaning assigned to such term in Section 2.9(b).

          “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the applicable
  Resolution Authority in respect of any liability of an Affected Financial Institution.

         “Bail-In Legislation” means (a) with respect to any EEA Member Country implementing Article
  55 of Directive 2014/59/EU of the European Parliament and of the Council of the European Union, the
  implementing law, regulation, rule or requirement for such EEA Member Country from time to time that is



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  described in the EU Bail-In Legislation Schedule, and (b) with respect to the United Kingdom, Part I of the
  United Kingdom Banking Act 2009 (as amended from time to time) and any other law, regulation or rule
  applicable in the United Kingdom relating to the resolution of unsound or failing banks, investment firms
  or other financial institutions or their affiliates (other than through liquidation, administration or other
  insolvency proceedings).

           “Bankruptcy Code” means Title 11 of the United State Code or any similar federal or state law for
  the relief of debtors.

           “Bankruptcy Court” has the meaning assigned to such term in the Recitals.

           “Bankruptcy Rules” shall mean the Federal Rules of Bankruptcy Procedure, as the same may from
  time to time be in effect and applicable to the Chapter 11 Cases.

           “Base Rate Loan” means a Loan bearing interest based on the Alternate Base Rate.

          “Beneficial Ownership Certification” means, with respect to any Loan Party, a certification
  regarding beneficial ownership as required by the Beneficial Ownership Regulation.

           “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

           “Benefit Plan” means any of (a) an “employee benefit plan” (as defined in ERISA) that is subject
  to Title I of ERISA, (b) a “plan” as defined in Section 4975 of the Code or (c) any Person whose assets
  include (for purposes of ERISA Section 3(42) or otherwise for purposes of Title I of ERISA or Section
  4975 of the Code) the assets of any such “employee benefit plan” or “plan”.

          “BHC Act Affiliate” of a party means an “affiliate” (as such term is defined under, and interpreted
  in accordance with, 12 U.S.C. § 1841(k)) of such party.

           “Board” means the Board of Governors of the Federal Reserve System of the United States.

          “Board of Directors” means with respect to (a) any corporation, the board of directors of the
  corporation or any committee thereof duly authorized to act on behalf of such board, (b) a partnership, the
  board of directors of the general partner of the partnership, (c) a limited liability company, the managing
  member or members or any controlling committee or board of directors of such company or the sole
  member or the managing member thereof, and (d) any other Person, the board or committee of such Person
  serving a similar function.
           “Borrower” has the meaning assigned to such term in the preamble to this Agreement.

           “Borrower Agent” has the meaning assigned to such term in Section 10.19.

         “Borrowing” means a borrowing consisting of Revolving Loans made on the same day by the
  Lenders (or Administrative Agent on behalf thereof) or by Administrative Agent in the case of an
  Overadvance.

           “Borrowing Base” means, on any date of determination, an amount equal to the sum of:

                       (a)   90% of the Value of Eligible Accounts; plus

                  (b)      the least of (i) 70% of the Value of Eligible Inventory, (ii) 90% of the NOLV of
  Eligible Inventory and (iii) $20,000,000; minus


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                       (c)   the Availability Block, minus

                       (d)   all Reserves.

          “Borrowing Base Certificate” means a certificate by a Responsible Officer of Borrower Agent, on
  its own behalf and on behalf of all other Borrowers, substantially in the form of Exhibit B (or such other
  form as may be agreed to by the Administrative Agent) setting forth the calculation of the Borrowing Base
  (including each component thereof), in form and substance satisfactory to Administrative Agent.

           “Borrowing Request” has the meaning given such term in Section 2.2(b).

          “Budget” shall mean a rolling thirteen (13) week forecast of projected receipts, disbursements, net
  cash flow, liquidity and loans for the immediately following consecutive thirteen (13) weeks after the date
  of delivery, which shall be in substantially the form of the initial Approved Budget or otherwise in form
  and substance acceptable to Administrative Agent and shall be approved by the Administrative Agent, in
  Administrative Agent’s sole discretion. The initial Approved Budget is attached hereto as Annex A.

           “Budgeted Cash Receipts” shall mean with respect to any period, the amount that corresponds to
  the line item “Total Cash Receipts” in the Budget, as then in effect.

           “Budget Compliance Certificate” means a certificate substantially in the form of Exhibit D.

          “Budgeted Net Operating Cash Flow” shall mean with respect to any period, the actual amount that
  corresponds to the line item “Net Cash Flow” in the Budget as then in effect.

           “Budgeted Operating Disbursement Amounts” shall mean with respect to any period, the amount
  that corresponds to the line item “Total Operating Disbursements” in the Budget.

          “Budgeted Outstanding Debt” shall mean with respect to any period, the actual amount that
  corresponds to the “Ending Loan Balance” line item under the “Wingspire Post-Petition DIP Loan
  Balances” and “BT DIP Loan Balance” in the Budget as then in effect.

         “Business Day” means any day other than a Saturday, Sunday or day on which banks in Atlanta,
  Georgia are authorized or required by law to close.

            “Capitalized Lease Obligations” means, at any time of determination, the amount of the liabilities
  in respect of Capitalized Leases that would at such time be required to be capitalized and reflected as a
  liability on a balance sheet prepared in accordance with GAAP.
           “Capitalized Leases” means all leases that are required to be capitalized in accordance with GAAP.

         “Carve Out” has the meaning assigned to the term “Carve Out” in the Interim Order (or Final Order,
  when applicable).

           “Cash Equivalents” means each of the following:

                    (a)      debt obligations maturing within one year from the date of acquisition thereof to
  the extent the principal thereof and interest thereon is backed by the full faith and credit of the United States;

                   (b)     commercial paper maturing within 270 days from the date of acquisition thereof
  and having, at such date of acquisition, the highest credit rating obtainable from S&P or Moody’s;



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                   (c)     certificates of deposit, banker’s acceptances and time deposits maturing within 270
  days from the date of acquisition thereof issued or guaranteed by or placed with, and money market deposit
  accounts issued or offered by, any domestic office of any commercial bank organized under the laws of the
  United States or any state, commonwealth or other political subdivision thereof that has a combined capital
  and surplus and undivided profits of not less than $500,000,000 or, to the extent not otherwise included,
  any Lender, and which is rated at least A-2 by S&P and P-2 by Moody’s in the note or commercial paper
  rating category;

                   (d)     repurchase agreements with a term of not more than 30 days for securities
  described in clause (a) of this definition and entered into with a financial institution satisfying the criteria
  described in clause (c) of this definition; and

                  (e)     money market mutual funds, substantially all of the investments of which are in
  cash or investments contemplated by clauses (a), (b) and (c) of this definition.

           “Cash Management Order” means the order of the Bankruptcy Court entered in the Chapter 11
  Cases after the “first day” hearing, together with all extensions, modifications and amendments thereto, in
  form and substance reasonably satisfactory to the Administrative Agent, which among other matters
  authorizes the Debtors to maintain their existing cash management and treasury arrangements (as set forth
  in the Prepetition ABL Credit Agreement and the Orders) or such other arrangements as shall be reasonably
  acceptable to the Administrative Agent in all material respects.

          “Casualty Event” means any event that gives rise to the receipt by any Loan Party or any of its
  Subsidiaries of insurance proceeds or condemnation awards arising from any damage to, destruction of, or
  other casualty or loss involving, or any seizure, condemnation, confiscation or taking under power of
  eminent domain of, or requisition of title or use of or relating to or in respect of any inventory, equipment,
  fixed assets or Real Property (including any improvements thereon) of such Loan Party or Subsidiary.

           “Change in Law” means the occurrence, after the Effective Date, of any of the following: (a) the
  adoption or taking effect of any law, rule, regulation or treaty, (b) any change in any law, rule, regulation
  or treaty or in the administration, interpretation, implementation or application thereof by any
  Governmental Authority or (c) the making or issuance of any request, rule, guideline or directive (whether
  or not having the force of law) by any Governmental Authority or the compliance therewith by any Credit
  Party; provided that notwithstanding anything herein to the contrary, (i) the Dodd-Frank Wall Street Reform
  and Consumer Protection Act and all requests, rules, guidelines and directives thereunder or issued in
  connection therewith and (ii) all requests, rules, guidelines and directives promulgated by the Bank for
  International Settlements, the Basel Committee on Banking Supervision (or any successor or similar
  authority) or the United States or foreign regulatory authorities, in each case pursuant to Basel III, shall in
  each case be deemed to be a “Change in Law”, regardless of the date enacted, adopted or issued.

           “Change of Control” means each occurrence of any of the following:

                    (a)     Permitted Holders cease to beneficially and of record own and control, directly or
  indirectly, at least 50.1% on a fully diluted basis of the aggregate outstanding voting or economic power of
  the Equity Interests of Holdings;

                  (b)      the acquisition, directly or indirectly, by any person or group (within the meaning
  of Section 13(d)(3) of the Securities and Exchange Act of 1934) other than a Permitted Holder of beneficial
  ownership of more than 35% of the aggregate outstanding voting or economic power of the Equity Interests
  of Holdings;




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                  (c)     at any time a majority of the Board of Directors of Holdings have not been
  approved by a vote of Permitted Holders or a majority of directions on the Board of Directors of Holdings
  previously approved by vote of Permitted Holders;

                   (d)      Holdings shall cease to have beneficial ownership (as defined in Rule 13d-3 under
  the Securities and Exchange Act of 1934) of 100% of the aggregate voting or economic power of the Equity
  Interests of each other Loan Party and each of its Subsidiaries (other than in connection with any transaction
  permitted by the Loan Documents), free and clear of all Liens (other than Liens permitted under Section
  7.2); or

                   (e)      a “change of control” (or any comparable term or provision) under or with respect
  to any of the Equity Interests, or Indebtedness of Holdings or any of its Subsidiaries, including, without
  limitation, the Prepetition Term Loan Agreement or the DIP Term Loan Agreement.

           “Chapter 11 Case” and “Chapter 11 Cases” each have the meaning specified in the Recitals

           “Code” means the Internal Revenue Code of 1986, and the rules and regulations issued thereunder.

           “Collateral” means all the “Collateral” as defined in the Collateral Documents and all other
  property of whatever kind and nature pledged or charged, or purported to be pledged or charged, as
  collateral under any Collateral Document, including, without limitation, the “DIP Collateral” as referred to
  in the Orders, it being understood that “Collateral” hereunder shall include all such “DIP Collateral”
  irrespective of whether any such property was excluded form “Collateral” (as defined in the Prepetition
  ABL Credit Agreement) pursuant to the Prepetition ABL Loan Documents. For the avoidance of doubt,
  the Collateral shall exclude all Excluded Assets.

          “Collateral Access Agreement” means each landlord waiver, bailee waiver or other agreement
  between the Administrative Agent and any third party (including any bailee, assignee, consignee, customs
  broker, or other similar Person) in possession of any Collateral or any landlord of any Loan Party for any
  Real Property where any Collateral is located, in each case, in form and substance reasonably satisfactory
  to the Administrative Agent.

           “Collateral and Guarantee Requirement” means, at any time, the requirement that:

                   (a)     the Administrative Agent shall have received each Collateral Document required
  to be delivered on the Effective Date pursuant to Section 4.1, or, following the Effective Date, pursuant to
  pursuant to Section 6.16 or Section 6.12, duly executed by each applicable Loan Party;

                   (b)     all Obligations shall have been unconditionally guaranteed jointly and severally on
  a senior basis by the Guarantors;

                  (c)     except to the extent otherwise provided hereunder or under any Collateral
  Document, the Obligations shall have been secured by a perfected first priority (subject only to Liens
  expressly permitted pursuant to Section 7.2) security interest in all Collateral of each Loan Party; and

                 (d)      none of the Collateral shall be subject to any Lien other than Liens expressly
  permitted by Section 7.2.

  The foregoing definition shall not require the creation or perfection of pledges of or security interests in
  particular assets if and for so long as the Administrative Agent agrees in writing that the cost of creating or




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  perfecting such pledges or security interests in such assets shall be excessive in view of the benefits to be
  obtained by the Lenders therefrom.

           “Collateral Documents” means, collectively, the Orders, and each security agreement, instrument
  or other document executed or delivered to secure any of the Obligations.

           “Collateral Reporting Trigger Event” means any Disposition (whether pursuant to the sale of Equity
  Interests in a Subsidiary, an Investment, a Restricted Payment or otherwise) that would result in the
  elimination of Collateral from the Borrowing Base constituting 10.0% or more of the Borrowing Base (on
  a net basis, after giving effect to all applicable advance rates and NOLVs, but before giving effect to any
  Reserves) in effect immediately prior to giving effect to such Disposition. In determining whether a
  Collateral Reporting Trigger Event has occurred in connection with any Disposition, such Disposition shall
  be taken together with all other Dispositions that have occurred since the delivery of the most recent
  Borrowing Base required hereunder.

           “Collateral Support” means all property (real or personal) assigned, hypothecated or otherwise
  securing any of the Obligations, and shall include any security agreement or other agreement granting a
  lien or security interest in such real or personal property.

           “Collections Account” has the meaning assigned to such term in Section 6.14(a).

           “Commitment” means with respect to any Lender, such Lender’s Revolving Commitment.

         “Committee” means the official committee of unsecured creditors appointed in the Chapter 11
  Cases by the U.S. Trustee, if any.

          “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.) and any
  successor statute.

           “Company” has the meaning assigned to such term in the preamble of this Agreement.

          “Connection Income Taxes” means Other Connection Taxes that are imposed on or measured by
  net income (however denominated) or that are franchise Taxes or branch profits Taxes.

          “Contested in Good Faith” means, with respect to any matter, that such matter is being contested
  in good faith by appropriate proceedings diligently conducted and for which adequate reserves have been
  provided in accordance with GAAP.

          “Contractual Obligation” means, as to any Person, any provision of any security issued by such
  Person or of any agreement, instrument or other undertaking to which such Person is a party or by which it
  or any of its property is bound.

          “Control” means the possession, directly or indirectly, of the power to direct or cause the direction
  of the management or policies of a Person, whether through the ability to exercise voting power, by contract
  or otherwise. “Controlling” and “Controlled” have meanings analogous thereto. Without limiting the
  generality of the foregoing, a Person shall be deemed to be Controlled by another Person if such other
  Person possesses, directly or indirectly, power to vote 10% or more of the securities having ordinary voting
  power for the election of directors, managing general partners or any equivalent thereof.

          “Control Agreement” means an agreement, in form and substance satisfactory to the Administrative
  Agent, among the applicable Loan Party, the Administrative Agent and a financial institution or securities



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  intermediary, with respect to a Deposit Account or Securities Account maintained by such Loan Party with
  such financial institution or securities intermediary.

         “Controlled Account” means, as the context may require, a Deposit Account and/or Securities
  Account that is subject to a first-priority security interest and Lien in favor of the Administrative Agent.

           “Copyrights” means all of the following: (a) all copyright rights in any work subject to the copyright
  laws of the United States of America or any other country, whether as author, assignee, transferee or
  otherwise, (b) all registrations and applications for registration of any such copyright in the United States
  of America or any other country, including registrations, recordings, supplemental registrations and pending
  applications for registration in the United States Copyright Office or any similar offices in the United States
  of America or any other country, (c) all rights and privileges arising under applicable law with respect to
  the use of such copyrights, (d) all reissues, renewals, continuations and extensions thereof and amendments
  thereto, and (e) all income, fees, royalties, damages, claims and payments now or hereafter due and/or
  payable with respect thereto, including damages and payments for past, present or future infringements
  thereof.

           “Covered Entity” means any of the following: (a) “covered entity” as that term is defined in, and
  interpreted in accordance with, 12 C.F.R. § 252.82; (b) a “covered bank” as that term is defined in, and
  interpreted in accordance with, 12 C.F.R. § 47.3(b); or (c) a “covered FSI” as that term is defined in, and
  interpreted in accordance with, 12 C.F.R. § 382.2(b).

           “Credit Parties” means the Administrative Agent and each of the Lenders.

           “Debtor Relief Laws” means the Bankruptcy Code, and all other liquidation, conservatorship,
  bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement, receivership, insolvency,
  reorganization, or similar debtor relief laws of the United States or other applicable jurisdictions from time
  to time in effect.

          “Default” means any event or condition which upon notice, lapse of time or both would, unless
  cured or waived, become an Event of Default.

          “Default Rate” means, with respect to any Loans and other Obligations, a rate of interest equal to
  the Alternate Base Rate plus the highest Applicable Margin applicable to Base Rate Loans plus 3.00% per
  annum.

          “Default Right” has the meaning assigned to that term in, and shall be interpreted in accordance
  with, 12 C.F.R. §§ 252.81, 47.2 or 382.1, as applicable.

           “Defaulting Lender” means, subject to Section 2.7(b), any Lender that (a) has failed to (i) fund all
  or any portion of its Loans within two Business Days of the date such Loans were required to be funded
  hereunder unless such Lender notifies the Administrative Agent and the Borrower Agent in writing that
  such failure is the result of such Lender’s determination that one or more conditions precedent to funding
  (each of which conditions precedent, together with any applicable default, shall be specifically identified
  in such writing) has not been satisfied, or (ii) pay to the Administrative Agent or any other Lender any other
  amount required to be paid by it hereunder within two Business Days of the date when due, (b) has notified
  the Borrower Agent or the Administrative Agent in writing that it does not intend to comply with its funding
  obligations hereunder, or has made a public statement to that effect (unless such writing or public statement
  relates to such Lender’s obligation to fund a Loan hereunder and states that such position is based on such
  Lender’s determination that a condition precedent to funding (which condition precedent, together with any
  applicable default, shall be specifically identified in such writing or public statement) cannot be satisfied),


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  (c) has failed, within three Business Days after written request by the Administrative Agent or the Borrower
  Agent, to confirm in writing to the Administrative Agent and the Borrower Agent that it will comply with
  its prospective funding obligations hereunder, provided that such Lender shall cease to be a Defaulting
  Lender pursuant to this clause (c) upon receipt of such written confirmation by the Administrative Agent
  and the Borrower Agent, or (d) has, or has a direct or indirect holding company that has, (i) become the
  subject of a proceeding under any Debtor Relief Law, or (ii) had appointed for it a receiver, custodian,
  conservator, trustee, administrator, assignee for the benefit of creditors or similar Person charged with
  reorganization or liquidation of its business or assets, including the Federal Deposit Insurance Corporation
  or any other state or federal regulatory authority acting in such a capacity or (iii) become the subject of a
  Bail-In Action; provided that a Lender shall not be a Defaulting Lender solely by virtue of the ownership
  or acquisition of any equity interest in that Lender or any direct or indirect holding company thereof by a
  Governmental Authority so long as such ownership interest does not result in or provide such Lender with
  immunity from the jurisdiction of courts within the United States or from the enforcement of judgments or
  writs of attachment on its assets or permit such Lender (or such Governmental Authority) to reject,
  repudiate, disavow or disaffirm any contracts or agreements made with such Lender. Any determination
  by the Administrative Agent that a Lender is a Defaulting Lender under any one or more of clauses (a)
  through (d) above shall be conclusive and binding absent manifest error, and such Lender shall be deemed
  to be a Defaulting Lender (subject to Section 2.7(b)) upon delivery of written notice of such determination
  to the Borrower Agent and each Lender.

          “Designated Account” means Borrower Agent’s account number 1700008915 maintained at Fifth
  Third Bank, National Association (or such other deposit account of the Borrower Agent that has been
  designated as such, in writing, by the Borrower Agent to the Administrative Agent).

         “DIP ABL Priority Collateral” means the DIP Collateral (as such term is defined in the Order) on
  which the Administrative Agent holds a first priority lien pursuant to Section 2.1(b)(i) of the applicable
  Order.

         “DIP Term Loan Agent” means, initially, Blue Torch Finance, LLC, in its capacity as
  administrative agent and collateral agent for the DIP Term Loan Lenders and any successor, joint or
  replacement “Agent” (or such similar defined term used therein) as such term is defined in the DIP Term
  Loan Agreement.

          “DIP Term Loan Agreement” means that certain DIP Term Loan Note, dated as of the Effective
  Date, by and among Company, the other Loan Parties defined therein, the DIP Term Loan Agent, and the
  DIP Term Loan Lenders party thereto, as in effect on the date hereof and as the may be amended from time
  to time with the prior written consent of the Administrative Agent.

           “DIP Term Loan Documents” means the “DIP Documents" (as defined in the DIP Term Loan
  Agreement), each as in effect on the date hereof and as the same may be amended from time to time with
  the prior written consent of the Administrative Agent.

          “DIP Term Loan Escrow Account” means the deposit account of the Borrowers, which shall not
  be a Controlled Account, established with KeyBank, account number ending in -2268; all amounts held
  therein being acknowledged as constituting DIP Term Priority Collateral.
          “DIP Term Loan Facility” means the term loan facility provided by the DIP Term Loan Lenders
  under the DIP Term Loan Agreement in an aggregate principal amount not less than $18,000,000.00.

        “DIP Term Loan Lenders” means the “Lenders” under and as defined in the DIP Term Loan
  Agreement.



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        “DIP Term Loan Obligations” means the “Obligations” as defined in the DIP Term Loan
  Agreement.

          “DIP Term Loan Proceeds Account” means the deposit account of the Borrowers, which shall not
  be a Controlled Account, established with Fifth Third Bank, account number ending in -7135; all amounts
  held therein being acknowledged as constituting DIP Term Priority Collateral.

         “DIP Term Loan Required Lenders” means the “Required Lenders” under and as defined in the
  DIP Term Loan Agreement.

          “DIP Term Priority Collateral” means the DIP Collateral (as such term is defined in the Order) on
  which the DIP Term Loan Agent holds a first priority lien pursuant to Section 2.1(b)(ii) of the applicable
  Order.

           “Disposition” means, with respect to any Person, the sale, transfer, license, lease or other
  disposition (including by way of Division, Sale Leaseback or any sale or issuance of Equity Interests by
  way of a merger or otherwise) by such Person to any other Person, with or without recourse, of (a) any
  notes or accounts receivable or any rights and claims associated therewith, (b) any Equity Interests of any
  Subsidiary (other than directors’ qualifying shares), or (c) any other assets, provided, however, that none
  of the following shall constitute a Disposition: (i) any sale, transfer, license, lease or other disposition by
  (A) a Loan Party (other than Holdings) to another Loan Party (other than Holdings) or (B) a Non-Loan
  Party Subsidiary to a Loan Party or to another Non-Loan Party Subsidiary, in each case, on terms which
  are no less favorable than are obtainable from any Person which is not one of its Affiliates, (ii) the collection
  of accounts receivable and other obligations in the ordinary course of business and (iii) sales of inventory
  in the ordinary course of business. Each of the terms “Dispose” and “Disposed” when used as a verb shall
  have an analogous meaning.

           “Disqualified Equity Interest” means, with respect to any Person, any Equity Interest of such Person
  which, by its terms, or by the terms of any security or other Equity Interests into which it is convertible or
  for which it is exchangeable, or upon the happening of any event or condition, (a) matures or is mandatorily
  redeemable (other than solely for shares of common stock) pursuant to a sinking fund obligation or
  otherwise, (b) is redeemable at the option of the holder thereof (other than solely for shares of common
  stock), in whole or in part, (c) provides for the scheduled payments of dividends in cash, or (d) is or becomes
  convertible into or exchangeable for Indebtedness or any other Equity Interests that would constitute
  Disqualified Equity Interests, in each case, prior to the date that is ninety-one (91) days after the Maturity
  Date.

           “Division” means the division of the assets, liabilities and/or obligations of a Person (the “Dividing
  Person”) among two or more Persons, whether pursuant to a “plan of division” or similar arrangement
  pursuant to Section 18-217 of the Delaware Limited Liability Company Act or any similar provision under
  the laws of any other applicable jurisdiction and pursuant to which the Dividing Person may or may not
  survive.

           “Dollars” or “$” refers to lawful money of the United States.

          “E-Signature” means the process of attaching to or logically associating with an Approved
  Electronic Communication an electronic symbol, encryption, digital signature, or process (including the
  name or an abbreviation of the name of the party transmitting the Approved Electronic Communication)
  with the intent to sign, authenticate, or accept such Approved Electronic Communication.




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           “EEA Financial Institution” means (a) any credit institution or investment firm established in any
  EEA Member Country that is subject to the supervision of an EEA Resolution Authority, (b) any entity
  established in an EEA Member Country that is a parent of an institution described in clause (a) of this
  definition, or (c) any financial institution established in an EEA Member Country that is a Subsidiary of an
  institution described in clauses (a) or (b) of this definition and is subject to consolidated supervision with
  its parent.

          “EEA Member Country” means any of the member states of the European Union, Iceland,
  Liechtenstein, and Norway.

          “EEA Resolution Authority” means any public administrative authority or any person entrusted
  with public administrative authority of any EEA Member Country (including any delegee) having
  responsibility for the resolution of any EEA Financial Institution.

          “Effective Date” means the first date, which shall be no later than 3 Business Days after the Petition
  Date, upon which all the conditions precedent in Section 4.1 are satisfied or waived in accordance with
  Section 10.2.

          “Eligible Account” means an Account arising in the ordinary course of the business of a Borrower
  from the sale of goods or rendition of services which the Administrative Agent, in its Permitted Discretion,
  deems to be an Eligible Account. Without limiting the generality of the foregoing, no Account shall be an
  Eligible Account if:

                  (a)      it arises out of a sale made or services rendered by a Borrower to another Loan
  Party or a Subsidiary or an Affiliate of a Loan Party; or

                    (b)     it remains unpaid more than (i) 60 days after the original due date shown on the
  invoice or (ii) 90 days after the original invoice date shown on the invoice; or

                   (c)     the total unpaid Accounts of the Account Debtor exceed (i) with respect to each of
  Costco, Mattress Firm, BJ’s Wholesale, QVC, and RSS (Boxdrop), 30% of the net amount of all Eligible
  Accounts, but only to the extent of such excess and (ii) for all other Account Debtors, 20% of the net amount
  of all Eligible Accounts, but only to the extent of such excess; or

               (d)      any covenant, representation or warranty contained in this Agreement or any other
  Loan Document with respect to such Account has been breached; or

                  (e)      the Account Debtor is also a creditor or supplier of a Loan Party or any Subsidiary
  of a Loan Party, or the Account Debtor has disputed liability with respect to such Account, or the Account
  Debtor has made any claim with respect to any other Account due from such Account Debtor to a Loan
  Party or any Subsidiary of a Loan Party, or the Account otherwise is or may become subject to right of
  setoff by the Account Debtor; provided that any such Account shall be eligible to the extent such amount
  exceeds such contract, dispute, claim, setoff or similar right; or

                  (f)       the Account Debtor has commenced a voluntary case under any Debtor Relief
  Laws, or any other petition or other application for relief under Debtor Relief Laws has been filed against
  the Account Debtor, or if the Account Debtor has failed, suspended business, ceased to be Solvent, or
  consented to or suffered a receiver, trustee, assignee for the benefit of creditors, liquidator or custodian to
  be appointed for it or for all or a significant portion of its assets or affairs; or




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                  (g)      it arises from a sale made or services rendered to an Account Debtor outside the
  United States or Canada (other than the Province of Quebec), unless backed by a letter of credit or credit
  insurance in each case, in form and substance acceptable to the Administrative Agent; or

                    (h)     (i) it arises from a sale to an Account Debtor on a bill-and-hold, guaranteed sale,
  sale-or-return, sale-on-approval, consignment, or any other repurchase or return basis, or (ii) it is subject to
  a reserve established by a Loan Party for potential returns or refunds, to the extent of such reserve, or (iii) it
  arises from a sale to an Account Debtor that is subject to cash-on-delivery terms, or (iv) it arises from a sale
  for personal, family or household purposes; or

                   (i)     the Account Debtor is the United States of America or any department, agency or
  instrumentality thereof, unless the applicable Loan Party assigns its right to payment of such Account to
  the Administrative Agent, in a manner satisfactory to the Administrative Agent, in its Permitted Discretion,
  so as to comply with the Assignment of Claims Act of 1940 (31 U.S.C. §203 et seq., as amended); or

                    (j)     it is not at all times subject to the Administrative Agent’s perfected, first priority
  security interest (subject only to Permitted Encumbrances); or

                 (k)      the goods giving rise to such Account have not been delivered to and accepted by
  the Account Debtor or the services giving rise to such Account have not been performed by the applicable
  Loan Party and accepted by the Account Debtor or the Account otherwise does not represent a final sale;
  or

                 (l)      the Loan Parties have not sent a bill or invoice for the goods or services giving rise
  to such Account to the applicable Account Debtor; or

                    (m)    it represents the right to receive progress payments or other advance billings that
  are due prior to the completion of performance by the applicable Borrower of the subject contract for goods
  or services; or

                       (n)   it represents credit card sales; or

                 (o)      the Account is evidenced by chattel paper or an instrument of any kind, or has been
  reduced to judgment; or

                   (p)     any Loan Party or a Subsidiary of any Loan Party has made any agreement with
  the Account Debtor for any extension, compromise, settlement or modification of the Account or deduction
  therefrom, except for discounts or allowances which are made in the ordinary course of business for prompt
  payment and which discounts or allowances are reflected in the calculation of the face value of each invoice
  related to such Account; or

                 (q)      50% or more of the Accounts owing from the Account Debtor are not Eligible
  Accounts pursuant to clause (b) of this definition; or

                       (r)   it represents service charges, late fees or similar charges; or

                       (s)   it is not denominated in Dollars; or

                       (t)   it is not otherwise acceptable to the Administrative Agent in its Permitted
  Discretion.




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  Notwithstanding the foregoing, no Accounts acquired through an Acquisition shall be Eligible Accounts
  until such time as the Administrative Agent shall have received and be satisfied with the results of a field
  examination with respect thereto.

          “Eligible Assignee” means any Person that meets the requirements to be an assignee under
  Section 10.4(b)(iii), (v) and (vi) (subject to such consents, if any, as may be required under
  Section 10.4(b)(iii)).

          “Eligible Inventory” means Inventory of a Borrower which the Administrative Agent, in its
  Permitted Discretion, deems to be Eligible Inventory. Without limiting the generality of the foregoing, no
  Inventory shall be Eligible Inventory if:

                    (a)     it is (i) raw materials, unless such raw materials are, in the Administrative Agent’s
  sole discretion, readily marketable in its current form and the Administrative Agent shall have received an
  inventory appraisal with respect to such raw materials, or (ii) work in process; or

                       (b)   it is not in good, new and saleable condition; or

                       (c)   it is slow-moving, obsolete or unmerchantable; or

                       (d)   it does not meet all standards imposed by any Governmental Authority; or

                    (e)    it does not conform in all respects to any covenants, warranties and representations
  set forth in this Agreement or any other Loan Document; or

                    (f)      it is not at all times subject to the Administrative Agent’s duly perfected, first
  priority security interest or is subject to a Lien that is not a Permitted Encumbrance; or

                       (g)   it is situated at a location outside the United States of America; or

                  (h)      it is not situated at a location in compliance with this Agreement, provided that
  Inventory situated at a location not owned by a Loan Party will be Eligible Inventory only if the
  Administrative Agent has received a satisfactory Collateral Access Agreement with respect to such location
  or if the Administrative Agent has established an applicable Reserve; or

                   (i)     it is in transit (other than Inventory that is in transit between locations of the Loan
  Parties within the United States); or

                       (j)   it consists of packaging materials, supplies, tooling, or samples; or

                   (k)      it is subject to any licensing, royalty or other Intellectual Property agreement with
  any third party (i) which would require any consent of any third party for the Disposition of such Inventory
  (which consent has not been obtained) or the payment of any monies to any third party upon such
  Disposition (to the extent of such monies), (ii) from whom any Loan Party has received written notice of a
  dispute in respect of such agreement, to the extent that the Administrative Agent determines, in its Permitted
  Discretion, that such dispute could be expected to prevent or impair the Disposition of such Inventory or
  (iii) the Administrative Agent otherwise determines, in its Permitted Discretion, that such Inventory cannot
  be freely Disposed of by the Administrative Agent during the continuance of an Event of Default; or

                       (l)   it is not otherwise acceptable to the Administrative Agent in its Permitted
  Discretion.



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  Notwithstanding the foregoing, no Inventory acquired through an Acquisition shall be Eligible Inventory
  until such time as the Administrative Agent shall have received and be satisfied with the results of a field
  examination and inventory appraisal with respect thereto.

           “Environmental Claims” means any and all administrative, regulatory or judicial actions, suits,
  demands, claims, liens, notices of liability, non-compliance or violation, investigations, proceedings,
  settlements, consent decrees, consent orders, consent agreements and all costs and liabilities relating to or
  arising from or under any Environmental Law, including (a) any and all claims by Governmental
  Authorities for enforcement, investigation, corrective action, cleanup, removal, response, remedial or other
  actions, cost recovery, damages, natural resource damages or penalties pursuant to or arising under any
  Environmental Law, (b) any and all claims by any one or more Persons seeking damages, contribution,
  restitution, indemnification, cost recovery, compensation or injunctive relief directly or indirectly resulting
  from, based upon or arising under Environmental Law, pertaining to Hazardous Materials or an alleged
  injury or threat of injury to human health, safety, natural resources, or the indoor or outdoor environment,
  and (c) all liabilities contingent or otherwise, expenses, obligations, losses, damages, fines and penalties
  arising under any Environmental Law.

          “Environmental Law” means, individually and collectively any and all federal, state, local, or
  foreign statute, rule, regulation, code, guidance, ordinance, order, judgment, directive, decree, injunction
  or common law as now or previously in effect and regulating, relating to or imposing liability or standards
  of conduct concerning: the environment; protection of the environment and natural resources; air
  emissions; water discharges; noise emissions; the Release, threatened Release or discharge into the
  environment and physical hazards of any Hazardous Material; the generation, handling, management,
  treatment, storage, transport or disposal of any Hazardous Material or otherwise concerning pollution or
  the protection of the outdoor or indoor environment, preservation or restoration of natural resources,
  employee or human health or safety, and potential or actual exposure to or injury from Hazardous Materials.

            “Environmental Liability” means, in respect of any Person, any statutory, common law or equitable
  liability, contingent or otherwise of such Person directly or indirectly resulting from, arising out of or based
  upon (a) the violation of any Environmental Law or Environmental Permit, or (b) an Environmental Claim.

           “Environmental Permit” means any permit, approval, authorization, certificate, license, variance,
  filing or permission required by or from any Governmental Authority pursuant to any Environmental Law.

           “Equity Interests” means, with respect to any Person, (a) shares of capital stock of (or other
  ownership or profit interests in) such Person, (b) warrants, options or other rights for the purchase or
  acquisition from such Person of shares of capital stock of (or other ownership or profit interests in) such
  Person, (c) securities (other than Indebtedness) convertible into or exchangeable for shares of capital stock
  of (or other ownership or profit interests in) such Person or warrants, rights or options for the purchase or
  acquisition from such Person of such shares (or such other interests), (d) all other ownership or profit
  interests in such Person (including partnership, member or trust interests therein), whether voting or non-
  voting, and whether or not such shares, warrants, options, rights or other interests are outstanding on any
  date of determination and (e) any Security Entitlement in respect of any Equity Interest described in this
  definition.

          “ERISA” means the Employee Retirement Income Security Act of 1974, and the rules and
  regulations issued thereunder.

         “ERISA Affiliate” means any trade or business (whether or not incorporated) that, together with
  any Loan Party, is treated as a single employer under Section 414(b) or 414(c) of the Code or, solely for



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  purposes of Sections 302 and 303 of ERISA and Sections 412 and 430 of the Code, is treated as a single
  employer under subsection (b), (c), (m) or (o) of Section 414 of the Code.

           “ERISA Event” means (a) any “reportable event”, as defined in Section 4043(c) of ERISA with
  respect to a Pension Plan; (b) the existence with respect to any Pension Plan of a non-exempt “prohibited
  transaction,” as defined in Section 406 of ERISA or Section 4975(c)(1) of the Code; (c) any failure of any
  Pension Plan to satisfy the “minimum funding standard” applicable to such Pension Plan under Section 412
  or Section 430 of the Code or Section 302 or Section 303 of ERISA, whether or not waived; (d) the filing
  pursuant to Section 412(c) of the Code or Section 302(c) of ERISA of an application for a waiver of the
  minimum funding standard with respect to any Pension Plan, the failure to make by its due date a required
  installment under Section 430(j)(3) of the Code with respect to any Pension Plan or the failure of any Loan
  Party or ERISA Affiliate to make any required contribution to any Multiemployer Plan; (e) a determination
  that any Pension Plan is, or is expected to be, in “at-risk” status (as defined in Section 430(i)(4) of the Code
  or Section 303(i)(4) of ERISA); (f) the incurrence by any Loan Party or any ERISA Affiliate of any liability
  under Title IV of ERISA with respect to the termination of any Pension Plan including the imposition of
  any Lien in favor of the PBGC or any Pension Plan(other than for PBGC premiums due but not delinquent
  under Section 4007 of ERISA); (g) the filing of a notice of intent to terminate, the treatment of a Pension
  Plan amendment as a termination under Section 4041 or Section 4041A or ERISA, the receipt by any Loan
  Party or any ERISA Affiliate from the PBGC or a Pension Plan administrator of any notice relating to an
  intention to terminate any Pension Plan or Pension Plans or to appoint a trustee to administer any Pension
  Plan under Section 4042 of ERISA or the occurrence of an event or condition which constitutes grounds
  under Section 4042 of ERISA or the termination of, or the appointment of a trustee to administrator, any
  Pension Plan; (h) any limitations under Section 436 of the Code become applicable; (i) the incurrence by
  any Loan Party or any of its ERISA Affiliates of any liability with respect to the withdrawal or partial
  withdrawal from any Pension Plan or Multiemployer Plan; (j) a withdrawal by any Loan Party or any
  ERISA Affiliate from a Pension Plan subject to Section 4063 of ERISA during a plan year in which it was
  a substantial employer (as defined in Section 4001(a)(2) of ERISA) or a cessation of operations that is
  treated as such a withdrawal under Section 4062(e) of ERISA; (k) the receipt by any Loan Party or any
  ERISA Affiliate of any notice, or the receipt by any Multiemployer Plan from any Loan Party or any ERISA
  Affiliate of any notice, concerning the imposition of Withdrawal Liability or a determination that a
  Multiemployer Plan is, or is expected to be, insolvent or in reorganization, within the meaning of Title IV
  of ERISA or in endangered or critical status within the meaning of Section 432 of the Code or Section 305
  or Title IV of ERISA; or (l) the imposition on any Loan Party or any ERISA Affiliate of any tax under
  Chapter 43 of Subtitle D of the Code, or the assessment of a civil penalty on any Loan Party or any ERISA
  Affiliate under Section 502(c) of ERISA.

        “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published by the
  Loan Market Association (or any successor person), as in effect from time to time.

           “Event of Default” has the meaning assigned to such term in Section 8.1.

          “Excluded Accounts” means (a) any Deposit Account that is a zero balance account, (b) any
  Deposit Account so long as the average daily balance in such Deposit Account, together with the average
  daily balance of all such other Deposit Accounts excluded pursuant to clause (b) of this definition at any
  time, does not exceed $20,000 individually or $200,000 in the aggregate, (c) any Deposit Account that is
  solely used for the holding of (i) funds used for payroll and payroll taxes and other employee benefit
  payments to or for the benefit of a Loan Party’s employees, and (ii) taxes required to be collected, remitted
  or withheld (including federal and state withholding taxes (including the employer’s share thereof)), (d) any
  Deposit Account that is used for withholding, escrow, customs, insurance, or trustor fiduciary purposes,
  (e) any Deposit Account used to hold cash collateral for obligations permitted under the Loan Documents,
  including with respect to letters of credit, and (f) the DIP Term Loan Proceeds Account.


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           “Excluded Assets” means (a) any United States intent-to-use trademark application prior to the
  filing of a “Statement of Use” or “Amendment to Allege Use” with respect thereto, (b) any right under any
  contract or agreement constituting a General Intangible, but only to the extent and for so long as the granting
  of a security interest therein or an assignment thereof would violate any applicable law (but only to the
  extent any such prohibition on the granting of security interests is not rendered ineffective by, or is not
  otherwise unenforceable under, the Uniform Commercial Code or applicable law), other than proceeds and
  receivables thereof, the assignment of which is expressly deemed effective under the Uniform Commercial
  Code or other similar applicable law notwithstanding such prohibition, (c) other than Accounts or any
  proceeds of the following, any contract, instrument, document, lease, license or other agreement to which
  a Loan Party or any of its property is subject with any Person if, to the extent and for so long as the grant
  of a lien thereon constitutes a breach of or a default under, or creates a right of termination in favor of any
  party (other than such Loan Party or any of its Affiliates) to, such contract, instrument, document, lease,
  license or other agreement (but only to the extent any such prohibition on the granting of liens is not
  rendered ineffective by, or is otherwise unenforceable under, the Uniform Commercial Code or applicable
  law), (d) any property which, subject to the terms of Section 7.1(a)(iii), is subject to a Lien of the type
  described in Section 7.2(d) pursuant to documents which prohibit such Loan Party from granting any other
  Liens in such property, (e) any United States intent-to-use trademark applications to the extent that, and
  solely during the period in which, the grant of a security interest therein would impair the validity or
  enforceability of such intent-to-use trademark applications under applicable federal law, provided that upon
  submission and acceptance by the United States Patent and Trademark Office of an amendment to allege
  use pursuant to 15 U.S.C. Section 1060(a) (or any successor provision), such intent-to-use trademark
  application shall not be considered Excluded Assets, (f) any particular asset, if the pledge thereof or the
  security interest therein is prohibited by applicable law (but only for so long as such prohibition remains in
  effect), other than to the extent such prohibition is rendered ineffective under the UCC or other applicable
  laws, (g) any motor vehicle or other equipment subject to a certificate of title, but only to the extent that a
  security interest therein cannot be perfected by the filing of a UCC financing statement, and (h) any other
  particular assets if and for so long as, in the reasonable judgment of the Administrative Agent and the
  Borrower Agent, the cost of obtaining a security interest in such assets exceeds the practical benefits to the
  Secured Parties afforded thereby.

           “Excluded Swap Obligation” means, with respect to any Guarantor, any Swap Obligation if, and
  only to the extent that, all or a portion of the Guarantee of such Guarantor of, or the grant by such Guarantor
  of a security interest to secure, such Swap Obligation (or any Guarantee thereof) is or becomes illegal under
  the Commodity Exchange Act or any rule, regulation or order of the Commodity Futures Trading
  Commission (or the application or official interpretation of any thereof), including by virtue of such
  Guarantor’s failure for any reason to constitute an “eligible contract participant” as defined in the
  Commodity Exchange Act and the regulations thereunder at the time the Guarantee of such Guarantor or
  the grant of such security interest becomes effective with respect to such Swap Obligation. If a Swap
  Obligation arises under a master agreement governing more than one swap, such exclusion shall apply only
  to the portion of such Swap Obligation that is attributable to swaps for which such Guarantee or security
  interest is or becomes illegal.

           “Excluded Taxes” means any of the following Taxes imposed on or with respect to a Recipient or
  required to be withheld or deducted from a payment to a Recipient, (a) Taxes imposed on or measured by
  net income (however denominated), franchise Taxes, and branch profits Taxes, in each case, (i) imposed as
  a result of such Recipient being organized under the laws of, or having its principal office or, in the case of
  any Lender, its funding office located in, the jurisdiction imposing such Tax (or any political subdivision
  thereof) or (ii) that are Other Connection Taxes, (b) in the case of a Lender, U.S. federal withholding Taxes
  imposed on amounts payable to or for the account of such Lender with respect to an interest in a Loan or
  Commitment pursuant to a law in effect on the date on which (i) such Lender acquires such interest in the
  Loans or Commitments or (ii) such Lender changes its funding office, except in each case to the extent that,


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  pursuant to Section 3.5, amounts with respect to such Taxes were payable either to such Lender’s assignor
  immediately before such Lender became a party hereto or to such Lender immediately before it changed its
  funding office, (c) Taxes attributable to such Recipient’s failure to comply with Section 3.5 (g) and (d) any
  U.S. federal withholding Taxes imposed under FATCA.

          “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this Agreement (or any
  amended or successor version that is substantively comparable and not materially more onerous to comply
  with) and any current or future regulations or official interpretations thereof and any agreement entered into
  pursuant to Section 1471(b)(1) of the Code and any fiscal or regulatory legislation, rules or practices
  adopted pursuant to any intergovernmental agreement, treaty or convention among Governmental
  Authorities and implementing such Sections of the Code.

          “Federal Funds Effective Rate” means, for any day, a rate per annum (expressed as a decimal,
  rounded upwards, if necessary, to the next higher 1/100 of 1%) equal to the weighted average of the rates
  on overnight federal funds transactions with members of the Federal Reserve System arranged by federal
  funds brokers on such day, as published by the Federal Reserve Bank of New York on the Business Day
  next succeeding such day, provided that (a) if the day for which such rate is to be determined is not a
  Business Day, the Federal Funds Effective Rate for such day shall be such rate on such transactions on the
  next preceding Business Day as so published on the next succeeding Business Day, (b) if such rate is not
  so published for any day, the Federal Funds Effective Rate for such day shall be the average of the
  quotations for such day on such transactions received by the Administrative Agent from three federal funds
  brokers of recognized standing selected by it and (c) if the Federal Funds Effective Rate shall be less than
  zero, such rate shall be deemed to be zero for purposes of this Agreement.

         “Federal Reserve Bank of New York’s Website” means the website of the Federal Reserve Bank
  of New York at http://www.newyorkfed.org, or any successor source.

         “Fee Letter” means the Fee Letter dated as of the date hereof by and among the Borrowers and the
  Administrative Agent.

           “Final Order” means, collectively, the order of the Bankruptcy Court entered in the Chapter 11
  Cases after a final hearing under Bankruptcy Rule 4001(c)(2) or such other procedures as approved by the
  Bankruptcy Court, which order shall be reasonably satisfactory in form and substance to the Administrative
  Agent, and from which no appeal or motion to reconsider has been timely filed, or if timely filed, such
  appeal or motion to reconsider has been dismissed or denied with no further appeal and the time for filing
  such appeal has passed (unless Administrative Agent waives such requirement), together with all
  extensions, modifications, and amendments thereto, in form and substance satisfactory to the
  Administrative Agent, which, among other matters but not by way of limitation, authorizes the Loan Parties
  to obtain credit, incur (or guaranty) Indebtedness, and grant Liens under this Agreement and the other Loan
  Documents, as the case may be, and provides for the super-priority status of the Administrative Agent’s
  and the Lenders’ claims.

          “Financial Officer” means, with respect to any Person, the chief financial officer, principal
  accounting officer, treasurer or comptroller of such Person (or such other financial officer as is acceptable
  to the Administrative Agent).

          “Fiscal Year” means the 12 fiscal month period of Holdings ending on December 31 of each
  calendar year.

         “Flood Laws” means, collectively, (i) the National Flood Insurance Reform Act of 1994 (which
  comprehensively revised the National Flood Insurance Act of 1968 and the Flood Disaster Protection Act


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  of 1973) as now or hereafter in effect or any successor statute thereto, (ii) the Flood Insurance Reform Act
  of 2004 as now or hereafter in effect or any successor statute thereto and (iii) the Biggert-Waters Flood
  Insurance Reform Act of 2012 as now or hereafter in effect or any successor statute thereto.

            “Foreign Lender” means (a) if any Borrower is a U.S. Person, a Lender that is not a U.S. Person,
  and (b) if any Borrower is not a U.S. Person, a Lender that is resident or organized under the laws of a
  jurisdiction other than that in which such Borrower is resident for tax purposes.

          “Foreign Plan” means any employee pension benefit plan or arrangement (a) maintained, or
  contributed to by any Loan Party or Subsidiary that is not subject to the laws of the United States, or
  (b) mandated by a government other than the United States for employees of any Loan Party or Subsidiary.

          “Fund” means any Person (other than a natural Person) that is (or will be) engaged in making,
  purchasing, holding or otherwise investing in commercial loans, bonds and similar extensions of credit in
  the ordinary course of its activities.

            “GAAP” means generally accepted accounting principles in effect from time to time in the United
  States.

           “Governmental Authority” means the government of the United States or any other nation, or of
  any political subdivision thereof, whether state or local, and any department, commission, board, bureau,
  agency, authority, instrumentality, regulatory body, court, central bank or other entity exercising executive,
  legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to government
  (including any supra national bodies such as the European Union or the European Central Bank) and any
  group or body charged with setting financial accounting or regulatory capital rules or standards (including
  the Financial Accounting Standards Board, the Bank for International Settlements or the Basel Committee
  on Banking Supervision or any successor or similar authority to any of the foregoing).

            “Guaranteed Obligations” has the meaning given such term in Article 11.

           “Guarantees” of or by any Person (the “guarantor”) means any obligation, contingent or otherwise,
  of the guarantor guaranteeing or having the economic effect of guaranteeing any Indebtedness or other
  obligation of any other Person (the “primary obligor”) in any manner, whether directly or indirectly, and
  including any obligation of the guarantor, direct or indirect, (a) to purchase or pay (or advance or supply
  funds for the purchase or payment of) such Indebtedness or other obligation or to purchase (or to advance
  or supply funds for the purchase of) any security for the payment thereof, (b) to purchase or lease property,
  securities or services for the purpose of assuring the owner of such Indebtedness or other obligation of the
  payment thereof, (c) to maintain working capital, equity capital or any other financial statement condition
  or liquidity of the primary obligor as to enable the primary obligor to pay such Indebtedness or other
  obligation or (d) as an account party in respect of any letter of credit or letter of guaranty issued to support
  such Indebtedness or obligation, provided that the term “Guarantee” shall not include endorsements for
  collection or deposit in the ordinary course of business. The term “Guaranteed” has a meaning analogous
  thereto. The amount of any Guarantee at any time shall be deemed to be an amount equal to the lesser at
  such time of (i) the stated or determinable amount of the primary obligation in respect of which such
  Guarantee is made (or, if not stated or determinable, the maximum reasonably anticipated amount of the
  obligations in respect of which such Guarantee is made) and (ii) the maximum amount for which the
  guarantor may be liable pursuant to the terms of the instrument embodying such Guarantee.

         “Guarantors” means Holdings, each of the Persons listed on the signature pages hereto as a
  “Guarantor”, and each other Person who executes or becomes a party to this Agreement as a guarantor




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  pursuant to Article 11 or otherwise executes and delivers a guaranty agreement acceptable to the
  Administrative Agent guaranteeing any of the Obligations.

            “Hazardous Materials” means all substances, wastes, chemicals, pollutants, or other contaminants,
  including petroleum or petroleum distillates, asbestos or asbestos containing materials, polychlorinated
  biphenyls, radon gas, mold, infectious, pharmaceutical or medical wastes and all other substances of any
  nature that are now or hereafter regulated under any Environmental Law or are now or hereafter defined,
  listed, classified, considered or described as hazardous, dangerous or toxic by any Governmental Authority
  or under any Environmental Law.

           “Holdings” has the meaning assigned to such term in the preamble to this Agreement.

           “Indebtedness” of any Person means, without duplication:

                       (a)   all obligations of such Person for borrowed money;

                  (b)     all obligations of such Person evidenced by bonds, debentures, notes, loan
  agreements or other similar instruments, including seller paper;

                  (c)    the maximum amount (after giving effect to any prior drawings or reductions
  which have been reimbursed) of all letters of credit (including standby and commercial), banker’s
  acceptances, bank guaranties, surety bonds, and similar instruments issued or created by or for the account
  of such Person;

                (d)     the Swap Termination Value of each Swap Agreement (to the extent reflecting an
  amount owed by such Person or an amount that would be owing were such Swap Agreement terminated);

                  (e)     the Attributable Indebtedness of such Person in respect of Capitalized Lease
  Obligations, Synthetic Debt and Synthetic Lease Obligations of such Person (regardless of whether
  accounted for as indebtedness under GAAP);

                   (f)       all obligations of such Person to pay the deferred purchase price of property or
  services (other than (i) trade accounts payable in the ordinary course of business which are paid within 90
  days of their respective due dates and (ii) any purchase price adjustments, earn-out or similar obligations
  until such obligation has become due and payable);

                    (g)    indebtedness (excluding prepaid interest thereon) secured by a Lien on property
  owned or being purchased by such Person (including indebtedness arising under conditional sales or other
  title retention agreements and mortgage, industrial revenue bond, industrial development bond and similar
  financings), whether or not such indebtedness shall have been assumed by such Person or is limited in
  recourse;

                       (h)   all obligations of such Person in respect of Disqualified Equity Interests;

                   (i)      all obligations of such Person to pay a specified purchase price for goods or
  services whether or not delivered or accepted (e.g., take or pay obligations) or similar obligations and,
  without duplication, all obligations of such Person under conditional sale or other title retention agreements
  relating to property or assets purchased by such Person; and

                       (j)   all Guarantees by such Person of any of the foregoing.




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  The Indebtedness of any Person shall include the Indebtedness of any partnership or joint venture (other
  than a joint venture that is itself a corporation, company, or limited liability company) in which such Person
  is a general partner or a joint venturer, unless such Indebtedness is expressly made non-recourse to such
  Person. The amount of Indebtedness of any Person for purposes of clause (g) shall be deemed to be equal
  to the greater of (i) the aggregate unpaid amount of such Indebtedness and (ii) the fair market value of the
  property encumbered thereby as determined by such Person in good faith.

           “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with respect to
  any payment made by or on account of any obligation of any Loan Party under any Loan Document and
  (b) to the extent not otherwise described in clause (a), Other Taxes.

           “Indemnitee” has the meaning assigned to such term in Section 10.3(b).

           “Information” has the meaning assigned to such term in Section 10.14(b).

           “Intellectual Property” means, collectively, with respect to an Loan Party, all of such Loan Party’s
  rights, priorities and privileges relating to all intellectual and similar property of every kind and nature,
  whether arising under United States, multinational or foreign laws or otherwise, now existing or hereafter
  adopted or acquired, including, without limitation inventions, designs, Patents, Copyrights, Trademarks,
  Licenses, domain names, Trade Secrets, confidential or proprietary technical and business information,
  know how, show how or other data or information, software and databases and all embodiments or fixations
  thereof and related documentation, registrations and franchises, and all additions, improvements and
  accessions to, and books and records describing or used in connection with, any of the foregoing, and all
  rights to sue at law or in equity for any infringement or other impairment thereof, including the right to
  receive all proceeds and damages therefrom.

           “Interest Payment Date” means (a) the last day of each month and (b) the Maturity Date.

           “Interim Order” means, collectively, the order of the Bankruptcy Court entered in the Chapter 11
  Cases after an interim hearing (assuming satisfaction of the standard prescribed in Section 364 of the
  Bankruptcy Code and Bankruptcy Rule 4001 and other applicable law), together with all extensions,
  modifications, and amendments thereto, in form and substance reasonably satisfactory to the Administrative
  Agent, which, among other matters but not by way of limitation, authorizes, on an interim basis, the Loan
  Parties to execute and perform under the terms of this Agreement and the other Loan Documents.

           “Investment” means, as to any Person, (a) any Acquisition by such Person, (b) any direct or indirect
  acquisition or investment by such Person in another Person, whether by means of the purchase or other
  acquisition of Equity Interests or debt or other securities of another Person (including any partnership or
  joint venture interest), or (c) any direct or indirect loan, advance or capital contribution to, Guarantee with
  respect to any Indebtedness or other obligation of, such other Person. For purposes of covenant compliance,
  the amount of any Investment on any date of determination shall be, in the case of any Investment in the
  form of (i) a loan or an advance, the principal amount thereof outstanding on such date, (ii) a Guarantee,
  the amount of such Guarantee as determined in accordance with the last sentence of the definition of such
  term, (iii) a transfer of Equity Interests or other property by the investor to the investee, including any such
  transfer in the form of a capital contribution, or the issuance of Equity Interests to such investor, the fair
  market value (as determined reasonably and in good faith by the chief financial officer of the Company) of
  such Equity Interests or other property as of the time of the transfer or issuance, without any adjustment for
  increases or decreases in value of, or write-ups, write-downs or write-offs with respect to, such Investment,
  and (iv) any Investment (other than any Investment referred to in clauses (i), (ii) or (iii) above) in the form
  of an Acquisition or a purchase or other acquisition for value of any evidences of Indebtedness or other
  securities of any other Person, the original cost of such Investment (including any Indebtedness assumed in


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  connection therewith), plus the cost of all additions, as of such date, thereto, and minus the amount, as of
  such date, of any portion of such Investment repaid to the investor in cash as a repayment of principal or a
  return of capital, as the case may be, but without any other adjustment for increases or decreases in value
  of, or write-ups, write-downs or write-offs with respect to, such Investment.

           “Investors” means Corsicana Investors, LLC, a Delaware limited liability company.

           “IRS” means the United States Internal Revenue Service.

           “Lenders” has the meaning assigned to such term in the preamble of this Agreement.

           “License” means any written agreement, now or hereafter in effect, granting to any third party any
  right to use any Copyright, Patent, Trademark or Trade Secret now or hereafter owned or held by or on
  behalf of any Loan Party or which such Loan Party otherwise has the right to license, or granting to any
  Loan Party any right to use any Copyright, Patent, Trademark or Trade Secret now or hereafter owned by
  any third party,
           “Lien” means, with respect to any asset, (a) any mortgage, deed of trust, lien, pledge, hypothecation,
  encumbrance, charge or security interest in, on or of such asset, (b) the interest of a vendor or a lessor under
  any conditional sale agreement, Capitalized Lease or title retention agreement relating to such asset, and
  (c) in the case of securities, any purchase option, call or similar right of a third party with respect to such
  securities.

          “Line Cap” means, at any time, the lesser of (a) the Revolving Credit Maximum Amount and (b)
  the Borrowing Base.

         “Loan” means an extension of credit by a Lender to the Borrowers under Article 2 in the form of a
  Revolving Loan.

          “Loan Documents” means, collectively, this Agreement (including the Loan Guaranty), the Notes,
  the Fee Letter, the Collateral Documents, and each other document entered into in connection herewith.

           “Loan Guarantor” means each Loan Party.

           “Loan Guaranty” means Article 11 of this Agreement.

           “Loan Parties” means, collectively, (a) each Borrower and (b) each Guarantor.

           “Margin Stock” has the meaning assigned to such term in Regulation U.

           “Master Agreement” has the meaning assigned to such term in the definition of “Swap Agreement.”

            “Material Adverse Effect” means a material adverse effect on (a) the business, assets, operations,
  liabilities, prospects or condition, financial or otherwise, of the Loan Parties and their respective
  Subsidiaries (in each case, excluding the effect of filing, commencement, announcement, prosecution and
  continuation of the Chapter 11 Cases, the events and conditions related and/or leading up thereto and the
  effects thereof and any action required to be taken under the Loan Documents or under the Orders), (b) the
  legality, validity or enforceability of any Loan Document, (c) the ability of any Loan Party to perform any
  of its obligations under any Loan Document, (d) the rights of or remedies available to the Credit Parties
  under any Loan Document or (e) a material impairment of the enforceability or priority of the
  Administrative Agent’s Liens with respect to all or a material portion of the Collateral.



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           “Material Indebtedness” means, as of any date, Indebtedness consisting of the Prepetition Term
  Loan Obligations, Indebtedness arising under the DIP Term Loan Documents, and any other Indebtedness
  (other than Indebtedness under the Loan Documents) in an aggregate principal amount exceeding $50,000.

          “Material Real Property” means, unless otherwise agreed to be excluded as a Material Real
  Property in writing by the Administrative Agent at its sole option, any Real Property owned by any Loan
  Party with a fair market value in excess of $500,000.

           “Maturity Date” means the earliest of (a) October 23, 2022, or if such date is not a Business Day
  the immediately following Business Day, (b) July 30, 2022, if the Final Order has not been entered by the
  Bankruptcy Court on or prior to such date, or if such date is not a Business Day the immediately following
  Business Day, (c) the maturity date of the DIP Term Loan Facility, (d) the date of the substantial
  consummation (as defined in section 1101(2) of the Bankruptcy Code) of a plan of reorganization that has
  been confirmed by an order of the Bankruptcy Court, (e) the date of termination of all of the Revolving
  Commitments pursuant to Section 2.3, (f) the date on which the Obligations become due and payable
  pursuant to this Agreement, whether by acceleration or otherwise, (g) the date of consummation of a sale
  of all or substantially all of the Debtors’ assets under section 363 of the Bankruptcy Code, (h) the date of
  consummation of a sale of all or substantially all of the Collateral under section 363 of the Bankruptcy
  Code, (i) the date the Loan Parties’ file a motion seeking to convert any or all of the Chapter 11 Cases to a
  case under chapter 7 of the Bankruptcy Code, (j) (i) the date of conversion of any of the Chapter 11 Cases
  to a case under chapter 7 of the Bankruptcy Code or (ii) the appointment or election of a trustee under
  Chapter 11 of the Bankruptcy Code or a responsible officer or examiner with enlarged powers relating to
  the operation of the Loan Parties’ business (powers beyond those set forth in section 1106(a)(3) and (4) of
  the Bankruptcy Code) under section 1106 of the Bankruptcy Code, (k) the date the Loan Parties’ file a
  motion seeking a dismissal of any or all of the Chapter 11 Cases, or (l) the date of dismissal of any of the
  Chapter 11 Cases.

           “Moody’s” means Moody’s Investors Service, Inc. and any successor to its rating agency business.

          “Mortgage” means each mortgage, deed of trust, deed to secure debt, assignment of leases and
  rents, modification and other collateral documents delivered pursuant to Section 6.12, each in form and
  substance reasonably satisfactory to the Administrative Agent.

           “Mortgage Requirement” means, with respect to any Real Property for which the Administrative
  Agent is granted a Lien in accordance with Section 6.12, the requirement that the Administrative Agent
  shall have received the following, each in form and substance satisfactory to the Administrative Agent:
  (a) a Mortgage with respect to such Real Property duly executed and delivered by the record owner of such
  Real Property; (b) an appraisal with respect to such Real Property; (c) a survey with respect to such Real
  Property; (d) a title insurance policy (including any endorsements thereto) and appropriate lien searches
  with respect to such Real Property; (e) with respect to such Real Property: environmental reports, audits
  and analyses (whether produced by any Loan Party or its Subsidiaries or any third party or Governmental
  Authority) and Phase I or Phase II reports; (f) if any such parcel of Real Property is determined by the
  Administrative Agent to be in a “Special Flood Hazard Area” as designated on maps prepared by the Federal
  Emergency Management Agency, a flood notification form signed by the Borrower Agent and evidence
  that the Borrowers have complied with the insurance requirements set forth in Section 6.10; (g) evidence
  of earthquake insurance with respect to such Real Property; (h) legal opinions with respect to such Mortgage
  and related matters, and (i) such other information, documentation, and certifications as may be reasonably
  required by the Administrative Agent.

           “Multiemployer Plan” means a multiemployer plan as defined in Section 4001(a)(3) of ERISA.



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           “NOLV” means, with respect to Inventory of any Person, the orderly liquidation value thereof
  identified in the most recent Inventory appraisal ordered by the Administrative Agent and as determined in
  a manner acceptable to the Administrative Agent by an appraiser acceptable to the Administrative Agent,
  net of all costs of liquidation thereof.

          “Non-Consenting Lender” means any Lender that does not approve any consent, waiver or
  amendment that (a) requires the approval of all or all affected Lenders in accordance with the terms of
  Section 10.2 and (b) has been approved by the Required Lenders.

           “Non-Defaulting Lender” means, at any time, each Lender that is not a Defaulting Lender at such
  time.

           “Non-Loan Party Subsidiary” means any Subsidiary of Holdings that is not a Loan Party.

           “Notes” means, collectively, the Revolving Loan Notes.

            “Obligations” means the due and punctual payment and performance of all advances to, and debts,
  liabilities, obligations, covenants and duties of, any Loan Party under or pursuant to each of the Loan
  Documents or otherwise with respect to any Loan, including, without limitation all principal, interest, fees
  and other amounts payable under the Loan Documents, and all costs and expenses incurred in connection
  with enforcement and collection of the foregoing, including the fees, charges and disbursements of counsel,
  in each case whether direct or indirect (including those acquired by assumption), absolute or contingent,
  due or to become due, now existing or hereafter arising, and including interest, expenses and fees that
  accrue after the commencement by or against any Loan Party or any Affiliate thereof of any proceeding
  under any Debtor Relief Laws naming such Person as the debtor in such proceeding, regardless of whether
  such interest, expenses and fees are allowed claims in such proceeding.

          “OFAC” means the U.S. Department of the Treasury’s Office of Foreign Assets Control, and any
  successor thereto.

          “Order” means (i) until entry of the Final Order, the Interim Order and (ii) after the entry of the
  Final Order, the Final Order, or the Interim Order and the Final Order as the “Orders”.

          “Organizational Documents” means, (a) with respect to any corporation, the certificate or articles
  of incorporation and the bylaws (or equivalent or comparable constitutive documents with respect to any
  non-United States jurisdiction), (b) with respect to any limited liability company, the certificate or articles
  of formation or organization and operating or limited liability company agreement and (c) with respect to
  any partnership, joint venture, trust or other form of business entity, the partnership, joint venture or other
  applicable agreement of formation or organization and any agreement, instrument, filing or notice with
  respect thereto filed in connection with its formation or organization with the applicable Governmental
  Authority in the jurisdiction of its formation or organization and, if applicable, any certificate or articles of
  formation or organization of such entity.

           “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a result of a
  present or former connection between such Recipient and the jurisdiction imposing such Tax (other than
  connections arising from such Recipient having executed, delivered, become a party to, performed its
  obligations under, received payments under, received or perfected a security interest under, engaged in any
  other transaction pursuant to or enforced any Loan Document, or sold or assigned an interest in any Loan
  or Loan Document).




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           “Other Taxes” means all present or future stamp, court or documentary, intangible, recording, filing
  or similar Taxes that arise from any payment made under, from the execution, delivery, performance,
  enforcement or registration of, from the receipt or perfection of a security interest under, or otherwise with
  respect to, any Loan Document, except any such Taxes that are Other Connection Taxes imposed with
  respect to an assignment (other than an assignment made pursuant to Section 3.6(b)).

           “Overadvance” has the meaning assigned to such term Section 2.2(e).

           “Participant” has the meaning assigned to such term in Section 10.4(d).

           “Participant Register” has the meaning assigned to such term in Section 10.4(d).

          “Patents” means all of the following: (a) all letters patent of the United States of America or any
  other country, all registrations and recordings thereof and all applications for letters patent of the United
  States of America or any other country, including registrations, recordings and pending applications in the
  United States Patent and Trademark Office or any similar offices in the United States of America or any
  other country, (b) all inventions and improvements described and claimed therein, including the right to
  make, use and/or sell the inventions disclosed or claimed therein, (c) all reissues, continuations, divisions,
  continuations in part, renewals or extensions thereof and amendments thereto, and the inventions disclosed
  or claimed therein, and (d) all income, fees, royalties, damages, claims and payments now or hereafter due
  and/or payable thereunder and with respect thereto.

           “PBGC” means the Pension Benefit Guaranty Corporation referred to and defined in ERISA.

          “Pension Plan” means any employee pension benefit plan (other than a Multiemployer Plan) subject
  to the provisions of Title IV of ERISA or Section 412 or Section 430 of the Code or Section 302 or
  Section 303 of ERISA, and in respect of which any Loan Party or any ERISA Affiliate is (or, if such plan
  were terminated, would under Section 4069 of ERISA be deemed to be) an “employer” as defined in
  Section 3(5) of ERISA.

          “Permitted Discretion” means a determination made by the Administrative Agent in its
  commercially reasonable credit or business judgment (from the perspective of a secured asset-based lender)
  exercised in good faith.

           “Permitted Encumbrances” means:

                  (a)     Liens imposed by law for taxes, assessments or other governmental charges that
  are not yet due or are being Contested in Good Faith, provided that enforcement of such Liens is stayed
  pending such contest;

                   (b)      landlords’, vendors’, carriers’, warehousemen’s, mechanics’, materialmen’s,
  repairmen’s and other like Liens imposed by law, arising in the ordinary course of business and securing
  obligations that are not overdue by more than 30 days or are being Contested in Good Faith, provided that
  enforcement of such Liens is stayed pending such contest;

                (c)      pledges and deposits made in the ordinary course of business in compliance with
  workers’ compensation, unemployment insurance and other social security laws or regulations;

                 (d)     deposits to secure the performance of bids, trade contracts (other than contracts for
  the payment of money), leases (other than Capitalized Lease Obligations), statutory obligations, surety and




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  appeal bonds, performance bonds and other obligations of a like nature, in each case incurred in the ordinary
  course of business;

                  (e)       judgment liens in respect of judgments that do not constitute an Event of Default
  under Section 8.1(h);

                  (f)      easements, zoning restrictions, rights of way and similar encumbrances on real
  property imposed by law or arising in the ordinary course of business that do not secure any monetary
  obligation and do not materially detract from the value of the affected property or interfere with the ordinary
  conduct of business of the Loan Parties and their respective Subsidiaries;

                   (g)     any interest or title of a licensor, sublicensor, lessor or sublessor with respect to
  any assets under any license or lease agreement entered into in the ordinary course of business, provided
  that the same do not in any material respect interfere with the business of the Loan Parties or their
  Subsidiaries or materially detract from the value of the relevant assets of the Loan Parties or its Subsidiaries;

                   (h)      licenses, sublicenses, leases or subleases with respect to any assets granted to third
  Persons in the ordinary course of business, provided that the same do not in any material respect interfere
  with the business of the Loan Parties or their Subsidiaries or materially detract from the value of the relevant
  assets of the Loan Parties or their Subsidiaries;

                   (i)       customary rights of set off, bankers’ liens, refunds or charge backs, under deposit
  agreements, the Uniform Commercial Code or common law, of banks or other financial institutions where
  any Loan Party or any of such Loan Party’s Subsidiaries maintains deposits (other than deposits intended
  as cash collateral) in the ordinary course of business;

                   (j)      Liens (i) on earnest money deposits made in cash by a Borrowers or any of its
  Subsidiaries in connection with any letter of intent or purchase agreement in connection with an Acquisition
  or other Investment permitted under this Agreement or (ii) on amounts deposited as “security deposits” (or
  their equivalent) in the ordinary course of business in connection with actions or transactions not prohibited
  by this Agreement;

                 (k)      Liens in favor of customs and revenue authorities arising in the ordinary course of
  business as a matter of law to secure payment of customs duties in connection with the importation of
  goods;

                  (l)      Liens resulting from the filing of precautionary UCC-1 financing statements (or
  equivalent) with respect to operating leases;

                  (m)     Liens arising out of conditional sale, title retention, consignment or similar
  arrangements for the sale of goods entered into by any Loan Party or any of its Subsidiaries in the ordinary
  course of business; and

                    (n)      Liens incurred in the ordinary course of business imposed by law in connection
  with the purchase or shipping of goods or assets (or the related assets and proceeds thereof), which Liens
  are in favor of the seller or shipper of such goods or assets and only attach to such goods or assets;

                  (o)     any interest of title of a lessor under, and Liens arising from precautionary UCC
  financing statements (or equivalent filings, registrations or agreements in foreign jurisdictions) solely
  evidencing such lessor’s interest under, leases permitted by this Agreement;




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                   (p)       Liens of a collection bank arising under Section 4-210 of the UCC on items in the
  course of collection;

                 (q)     deposits made in the ordinary course of business to secure liability for insurance
  premiums to insurance carriers;

                   (r)      bankers’ Liens, rights of setoff and other similar Liens existing solely with respect
  to cash, Cash Equivalents, securities, commodities and other funds on deposit in one or more accounts
  maintained by a Loan Party, in each case arising in the ordinary course of business in favor of banks, other
  depositary institutions, securities or commodities intermediaries or brokerages with which such accounts
  are maintained securing amounts owing to such banks or financial institutions with respect solely to cash-
  management and operating account management or arising under Section 4-208 or 4-210 of the UCC on
  items in the course of collection (and not with respect to any Indebtedness for borrowed money); and

                   (s)      Liens consisting of judgment, appeal bonds, judicial attachment liens or other
  similar Liens arising in connection with court proceedings, provided that the enforcement of such Liens is
  effectively stayed and all such Liens secure judgments the existence of which do not constitute an Event of
  Default under Section 8.1(h);

         “Permitted Holders” means, collectively, Blue Torch Finance, LLC, Blue Torch Credit
  Opportunities KRS Fund LP, Blue Torch Credit Opportunities Fund II LP, Blue Torch Credit Opportunities
  SBAF Fund LP, and Swiss Capital BTC OL Private Debt Fund L.P., or any Affiliate of any of the foregoing.
          “Permitted Variances” shall mean, with respect to any Variance Testing Period, (a) in respect of
  the aggregate amount of Actual Operating Disbursement Amounts, (x) 20% for the Initial Two Week
  Disbursements Period, (y) 20% for the Initial Three Week Disbursements Period, and (z) 15% for the Initial
  Four Week Disbursements Period and each Four Week Disbursements Period and (b) in respect of Actual
  Cash Receipts, (x) 20% for the Initial Two Week Receipts Period, (y) 15% for the Initial Three Week
  Receipts Period, and (z) 15% for the Initial Four Week Receipts Period and each Four Week Receipts
  Period thereafter.

          “Person” means any natural person, corporation, limited liability company, trust, joint venture,
  association, company, partnership, Governmental Authority or other entity.

           “Petition Date” has the meaning assigned to such term in the Recitals.

         “Postpetition” means the time period commencing immediately upon the filing of the applicable
  Chapter 11 Case.

           “Prepayment Event” means:

                  (a)     any Disposition (including pursuant to a sale and leaseback transaction) of any
  assets of any Loan Party or any Subsidiary (other than Dispositions of DIP Term Priority Collateral or
  Dispositions described in Section 7.5(a), (b), (c), (d), (e), (f), (h), (j), (k), (l), (m), and (n), and other than,
  for the avoidance of doubt, the transfer of any Collateral among Loan Parties);

                 (b)      any casualty or other insured damage to, or any taking under power of eminent
  domain or by condemnation or similar proceeding of, any assets (other than DIP Term Priority Collateral)
  of any Loan Party or any Subsidiary; or

                       (c)the incurrence by a Loan Party of any Indebtedness (other than Indebtedness
  permitted under Section 7.1 of this Agreement) for borrowed money.


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         “Prepetition” means the time period ending immediately prior to the filing of the applicable Chapter
  11 Case.

           “Prepetition ABL Agent” has the meaning assigned to such term in the Recitals.

           “Prepetition ABL Credit Agreement” has the meaning assigned to such term in the Recitals.

           “Prepetition ABL Lenders” has the meaning assigned to such term in the Recitals.

        “Prepetition ABL Loan Documents” means the “Loan Documents” as defined in the Prepetition
  ABL Credit Agreement.

        “Prepetition ABL Obligations” means “Obligations” as defined in the Prepetition ABL Credit
  Agreement.

           “Prepetition ABL Priority Collateral” means the “ABL Priority Collateral” as such term is defined
  in the Prepetition Intercreditor Agreement.

           “Prepetition Intercreditor Agreement” means that certain Intercreditor Agreement among the
  Prepetition ABL Agent and the Prepetition Term Loan Agent, and acknowledged by the Loan Parties, dated
  as of April 28, 2021.

        “Prepetition Term Loan Agent” means Blue Torch Finance, LLC, a Delaware limited liability
  company in its capacity as administrative agent and collateral agent under any of the Prepetition Term Loan
  Documents.

         “Prepetition Term Loan Agreement” means that certain Financing Agreement dated as April 28,
  2021, among the Prepetition Term Loan Agent, certain financial institutions party thereto as lenders, and
  the Loan Parties, as amended, restated, supplemented or otherwise modified through the date hereof.

        “Prepetition Term Loan Documents” means the “Loan Documents” as defined in the Prepetition
  Term Loan Agreement.

        “Prepetition Term Loan Lenders” means the “Term Loan Lenders” as defined in the Prepetition
  Term Loan Agreement.

        “Prepetition Term Loan Obligations” means “Obligations” as defined in the Prepetition Term Loan
  Agreement.

          “Prime Rate” means the U.S. prime rate as shown in the Eastern Edition of The Wall Street Journal
  on such day, or, if such day is not a Business Day, on the immediately preceding Business Day (and, if the
  Eastern Edition of The Wall Street Journal for any reason ceases to publish a U.S. prime rate, then the Prime
  Rate shall be such prime rate as published from time to time in any other publication or reference source
  designated by the Administrative Agent in its discretion); provided, that the prime rate is a reference rate
  and does not necessarily represent the best or lowest rate charged by any Lender.

          “Protective Advance” means an advance of the type described in clauses (ii)(A), (B) or (C) of
  Section 2.2(e), whether or not constituting an Overadvance at the time made.

         “PTE” means a prohibited transaction class exemption issued by the U.S. Department of Labor, as
  any such exemption may be amended from time to time.



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           “QFC” has the meaning assigned to the term “qualified financial contract” in, and shall be
  interpreted in accordance with, 12 U.S.C. § 5390(c)(8)(D).

           “QFC Credit Support” has the meaning assigned to it in Section 10.20.

           “Qualified ECP Guarantor” means, in respect of any Swap Obligation, each Loan Party that has
  total assets exceeding $10,000,000 at the time the relevant Loan Guaranty or grant of the relevant security
  interest becomes or would become effective with respect to such Swap Obligation or such other person as
  constitutes an “eligible contract participant” under the Commodity Exchange Act or any regulations
  promulgated thereunder and can cause another person to qualify as an “eligible contract participant” at such
  time by entering into a keepwell under Section 1a(18)(A)(v)(II) of the Commodity Exchange Act.

           “Real Property” means, collectively, all right, title and interest in and to any and all parcels of or
  interests in real property owned or leased by any Person, together with, in each case, all easements,
  hereditaments and appurtenances relating thereto, all improvements and appurtenant fixtures and
  equipment, all general intangibles and contract rights and other property and rights incidental to the
  ownership thereof.

           “Recipient” means the Administrative Agent or any Lender, as applicable.

           “Refinancing Indebtedness” means Indebtedness of any Loan Party or its Subsidiaries arising after
  the Effective Date issued in exchange for, or the proceeds of which are used to extend, refinance, refund,
  replace, renew, continue or substitute for other Indebtedness (such extended, refinanced, refunded,
  replaced, renewed, continued or substituted Indebtedness, the “Refinanced Obligations”); provided that (a)
  the principal amount of such Refinancing Indebtedness shall not exceed the principal amount of the
  Refinanced Obligations (plus any interest capitalized in connection with such Refinanced Obligations, the
  amount of prepayment premium, if any, original issue discount, if any, and reasonable fees, costs, and
  expenses incurred in connection therewith), (b) such Refinancing Indebtedness shall have a final maturity
  that is no earlier than the final maturity date of such Refinanced Obligations, (c) such Refinancing
  Indebtedness shall have a Weighted Average Life to Maturity not less than the weighted average life to
  maturity of the Refinanced Obligations, (d) such Refinancing Indebtedness shall rank in right of payment
  no more senior than, and be subordinated (if subordinated) to the Obligations on terms not materially less
  favorable to the Secured Parties than the Refinanced Obligations, (e) as of the date of incurring such
  Refinancing Indebtedness and after giving effect thereto, no Default or Event of Default shall exist or have
  occurred and be continuing, (f) if the Refinanced Obligations or any Guarantees thereof are unsecured, such
  Refinancing Indebtedness and any Guarantees thereof shall be unsecured, (g) if the Refinanced Obligations
  or any Guarantees thereof are secured, (i) such Refinancing Indebtedness and any Guarantees thereof shall
  be secured by substantially the same or less collateral as secured such Refinanced Obligations or any
  Guarantees thereof, on terms not materially less favorable to the Secured Parties and (ii) the Liens to secure
  such Refinancing Indebtedness shall not have a priority more senior than the Liens securing the Refinanced
  Obligations and if subordinated to any other Liens on such property, shall be subordinated to the
  Administrative Agent’s Liens on terms and conditions not materially less favorable to the Secured Parties,
  (h) the obligors in respect of the Refinanced Obligations immediately prior to such refinancing, refunding,
  extending, renewing, continuing, substituting or replacing thereof shall be the only obligors on such
  Refinancing Indebtedness, and (i) the terms and conditions (excluding as to pricing, premiums and optional
  prepayment or redemption provisions) of any such Refinancing Indebtedness are not materially less
  favorable to the Loan Parties than the terms and conditions of the Refinanced Obligations.

           “Register” has the meaning assigned to such term in Section 10.4(c).

           “Regulation D” means Regulation D of the Board.


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           “Regulation T, U or X” means Regulation T, U or X, respectively, of the Board.

          “Related Parties” means, with respect to any Person, such Person’s Affiliates and the partners,
  members, directors, officers, employees, agents, trustees, administrators, managers, advisors, attorneys-in-
  fact and representatives of such Person and of such Person’s Affiliates.

          “Release” means any actual or threatened releasing, spilling, leaking, pumping, pouring, leaching,
  seeping, emitting, migration, emptying, discharging, injecting, escaping, depositing, disposing, or dumping
  of Hazardous Materials into the indoor or outdoor environment, including the movement of any Hazardous
  Material through the air, soil, surface water, groundwater or property and any other conditions resulting in
  potential or actual human exposure to Hazardous Materials within a structure.

          “Remedies Notice Period” has the meaning assigned to such term in the Interim Order (or Final
  Order, when applicable).

           “Removal Effective Date” has the meaning assigned to such term in Section 9.6(b).

           “Required Lenders” means, at any time, Lenders having Total Credit Exposures representing more
  than 50% of the Total Credit Exposures of all Lenders; provided that if there are two or more Lenders (other
  than Defaulting Lenders) that are not Affiliates, then at least two Lenders (other than Defaulting Lenders)
  that are not Affiliates shall be required to constitute Required Lenders. The Total Credit Exposure of any
  Defaulting Lender shall be disregarded in determining Required Lenders at any time.

           “Required Milestones” means the covenants set forth on Schedule 6.18.

            “Reserves” means reserves in such amounts, and with respect to such matters, as the Administrative
  Agent shall deem necessary or appropriate in its Permitted Discretion, to establish and maintain against the
  Borrowing Base or the Revolving Credit Maximum Amount, including without limitation with respect to
  (i) price adjustments, damages, unearned discounts, returned products or other matters for which credit
  memoranda are issued in the ordinary course of any Loan Party’s business; (ii) potential dilution related to
  Accounts (equal to 1.0% for each percentage (or portion thereof) that dilution exceeds 5.0%);
  (iii) shrinkage, spoilage and obsolescence of any Loan Party’s Inventory; (iv) slow moving Inventory;
  (v) other sums chargeable against the Loan Parties under any provision of this Agreement; (vi) amounts
  owing by any Loan Party to any Person to the extent secured by a Lien on, or trust over, any property of
  any Loan Party; (vii) rent for locations at which Inventory is stored and as to which the Administrative
  Agent has not received a satisfactory Collateral Access Agreement; (viii) [reserved]; and (ix) such other
  specific events, conditions or contingencies as to which the Administrative Agent, in its Permitted
  Discretion, determines reserves should be established from time to time hereunder.

           “Resignation Effective Date” has the meaning assigned to such term in Section 9.6(a).

           “Resolution Authority” means an EEA Resolution Authority or, with respect to any UK Financial
  Institution, a UK Resolution Authority.

           “Responsible Officer” means the chief executive officer, president, vice president, chief financial
  officer, treasurer, assistant treasurer, or other similar officer of a Loan Party. Any document delivered
  hereunder that is signed by a Responsible Officer of a Loan Party shall be conclusively presumed to have
  been authorized by all necessary corporate, limited liability company, partnership and/or other action on
  the part of such Loan Party and such Responsible Officer shall be conclusively presumed to have acted on
  behalf of such Loan Party.




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           “Restricted Payment” means, as to any Person, (a) any dividend or other distribution by such Person
  (whether in cash, securities or other property) with respect to any Equity Interests of such Person, (b) any
  payment (whether in cash, securities or other property), including any sinking fund or similar deposit, on
  account of the purchase, redemption, retirement, defeasance, acquisition, cancellation or termination of any
  such Equity Interest, or on account of any return of capital to the holders of Equity Interests of such Person,
  (c) the acquisition for value by such Person of any Equity Interests issued by such Person or any other
  Person that Controls such Person, (d) the payment of management fees or similar fees and expenses to any
  other Person, including to any holders of Equity Interests in such Person, or any Affiliate thereof (other
  than payment of compensation in the ordinary course of business to such other Person that is an employee
  of such Person), and (e) with respect to clauses (a) through (d), any transaction that has a substantially
  similar effect.

           “Revolving Borrowing” means a Borrowing consisting of Revolving Loans.

          “Revolving Commitment” means, with respect to each Revolving Lender, the commitment
  hereunder of such Revolving Lender to make Revolving Loans in an aggregate outstanding amount not
  exceeding the amount of such Revolving Lender’s Revolving Commitment as set forth on Schedule 2.1 or
  in the Assignment and Assumption pursuant to which such Revolving Lender shall have assumed its
  Revolving Commitment in accordance with Section 10.4(b), as applicable, as such Revolving Commitment
  may be adjusted from time to time pursuant to Section 2.3 or Section 2.8 or pursuant to assignments by or
  to such Revolving Lender pursuant to Section 10.4.

          “Revolving Credit Maximum Amount” means the aggregate amount of the Revolving
  Commitments at any time, as such amount may be increased or reduced from time to time pursuant to the
  terms hereof. The initial Revolving Credit Maximum Amount on the Effective Date is $40,000,000.

         “Revolving Exposure” means, as to any Lender at any time, the sum of the outstanding principal
  amount of its Revolving Loans.

        “Revolving Lender” means a Lender having a Revolving Commitment or, if the Revolving
  Commitments have expired or terminated, having Revolving Exposure.

           “Revolving Loan” means a loan referred to in Section 2.1(a) and made pursuant to Section 2.2.

         “Revolving Loan Note” means with respect to a Revolving Lender, a promissory note evidencing
  the Revolving Loans of such Lender payable to the order of such Lender in a form approved by the
  Administrative Agent.

           “S&P” means Standard & Poor’s Financial Services LLC, a subsidiary of S&P Global Inc.

           “Sale Leaseback” means any transaction or series of related transactions pursuant to which any
  Loan Party or any of its Subsidiaries (a) sells, transfers or otherwise Disposes of any property, real or
  personal, whether now owned or hereafter acquired, and (b) as part of such transaction, thereafter rents or
  leases such property or other property that it intends to use for substantially the same purpose or purposes
  as the property being sold, transferred or otherwise Disposed.

          “Sanctioned Country” means any country, territory or region which is itself the subject or target of
  any comprehensive Sanctions (which may include the Crimean region of Ukraine, Cuba, Iran, North Korea,
  Darfur, Russia, South Sudan and Syria).




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           “Sanctioned Person” means (a) any Person or group listed in any Sanctions related list of designated
  Persons maintained by OFAC, including the List of Specially Designated Nationals and Blocked Persons,
  or the U.S. Department of State, the United Nations Security Council, the European Union or any EU
  member state, (b) any Person subject to any law that would prohibit all or substantially all financial or other
  transactions with that Person or would require that assets of that Person that come into the possession of a
  third-party be blocked (c) any legal entity organized or domiciled in a Sanctioned Country, (d) any agency,
  political subdivision or instrumentality of the government of a Sanctioned Country, (e) any natural person
  ordinarily resident in a Sanctioned Country, or (f) any Person 50% or more owned, directly or indirectly,
  individually or in the aggregate by any of the above.

          “Sanctions” means economic or financial sanctions or trade embargoes imposed, administered or
  enforced from time to time by (a) the U.S. government, including those administered by OFAC or the U.S.
  Department of State or (b) the United Nations Security Council, the European Union or any European
  Union member state, Her Majesty’s Treasury of the United Kingdom or other relevant sanctions authority.

           “Secured Parties” means, collectively, (a) the Administrative Agent, (b) each Lender, (c) the
  beneficiaries of each indemnification obligation undertaken by any Loan Party under any Loan Document
  and (d) the permitted successors and assigns of each of the foregoing.

           “Second Amendment Date” means December 30, 2021.
            “Solvent” and “Solvency” mean, with respect to any Person on any date of determination, that on
  such date (a) the fair value of the present assets of such Person and its Subsidiaries, taken as a whole, is not
  less than the sum of the debt (including contingent liabilities) of such Person and its Subsidiaries, taken as
  a whole, (b) the present fair salable value of the assets of such Person and its Subsidiaries, taken as a whole,
  is not less than the amount that will be required to pay the probable liabilities (including contingent
  liabilities) of such Person and its Subsidiaries, taken as a whole, on their debts as they become absolute and
  matured, (c) the capital of such Person and its Subsidiaries, taken as a whole, is not unreasonably small in
  relation to the business of such Person or its Subsidiaries, taken as a whole, contemplated as of such date
  and (d) such Person and its Subsidiaries, taken as a whole, do not intend to incur, or believe that they will
  incur, debts (including current obligations and contingent liabilities) beyond their ability to pay such debts
  as they mature in the ordinary course of business.

           “Sponsor” means Long Point Capital Fund III, L.P., a Delaware limited partnership.

           “Subordinated Indebtedness” means Indebtedness incurred by a Loan Party that is subordinated in
  right of payment to the prior payment of the Obligations of such Loan Party and contains subordination and
  other terms acceptable to the Administrative Agent.

          “Subsidiary” means, with respect to any Person, as of any date, any corporation, limited liability
  company, partnership, association or other entity the accounts of which would be consolidated with those
  of such Person in such Person’s consolidated financial statements if such financial statements were prepared
  in accordance with GAAP as of such date, as well as any other corporation, limited liability company,
  partnership, association or other entity of which securities or other ownership interests representing more
  than 50% of the equity or more than 50% of the ordinary voting power is or, in the case of a partnership,
  more than 50% of the general partnership interests are, as of such date, owned, controlled or held by such
  Person or one or more subsidiaries of such Person.

          “Subsidiary Joinder Agreement” means a Subsidiary Joinder Agreement, in a form approved by
  the Administrative Agent, pursuant to which a Subsidiary becomes a party to this Agreement and each other
  applicable Loan Document.



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          “Successor Cases” means, with respect to the Chapter 11 Cases, any subsequent proceedings under
  chapter 7 of the Bankruptcy Code.

           “Swap Agreement” means (a) any and all rate swap transactions, basis swaps, credit derivative
  transactions, forward rate transactions, commodity swaps, commodity options, forward commodity
  contracts, equity or equity index swaps or options, bond or bond price or bond index swaps or options or
  forward bond or forward bond price or forward bond index transactions, interest rate options, forward
  foreign exchange transactions, cap transactions, floor transactions, collar transactions, currency swap
  transactions, cross-currency rate swap transactions, currency options, spot contracts, or any other similar
  transactions or any combination of any of the foregoing (including any options to enter into any of the
  foregoing), whether or not any such transaction is governed by or subject to any master agreement, and (b)
  any and all transactions of any kind, and the related confirmations, which are subject to the terms and
  conditions of, or governed by, any form of master agreement published by the International Swaps and
  Derivatives Association, Inc., any International Foreign Exchange Master Agreement or any other master
  agreement (any such master agreement, together with any related schedules, a “Master Agreement”),
  including any such obligations or liabilities under any Master Agreement.

          “Swap Obligation” means, with respect to any Loan Party, any obligation to pay or perform under
  any agreement, contract or transaction that constitutes a “swap” within the meaning of section 1a(47) of the
  Commodity Exchange Act.

          “Swap Termination Value” means, in respect of any one or more Swap Agreements, after taking
  into account the effect of any legally enforceable netting agreement relating to such Swap Agreements, (a)
  for any date on or after the date such Swap Agreements have been closed out and termination value(s)
  determined in accordance therewith, such termination value(s), and (b) for any date prior to the date
  referenced in clause (a), the amount(s) determined as the mark-to-market value(s) for such Swap
  Agreements, as determined based upon one or more mid-market or other readily available quotations
  provided by any recognized dealer in such Swap Agreements (which may include a Lender or any Affiliate
  of a Lender).

          “Synthetic Debt” means, with respect to any Person as of any date of determination thereof, all
  obligations of such Person in respect of transactions entered into by such Person that are intended to
  function primarily as a borrowing of funds (including any minority interest transactions that function
  primarily as a borrowing but are not otherwise included in the definition of “Indebtedness” or as a liability
  on the consolidated balance sheet of such Person and its Subsidiaries in accordance with GAAP).

           “Synthetic Lease Obligation” means the monetary obligation of a Person at any time of
  determination under (a) a so called synthetic, off balance sheet or tax retention lease, or (b) an agreement
  for the use or possession of property, in each case, creating obligations that do not appear on the balance
  sheet of such Person but which could be characterized as the indebtedness of such Person (without regard
  to accounting treatment) (other than operating leases arising as a result of Sale Leaseback transactions).

          “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings
  (including backup withholding), assessments, fees or other charges imposed by any Governmental
  Authority, including any interest, additions to tax or penalties applicable thereto.

          “Termination Date” means the date upon which all Commitments have terminated and the Loans
  and all other Obligations (other than unasserted contingent indemnification and expense reimbursement
  obligations in each case not yet due and payable), have been paid in full in cash.

           “Threshold Amount” means $1,000,000.


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         “Total Credit Exposure” means, as to any Lender at any time, the unused Commitments, Revolving
  Exposure of such Lender at such time.

          “Total Revolving Outstandings” means at any time, the aggregate outstanding principal amount of
  all Revolving Loans at such time.

           “Trade Secrets” means all trade secrets and all other confidential or proprietary information and
  know-how now or hereafter owned or used in, or contemplated at any time for use in, the business of any
  Loan Party, whether or not such Trade Secret has been reduced to a writing or other tangible form, including
  all documents and things embodying, incorporating or referring in any way to such Trade Secret, the right
  to sue for any past, present and future infringement of any Trade Secret, and all proceeds of the foregoing,
  including licenses, royalties, income, payments, claims, damages and proceeds of suit.

          “Trademarks” means all of the following: (a) all trademarks, service marks, trade names, corporate
  names, company names, business names, fictitious business names, trade styles, trade dress, logos, other
  source or business identifiers, prints and labels on which any of the foregoing have appeared or appear,
  uniform resource locations (URL’s), domain names, designs and general intangibles of like nature, now
  existing or hereafter adopted or acquired, (b) all registrations and recordings thereof and all registration and
  recording applications filed in connection therewith, including registrations and registration applications in
  the United States Patent and Trademark Office or any similar offices in the United States of America or
  any other country, and all common-law rights related thereto, (c) all reissues, continuations, extensions and
  renewals thereof and amendments thereto, (d) all goodwill associated therewith or symbolized by any of
  the foregoing, (e) all income, fees, royalties, damages and payments now and hereafter due and/or payable
  thereunder and with respect thereto and (f) all other assets, rights and interests that uniquely reflect or
  embody such goodwill.

          “Transaction Expenses” means any fees or expenses incurred or paid by Holdings or any Subsidiary
  in connection with the Transactions, this Agreement and the other Loan Documents and the transactions
  contemplated hereby and thereby in connection therewith.

          “Transactions” means (a) the execution, delivery and performance by each Loan Party of each Loan
  Document to which it is a party, (b) the borrowing of the Loans and the use of the proceeds thereof, (c) the
  execution, delivery and performance by the Loan Parties of the DIP Term Loan Documents, the borrowing
  under the DIP Term Loan Facility and the use of proceeds thereof, and (d) the commencement of the
  Chapter 11 Cases.

          “UK Financial Institution” means any BRRD Undertaking (as such term is defined under the PRA
  Rulebook (as amended form time to time) promulgated by the United Kingdom Prudential Regulation
  Authority) or any person falling within IFPRU 11.6 of the FCA Handbook (as amended from time to time)
  promulgated by the United Kingdom Financial Conduct Authority, which includes certain credit institutions
  and investment firms, and certain affiliates of such credit institutions or investment firms.

          “UK Resolution Authority” means the Bank of England or any other public administrative authority
  having responsibility for the resolution of any UK Financial Institution.

          “Uniform Commercial Code” or “UCC” means the Uniform Commercial Code as the same may
  from time to time be in effect in the State of New York; provided that, if perfection or the effect of perfection
  or non-perfection or the priority of any security interest in any Collateral is governed by the Uniform
  Commercial Code as in effect in a jurisdiction other than the State of New York, “Uniform Commercial
  Code” or “UCC” means the Uniform Commercial Code as in effect from time to time in such other




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  jurisdiction for purposes of the provisions hereof relating to such perfection, effect of perfection or non-
  perfection or priority.

           “United States” and “U.S.” mean the United States of America.

           “Unused Line Fee” has the meaning assigned to such term in Section 3.2(a).

          “USA PATRIOT Act” means The Uniting and Strengthening America by Providing Appropriate
  Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Title III of Pub. L. No. 107-56 (signed
  into law October 26, 2001)).

          “U.S. Person” means any Person that is a “United States Person” as defined in Section 7701(a)(30)
  of the Code.

           “U.S. Tax Compliance Certificate” has the meaning assigned to such term in Section 3.5 (g)(ii).

         “U.S. Trustee” means the United States Trustee responsible for overseeing the administration of
  the Chapter 11 Cases.
           “Value” means (a) for an Account, the face amount of such Account less any and all returns,
  rebates, discounts (which may, at Administrative Agent’s option, be calculated on shortest terms), credits,
  allowances or excise taxes of any nature at any time issued, owing, claimed by the Account Debtor, granted,
  outstanding or payable in connection with such Account at such time, and (b) for Inventory, its value
  determined on the first-in, first-out, lower of cost or market basis in accordance with GAAP.

           “Variance Testing Period” means each of (a) in respect of Actual Operating Disbursement
  Amounts, (w) the two week period ending on July 15, 2022 (“Initial Two Week Disbursements Period”),
  (x) the three week period ending on July 22, 2022 (“Initial Three Week Disbursements Period”), (y) the
  four week period ending on July 29, 2022 (“Initial Four Week Disbursements Period”), and (z) thereafter
  the rolling four week period ending on each Friday (each a, “Four Week Disbursements Period”) and (b)
  in respect of Actual Cash Receipts, (w) the two week period ending on July 15, 2022 (“Initial Two Week
  Receipts Period”), (x) the three week period ending on July 22, 2022 (“Initial Three Week Receipts
  Period”), (y) the four week period ending on July 29, 2022 (“Initial Four Week Receipts Period”), and (z)
  thereafter the rolling four week period ending on each Friday (each a, “Four Week Receipts Period”).
          “Weighted Average Life to Maturity” means, when applied to any Indebtedness at any date, the
  number of years obtained by dividing: (a) the sum of the products obtained by multiplying (i) the amount
  of each then remaining installment, sinking fund, serial maturity or other required payments of principal,
  including payment at final maturity, in respect thereof, by (ii) the number of years (calculated to the nearest
  one-twelfth) that will elapse between such date and the making of such payment; by (b) the then outstanding
  principal amount of such Indebtedness.

           “Wingspire” means Wingspire Capital LLC, a Delaware limited liability company.

         “Withdrawal Liability” means a liability to a Multiemployer Plan as a result of a complete or partial
  withdrawal from such Multiemployer Plan, as such terms are defined in Part I of Subtitle E of Title IV of
  ERISA.

           “Withholding Agent” means any Loan Party and the Administrative Agent.

          “Write-Down and Conversion Powers” means (a) with respect to any EEA Resolution Authority,
  the write-down and conversion powers of such EEA Resolution Authority from time to time under the Bail-



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  In Legislation for the applicable EEA Member Country, which write-down and conversion powers are
  described in the EU Bail-In Legislation Schedule, and (b) with respect to the United Kingdom, any powers
  of the applicable Resolution Authority under the Bail-In Legislation to cancel, reduce, modify or change
  the form of a liability of any UK Financial Institution or any contract or instrument under which that liability
  arises, to convert all or part of that liability into shares, securities or obligations of that person or any other
  person, to provide that any such contract or instrument is to have effect as if a right had been exercised
  under it or to suspend any obligation in respect of that liability or any of the powers under that Bail-In
  Legislation that are related to or ancillary to any of those powers.

           Section 1.2      Terms Generally. The definitions of terms herein shall apply equally to the
  singular and plural forms of the terms defined. Whenever the context may require, any pronoun shall
  include the corresponding masculine, feminine and neuter forms. The words “include,” “includes” and
  “including” shall be deemed to be followed by the phrase “without limitation.” The word “will” shall be
  construed to have the same meaning and effect as the word “shall.” In the computation of periods of time
  from a specified date to a later specified date, the word “from” means “from and including”; the words “to”
  and “until” each mean “to but excluding”; and the word “through” means “to and including.” Unless the
  context requires otherwise (a) any definition of or reference to any agreement, instrument or other document
  herein shall be construed as referring to such agreement, instrument or other document as from time to time
  amended, restated, supplemented or otherwise modified (subject to any restrictions on such amendments,
  restatements, supplements or modifications set forth herein), (b) any reference herein to any Person shall
  be construed to include such Person’s successors and assigns, (c) the words “herein,” “hereof” and
  “hereunder,” and words of similar import, shall be construed to refer to this Agreement in its entirety and
  not to any particular provision hereof, (d) all references herein to Articles, Sections, Exhibits and Schedules
  shall be construed to refer to Articles and Sections of, and Exhibits and Schedules to, this Agreement, (e)
  any reference to any law or regulation herein shall, unless otherwise specified, refer to such law or
  regulation as amended, modified or supplemented from time to time, and (f) the words “asset” and
  “property” shall be construed to have the same meaning and effect and to refer to any and all tangible and
  intangible assets and properties, including cash, securities, accounts and contract rights. Any terms used in
  this Agreement that are defined in the UCC shall be construed and defined as set forth in the UCC unless
  otherwise defined herein; provided, that to the extent that the UCC is used to define any term herein and
  such term is defined differently in different Articles of the UCC, the definition of such term contained in
  Article 9 of the UCC shall govern.

           Section 1.3       Accounting Terms; GAAP; Financial Covenants.

                   (a)     All accounting terms not specifically or completely defined herein shall be
  construed in conformity with, and all financial data (including financial ratios and other financial
  calculations) required to be submitted pursuant to this Agreement shall be prepared in conformity with,
  GAAP, applied in a manner consistent with that used in preparing the financial statements under the
  Prepetition ABL Credit Agreement, except as otherwise specifically prescribed herein.

                       (b)   [Reserved].

                  (c)      If at any time any change in GAAP would affect the computation of any financial
  ratio or requirement set forth in any Loan Document, and either the Borrower Agent or the Required
  Lenders shall so request, the Administrative Agent, the Lenders and the Borrower Agent shall negotiate in
  good faith to amend such ratio or requirement to preserve the original intent thereof in light of such change
  in GAAP (subject to the approval of the Required Lenders); provided that, until so amended, (i) such ratio
  or requirement shall continue to be computed in accordance with GAAP prior to such change therein and
  (ii) the Borrower Agent shall provide to the Administrative Agent and the Lenders financial statements and
  other documents required under this Agreement or as reasonably requested hereunder setting forth a


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  reconciliation between calculations of such ratio or requirement made before and after giving effect to such
  change in GAAP. Without limiting the foregoing, leases shall continue to be classified and accounted for
  on a basis consistent with that reflected in the audited financial statements specified in Section 4.1(k) for
  all purposes of this Agreement (including the definition of Capitalized Leases and Capitalized Lease
  Obligations), notwithstanding any change in GAAP relating thereto, unless the parties hereto shall enter
  into a mutually acceptable amendment addressing such change as provided for above.

                   (d)     Notwithstanding anything to the contrary herein, a breach of a financial covenant
  shall be deemed to have occurred as of the last day of any specified measurement period regardless of when
  the financial statements or the related compliance certificate or Approved Budget Variance Report
  reflecting such breach are delivered to the Administrative Agent

          Section 1.4     Rounding. Any financial ratios required to be maintained by the Loan Parties
  pursuant to this Agreement shall be calculated by dividing the appropriate component by the other
  component, carrying the result to one place more than the number of places by which such ratio is expressed
  herein and rounding the result up or down to the nearest number (with a rounding-up if there is no nearest
  number).

           Section 1.5      References to Time. Unless the context otherwise requires, references to a time
  shall refer to Eastern Standard Time or Eastern Daylight Savings Time, as applicable.

           Section 1.6        Resolution of Drafting Ambiguities. Each Loan Party acknowledges and agrees
  that it was represented by counsel in connection with the execution and delivery of the Loan Documents to
  which it is a party, that it and its counsel reviewed and participated in the preparation and negotiation hereof
  and thereof and that any rule of construction to the effect that ambiguities are to be resolved against the
  drafting party shall not be employed in the interpretation hereof or thereof.

           Section 1.7       Reserved.

            Section 1.8        Divisions. For all purposes under the Loan Documents, in connection with
  Division: (a) if any asset, right, obligation or liability of any Person becomes the asset, right, obligation or
  liability of a different Person, then it shall be deemed to have been transferred from the original Person to
  the subsequent Person, and (b) if any new Person comes into existence, such new Person shall be deemed
  to have been organized on the first date of its existence by the holders of its Equity Interests at such time.

          Section 1.9        Status of Obligations. In the event that any Loan Party shall at any time issue or
  have outstanding any Subordinated Indebtedness, the Borrowers shall take or cause each other Loan Party
  to take all such actions as shall be necessary to cause the Obligations to constitute senior indebtedness
  (however denominated) in respect of such Subordinated Indebtedness and to enable the Administrative
  Agent and the Lenders to have and exercise any payment blockage or other remedies available or potentially
  available to holders of senior indebtedness under the terms of such Subordinated Indebtedness. Without
  limiting the foregoing, the Obligations are hereby designated as “senior indebtedness” and as “designated
  senior indebtedness” and words of similar import under and in respect of the agreements or instruments
  under which such Subordinated Indebtedness is issued and are further given all such other designations as
  shall be required under the terms of any such Subordinated Indebtedness in order that the Administrative
  Agent and the Lenders may have and exercise any payment blockage or other remedies available or
  potentially available to holders of senior indebtedness under the terms of such Subordinated Indebtedness.




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                                                  ARTICLE 2

                                                THE CREDITS

           Section 2.1     Commitments.

                    (a)    Revolving Commitments. Subject to the terms and conditions hereof and the terms
  of the Orders, as in effect from time to time, relying upon the representations and warranties herein set
  forth, each Revolving Lender agrees, severally and not jointly, to make Revolving Loans to the Borrowers
  in Dollars from time to time during the Availability Period in an aggregate principal amount that will not
  result in (i) such Revolving Lender’s Revolving Exposure exceeding such Revolving Lender’s Revolving
  Commitment, or (ii) the Total Revolving Outstandings exceeding the Line Cap, subject to the
  Administrative Agent’s authority, in its sole discretion, to make Overadvances pursuant to the terms of
  Section 2.2(e). Within the foregoing limits and subject to the terms and conditions set forth herein, the
  Borrowers may borrow, prepay and reborrow Revolving Loans.

                    (b)    As of the effective date, all outstanding Prepetition ABL Obligations (other than
  unasserted contingent indemnification obligations relating to the Prepetition ABL Obligations) shall be paid
  in full and refinanced under this Agreement.

                  (c)     Notwithstanding anything to the contrary in this Section 2.1, the Administrative
  Agent shall have the right (but not the obligation) at any time, in the exercise of its Permitted Discretion,
  to establish and increase or decrease Reserves against the Borrowing Base or the Revolving Credit
  Maximum Amount.

           Section 2.2     Borrowings of Revolving Loans.

                   (a)    Each Revolving Borrowing shall be made upon the Borrower Agent’s irrevocable
  notice to the Administrative Agent. Each such notice must be received by the Administrative Agent not
  later than 12:00 noon on the date of the proposed Borrowing.

                  (b)     Each notice by the Borrower Agent pursuant to Section 2.2(a) shall be made by
  submitting such request by ABLSoft (or, if requested by the Administrative Agent, by delivering, in writing
  or by an Approved Electronic Communication, a Borrowing Request in the form of Exhibit C) (each such
  request, a “Borrowing Request”), appropriately completed and signed by a Responsible Officer of the
  Borrower Agent. Each Borrowing of Revolving Loans shall be in a principal amount of not less than
  $25,000. Each Borrowing Request shall specify (A) the requested date of the Borrowing (which shall be a
  Business Day) and (B) the principal amount of Loans to be borrowed.

                  (c)     Following receipt of a Borrowing Request, the Administrative Agent shall
  promptly notify each Revolving Lender of the amount of its Applicable Percentage of the requested
  Revolving Loans, and each Revolving Lender shall make the amount of its Revolving Loan available to the
  Administrative Agent, by transfer in immediately available funds to the account of the Administrative
  Agent most recently designated by it for such purpose by notice to the Lenders, not later than 1:00 p.m. on
  the Business Day specified in the applicable Borrowing Request. Upon satisfaction or waiver of the
  applicable conditions set forth in Section 4.2 (and, if such Borrowing is the initial Revolving Loan
  hereunder, Section 4.1), the Administrative Agent shall make all funds so received available to the
  Borrowers in like funds as received by transfer to the Designated Account.

                  (d)     The failure of any Revolving Lender to make any Revolving Loan required to be
  made by it shall not relieve any other Revolving Lender of its obligations hereunder, provided that the


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  Commitments of the Lenders are several, and no Lender shall be responsible for any other Lender’s failure
  to make Revolving Loans as required.

                   (e)      Notwithstanding anything herein to the contrary, (i) the Borrower Agent may
  request, and the Administrative Agent may, in its sole and absolute discretion, make, Revolving Loans to
  the Borrowers or (ii) the Administrative Agent may, in its sole discretion, make Revolving Loans, on behalf
  of the Revolving Lenders, if Administrative Agent, in its Permitted Discretion, deems that such Revolving
  Loans are necessary or desirable (A) to protect or preserve all or any portion of the Collateral, (B) to enhance
  the likelihood, or maximize the amount of, repayment of the Obligations, or (C) to pay any other amount
  chargeable to the Borrowers pursuant to this Agreement, in each case, at a time when the Total Revolving
  Outstandings exceed, or would exceed with the making of any such Revolving Loan, the Line Cap (such
  Loan or Loans being herein referred to individually as an “Overadvance” and collectively, as
  “Overadvances”); provided, however, that (x) the aggregate amount of Overadvances outstanding at any
  time shall not exceed the lesser of (1) 10% of the Borrowing Base or (2) $5,000,000, (y) unless otherwise
  consented to by the Required Lenders, Overadvances shall not be outstanding for more than 60 consecutive
  days and (z) unless otherwise consented to by all Revolving Lenders, no Overadvances shall be permitted
  to the extent that such Overadvances would cause the Total Revolving Outstandings to exceed the
  Revolving Credit Maximum Amount. All Overadvances shall be repaid on demand, shall be secured by
  the Collateral and shall bear interest as provided in this Agreement for Revolving Loans generally. Any
  Overadvance made pursuant to the terms hereof shall be made by all Revolving Lenders ratably in
  accordance with their respective Applicable Percentages.

                  (f)    Upon the entry of the Interim Order, subject to the terms and conditions set forth
  therein, the Borrower Agent shall be deemed to have made an irrevocable Borrowing Request to the
  Administrative Agent for a Borrowing in the amount of the Prepetition ABL Obligations comprised of a
  Base Rate Loan.

           Section 2.3     Termination and Reduction of Commitments.

                   (a)      Unless previously terminated, the Revolving Commitments shall terminate on the
  last day of the Availability Period.

                   (b)     Subject to Section 2.5(b)(i), the Borrowers may at any time terminate, or from time
  to time reduce, the Revolving Commitments, provided that (i) the Borrowers shall not terminate or reduce
  the Revolving Commitments if, after giving effect to any concurrent prepayment or repayment of the
  Revolving Loans in accordance with Section 2.5, the sum of the Revolving Exposures of all Revolving
  Lenders would exceed the aggregate Revolving Commitments, and (ii) each such reduction of the
  Revolving Commitments shall be in an amount that is an integral multiple of $500,000 and not less than
  $1,000,000; provided, that except in connection with a termination of the entire Revolving Commitment,
  no such reduction shall reduce the aggregate Revolving Commitments to an amount less than $25,000,000.
  Any such termination or reduction of the Revolving Commitments shall be subject to Section 2.5(e). If at
  any time, as a result of such a partial reduction or termination as provided in this Section 2.3(b), the
  Revolving Exposure of all Lenders would exceed the aggregate Revolving Commitments, then the
  Borrowers shall on the date of such reduction or termination of Revolving Commitments, repay or prepay
  Revolving Loans in an aggregate amount equal to such excess.

                  (c)     In addition to any termination or reduction of the Revolving Commitments under
  paragraphs (a) and (b) of this Section, the Revolving Commitments shall be reduced as required under
  Section 2.6(b).




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                  (d)      The Borrower Agent shall notify the Administrative Agent of any election to
  terminate or reduce the Revolving Commitments under paragraph (b) of this Section at least three Business
  Days prior to the effective date of such termination or reduction, specifying the effective date thereof.
  Promptly following receipt of any such notice, the Administrative Agent shall advise the Revolving Lenders
  of the contents thereof. Each notice delivered by the Borrower Agent pursuant to this Section shall be
  irrevocable, provided that a notice of termination of the Revolving Commitments may state that such notice
  is conditioned upon the effectiveness of other credit facilities, in which case such notice may be revoked
  by the Borrower Agent (by written notice to the Administrative Agent on or prior to the specified effective
  date) if such condition is not satisfied subject to the Borrowers’ obligation to indemnify the Lenders
  pursuant to Section 3.5. Each reduction, and any termination, of the Revolving Commitments shall be
  permanent and each reduction of the Revolving Commitments shall be made ratably among the Revolving
  Lenders in accordance with their respective Revolving Commitments.

           Section 2.4       Repayment of Loans; Evidence of Debt.

                   (a)      Payment at Maturity. Each Borrower hereby unconditionally promises to pay to
  the Administrative Agent for the account of each Revolving Lender the then unpaid principal amount of
  each Revolving Loan together with all accrued interest thereon on the earlier of the Maturity Date and, if
  different, the date of the termination of the Revolving Commitments in accordance with the provisions of
  this Agreement.

                   (b)     Notes. Any Lender may request through the Administrative Agent that Loans
  made by it be evidenced by a promissory note. In such event, the Borrowers shall execute and deliver to
  (i) in the case of a Revolving Lender, a Revolving Loan Note. In addition, if requested by a Lender, its
  Note may be made payable to such Lender and its registered assigns in which case all Loans evidenced by
  such Note and interest thereon shall at all times (including after assignment pursuant to Section 10.4) be
  represented by one or more Notes in like form payable to the order of the payee named therein and its
  registered assigns.

                  (c)     Lender Records. Each Lender shall maintain in accordance with its usual practice
  an account or accounts evidencing the indebtedness of the Borrowers to such Lender resulting from each
  Loan owing to such Lender from time to time, including the amounts of principal and interest payable and
  paid to such Lender from time to time hereunder.

                  (d)     Register. Entries made in good faith by the Administrative Agent in the Register
  pursuant to Section 10.4(c), and by each Lender in its account or accounts pursuant to Section 2.4(d), shall
  be prima facie evidence of the amount of principal and interest due and payable or to become due and
  payable from the Borrowers to, in the case of the Register, each Lender and, in the case of such account or
  accounts, such Lender, under this Agreement, absent manifest error; provided, however, that the failure of
  the Administrative Agent or such Lender to make an entry, or any finding that an entry is incorrect, in the
  Register or such account or accounts shall not limit or otherwise affect the obligations of the Borrowers
  under this Agreement.

           Section 2.5       Prepayments.

                       (a)   Optional Prepayments.

                            (i)    Revolving Loans may be borrowed, repaid and prepaid, and reborrowed,
           in each case on the terms and conditions set forth in this Agreement.

                             (ii)   [Reserved].


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                       (b)   Mandatory Prepayments.

                            (i)    Overadvances. If for any reason the Total Revolving Outstandings (other
           than any Overadvances to the extent permitted hereunder) at any time exceed the Line Cap then in
           effect, the Borrowers shall immediately prepay, without premium or penalty, Revolving Loans in
           an aggregate amount equal to such excess.

                             (ii)    Prepayment Events. If any Prepayment Event occurs, the Borrowers shall,
           subject to the terms of the Orders, and the Prepetition Intercreditor Agreement, prepay, Revolving
           Loans in an aggregate amount equal to 100% of the cash proceeds of such Prepayment Event
           promptly upon receipt thereof by the applicable Loan Party, without premium or penalty.

                            (iii)   Change of Control. Upon the occurrence of a Change of Control, the
           Commitments shall terminate and the Borrowers shall immediately prepay the Revolving Loans
           and repay all other Obligations.

                          (iv)   Application of Mandatory Prepayments. Each mandatory prepayment
           required to be made pursuant to Section 2.5(b)(i) shall be applied to the prepayment of the
           Revolving Loans, without a permanent reduction of the Revolving Commitments.

  All prepayments shall be subject to Section 2.5(e) (to the extent applicable) and Section 3.5, but shall
  otherwise be without premium or penalty. Each prepayment of a Borrowing shall be applied ratably to the
  applicable Loans of each Lender. All prepayments shall be accompanied by accrued interest thereon and
  any additional amounts required pursuant to Section 3.5.

                       (c)   [Reserved].

                       (d)   [Reserved].

                  (e)      Exit Fee. Borrowers shall pay to the Administrative Agent, for the ratable benefit
  of Lenders, upon the Maturity Date, an exit fee in the amount $800,000, which fee represents (i) two percent
  (2.0%) multiplied by (ii) the aggregate amount of the Revolving Commitments on the Second Amendment
  Date. Such fee was fully-earned on the Second Amendment Date, and shall be due and payable upon the
  Maturity Date.

           Section 2.6       Payments Generally; Administrative Agent’s Clawback.

                    (a)     General. Each Loan Party shall make each payment required to be made by it
  hereunder or under any other Loan Document (whether of principal of Loans, interest or fees, or of amounts
  payable under Sections 3.4, 3.5, or 10.3, or otherwise) prior to 12:00 noon on the date when due, in
  immediately available funds. In furtherance of the foregoing, each Borrower hereby irrevocably authorizes
  the Administrative Agent, in the Administrative Agent’s sole discretion, to request on behalf of the
  Borrowers, Revolving Loans (which shall be Base Rate Loans), in an amount sufficient to pay all principal,
  interest, fees, or other amounts from time to time due and payable by any Loan Party to any Credit Party
  hereunder or under any other Loan Document. All payments to be made by a Loan Party hereunder shall
  be made free and clear of and without condition or deduction for any counterclaim, defense, recoupment or
  setoff, without setoff or counterclaim. Any amounts received after such time on any date may, in the
  discretion of the Administrative Agent, be deemed to have been received on the next succeeding Business
  Day for purposes of calculating interest thereon. All such payments shall be made to the Administrative
  Agent’s Payment Office, except that payments pursuant to Sections 3.4, 3.5, or 10.3, shall be made directly
  to the Persons entitled thereto. The Administrative Agent shall distribute any such payments received by



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  it for the account of any other Person to the appropriate recipient promptly following receipt thereof. If any
  payment hereunder shall be due on a day that is not a Business Day, the date for payment shall be extended
  to the next succeeding Business Day, and, in the case of any payment accruing interest, interest thereon
  shall be payable for the period of such extension. All payments hereunder shall be made in Dollars.

                    (b)    Pro Rata Treatment. Except as otherwise provided in this Section 2.6 and as
  otherwise required under Section 3.4(b) and (e), each Borrowing, each payment or prepayment of principal
  of any Borrowing, each payment of interest on the Loans, each payment of fees, each reduction of the
  Revolving Commitments shall be allocated pro rata among the Revolving Lenders in accordance with their
  respective applicable Commitments (or, if such Commitments shall have expired or been terminated, in
  accordance with the respective principal amounts of their outstanding Loans). Each Lender agrees that in
  computing such Lender’s portion of any Borrowing to be made hereunder, the Administrative Agent may,
  in its discretion, round each Lender’s percentage of such Borrowing to the next higher or lower whole
  Dollar amount.

                       (c)   Administrative Agent’s Clawback.

                            (i)      Funding by Lenders; Presumption by Administrative Agent. Unless the
           Administrative Agent shall have received notice from a Lender prior to the proposed date of any
           Borrowing that such Lender will not make available to the Administrative Agent such Lender’s
           share of such Borrowing, the Administrative Agent may assume that such Lender has made such
           share available on such date in accordance with Section 2.2 and may, in reliance upon such
           assumption, make available to the Borrowers a corresponding amount. In such event, if a Lender
           has not in fact made its share of the applicable Borrowing available to the Administrative Agent,
           then the Revolving Lenders and the Borrowers severally agree to pay to the Administrative Agent
           forthwith on demand such corresponding amount with interest thereon for each day from and
           including the date such amount is made available to the Borrowers to but excluding the date of
           payment to the Administrative Agent, at (A) in the case of a payment to be made by such Lender,
           the greater of the Federal Funds Effective Rate and a rate determined by the Administrative Agent
           in accordance with banking industry rules on interbank compensation, and (B) in the case of a
           payment to be made by the Borrowers, the interest rate applicable to Base Rate Loans. If the
           Borrowers and such Lender shall pay such interest to the Administrative Agent for the same or an
           overlapping period, the Administrative Agent shall promptly remit to the Borrowers the amount of
           such interest paid by the Borrowers for such period. If such Lender pays its share of the applicable
           Borrowing to the Administrative Agent, then the amount so paid shall constitute such Lender’s
           Loan included in such Borrowing. Any payment by the Borrowers shall be without prejudice to
           any claim the Borrowers may have against a Lender that shall have failed to make such payment to
           the Administrative Agent.

                            (ii)    Payments by Borrowers; Presumptions by Administrative Agent. Unless
           the Administrative Agent shall have received notice from the Borrower Agent prior to the date on
           which any payment is due to the Administrative Agent for the account of the Lenders hereunder
           that the Borrowers will not make such payment, the Administrative Agent may assume that the
           Borrowers have made such payment on such date in accordance herewith and may, in reliance upon
           such assumption, distribute to the Lenders the amount due. In such event, if the Borrowers have
           not in fact made such payment, then each of the Lenders, severally agrees to repay to the
           Administrative Agent forthwith on demand the amount so distributed to such Lender, with interest
           thereon, for each day from and including the date such amount is distributed to it to but excluding
           the date of payment to the Administrative Agent, at the greater of the Federal Funds Effective Rate
           and a rate determined by the Administrative Agent in accordance with banking industry rules on
           interbank compensation.


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                           (iii)   Notice by Administrative Agent. A notice from the Administrative Agent
           to any Lender or the Borrowers with respect to any amount owing under this paragraph (c) shall be
           conclusive, absent manifest error.

                   (d)    Obligations of Lenders Several. The obligations of the Lenders hereunder to make
  Loans and to make payments pursuant to Section 10.3(c) are several and not joint. The failure of any
  Lender to make any Loan or make any payment under Section 10.3(c) on any date required hereunder shall
  not relieve any other Lender of its corresponding obligation to do so on such date, and no Lender shall be
  responsible for the failure of any other Lender to so make its Loan or to make its payment under
  Section 10.3(c).

                   (e)     Failure to Satisfy Conditions Precedent. If any Lender makes available to the
  Administrative Agent funds for any Loan to be made by such Lender as provided in the foregoing provisions
  of this Article 2, and such funds are not made available to the Borrowers by the Administrative Agent
  because the conditions to the borrowing of Loans set forth in Article 4 are not satisfied or waived in
  accordance with the terms hereof, the Administrative Agent shall return such funds (in like funds as
  received from such Lender) to such Lender, without interest.

                    (f)     Funding Source. Nothing herein shall be deemed to obligate any Lender to obtain
  the funds for any Loan in any particular place or manner or to constitute a representation by any Lender
  that it has obtained or will obtain the funds for any Loan in any particular place or manner.

                    (g)     Insufficient Payment. Subject to the provisions of Article 8, whenever any
  payment received by the Administrative Agent under this Agreement or any of the other Loan Documents
  is insufficient to pay in full all amounts due and payable to the Credit Parties under or in respect of this
  Agreement and the other Loan Documents on any date, such payment shall be distributed by the
  Administrative Agent and applied by the Administrative Agent (i) first, towards payment of all fees and
  expenses due to the Administrative Agent under the Loan Documents, (ii) second, towards payment of all
  expenses then due hereunder, ratably among the parties entitled thereto in accordance herewith, (iii) third,
  towards payment of interest, fees and commissions then due hereunder, ratably among the parties entitled
  thereto in accordance with the amounts of interest, fees and commissions then due to such parties, and (iv)
  fourth, towards payment of principal of Loans then due hereunder, ratably among the parties entitled thereto
  in accordance with the amounts of principal of Loans then due to such parties.

                    (h)     Sharing of Payments by Lenders. If any Lender shall, by exercising any right of
  setoff or counterclaim or otherwise, obtain payment in respect of any principal of or interest on any of its
  Loans or other obligations hereunder resulting in such Lender receiving payment of a proportion of the
  aggregate amount of its Loans and accrued interest thereon or other such obligations greater than its pro
  rata share thereof as provided herein, then such Lender shall (x) notify the Administrative Agent of such
  fact, and (y) purchase (for cash at face value) participations in the Loans and such other obligations of the
  other Lenders, or make such other adjustments as shall be equitable, so that the benefit of all such payments
  shall be shared by the Lenders ratably in accordance with the aggregate amount of principal of and accrued
  interest on their respective Loans and other amounts owing them; provided that:

                            (i)      if any such participations are purchased and all or any portion of the
           payment giving rise thereto is recovered, such participations shall be rescinded and the purchase
           price restored to the extent of such recovery, without interest; and

                          (ii)    the provisions of this paragraph shall not be construed to apply to (x) any
           payment made by the Borrowers pursuant to and in accordance with the express terms of this
           Agreement (including the application of funds arising from the existence of a Defaulting Lender),


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           or (y) any payment obtained by a Lender as consideration for the assignment of or sale of a
           participation in any of its Loans to any assignee or participant.

  Each Loan Party consents to the foregoing and agrees, to the extent it may effectively do so under applicable
  law, that any Lender acquiring a participation pursuant to the foregoing arrangements may exercise against
  each Loan Party rights of setoff and counterclaim with respect to such participation as fully as if such
  Lender were a direct creditor of each Loan Party in the amount of such participation.

           Section 2.7     Defaulting Lenders.

                  (a)     Defaulting Lender Adjustments. Notwithstanding anything to the contrary
  contained in this Agreement, if any Lender becomes a Defaulting Lender, then, until such time as such
  Lender is no longer a Defaulting Lender, to the extent permitted by applicable law:

                             (i)      Waivers and Amendments. Such Defaulting Lender’s right to approve or
           disapprove any amendment, waiver or consent with respect to this Agreement shall be restricted as
           set forth in the definition of Required Lenders.

                            (ii)     Defaulting Lender Waterfall. Any payment of principal, interest, fees or
           other amounts received by the Administrative Agent for the account of such Defaulting Lender
           (whether voluntary or mandatory, at maturity, pursuant to Article 8 or otherwise) or received by
           the Administrative Agent from a Defaulting Lender pursuant to Section 10.8 shall be applied at
           such time or times as may be determined by the Administrative Agent as follows: first, to the
           payment of any amounts owing by such Defaulting Lender to the Administrative Agent hereunder;
           second, as the Borrower Agent may request (so long as no Default exists), to the funding of any
           Loan in respect of which such Defaulting Lender has failed to fund its portion thereof as required
           by this Agreement, as determined by the Administrative Agent; third, if so determined by the
           Administrative Agent and the Borrower Agent, to be held in a deposit account and released pro rata
           in order to satisfy such Defaulting Lender’s potential future funding obligations with respect to
           Loans under this Agreement; fourth, to the payment of any amounts owing to the Lenders as a
           result of any judgment of a court of competent jurisdiction obtained by any Lender against such
           Defaulting Lender as a result of such Defaulting Lender’s breach of its obligations under this
           Agreement; fifth, so long as no Default or Event of Default exists, to the payment of any amounts
           owing to the Borrowers as a result of any judgment of a court of competent jurisdiction obtained
           by the Borrowers against such Defaulting Lender as a result of such Defaulting Lender’s breach of
           its obligations under this Agreement; and sixth, to such Defaulting Lender or as otherwise directed
           by a court of competent jurisdiction; provided that if (x) such payment is a payment of the principal
           amount of any Loans in respect of which such Defaulting Lender has not fully funded its
           appropriate share, and (y) such Loans were made at a time when the conditions set forth in
           Section 4.2 were satisfied or waived, such payment shall be applied solely to pay the Loans of all
           Non-Defaulting Lenders on a pro rata basis prior to being applied to the payment of any Loans of
           such Defaulting Lender until such time as all Loans are held by the Lenders pro rata in accordance
           with the Commitments. Any payments, prepayments or other amounts paid or payable to a
           Defaulting Lender that are applied (or held) to pay amounts owed by a Defaulting Lender pursuant
           to this Section 2.7(a)(ii) shall be deemed paid to and redirected by such Defaulting Lender, and
           each Lender irrevocably consents hereto.

                           (iii)   Certain Fees. No Defaulting Lender shall be entitled to receive any
           Unused Line Fee for any period during which that Lender is a Defaulting Lender (and the
           Borrowers shall not be required to pay any such fee that otherwise would have been required to
           have been paid to that Defaulting Lender).


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                    (b)     Defaulting Lender Cure. If the Borrower Agent and the Administrative Agent
  agree in writing that a Lender is no longer a Defaulting Lender, the Administrative Agent will so notify the
  parties hereto, whereupon as of the effective date specified in such notice and subject to any conditions set
  forth therein, that Lender will, to the extent applicable, purchase at par that portion of outstanding Loans of
  the other Lenders or take such other actions as the Administrative Agent may determine to be necessary to
  cause the Loans to be held pro rata by the Lenders in accordance with the Commitments, whereupon such
  Lender will cease to be a Defaulting Lender; provided that no adjustments will be made retroactively with
  respect to fees accrued or payments made by or on behalf of the Borrowers while that Lender was a
  Defaulting Lender; and provided, further, that except to the extent otherwise expressly agreed by the
  affected parties, no change hereunder from Defaulting Lender to Lender will constitute a waiver or release
  of any claim of any party hereunder arising from that Lender’s having been a Defaulting Lender.

           Section 2.8     Joint and Several Liability.

                  (a)    Each Borrower is accepting joint and several liability hereunder and under the
  other Loan Documents in consideration of the financial accommodations to be provided by the Credit
  Parties under this Agreement for the mutual benefit, directly and indirectly, of each Borrower and in
  consideration of the undertakings of the other Borrowers to accept joint and several liability for the
  Obligations.

                   (b)     Each Borrower, jointly and severally, hereby irrevocably and unconditionally
  accepts, not merely as a surety but also as a co-debtor, joint and several liability with the other Borrowers,
  with respect to the payment and performance of all of the Obligations, it being the intention of the parties
  hereto that all of the Obligations shall be the joint and several obligations of each Borrower without
  preferences or distinction among them. Accordingly, each Borrower hereby waives any and all suretyship
  defenses that would otherwise be available to such Borrower under applicable law.

                   (c)     If and to the extent that any Borrower shall fail to make any payment with respect
  to any of the Obligations as and when due, whether upon maturity, acceleration, or otherwise, or to perform
  any of the Obligations in accordance with the terms thereof, then in each such event the other Borrowers
  will make such payment with respect to, or perform, such Obligations until such time as all of the
  Obligations are paid in full, and without the need for demand, protest, or any other notice or formality.

                   (d)     The obligations of each Borrower under the provisions of this Section 2.8
  constitute the absolute and unconditional, full recourse obligations of each Borrower enforceable against
  each Borrower to the full extent of its properties and assets, irrespective of the validity, regularity or
  enforceability of the provisions of this Agreement or any other Loan Document or any other circumstance
  whatsoever.

                    (e)    Each Borrower hereby waives, for the benefit of the Credit Parties: (i) any right
  to require any Credit Party, as a condition of payment or performance by such Borrower, to (A) proceed
  against any other Borrower, any Guarantor or any other Person, (B) proceed against or exhaust any security
  held from any other Borrower, any Guarantor or any other Person, (C) proceed against or have resort to any
  balance of any deposit account or credit on the books of any Credit Party in favor of any other Borrower,
  any Guarantor or any other Person, or (D) pursue any other remedy in the power of any Credit Party
  whatsoever; (ii) any defense arising by reason of the incapacity, lack of authority or any disability or other
  defense of any other Borrower or any Guarantor including any defense based on or arising out of the lack
  of validity or the unenforceability of the Obligations or any agreement or instrument relating thereto or by
  reason of the cessation of the liability of any other Borrower or any Guarantor from any cause other than
  the indefeasible payment in full in cash of the Obligations; (iii) any defense based upon any statute or rule
  of law which provides that the obligation of a surety must be neither larger in amount nor in other respects


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  more burdensome than that of the principal; (iv) any defense based upon any Credit Party’s errors or
  omissions in the administration of the Obligations; (v)(A) any principles or provisions of law, statutory or
  otherwise, which are or might be in conflict with the terms hereof and any legal or equitable discharge of
  such Borrower’s obligations hereunder, (B) the benefit of any statute of limitations affecting such
  Borrower’s liability hereunder or the enforcement hereof, (C) any rights to set offs, recoupments and
  counterclaims, and (D) promptness, diligence and any requirement that any Credit Party protect, secure,
  perfect or insure any security interest or Lien or any property subject thereto; (vi) notices, demands,
  presentments, protests, notices of protest, notices of dishonor and notices of any action or inaction,
  including acceptance hereof, notices of default, notices of any renewal, extension or modification of the
  Obligations or any agreement related thereto, notices of any extension of credit to such Borrower and any
  right to consent to any thereof; and (vii) any defenses or benefits that may be derived from or afforded by
  law which limit the ability of or exonerate guarantors or sureties, or which may conflict with the terms
  hereof.

                   (f)     Each Borrower represents and warrants to the Credit Parties that such Borrower is
  currently informed of the financial condition of the other Borrowers and of all other circumstances which
  a diligent inquiry would reveal and which bear upon the risk of nonpayment of the Obligations. Each
  Borrower further represents and warrants to the Credit Parties that such Borrower has read and understands
  the terms and conditions of the Loan Documents. Each Borrower hereby covenants that such Borrower
  will continue to keep informed of each other Borrower’s financial condition and of all other circumstances
  which bear upon the risk of nonpayment or nonperformance of the Obligations.

                   (g)      The provisions of this Section 2.8 are made for the benefit of each Credit Party and
  its successors and assigns, and may be enforced by it or them from time to time against any or all Borrowers
  as often as occasion therefor may arise and without requirement on the part of any Credit Party of any of
  its successors or assigns first to marshal any of its or their claims or to exercise any of its or their rights
  against any Borrower or any Guarantor or to exhaust any remedies available to it or them against any
  Borrower or any Guarantor or to resort to any other source or means of obtaining payment of any of the
  Obligations or to elect any other remedy. The provisions of this Section 2.8 shall remain in effect until the
  occurrence of the Termination Date. If at any time any payment, or any part thereof, made in respect of
  any of the Obligations is rescinded or must otherwise be restored or returned by any Credit Party upon the
  insolvency, bankruptcy or reorganization of any Borrower, or otherwise, the provisions of this Section 2.8
  will forthwith be reinstated in effect, as though such payment had not been made.

                   (h)      Each Borrower hereby agrees that it will not enforce any of its rights that arise
  from the existence, payment, performance or enforcement of the provisions of this Section 2.8, including
  rights of subrogation, reimbursement, exoneration, contribution or indemnification and any right to
  participate in any claim or remedy of any Credit Party against any Borrower, whether or not such claim,
  remedy or right arises in equity or under contract, statute or common law, including the right to take or
  receive from any Borrower, directly or indirectly, in cash or other property or by set-off or in any other
  manner, payment or security solely on account of such claim, remedy or right, unless and until the
  Termination Date has occurred. Any claim which any Borrower may have against any other Borrower with
  respect to any payments to any Credit Party hereunder are hereby expressly made subordinate and junior in
  right of payment to the indefeasible payment in full in cash of the Obligations and occurrence of the
  Termination Date and, in the event of any insolvency, bankruptcy, receivership, liquidation, reorganization
  or other similar proceeding under the laws of any jurisdiction relating to any Borrower, its debts or its
  assets, whether voluntary or involuntary, all such Obligations shall be paid in full in cash and the
  Termination Date shall occur before any payment or distribution of any character, whether in cash,
  securities or other property, shall be made to any other Borrower therefor. If any amount shall be paid to
  any Borrower in violation of the immediately preceding sentence, such amount shall be held in trust for the
  benefit of the Credit Parties, and shall forthwith be paid to Administrative Agent to be credited and applied


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  to the Obligations and all other amounts payable under this Agreement, whether matured or unmatured, in
  accordance with the terms of this Agreement, or to be held as Collateral for any Obligations or other
  amounts payable under this Agreement thereafter arising.

           Section 2.9     Prepetition ABL Obligations.

                    (a)      Continuation of Liens. Subject to the terms of the Interim Order or the Final Order,
  as applicable, until (i) the indefeasible payment in full in cash of the Guaranteed Obligations (including
  Prepetition ABL Obligations), (ii) all objections and challenges (including, without limitation, any
  Challenge Proceeding (as defined in the Order)) to (A) the liens, security interests and claims of the
  Prepetition ABL Agent (including, without limitation, liens granted for adequate protection purposes)
  and/or (B) the Prepetition ABL Obligations have been waived, denied or barred, and (iii) all of the Debtors’
  Stipulations (as defined in the Order) have become binding on their estates and parties in interest in
  accordance with the Order, all liens, security interests and claims of the Prepetition ABL Agent (including,
  without limitation, liens granted for adequate protection purposes) shall remain valid and enforceable with
  the same continuing priority as described herein and the Prepetition ABL Loan Documents shall remain in
  full force and effect; provided, however, that, subject to the results of any applicable Challenge Proceeding
  (as defined in the Order), to the extent that Prepetition ABL Obligations have been paid pursuant to this
  Agreement and have become and are Obligations, such Prepetition ABL Obligations shall not be due or
  owing separately under the Prepetition ABL Loan Documents; provided, further, however, that nothing in
  the foregoing proviso shall alter or diminish, or be deemed to alter or diminish, the Adequate Protection (as
  defined in the Order) of the Prepetition ABL Agent and the Prepetition ABL Lenders.

                   (b)     Avoided Payments. In the event that Prepetition ABL Agent or any of the
  Prepetition ABL Lenders are required to repay or disgorge to any Loan Party or any representatives of the
  Loan Parties’ estate (as agents, with derivative standing or otherwise) all or any portion of the Prepetition
  ABL Obligations authorized and directed to be repaid pursuant to the Interim Order, or any payment on
  account of the Prepetition ABL Obligations made to Prepetition ABL Agent or any Prepetition ABL Lender
  is rescinded for any reason whatsoever, including, but not limited to, as a result of any Avoidance Action,
  or any other action, suit, proceeding or claim brought under any other provision of any applicable
  Bankruptcy Code or other applicable debtor relief law or any applicable state law, or any other similar
  provisions under any other state or federal statutory or common law (all such amounts being hereafter
  referred to as the “Avoided Payments”), then, in such event, the Loan Parties shall prepay the Revolving
  Loans, in an amount equal to 100% of such Avoided Payments immediately upon receipt of the Avoided
  Payments by any Loan Party or any representative of the Loan Parties’ estate.

          Section 2.10     Super-Priority Nature of Obligations and Administrative Agent’s Liens; Payment
  of Obligations.

                    (a)      The priority of Administrative Agent’s Liens on the Collateral, claims and other
  interests shall be as set forth in the Interim Order and Final Order.

                  (b)     Upon the maturity (whether by acceleration or otherwise) of any of the
  Obligations, the Administrative Agent and Lenders shall be entitled to immediate payment of such
  Obligations without further application to or order of the Court.




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                                                   ARTICLE 3

                                INTEREST, FEES, YIELD PROTECTION, ETC.

           Section 3.1       Interest.

                     (a)    Interest Rate Generally. Each Loan and all other Obligations hereunder shall bear
  interest at a rate per annum equal to the Alternate Base Rate plus the Applicable Margin.

                       (b)   Default Rate.

                            (i)    Notwithstanding the foregoing, if any principal of or interest on any Loan
           or any fee or other amount payable by the Borrowers hereunder is not paid when due, whether at
           stated maturity, upon acceleration or otherwise, such overdue amount shall bear interest, after as
           well as before judgment, at a rate per annum equal to the Default Rate to the fullest extent permitted
           by applicable law.

                            (ii)    Notwithstanding the foregoing, if an Event of Default has occurred and is
           continuing and the Administrative Agent, at the request of the Required Lenders, so notifies the
           Borrower Agent (provided that no such notification shall be required, and the following interest
           shall automatically be payable, in the case of an Event of Default under Sections 8.1(a) or (b)),
           then, so long as such Event of Default is continuing, all outstanding principal of each Loan shall,
           without duplication of amounts payable under the preceding sentence, bear interest, after as well
           as before judgment, at a rate per annum equal to the Default Rate to the fullest extent permitted by
           applicable law.

                            (iii)    Accrued and unpaid interest on past due amounts (including interest on
           past due interest) shall be due and payable upon demand.

                    (c)      Adjustment of Interest Rate. The rate of interest on any Base Rate Loan shall be
  adjusted automatically and without notice on and as of any change in the Alternate Base Rate as provided
  in the definition thereof.

                     (d)     Interest Payment Dates. Accrued interest on each Loan shall be payable in arrears
  on each Interest Payment Date for such Loan and at such other times as may be specified herein, provided
  that (i) interest accrued pursuant to paragraph (b) of this Section shall be payable on demand and (ii) in the
  event of any repayment or prepayment of any Loan, accrued interest on the principal amount repaid or
  prepaid shall be payable on the date of such repayment or prepayment.

                  (e)      Computation of Interest. All interest hereunder shall be computed on the basis of
  a year of 365 days (or 366 days in a leap year), and, in each case, shall be payable for the actual number of
  days elapsed (including the first day but excluding the last day).

           Section 3.2       Fees.

                  (a)     Unused Line Fee. Each Borrower agrees to pay to the Administrative Agent for
  the account of each Revolving Lender, an unused line fee (the “Unused Line Fee”), which shall accrue at a
  rate per annum equal to 0.50% on the average daily unused amount of the Revolving Commitment of such
  Revolving Lender during the period from and including the date on which this Agreement becomes
  effective pursuant to Section 10.6(a) to but excluding the date on which such Revolving Commitment
  terminates. For purposes of computing Unused Line Fees, the Revolving Commitment of any Revolving



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  Lender shall be deemed to be used to the extent of the aggregate principal amount at such time of its
  outstanding Revolving Loans. Accrued Unused Line Fees shall be payable in arrears on the last day of
  each month, each date on which the Revolving Commitments are permanently reduced and on the date on
  which the Revolving Commitments terminate, commencing on the first such date to occur after the
  Effective Date. All Unused Line Fees shall be computed on the basis of a year of 360 days and shall be
  payable for the actual number of days elapsed (including the first day but excluding the last day).

                   (b)       Collection Days. Each Borrower agrees to pay to the Administrative Agent a fee
  equal to the additional interest that the Borrowers would have paid in respect of the Revolving Loans, at
  the Alternate Base Rate plus the Applicable Margin, as if each payment received (whether in the form of
  cash, check or otherwise) which has been presented for application to the Revolving Loans had not been
  received in the Collections Account and credited to the Borrowers until three Business Days after the
  Business Day that such payment was actually received in the Collections Account. Such fee will be payable
  (i) monthly in arrears, (ii) on the Maturity Date, and (iii) if different from the Maturity Date, the Termination
  Date.

                       (c)   [Reserved.]

                  (d)    Other Fees. Each Borrower agrees to pay to the Administrative Agent fees and
  other amounts payable in the amounts and at the times separately agreed upon between the Borrowers and
  the Administrative Agent (including, without limitation, those set forth in the Fee Letter).

                 (e)      Payment of Fees Generally. All fees and other amounts payable hereunder shall
  be paid on the dates due, in immediately available funds. Fees and other amounts paid shall not be
  refundable under any circumstances.

           Section 3.3        [Reserved].

           Section 3.4       Increased Costs; Illegality.

                       (a)   Increased Costs Generally. If any Change in Law shall:

                            (i)      impose, modify or deem applicable any reserve, special deposit, liquidity,
           compulsory loan, insurance charge or similar requirement against assets of, deposits with or for the
           account of, or credit extended or participated in by, any Lender;

                             (ii)     subject any Recipient to any Taxes (other than (A) Indemnified Taxes, (B)
           Taxes described in clauses (b) through (d) of the definition of Excluded Taxes and (C) Connection
           Income Taxes) on its loans, loan principal, letters of credit, commitments, or other obligations, or
           its deposits, reserves, other liabilities or capital attributable thereto; or

                           (iii)    impose on any Lender or the London interbank market any other
           condition, cost or expense (other than Taxes) affecting this Agreement or Loans made by such
           Lender or participation therein;

  and the result of any of the foregoing shall be to increase the cost to such Lender or such other Recipient of
  making or maintaining any Loan or of maintaining its obligation to make any such Loan, or to reduce the
  amount of any sum received or receivable by such Lender or other Recipient hereunder (whether of
  principal, interest or any other amount) then, upon request of such Lender or other Recipient, the Borrowers
  will pay to such Lender or other Recipient, as the case may be, such additional amount or amounts as will




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  compensate such Lender or other Recipient, as the case may be, for such additional costs incurred or
  reduction suffered.

                    (b)    Capital Requirements. If any Lender determines that any Change in Law affecting
  such Lender regarding capital or liquidity requirements, has or would have the effect of reducing the rate
  of return on such Lender’s capital as a consequence of this Agreement, the Commitments of such Lender
  or the Loans made by such Lender to a level below that which such Lender could have achieved but for
  such Change in Law (taking into consideration such Lender’s policies with respect to capital adequacy and
  liquidity), then from time to time the Borrowers will pay to such Lender such additional amount or amounts
  as will compensate such Lender for any such reduction suffered.

                 (c)     Certificates for Reimbursement. A certificate of a Lender setting forth the amount
  or amounts necessary to compensate such Lender as specified Section 3.4 (a) or (b) and delivered to the
  Borrower Agent shall be conclusive absent manifest error. The Borrowers shall pay such Lender the
  amount shown as due on any such certificate within ten days after receipt thereof.

                   (d)    Delay in Requests. Failure or delay on the part of any Lender to demand
  compensation pursuant to this Section shall not constitute a waiver of such Lender’s right to demand such
  compensation; provided that the Borrowers shall not be required to compensate a Lender pursuant to this
  Section for any increased costs incurred or reductions suffered more than nine months prior to the date that
  such Lender notifies the Borrower Agent of the Change in Law giving rise to such increased costs or
  reductions, and of such Lender’s intention to claim compensation therefor (except that, if the Change in
  Law giving rise to such increased costs or reductions is retroactive, then the nine-month period referred to
  above shall be extended to include the period of retroactive effect thereof).

           Section 3.5     Taxes.

                (a)        Defined Terms. For purposes of this Section 3.5, the term “applicable law”
  includes FATCA.

                  (b)      Payments Free of Taxes. Any and all payments by or on account of any obligation
  of any Loan Party under any Loan Document shall be made without deduction or withholding for any Taxes,
  except as required by applicable law. If any applicable law (as determined in the good faith discretion of
  an applicable Withholding Agent) requires the deduction or withholding of any Tax from any such payment
  by a Withholding Agent, then the applicable Withholding Agent shall be entitled to make such deduction
  or withholding and shall timely pay the full amount deducted or withheld to the relevant Governmental
  Authority in accordance with applicable law and, if such Tax is an Indemnified Tax, then the sum payable
  by the applicable Loan Party shall be increased as necessary so that after such deduction or withholding has
  been made (including such deductions and withholdings applicable to additional sums payable under this
  Section) the applicable Recipient receives an amount equal to the sum it would have received had no such
  deduction or withholding been made.

                 (c)        Payment of Other Taxes by the Loan Parties. Without duplication of other
  amounts payable by a Loan Party under this Section, each of the Loan Parties shall timely pay to the relevant
  Governmental Authority in accordance with applicable law, or at the option of the Administrative Agent
  timely reimburse it for the payment of, any Other Taxes.

                   (d)     Indemnification by the Loan Parties. Each of the Loan Parties shall jointly and
  severally indemnify each Recipient, within ten days after demand therefor, for the full amount of any
  Indemnified Taxes (including Indemnified Taxes imposed or asserted on or attributable to amounts payable
  under this Section) payable or paid by such Recipient or required to be withheld or deducted from a payment


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  to such Recipient and any reasonable expenses arising therefrom or with respect thereto, whether or not
  such Indemnified Taxes were correctly or legally imposed or asserted by the relevant Governmental
  Authority. A certificate as to the amount of such payment or liability delivered to the Borrower Agent by
  a Lender (with a copy to the Administrative Agent), or by the Administrative Agent on its own behalf or
  on behalf of a Lender, shall be conclusive absent manifest error.

                   (e)      Indemnification by the Lenders. Each Lender shall severally indemnify the
  Administrative Agent, within ten days after demand therefor, for (i) any Indemnified Taxes attributable to
  such Lender (but only to the extent that any Loan Party has not already indemnified the Administrative
  Agent for such Indemnified Taxes and without limiting the obligation of the Loan Parties to do so), (ii) any
  Taxes attributable to such Lender’s failure to comply with the provisions of Section 10.4(d) relating to the
  maintenance of a Participant Register and (iii) any Excluded Taxes attributable to such Lender, in each
  case, that are payable or paid by the Administrative Agent in connection with any Loan Document, and any
  reasonable expenses arising therefrom or with respect thereto, whether or not such Taxes were correctly or
  legally imposed or asserted by the relevant Governmental Authority. A certificate as to the amount of such
  payment or liability delivered to any Lender by the Administrative Agent shall be conclusive absent
  manifest error. Each Lender hereby authorizes the Administrative Agent to set off and apply any and all
  amounts at any time owing to such Lender under any Loan Document or otherwise payable by the
  Administrative Agent to the Lender from any other source against any amount due to the Administrative
  Agent under this paragraph (e).

                   (f)     Evidence of Payments. As soon as practicable after any payment of Taxes by any
  Loan Party to a Governmental Authority pursuant to this Section 3.5, such Loan Party shall deliver to the
  Administrative Agent the original or a certified copy of a receipt issued by such Governmental Authority
  evidencing such payment, a copy of the return reporting such payment or other evidence of such payment
  reasonably satisfactory to the Administrative Agent.

                  (g)      Status of Lenders. (i) Any Lender that is entitled to an exemption from or reduction
  of withholding Tax with respect to payments made under any Loan Document shall deliver to the Borrower
  Agent and the Administrative Agent, at the time or times reasonably requested by the Borrower Agent or
  the Administrative Agent, such properly completed and executed documentation reasonably requested by
  the Borrower Agent or the Administrative Agent as will permit such payments to be made without
  withholding or at a reduced rate of withholding. In addition, any Lender, if reasonably requested by the
  Borrower Agent or the Administrative Agent, shall deliver such other documentation prescribed by
  applicable law or reasonably requested by the Borrower Agent or the Administrative Agent as will enable
  the Borrower Agent or the Administrative Agent to determine whether or not such Lender is subject to
  backup withholding or information reporting requirements. Notwithstanding anything to the contrary in
  the preceding two sentences, the completion, execution and submission of such documentation (other than
  such documentation set forth in Section 3.5 (g)(ii)(A), (ii)(B) and (ii)(D) below) shall not be required if in
  the Lender’s reasonable judgment such completion, execution or submission would subject such Lender to
  any material unreimbursed cost or expense or would materially prejudice the legal or commercial position
  of such Lender (it being understood that providing any information currently required by any U.S. federal
  income tax withholding form shall not be considered prejudicial to the position of a Recipient).

                              (ii)    Without limiting the generality of the foregoing,

                                       (A)     any Lender that is a U.S. Person shall deliver to the Borrower
                       Agent and the Administrative Agent on or prior to the date on which such Lender becomes
                       a Lender under this Agreement (and from time to time thereafter upon the reasonable
                       request of the Borrower Agent or the Administrative Agent), executed copies of IRS Form
                       W-9 certifying that such Lender is exempt from U.S. federal backup withholding tax;


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                                         (B)    any Foreign Lender shall, to the extent it is legally entitled to do
                       so, deliver to the Borrower and the Administrative Agent (in such number of copies as shall
                       be requested by the recipient) on or prior to the date on which such Foreign Lender becomes
                       a Lender under this Agreement (and from time to time thereafter upon the reasonable
                       request of the Borrower Agent or the Administrative Agent), whichever of the following
                       is applicable:

                                                (1)     in the case of a Foreign Lender claiming the benefits of
                               an income tax treaty to which the United States is a party (A) with respect to
                               payments of interest under any Loan Document, executed copies of IRS Form W-
                               8BEN or IRS Form W-8BEN-E, as applicable, establishing an exemption from, or
                               reduction of, U.S. federal withholding Tax pursuant to the “interest” article of such
                               tax treaty and (B) with respect to any other applicable payments under any Loan
                               Document, IRS Form W-8BEN or IRS Form W-8BEN-E, as applicable,
                               establishing an exemption from, or reduction of, U.S. federal withholding Tax
                               pursuant to the “business profits” or “other income” article of such tax treaty;

                                                (2)      executed copies of IRS Form W-8ECI;

                                                 (3)     in the case of a Foreign Lender claiming the benefits of
                               the exemption for portfolio interest under Section 881(c) of the Code, (A) a
                               certificate in form satisfactory to the Administrative Agent to the effect that such
                               Foreign Lender is not a “bank” within the meaning of Section 881(c)(3)(A) of the
                               Code, a “10 percent shareholder” of any Borrower within the meaning of
                               Section 881(c)(3)(B) of the Code, or a “controlled foreign corporation” described
                               in Section 881(c)(3)(C) of the Code (a “U.S. Tax Compliance Certificate”) and (B)
                               executed copies of IRS Form W-8BEN or IRS Form W-8BEN-E, as applicable; or

                                                 (4)     to the extent a Foreign Lender is not the beneficial owner,
                               executed copies of IRS Form W-8IMY, accompanied by IRS Form W-8ECI, IRS
                               Form W-8BEN or IRS Form W-8BEN-E, as applicable, a U.S. Tax Compliance
                               Certificate in form satisfactory to the Administrative Agent, IRS Form W-9, and/or
                               other certification documents from each beneficial owner, as applicable; provided
                               that if the Foreign Lender is a partnership and one or more direct or indirect
                               partners of such Foreign Lender are claiming the portfolio interest exemption, such
                               Foreign Lender may provide a U.S. Tax Compliance Certificate in form
                               satisfactory to the Administrative Agent on behalf of each such direct and indirect
                               partner;

                                         (C)     any Foreign Lender shall, to the extent it is legally entitled to do
                       so, deliver to the Borrower Agent and the Administrative Agent (in such number of copies
                       as shall be requested by the recipient) on or prior to the date on which such Foreign Lender
                       becomes a Lender under this Agreement (and from time to time thereafter upon the
                       reasonable request of the Borrower Agent or the Administrative Agent), executed copies
                       of any other form prescribed by applicable law as a basis for claiming exemption from or
                       a reduction in U.S. federal withholding Tax, duly completed, together with such
                       supplementary documentation as may be prescribed by applicable law to permit the
                       Borrowers or the Administrative Agent to determine the withholding or deduction required
                       to be made; and




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                                        (D)     if a payment made to a Lender under any Loan Document would
                       be subject to U.S. federal withholding Tax imposed by FATCA if such Lender were to fail
                       to comply with the applicable reporting requirements of FATCA (including those
                       contained in Section 1471(b) or 1472(b) of the Code, as applicable), such Lender shall
                       deliver to the Borrower Agent and the Administrative Agent at the time or times prescribed
                       by law and at such time or times reasonably requested by the Borrower Agent or the
                       Administrative Agent such documentation prescribed by applicable law (including as
                       prescribed by Section 1471(b)(3)(C)(i) of the Code) and such additional documentation
                       reasonably requested by the Borrower Agent or the Administrative Agent as may be
                       necessary for the Borrowers and the Administrative Agent to comply with their obligations
                       under FATCA and to determine that such Lender has complied with such Lender’s
                       obligations under FATCA or to determine the amount to deduct and withhold from such
                       payment. Solely for purposes of this clause (D), “FATCA” shall include any amendments
                       made to FATCA after the date of this Agreement.

  Each Lender agrees that if any form or certification it previously delivered expires or becomes obsolete or
  inaccurate in any respect, it shall update such form or certification or promptly notify the Borrower Agent
  and the Administrative Agent in writing of its legal inability to do so.

                    (h)     Treatment of Certain Refunds. If any indemnified party determines, in its sole
  discretion exercised in good faith, that it has received a refund of any Taxes as to which it has been
  indemnified pursuant to this Section 3.5 (including by the payment of additional amounts pursuant to this
  Section 3.5), it shall pay to the indemnifying party an amount equal to such refund (but only to the extent
  of indemnity payments made under this Section 3.5 with respect to the Taxes giving rise to such refund),
  net of all out-of-pocket expenses (including Taxes) of such indemnified party and without interest (other
  than any interest paid by the relevant Governmental Authority with respect to such refund). Such
  indemnifying party, upon the request of such indemnified party, shall repay to such indemnified party the
  amount paid over pursuant to this paragraph (h) (plus any penalties, interest or other charges imposed by
  the relevant Governmental Authority) in the event that such indemnified party is required to repay such
  refund to such Governmental Authority. Notwithstanding anything to the contrary in this paragraph (h), in
  no event will the indemnified party be required to pay any amount to an indemnifying party pursuant to this
  paragraph (h) the payment of which would place the indemnified party in a less favorable net after-Tax
  position than the indemnified party would have been in if the Tax subject to indemnification and giving rise
  to such refund had not been deducted, withheld or otherwise imposed and the indemnification payments or
  additional amounts with respect to such Tax had never been paid.

                   (i)    Survival. Each party’s obligations under this Section 3.5 shall survive the
  resignation or replacement of the Administrative Agent or any assignment of rights by, or the replacement
  of, a Lender and the Termination Date.

                   (j)     Confidentiality. Nothing contained in this Section 3.5 shall require any Credit
  Party or any other indemnified party to make available any of its Tax returns (or any other information that
  it deems to be confidential or proprietary) to the indemnifying party or any other Person.

           Section 3.6         Mitigation Obligations; Replacement of Lenders.

                   (a)     Designation of a Different Lending Office. If any Lender requests compensation
  under Section 3.4, or requires the Borrowers to pay any Indemnified Taxes or additional amounts to any
  Lender or any Governmental Authority for the account of any Lender pursuant to Section 3.5, then such
  Lender shall (at the request of the Borrower Agent) use reasonable efforts to designate a different funding
  office for funding or booking its Loans hereunder or to assign its rights and obligations hereunder to another


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  of its offices, branches or affiliates, if, in the judgment of such Lender, such designation or assignment (i)
  would eliminate or reduce amounts payable pursuant to Section 3.4 or Section 3.5, as the case may be, in
  the future, and (ii) would not subject such Lender to any unreimbursed cost or expense and would not
  otherwise be disadvantageous to such Lender. The Borrowers hereby agree to pay all reasonable costs and
  expenses incurred by any Lender in connection with any such designation or assignment.

                     (b)      Replacement of Lenders. If any Lender requests compensation under Section 3.4
  or if the Borrowers are required to pay any Indemnified Taxes or additional amounts to any Lender or any
  Governmental Authority for the account of any Lender pursuant to Section 3.5 and, in each case, such
  Lender has declined or is unable to designate a different funding office, or if any Lender is a Defaulting
  Lender or a Non-Consenting Lender, then the Borrowers may, at their sole expense and effort, upon notice
  to such Lender and the Administrative Agent, require such Lender to assign and delegate, without recourse
  (in accordance with and subject to the restrictions contained in, and consents required by, Section 10.4), all
  of its interests, rights (other than its existing rights to payments pursuant to Section 3.4 or Section 3.5) and
  obligations under this Agreement and the related Loan Documents to an Eligible Assignee that shall assume
  such obligations (which assignee may be another Lender, if a Lender accepts such assignment); provided
  that:

                          (i)     unless waived by the Administrative Agent in its sole discretion, the
           Borrowers shall have paid to the Administrative Agent the assignment fee (if any) specified in
           Section 10.4;

                            (ii)   such Lender shall have received payment of an amount equal to the
           outstanding principal of its Loans, accrued interest thereon, accrued fees and all other amounts
           payable to it hereunder and under the other Loan Documents from the assignee (to the extent of
           such outstanding principal and accrued interest and fees) or the Borrowers (in the case of all other
           amounts);

                            (iii)    in the case of any such assignment resulting from a claim for compensation
           under Section 3.4 or payments required to be made pursuant to Section 3.5, such assignment will
           result in a reduction in such compensation or payments thereafter;

                           (iv)     such assignment does not conflict with applicable law; and

                         (v)      in the case of any assignment resulting from a Lender becoming a Non-
           Consenting Lender, the applicable assignee shall have consented (or is willing to consent upon
           becoming a Lender) to the applicable amendment, waiver or consent.

  A Lender shall not be required to make any such assignment or delegation if, prior thereto, as a result of a
  waiver by such Lender or otherwise, the circumstances entitling the Borrowers to require such assignment
  and delegation cease to apply.

                                                   ARTICLE 4

                                   CONDITIONS PRECEDENT TO LOANS

           Section 4.1     Conditions to Initial Loans. The effectiveness of this Agreement and the obligation
  of each Lender to make its initial Loans hereunder on the Effective Date is subject to satisfaction or waiver
  of the following conditions precedent:




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                   (a)     Credit Agreement. The Administrative Agent (or its counsel) shall have received
  a counterpart of this Agreement that, when taken together, bear the signatures of each Loan Party and each
  Lender.

                  (b)     Notes. The Administrative Agent shall have received a Note for each Lender that
  shall have requested one, signed by the Borrowers.

                    (c)      Officers’ Closing Certificate. The Administrative Agent shall have received a
  certificate, dated the Effective Date and signed by a Responsible Officer of the Borrower Agent confirming
  that the conditions set forth in this Section 4.1 and Section 4.2 shall be satisfied.

                   (d)     Fees and Expenses. Substantially contemporaneously with the making of the
  Loans to be made on the Effective Date, the Borrowers shall have paid all fees and expenses that under the
  terms hereof or of the Fee Letter are due and payable on or prior to the Effective Date, as well as the
  reasonable fees, disbursements and other charges of counsel to the Administrative Agent in connection with
  the Transactions to the extent invoiced on or prior to the Effective Date.

                  (e)     Appraisal and Field Examination. The Administrative Agent shall have received,
  reviewed and be satisfied with (i) an appraisal of the Company’s Inventory and (ii) a field examination of
  the Collateral (which appraisals and field examination shall have been performed, at the Borrowers’
  expense, by appraisers and a field examination firm satisfactory to the Administrative Agent).

                  (f)   Borrowing Request. The Administrative Agent shall have received a completed
  Borrowing Request, duly executed by a Responsible Officer of the Borrower Agent with respect to the
  Loans to be made on the Effective Date, including, among other Borrowings, an amount required under
  Section 2.1(f).

                   (g)      Insurance. The Administrative Agent shall have received evidence that all
  insurance required to be maintained pursuant to the Loan Documents has been obtained and is in effect and
  that the Administrative Agent has been named as lender’s loss payee and/or additional insured, as
  applicable, under each insurance policy with respect thereto and all endorsements thereto have been
  delivered, in each case, in accordance with the terms of the Loan Documents, and the Administrative Agent
  is otherwise satisfied with all of the insurance arrangements of the Loan Parties and their Subsidiaries.

                       (h)   [Reserved]

                       (i)   Approved Budget. The Administrative Agent shall have received the Approved
  Budget.

                   (j)      Additional Due Diligence. The Administrative Agent shall have completed and
  found satisfactory all legal, regulatory and business due diligence.

                    (k)     Officer’s Certificates. The Administrative Agent shall have received a certificate
  of a Responsible Officer of each Loan Party, dated the Effective Date, (i) attesting to the resolutions of such
  Loan Party’s board of directors or managers authorizing its execution, delivery, and performance of the
  Loan Documents to which it is a party, (ii) authorizing specific officers of such Loan Party to execute the
  same, (iii) attesting to the incumbency and signatures of such specific officers of such Loan Party,
  (iv) attaching copies of such Loan Party’s Organizational Documents, and (v) attaching copies of a
  certificate of status with respect to such Loan Party, dated within 30 days of the Effective Date, such
  certificate to be issued by the appropriate officer of the jurisdiction of organization of such Loan Party,




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  which certificate shall indicate that such Loan Party is in good standing in such jurisdiction (or other similar
  status, as applicable).

                       (l)   [Reserved]

                  (m)      Borrowing Base Certificate / Availability. The Administrative Agent shall have
  received a Borrowing Base Certificate, dated the Effective Date and signed by a Financial Officer of the
  Borrower Agent, prepared as of such date as the Administrative Agent may elect, evidencing that,
  immediately after the making of the initial Loans and after giving effect to the Transactions (including the
  payment of all Transaction Expenses), Availability shall be at least the amount set forth in the Approved
  Budget for the initial Borrowing.

                  (n)      Security Interest. The Administrative Agent and each Lender shall be satisfied
  that the Loan Documents and the Interim Order shall be effective to create in favor of the Administrative
  Agent for the benefit of the Secured Parties a legal, valid, perfected and enforceable security interest and
  Lien upon the Collateral, with the priority set forth in the Interim Order and the terms thereof.

                   (o)     First Day Orders. The Court has approved and entered all “first day” orders,
  including the Cash Management Order and the Interim Order, each of which shall be in form and substance
  reasonably satisfactory to the Administrative Agent and the Required Lenders.

                  (p)     DIP Term Loan Facility. After entry of the Interim Order, the Administrative
  Agent and each Lender shall have received (i) fully executed copies of the DIP Term Loan Agreement and
  the other material DIP Term Loan Documents, in form and substance reasonably satisfactory to
  Administrative Agent, and (ii) evidence, in form and substance reasonably satisfactory to Administrative
  Agent, that on the Effective Date, Borrowers have received in the DIP Term Loan Escrow Account net
  proceeds of a borrowing of loans under the DIP Term Loan Facility of no less than $6,750,000 (which
  amount excludes the $3,000,000 utilized to refinance the Protective Advances (as such term is defined in
  the Interim Order)).

                       (q)   No Material Adverse Effect.

                           (i)     Since the Petition Date, other than those events or circumstances arising
           from the commencement of the Chapter 11 Cases, there has been no event or circumstance, either
           individually or in the aggregate, that has or would reasonably be expected to have a Material
           Adverse Effect.

                           (ii)    Except for actions, suits, investigations, proceedings, claims or disputes
           stayed by section 362 of the Bankruptcy Code, no orders, injunctions or pending litigation exists
           which would reasonably be expected to have a Material Adverse Effect or which challenges this
           Agreement, the Loan Documents or the credit facilities contemplated hereunder.

                              (iii)   Since the Petition Date, there has been no material increase in the
           liabilities, liquidated or contingent, of the Borrowers and the Guarantors taken as a whole, or
           material decrease in the assets of the Borrowers and the Guarantors taken as a whole (other than
           the incurrence of the Indebtedness pursuant to the DIP Term Loan Agreement and the fees and
           expenses related to the Chapter 11 Cases).

                         (iv)    Except for any defaults or events of default arising solely as a result of the
           commencement of the Chapter 11 Cases, any defaults or events of default under the Prepetition
           ABL Credit Agreement to the extent the Prepetition ABL Obligations have not been fully converted


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           to Obligations in accordance with this Agreement or any defaults or events of default under any
           lease or subleases contemplated by Section 5.8(c), no Default or Event of Default shall have
           occurred and be continuing or shall arise hereunder immediately after giving effect to this
           Agreement and the Transactions contemplated hereby.

                          (v)      Other than those resulting from the commencement of the Chapter 11
           Cases, since the Petition Date there shall have been no adverse change in the ability of the
           Administrative Agent and the Lenders to enforce the Loan Documents and the Obligations of the
           Borrowers and the Guarantors hereunder.

                   (r)      Insolvency Matters – Chapter 11 Cases. (i) The Bankruptcy Court shall have
  entered an Interim Order by no later than three (3) Business Days after the Petition Date; (ii) the
  Administrative Agent shall have received drafts of the “first day” pleadings for the Chapter 11 Cases, in
  each case, in form and substance reasonably satisfactory to the Administrative Agent and the Lenders not
  later than a reasonable time in advance of the Petition Date for Administrative Agent’s counsel to review
  and analyze the same; and (iii) all motions, orders (including the “first day” orders and the Cash
  Management Order) and other documents to be filed with and submitted to the Bankruptcy Court on the
  Petition Date shall be in form and substance reasonably satisfactory to the Administrative Agent and the
  Lenders, and the Bankruptcy Court shall have approved and entered all “first day” orders, including,
  without limitation, the Cash Management Order.

  For purposes of determining whether the Effective Date has occurred, each Lender that has executed this
  Agreement shall be deemed to have consented to, approved or accepted, or to be satisfied with, each
  document or other matter required hereunder to be consented to or approved by or acceptable or satisfactory
  Administrative Agent or such Lender, as the case may be, unless such Lender has notified the
  Administrative Agent of any disagreement prior to the initial Loans hereunder.

         Section 4.2      Conditions to All Loans. The obligation of each Lender to honor any Borrowing
  Request hereunder is subject to the satisfaction of the following conditions precedent:

                   (a)      Each of the representations and warranties of the Loan Parties set forth in the Loan
  Documents shall be true and correct in all material respects, in each case on and as of such date as if made
  on and as of such date, provided that to the extent that such representations and warranties specifically refer
  to an earlier date, they shall be true and correct in all material respects as of such earlier date; provided
  further that any representation and warranty that is qualified as to “materiality”, “Material Adverse Effect”
  or similar language shall be true and correct (after giving effect to any qualification therein) in all respects
  on such respective dates.

                 (b)      No Default or Event of Default shall exist, or would result from such proposed
  Loan or from the application of the proceeds therefrom.

                  (c)     The Administrative Agent shall have received a Borrowing Request in accordance
  with the requirements hereof.

                  (d)      The Interim Order or the Final Order, as applicable, shall not have been vacated,
  stayed, reversed, modified, or amended without the Administrative Agent’s prior written consent and shall
  otherwise be in full force and effect and no motion for reconsideration of the Interim Order or the Final
  Order, as applicable, shall have been timely filed by a Debtor of any of its Subsidiaries.

                  (e)    After giving effect to such proposed Loan, (i) the Total Revolving Outstandings
  (other than any Overadvances to the extent permitted hereunder) shall not exceed the Line Cap then in


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  effect, and (ii) there shall not exist or have occurred since the Petition Date, any condition, even or act that
  could reasonably be expected to have a Material Adverse Effect.


           Each Borrowing Request submitted by the Borrower Agent shall be deemed to be a representation
  and warranty that the conditions specified in Sections 4.2(a), (b), and (d) have been satisfied on and as of
  the date of the applicable Loan.

                                                   ARTICLE 5

                                 REPRESENTATIONS AND WARRANTIES

  Each Loan Party represents and warrants to the Administrative Agent and the Lenders that:

            Section 5.1       Existence, Qualification and Power; Compliance with Laws. Each Loan Party and
  each of its Subsidiaries (a) is duly incorporated, organized or formed, and validly existing and, where
  applicable, in good standing under the laws of the jurisdiction of its incorporation or organization, (b)
  subject to the Bankruptcy Code, the Bankruptcy Rules, entry of the Interim Order or the Final Order, as
  applicable, and such other orders as have been or may hereafter be entered by the Bankruptcy Court in the
  Chapter 11 cases, has all requisite power and authority to (i) own or lease its assets and carry on its business
  as now conducted and (ii) execute, deliver and perform its obligations under the Loan Documents to which
  it is a party, (c) is duly qualified and, where applicable, in good standing under the laws of each jurisdiction
  where its ownership, lease or operation of properties or the conduct of its business requires such
  qualification, and (d) has all requisite governmental licenses, authorizations, consents and approvals to
  operate its business as currently conducted; except in each case referred to in clauses (c) through (d),
  (A) where the failure to so qualify is the result of the status of the Loan parties as debtors in possession in
  the Chapter 11 Cases, or (B) to the extent that failure to do so could not, individually or in the aggregate,
  reasonably be expected to have a Material Adverse Effect. Each of Holdings and its Subsidiaries are in
  compliance with all laws, rules, regulations and orders of any Governmental Authority applicable to it or
  its property and maintains all permits and licenses necessary to conduct its business, except where the
  failure to do so, individually or in the aggregate, could not reasonably be expected to result in a Material
  Adverse Effect.

          Section 5.2      Authorization; No Contravention. Subject to entry of the Interim Order or the
  Final Order, as applicable, the execution and delivery by each Loan Party of each Loan Document to which
  such Loan Party is a party, and the performance of all of its obligations thereunder, are within such Loan
  Party’s corporate, limited liability company or other analogous powers, have been duly authorized by all
  necessary corporate, limited liability company or other analogous action, and do not and will not (a)
  contravene the terms of any of such Person’s Organizational Documents, (b) conflict with or result in any
  breach or contravention of, or the creation of any Lien under (other than under the Loan Documents), or
  require any payment to be made under (i) any Contractual Obligation not subject to the Automatic Stay
  imposed as a result of the Chapter 11 Cases to which such Person is a party or affecting such Person or the
  properties of such Person or any of its Subsidiaries, or (ii) any order, injunction, writ or decree of any
  Governmental Authority or any arbitral award to which such Person or its property is subject, or (c) violate
  any law; except with respect to any conflict, breach or contravention or payment (but not creation of Liens)
  referred to in clause (b)(i), to the extent that such conflict, breach, contravention or payment could not,
  individually or in the aggregate, reasonably be expected to have a Material Adverse Effect.

          Section 5.3      Governmental Authorization; Other Consents. No approval, consent, exemption,
  authorization, or other action by, or notice to, or filing with, any Governmental Authority or any other
  Person is necessary or required in connection with (a) the execution, delivery or performance by, or


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  enforcement against, any Loan Party of any Loan Document to which it is a party, or for the consummation
  of the Transactions, (b) the grant by any Loan Party of the Liens granted by it pursuant to the Collateral
  Documents, (c) the perfection or maintenance of the Liens created under the Collateral Documents
  (including the priority thereof) or (d) the exercise by the Administrative Agent or any Lender of its rights
  under the Loan Documents or the remedies in respect of the Collateral pursuant to the Loan Documents,
  except for (i) filings and recordings necessary to satisfy the Collateral and Guarantee Requirement, (ii) the
  approvals, consents, exemptions, authorizations, actions, notices and filings which have been duly obtained,
  taken, given or made and are in full force and effect, and (iii) consent or approval of the Bankruptcy Court.

          Section 5.4       Binding Effect. Each Loan Document has been duly executed and delivered by
  each Loan Party that is party thereto and, subject to entry of the Interim Order or Final Order, as applicable,
  constitutes a legal, valid and binding obligation of each such Loan Party, enforceable in accordance with
  its terms, subject to applicable bankruptcy, insolvency, reorganization, moratorium or other similar laws
  affecting creditors’ rights generally and subject to general principles of equity, regardless of whether
  considered in a proceeding in equity or at law.

         Section 5.5       No Material Adverse Effect. Since the Petition Date, there has been no event or
  circumstance, either individually or in the aggregate, that has had or could reasonably be expected to have
  a Material Adverse Effect other than customarily resulting from the commencement of the Chapter 11
  Cases.

          Section 5.6       Litigation. There are no actions, suits or proceedings by or before any arbitrator
  or Governmental Authority pending against any Loan Party or, to the knowledge of any Loan Party,
  threatened against or affecting the Loan Parties or any of their Subsidiaries (a) except for the Chapter 11
  Cases or as set forth on Schedule 5.6, as to which there is a reasonable possibility of an adverse
  determination and that, if adversely determined, could reasonably be expected, individually or in the
  aggregate, to result in a Material Adverse Effect or (b) that involve or affect, or that purport to or could
  reasonably be expected to involve or affect, any Loan Document or the Transactions. Since the Effective
  Date, there has been no change in the status of the matters set forth on Schedule 5.6 that, individually or in
  the aggregate, has resulted in, or materially increased the likelihood of, a Material Adverse Effect.

           Section 5.7      Environmental Matters.

                   (a)    As of the Effective Date, except (x) as set forth on Schedule 5.7, (y) for
  Environmental Claims which have been fully resolved with no remaining obligations or conditions, or (z)
  as could not reasonably be expected to have a Material Adverse Effect:

                           (i)      each Loan Party and its Subsidiaries possess all Environmental Permits
           required under applicable Environmental Law to conduct their respective businesses and are, and
           within applicable statutes of limitation, have been, in material compliance with the terms of such
           Environmental Permits. No Loan Party or any of its Subsidiaries has received written notice that
           any Environmental Permits possessed by any of them will be revoked, suspended or will not be
           renewed;

                            (ii)    the execution and delivery of this Agreement and the consummation by
           the Loan Parties of the Transactions does not require any notification, registration, reporting, filing,
           investigation, or environmental response action under any Environmental Law;

                           (iii)  each of the Loan Parties and their Subsidiaries are currently, and within
           applicable statutes of limitation, have been, in material compliance with all applicable
           Environmental Law;


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                            (iv)     no Loan Party nor any of its Subsidiaries has received (A) notice of any
           pending or threatened civil, criminal or administrative action, suit, demand, claim, hearing, notice
           of violation, investigation, notice or demand letter or request for information under any
           Environmental Law, or (B) notice of actual or potential liability under any Environmental Law
           including any Environmental Liability that such Loan Party or Subsidiary may have retained or
           assumed either contractually or by operation of law or of any Environmental Claim, in either case
           with respect to clauses (A) or (B) that reasonably could be expected to result in material expenditure
           by such Loan Party or Subsidiary. No Loan Party or any of its Subsidiaries has knowledge of any
           circumstances that reasonably could be expected to result in a material Environmental Liability;

                           (v)     as of the Effective Date: (A) no property or facility currently, or to the
           knowledge of each Loan Party, formerly owned, operated or leased by any Loan Party or any of its
           current or former Subsidiaries or by any respective predecessor in interest, and (B) no property at
           which Hazardous Materials generated, owned or controlled by any Loan Party, any of its present
           or former Subsidiaries or any predecessor in interest have been stored, treated or disposed of, have
           been identified by a Governmental Authority as recommended for or requiring or potentially
           requiring environmental assessment and/or response actions under Environmental Law;

                            (vi)     (A) there has been no disposal, spill, discharge or Release of any
           Hazardous Material generated, used, owned, stored or controlled by any Loan Party, any of its
           Subsidiaries or any predecessor in interest, on, at or under any property currently or formerly
           owned, leased or operated by any Loan Party, any of its current or former Subsidiaries or any
           predecessor in interest, (B) there are no Hazardous Materials located in, at, on or under such facility
           or property, or at any other location, in either case (A) or (B), that reasonably could be expected to
           require investigation, removal, remedial or corrective measures by any Loan Party or any of its
           Subsidiaries or that reasonably could result in material liabilities of, or material losses, damages or
           costs to any Loan Party or any of its Subsidiaries under any Environmental Law, and (C) neither
           the Loan Parties nor any of their Subsidiaries has retained or assumed any liability contractually or
           by operation of law with regard to the generation, treatment, storage or disposal of Hazardous
           Materials or compliance with Environmental Law that could reasonably be expected to result in
           material expenditures by any Loan Party or any of its Subsidiaries;

                            (vii)    (A) there has not been any underground or aboveground storage tank or
           other underground storage receptacle or related piping, or any impoundment or other disposal area
           in each case containing Hazardous Materials located on any facility or property currently or
           formerly owned, leased or operated by any Loan Party or any of its Subsidiaries, and (B) no
           asbestos or polychlorinated biphenyls have been used or disposed of, or have been located at, on
           or under any facility or property currently or formerly owned, leased or operated by any Loan Party
           or any of its Subsidiaries, in either case (A) or (B) except in material compliance with applicable
           Environmental Laws or as would not result in material Environmental Liability;

                          (viii) no Lien has been recorded against any properties, assets or facilities
           currently owned, leased or operated by any Loan Party or any of its Subsidiaries under any
           Environmental Law.

                   (b)     Since the Effective Date, there has been no change in the status of the matters set
  forth on Schedule 5.7 that, individually or in the aggregate, has resulted in, or materially increased the
  likelihood of, a Material Adverse Effect.

                   (c)     The Loan Parties and their Subsidiaries have provided to the Administrative Agent
  and its authorized representatives all material records and files, including all material assessments, reports,


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  studies, analyses, audits, tests and data in their possession or under their control concerning any
  Environmental Claim, the existence of Hazardous Materials or any other environmental concern at
  properties, assets or facilities currently or formerly owned, operated or leased by any Loan Party or any of
  their present or former Subsidiaries or predecessor in interest, or concerning compliance by any Loan Party
  or any such Subsidiary with, or liability under any Environmental Law.

            Section 5.8      Ownership of Properties; Liens. Each Loan Party and its Subsidiaries (a) has good
  title to, or valid leasehold interests in, all its real and personal property material to its business, except for
  minor defects in title that do not interfere with its ability to conduct its business as currently conducted or
  to utilize such properties for their intended purposes, free and clear of all Liens, other than Liens permitted
  under Section 7.2; (b) owns, or is entitled to use, all trademarks, service marks, trade names, domain names,
  copyrights, patents, patent rights, technology, software, know-how database rights, design rights and other
  intellectual property rights material to its business, and the use thereof by the Loan Parties and their
  respective Subsidiaries does not infringe upon the rights of any other Person, except for where the failure
  to own, or have entitlement to use, any such intellectual property (or intellectual property rights) or any
  such infringements that, individually or in the aggregate, could not reasonably be expected to result in a
  Material Adverse Effect, (c) has complied in all material respects with all obligations under all material
  leases to which it is a party and all such leases are in full force and effect and is not in default of any material
  terms thereof, other than defaults arising solely as a result of the commencement of the Chapter 11 Cases;
  and (d) enjoys peaceful and undisturbed possession under all such material leases.

          Section 5.9       Casualty, Etc. Neither the businesses nor the properties of any Loan Party or any
  of its Subsidiaries are affected by any fire, explosion, accident, strike, lockout or other labor dispute,
  drought, storm, hail, earthquake, embargo, act of God or of the public enemy or other casualty (whether or
  not covered by insurance) that, either individually or in the aggregate, could reasonably be expected to have
  a Material Adverse Effect.

          Section 5.10    Investment Company Status, Etc. No Loan Party or any of its Subsidiaries is (a)
  an “investment company” as defined in, or subject to regulation under, the Investment Company Act of
  1940 or (b) otherwise subject to any other regulatory scheme limiting its ability to incur debt.

           Section 5.11    Taxes. Each Loan Party and its Subsidiaries has timely filed or caused to be filed
  all federal and material state, municipal and other Tax returns and reports required to be filed, and have
  timely paid all federal and material state, municipal and Taxes levied or imposed upon them or their
  properties, income or assets otherwise due and payable, except (a) those which are being Contested in Good
  Faith, which contest conclusively operates to stay imposition of any penalty, fine, or Lien resulting from
  the non-payment thereof, (b) to the extent excused or enforcement in respect of which is stayed as a result
  of the Chapter 11 Cases, and (c) failures to file or pay as could not, either individually or in the aggregate,
  reasonably be expected to result in a Material Adverse Effect.

           Section 5.12     ERISA.

                   (a)     Each Loan Party and each of its ERISA Affiliates is in compliance in all material
  respects with the applicable provisions of ERISA and the Code and the regulations and published
  interpretations thereunder. No ERISA Event has occurred or is reasonably expected to occur that, when
  taken together with all other such ERISA Events for which liability is reasonably expected to occur, could
  reasonably be expected to result in a Material Adverse Effect. No event described in Section 4062(e) of
  ERISA has occurred and is continuing with respect to any Pension Plan. The present value of all
  accumulated benefit obligations under each Pension Plan (based on the assumptions used for purposes of
  Statement of Financial Accounting Standards No. 87) did not, as of the date of the most recent financial
  statements reflecting such amounts, exceed the fair market value of the assets of such Pension Plan and the


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  present value of all accumulated benefit obligations of all underfunded Pension Plans (based on the
  assumptions used for purposes of Statement of Financial Accounting Standards No. 87) did not, as of the
  date of the most recent financial statements reflecting such amounts, exceed the fair market value of the
  assets of all such underfunded Pension Plans.

                  (b)      Each Pension Plan that is intended to qualify under Section 401(a) of the Code has
  received a favorable determination letter from the IRS or an application for such a letter is currently being
  processed by the IRS with respect thereto and, to the knowledge of the Loan Parties, nothing has occurred
  which would prevent, or cause the loss of, such qualification. Each Loan Party and ERISA Affiliate has
  made all required contributions to each Pension Plan subject to Section 412 of the Code, and no application
  for a funding waiver pursuant to Section 412 of the Code has been made with respect to any Pension Plan.

                   (c)      There are no pending or, to the knowledge of the Loan Parties, threatened claims,
  actions, or lawsuits, or action by any Governmental Authority, with respect to any Pension Plan that could
  reasonably be expected to have a Material Adverse Effect. There has been no violation of the fiduciary
  responsibility rules of ERISA with respect to any Pension Plan that has resulted in or could reasonably be
  expected to have a Material Adverse Effect.

                    (d)     No Loan Party or ERISA Affiliate (i) has incurred, or reasonably expects to incur,
  any liability under Title IV of ERISA with respect to any Pension Plan (other than premiums due and not
  delinquent under Section 4007 of ERISA), (ii) has incurred, or reasonably expects to incur, any liability
  (and no event has occurred which, with the giving of notice under Section 4219 of ERISA, would result in
  such liability) under Section 4201 of ERISA with respect to a Multiemployer Plan, and (iii) has engaged in
  a transaction that could be subject to Section 4069 or Section 4212(c) of ERISA.

                   (e)     No such Pension Plan or trust created thereunder, or party in interest (as defined in
  Section 3(14) of ERISA), or any fiduciary (as defined in Section 3(21) of ERISA), has engaged in a
  “prohibited transaction” (as such term is defined in Section 406 of ERISA or Section 4975 of the Code)
  which would subject such Pension Plan or any other plan of any Loan Party or any of its ERISA Affiliates,
  any trust created thereunder, or any such party in interest or fiduciary, or any party dealing with any such
  Pension Plan or any such trust, to any material penalty or tax on “prohibited transactions” imposed by
  Section 502 of ERISA or Section 4975 of the Code.

                    (f)      With respect to any Foreign Plan, (i) all employer and employee contributions
  required by law or by the terms of the Foreign Plan have been made, or, if applicable, accrued, in accordance
  with normal accounting practices; (ii) the fair market value of the assets of each funded Foreign Plan, the
  liability of each insurer for any Foreign Plan funded through insurance, or the book reserve established for
  any Foreign Plan, together with any accrued contributions, is sufficient to procure or provide for the accrued
  benefit obligations with respect to all current and former participants in such Foreign Plan according to the
  actuarial assumptions and valuations most recently used to account for such obligations in accordance with
  applicable generally accepted accounting principles; and (iii) it has been registered as required and has been
  maintained in good standing with applicable regulatory authorities.

           Section 5.13    Subsidiaries; Equity Interests. As of the Effective Date, no Loan Party has any
  direct or indirect Subsidiaries or investments in, or joint ventures or partnerships with, any Person, except
  as disclosed in Schedule 5.13. Such Schedule sets forth (a) the name and jurisdiction of organization or
  incorporation of each Subsidiary and (b) the ownership interest of each Loan Party and tier respective
  Subsidiaries in each of their respective Subsidiaries, including the percentage of such ownership. Neither
  any Loan Party nor any of its Subsidiaries has issued any Disqualified Equity Interests and there are no
  outstanding options or warrants to purchase Equity Interests of any Loan Party or any of its Subsidiaries of
  any class or kind, and there are no agreements, voting trusts or understandings with respect thereto or


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  affecting in any manner the sale, pledge, assignment or other disposition thereof, including any right of first
  refusal, option, redemption, call or other rights with respect thereto, whether similar or dissimilar to any of
  the foregoing. All of the issued and outstanding Equity Interests owned by any Loan Party in its
  Subsidiaries have been duly authorized and issued and are fully paid and non-assessable and are free and
  clear of all Liens other than Liens in favor of the Administrative Agent under the Collateral Documents,
  and Liens created under the Prepetition ABL Loan Documents, the DIP Term Loan Documents, and the
  Prepetition Term Loan Documents.

          Section 5.14      Insurance. As of the Effective Date, Schedule 5.14 sets forth a description of all
  insurance maintained by or on behalf of the Loan Parties and their Subsidiaries on the Effective Date
  (including names of carriers, policy number, expiration dates, insurance types and coverage amounts). As
  of the Effective Date, all premiums in respect of such insurance that are due and payable have been paid.

           Section 5.15     Federal Reserve Regulations, Etc. Neither any Loan Party nor any of its
  Subsidiaries is engaged principally, or as one of their important activities, in the business of extending
  credit for the purpose of buying or carrying Margin Stock. Immediately before and after giving effect to
  the making of each Loan, Margin Stock will constitute less than 25% of each Loan Party’s assets as
  determined in accordance with Regulation U. No part of the proceeds of any Loan will be used, directly or
  indirectly, (a) to purchase, acquire or carry any Margin Stock or for any purpose that entails a violation of,
  or that is inconsistent with, the provisions of the regulations of the Board, including Regulation T, U or X
  or (b) for any purpose that would violate any Anti-Corruption Laws, Anti-Money Laundering Laws, or
  applicable Sanctions.

           Section 5.16    [Reserved].

           Section 5.17    [Reserved].

           Section 5.18    Anti-Corruption Laws; Sanctions; Anti-Terrorism Laws.

                    (a)      Each Loan Party, its Subsidiaries and their respective officers, employees,
  directors and agents, are in compliance with Anti-Corruption Laws, Anti-Money Laundering Laws, and
  applicable Sanctions. None of the Loan Parties, any of their Subsidiaries or any director, officer, employee,
  agent, or affiliate of any Loan Party or any of its Subsidiaries is an individual or entity that is, or is owned
  or controlled by, a Sanctioned Person or is located, organized or resident in a country or territory that is a
  Sanctioned Country. Each Loan Party and each of its Subsidiaries has implemented and maintains in effect
  policies and procedures reasonably designed to ensure compliance by such Loan Party, its Subsidiaries and
  their respective directors, officers, employees and agents with all applicable Anti-Corruption Laws, Anti-
  Money Laundering Laws, and Sanctions.

                    (b)      The Borrowers will not, directly or indirectly, use the proceeds of any Loan or
  other transaction contemplated hereby or lend, contribute or otherwise make available such proceeds to any
  Subsidiary, joint venture partner or other Person, (i) to fund any activities or business of or with any Person,
  or in any country or territory, that, at the time of funding, is the subject of Sanctions, or (ii) in any other
  manner that would result in a violation of Sanctions by any Person. Neither the making of the Loans or
  other transactions contemplated hereby nor the use of the proceeds thereof will violate Anti-Corruption
  Laws, Anti-Money Laundering Laws or Sanctions. No part of the proceeds of the Loans will be used,
  directly or indirectly, for any payments to any governmental official or employee, political party, official
  of a political party, candidate for political office, or anyone else acting in an official capacity, in order to
  obtain, retain or direct business or obtain any improper advantage, in violation of the Anti-Corruption Laws.




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                    (c)     Borrowers have taken, and shall continue to take until the Loan is fully repaid,
  such measures as are required by law to assure that the funds used to repay the Loan are derived: (i) from
  transactions that do not violate United States law nor, to the extent such funds originate outside the United
  States, do not violate the laws of the jurisdiction in which they originated; and (ii) from permissible sources
  under United States law and to the extent such funds originate outside the United States, under the laws of
  the jurisdiction in which they originated.

                    (d)      To the best of Borrowers’ knowledge after making due inquiry, neither any Loan
  Party nor any Person providing funds to Borrowers: (i) is under investigation by any Governmental
  Authority for, or has been charged with, or convicted of, money laundering, drug trafficking, terrorist
  related activities, any crimes which in the United States would be predicate crimes to money laundering, or
  any violation of any Anti-Money Laundering Laws; (ii) has been assessed civil or criminal penalties under
  any Anti-Money Laundering Laws; or (iii) has had any of its funds seized or forfeited in any action under
  any Anti-Money Laundering Laws.

                   (e)     Neither the making of the Loans hereunder nor the use of the proceeds thereof will
  violate the any regulations passed under the USA PATRIOT Act or will violate the Trading with the Enemy
  Act, the International Emergency Economic Powers Act, or any regulations passed thereunder, including
  the foreign assets control regulations of the United States Treasury Department (31 C.F.R., Subtitle B,
  Chapter V) or any enabling legislation or executive order relating thereto or successor statute thereto
  (together with Sanctions, “Anti-Terrorism Laws”). Each Loan Party and each of its Subsidiaries are in
  compliance with applicable Anti-Terrorism Laws.

           Section 5.19     Real Property. Schedule 5.19 lists completely and correctly as of the Effective
  Date all Real Property owned by any Loan Party and the addresses thereof. One or more of the Loan Parties
  own in fee all the real property set forth on Schedule 5.19.

           Section 5.20    Accuracy of Information, Etc.

                   (a)     Each Loan Party has disclosed to the Credit Parties all agreements, instruments
  and corporate or other restrictions to which it or any of its Subsidiaries is subject, and all other matters
  known to it, that, individually or in the aggregate, could reasonably be expected to result in a Material
  Adverse Effect. None of the reports, financial statements, certificates or other information furnished
  (whether in writing or orally) by or on behalf of any Loan Party to any Credit Party in connection with the
  transactions contemplated hereby contains any material misstatement of fact or omits to state any material
  fact necessary to make the statements therein, in the light of the circumstances under which they were made,
  not misleading, provided that, with respect to projected financial information, the Loan Parties represent
  only that such information was prepared in good faith based upon assumptions believed to be reasonable at
  the time.

                    (b)     As of the Effective Date, the information included in the Beneficial Ownership
  Certification is true and correct in all respects.

                   (c)     Each Loan Party prepared the Approved Budget as in effect on the Effective Date
  in good faith, based upon assumptions believed by the Borrowers to be reasonable at the time of the delivery
  thereof to the Administrative Agent.

          Section 5.21     Labor Matters. There are no strikes, lockouts or slowdowns against any Loan Party
  or any of its Subsidiaries pending or, to the knowledge of any Loan Party, threatened. The hours worked
  by and payments made to employees of the Loan Parties and their Subsidiaries have not been in violation
  in any material respect of the Fair Labor Standards Act or any other applicable Federal, state, local or


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  foreign law dealing with such matters. All material payments due from the Loan Parties or any of their
  Subsidiaries, or for which any claim may be made against any of the Loan Parties or any of their
  Subsidiaries, on account of wages and employee health and welfare insurance and other benefits, have been
  paid or accrued as a liability on the books of such Loan Party or such Subsidiary. The consummation of
  the Transactions will not give rise to any right of termination or right of renegotiation on the part of any
  union under any collective bargaining agreement to which any of the Loan Parties or any of their
  Subsidiaries is bound.

           Section 5.22   Absence of Certain Restrictions. No indenture, certificate of designation for
  preferred stock, agreement or instrument to which any Loan Party or any of its Subsidiaries is a party (other
  than this Agreement), prohibits or limits in any way, directly or indirectly the ability of any Subsidiary to
  make Restricted Payments or loans to, to make any advance on behalf of, or to repay any Indebtedness to,
  any Loan Party or to another Subsidiary.

           Section 5.23    No Default. Except for any defaults or events of default arising solely as a result
  of the commencement of the Chapter 11 Cases, any defaults or events of default arising under the
  Prepetition ABL Credit Agreement to the extent the Prepetition ABL Obligations have not been converted
  to Obligations in accordance with this Agreement, or any defaults under any leases or subleases
  contemplated by Section 5.8(c), no Loan Party nor any of its Subsidiaries is in default in the performance,
  observance or fulfillment of any of the obligations, covenants or conditions contained in any agreement,
  instrument or other undertaking to which such Person is a party or by which it or any of its property is
  bound in any respect that could reasonably be expected to have a Material Adverse Effect. Except for any
  defaults or events of default arising solely as a result of the commencement of the Chapter 11 Cases, no
  Default or Event of Default has occurred and is continuing.

           Section 5.24     Common Enterprise. The successful operation and condition of each of the Loan
  Parties is dependent on the continued successful performance of the functions of the group of the Loan
  Parties as a whole and the successful operation of each of the Loan Parties is dependent on the successful
  performance and operation of each other Loan Party. Each Loan Party expects to derive benefit (and its
  Board of Directors or other governing body has determined that it may reasonably be expected to derive
  benefit), directly and indirectly, from (a) successful operations of each of the other Loan Parties and (b) the
  credit extended by the Lenders to the Borrowers hereunder, both in their separate capacities and as members
  of the group of companies. Each Loan Party has determined that execution, delivery, and performance of
  this Agreement and any other Loan Documents to be executed by such Loan Party is within its purpose,
  will be of direct and indirect benefit to such Loan Party, and is in its best interest.

          Section 5.25     Brokers’ Fees. None of the Loan Parties or their Subsidiaries has any obligation
  to any Person in respect of any finder’s, broker’s, investment banking or other similar fee in connection
  with any of the transactions contemplated under the Loan Documents other than the closing and other fees
  payable pursuant to this Agreement and as set forth in the Fee Letter.

           Section 5.26      Affected Financial Institutions. No Loan Party is an Affected Financial Institution.

          Section 5.27     Accounts. With respect to each of the Loan Parties’ Eligible Accounts, unless
  otherwise disclosed to the Administrative Agent in writing:

                       (a)   It is genuine and in all respects what it purports to be, and it is not evidenced by a
  judgment;

                 (b)     It arises out of a completed, bona fide sale and delivery of goods or rendition of
  services by a Loan Party, in the ordinary course of its business and in accordance with the terms and


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  conditions of all purchase orders, contracts or other documents relating thereto and forming a part of the
  contract between a Loan Party and the Account Debtor;

                   (c)     It is for a liquidated amount maturing as stated in the duplicate invoice covering
  such sale or rendition of services, a copy of which has been furnished or is available to the Administrative
  Agent;

                   (d)    There are no facts, events or occurrences which in any way impair the validity or
  enforceability of any Accounts or tend to reduce the amount payable thereunder from the face amount of
  the invoice and statements delivered or made available to the Administrative Agent with respect thereto;

                   (e)      To the best of the Loan Parties’ knowledge, the Account Debtor thereunder (i) had
  the capacity to contract at the time any contract or other document giving rise to the Account was executed
  and (ii) such Account Debtor is Solvent; and

                  (f)     To the best of the Loan Parties’ knowledge, there are no proceedings or actions
  which are threatened or pending against the Account Debtor thereunder which might result in any material
  adverse change in such Account Debtor’s financial condition or the collectability of such Account.

           Section 5.28    Approved Budget. Each of the initial Approved Budget, attached hereto as Annex
  A, which was delivered to the Administrative Agent on or prior to the Effective Date, and the
  then-applicable Approved Budget, was prepared in good faith upon assumptions the Borrowers believed to
  be reasonable assumptions on the date of delivery of the then-applicable Approved Budget or update
  thereto. To the knowledge of the Borrowers, no facts exist that (individually or in the aggregate) would
  result in any material change in the then-applicable Approved Budget.

           Section 5.29     Chapter 11 Cases.

          (a)      The Chapter 11 Cases were commenced on the Petition Date in accordance with applicable
  law and proper notice thereof was given for (i) the motion seeking approval of the Loan Documents and the
  Interim Order and Final Order, (ii) the hearing for the entry of the Interim Order, and (iii) the hearing for
  the entry of the Final Order. The Debtors shall give, on a timely basis as specified in the Interim Order or
  the Final Order, as applicable, all notices required to be given to all parties specified in the Interim Order or
  Final Order, as applicable.

          (b)      After the entry of the Interim Order, and pursuant to and to the extent permitted in the
  Interim Order and the Final Order, the Obligations will constitute allowed administrative expense claims in
  the Chapter 11 Cases having priority over all administrative expense claims and unsecured claims against
  the Debtors now existing or hereafter arising, of any kind whatsoever, including all administrative expense
  claims of the kind specified in sections 105, 326, 330, 331, 365, 503(b), 506(c), 507(a), 507(b), 546(c), 726,
  1114 or any other provision of the Bankruptcy Code or otherwise, as provided under section 364(c)(l) of
  the Bankruptcy Code, subject to (i) the Carve Out and (ii) such other exceptions, if any, set forth in the
  Interim Order or Final Order, as applicable.

          (c)      After the entry of the Interim Order and pursuant to and to the extent provided in the Interim
  Order and the Final Order, the Obligations will be secured by a valid and perfected first priority Lien on all
  of the Collateral subject, as to priority, only to (i) the Carve Out, and (ii) the Liens permitted pursuant to
  Section 7.2(g) and (h).

           (d)      The Interim Order (with respect to the period on and after entry of the Interim Order and
  prior to entry of the Final Order) or the Final Order (with respect to the period on and after entry of the Final


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  Order), as the case may be, is in full force and effect and has not been reversed, stayed (whether by statutory
  stay or otherwise), vacated, or, without the Administrative Agent’s consent, modified or amended. The
  Loan Parties are in compliance in all material respects with the applicable Order.

          (e)      Notwithstanding the provisions of section 362 of the Bankruptcy Code, and subject to the
  applicable provisions of the Interim Order or the Final Order, as the case may be, upon the Maturity Date
  (whether by acceleration or otherwise) of any of the Obligations, the Administrative Agent and Lenders
  shall be entitled to immediate payment of such Obligations and to enforce the remedies provided for
  hereunder or under applicable law, without further notice, motion or application to, hearing before, or order
  from, the Bankruptcy Court.

                                                   ARTICLE 6

                                           AFFIRMATIVE COVENANTS

  Until the Termination Date, each Loan Party covenants and agrees with the Credit Parties that:

           Section 6.1     Financial Statements and Other Information. Each Loan Party will furnish or cause
  to be furnished to the Administrative Agent and each Lender either in hard copy or by posted to ABLSoft,
  or, if requested by the Administrative Agent, by another form of Approved Electronic Communication
  pursuant to procedures approved in writing by the Administrative Agent:

                       (a)   [Reserved];

                       (b)   [Reserved];

                       (c)   [Reserved];

                       (d)   [Reserved];

                       (e)   [Reserved];

                       (f)   [Reserved];

                       (g)   [Reserved];

                  (h)     promptly following any request therefor, (i) such other information and
  documentation reasonably requested by the Administrative Agent or any Lender for purposes of compliance
  with applicable “know your customer” requirements under the USA Patriot Act, the Beneficial Ownership
  Regulation or other applicable Anti-Corruption Laws, Anti-Money Laundering Laws, and Anti-Terrorism
  Laws (including those passed pursuant to the USA PATRIOT Act), and (ii) such other information
  regarding the operations, business affairs and financial condition of Holdings or any Subsidiary, or
  compliance with the terms of the Loan Documents, as the Administrative Agent or any Lender may
  reasonably request;

                       (i)   [Reserved];

                    (j)      substantially contemporaneously with the delivery thereunder, all notices,
  certifications or other information or deliverables provided to the DIP Term Loan Agent and/or the lenders
  under the DIP Term Loan Agreement pursuant to the terms thereof; and




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                   (k)     promptly upon request, such other information concerning the condition or
  operations, financial or otherwise, of any Loan Party as the Administrative Agent may from time to time
  may reasonably request.

          Section 6.2     Notices of Material Events. Each Loan Party will furnish or caused to be furnished
  to the Administrative Agent each Lender prompt written notice of the following:

                  (a)    the occurrence of any Default or Event of Default, or any “Default” or “Event of
  Default” under the DIP Term Loan Agreement, in each case specifying the nature and extent thereof;

                  (b)     the filing or commencement of, or any threat or notice of intention of any Person
  to file or commence, any action, suit or proceeding, whether at law or in equity or by or before any
  Governmental Authority, against, or affecting, any Loan Party or any of its Subsidiaries that could
  reasonably be expected to result in a Material Adverse Effect;

                   (c)      if requested by Administrative Agent from time to time, copies of any annual
  report required to be filed in connection with each Pension Plan or Foreign Plan, and as soon as possible
  after, and in any event within ten days after any Loan Party or any ERISA Affiliate knows or has reason to
  know that, any ERISA Event (or any similar event with respect to a Foreign Plan) has occurred that, alone
  or together with any other ERISA Event (or any similar event with respect to a Foreign Plan) could
  reasonably be expected to result in liability of any Loan Party or any ERISA Affiliate that could reasonably
  be expected to result in a Material Adverse Effect;

                   (d)     as soon as possible and in no event later than five Business Days after the receipt
  by any Loan Party or any of its Subsidiaries, of a copy of any notice, summons, citation or other written
  communication concerning any actual, alleged, suspected or threatened violation of any Environmental
  Law by, Environmental Claim against or Environmental Liability of, any Loan Party or any of its
  Subsidiaries, in each case, which could reasonably be expected to have a Material Adverse Effect;

                   (e)     promptly after the same become publicly available, copies of all periodic and other
  reports, proxy statements and other materials filed by any Loan Party or any of its Subsidiaries with the
  Securities and Exchange Commission, or any Governmental Authority succeeding to any or all of the
  functions of said Commission, or with any national securities exchange, or distributed by any Loan Party
  to its shareholders generally, as the case may be;

                   (f)     promptly after the furnishing thereof, copies of any statement or report furnished
  to any holder of debt securities of any Loan Party or of any of its Subsidiaries pursuant to the terms of any
  indenture, loan or credit or similar agreement and not otherwise required to be furnished to the Lenders
  pursuant to any other clause of this Section 6.2;

                   (g)     any pending or threatened labor dispute, strike or walkout, or the expiration of any
  material labor contract;

                  (h)      promptly after any Loan Party or any of its Subsidiaries (i) being required to file
  reports under Section 15(d) of the Securities Exchange Act of 1934, or (ii) registering securities under
  Section 12 of the Securities Exchange Act of 1934;

                  (i)     in the event that any Person shall become, or cease to be, a Subsidiary or a
  Guarantor, the Borrower Agent shall promptly furnish to the Administrative Agent an updated list of
  Subsidiaries or Guarantors, as the case may be;




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                    (j)     (i) as soon as practicable in advance of filing with the Bankruptcy Court or
  delivering to the Committee appointed in a Chapter 11 Case, if any, or to the U.S. Trustee, as the case may
  be, the Final Order, all other material proposed orders and pleadings related to or that could affect (all of
  which must be in form and substance reasonably satisfactory to the Administrative Agent) the Prepetition
  ABL Credit Agreement, this Agreement and the credit facilities contemplated thereby, the ABL Priority
  Collateral, the rights and remedies of the Administrative Agent or Lenders, the DIP Term Loan Facility
  and/or any sale contemplated in accordance with the Required Milestones and/or any disclosure statement
  related thereto (all of which must be in form and substance reasonably satisfactory to the Administrative
  Agent), and (ii) substantially simultaneously with the filing with the Bankruptcy Court or delivering to the
  Committee appointed in any Chapter 11 Case, if any, or to the U.S. Trustee, as the case may be (which may
  be delivered via ECF notice to counsel for the Administrative Agent), monthly written operating reports
  and all other written notices, filings, motions, pleadings or other written information concerning the
  financial condition of the Loan Parties or their Subsidiaries that may be filed with the Bankruptcy Court or
  delivered to the Committee appointed in any Chapter 11 Case, if any, or to the U.S. Trustee, in each case,
  excluding any such reports, notices, filings, motions, pleadings or other information subject to privilege
  (provided, that the Loan Parties may redact any confidential information contained in any such report,
  notice, filing, motion, pleading or information if it provides a summary of the nature of the information
  redacted to the Administrative Agent);

                  (k)       the occurrence of any other development that has resulted in, or could reasonably
  be expected to result in, a Material Adverse Effect; and

                 (l)     any change in the information provided in the most recently delivered Beneficial
  Ownership Certification that would result in a change to the list of beneficial owners identified therein.

  Each notice delivered under this Section shall be accompanied by a statement of a Financial Officer of the
  Borrower Agent or other executive officer of the Borrower Agent setting forth the details of the event or
  development requiring such notice and any action taken or proposed to be taken with respect thereto.

           Section 6.3       Existence; Conduct of Business. Each Loan Party will, and will cause each of its
  Subsidiaries to, do or cause to be done all things necessary to preserve, renew and keep in full force and
  effect its legal existence and the rights, licenses, permits, privileges and franchises material to the conduct
  of its business, provided that the foregoing shall not prohibit any merger, consolidation, liquidation or
  dissolution permitted under Section 7.3 or any sale, lease, transfer or other disposition permitted by
  Section 7.5.

           Section 6.4      Payment and Performance of Obligations. Subject to the Orders and the terms
  thereof and the Approved Budget, each Loan Party will, and will cause each of its Subsidiaries to, pay or
  discharge all obligations under its respective Contractual Obligations and all other material liabilities and
  obligations, including Taxes, incurred after the Petition Date (but for the avoidance of doubt, Taxes incurred
  before the Petition Date which are required to be paid in accordance with the Orders or any other order of
  the Bankruptcy Court shall be permitted to be paid), before the same shall become delinquent or in default
  (after giving effect to any applicable cure periods), but all in accordance with and subject to the Approved
  Budget (and the permitted variances provided for therein), except where either (a) the validity or amount
  thereof is being Contested in Good Faith or (b) such payment or discharge is subject to the Automatic Stay
  imposed as a result of the Chapter 11 Cases.

          Section 6.5      Maintenance of Properties. Each Loan Party will, and will cause each of its
  Subsidiaries to, keep and maintain all property material to the conduct of its business in good working order
  and condition, ordinary wear and tear excepted.



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           Section 6.6      Books and Records; Inspection Rights and Appraisals. Each Loan Party will, and
  will cause each of its Subsidiaries to (a) keep proper books of record and account in which full, true and
  correct entries are made of all dealings and transactions in relation to its business and activities, (b) permit
  the Administrative Agent and its representatives to conduct field examinations and/or appraisals of
  Inventory or other Collateral, and (c) permit any representatives designated by the Administrative Agent or
  any Lender, to visit and inspect its properties, to examine and make extracts from its books and records,
  and to discuss its affairs, finances and condition with its officers and independent accounting firm, all at
  the expense of the Borrowers and at such reasonable times and as often as reasonably requested; provided,
  however, so long as no Default or Event of Default has occurred and is continuing, the Borrowers shall
  only be responsible for the costs and expenses of (i) four (4) commercial field examinations per year of the
  Loan Parties, the Collateral, and such other matters as the Administrative Agent shall deem appropriate in
  its Permitted Discretion, and (ii) two (2) appraisals per year from appraisers stating the then current fair
  market value or orderly liquidation value of the Inventory of the Loan Parties, which appraisals and field
  examinations may be conducted by employees of the Administrative Agent or by third parties hired by the
  Administrative Agent; provided further, during the existence of a Default or Event of Default, the
  Administrative Agent or any Lender (or any of their respective representatives) may do any of the foregoing
  at the expense of the Borrowers at any time during normal business hours and without advance notice.

          Section 6.7         Compliance with Laws. Each Loan Party will, and will cause each of its
  Subsidiaries to comply with (a) all laws, rules, regulations and orders of any Governmental Authority
  applicable to it or its property and maintain all permits and licenses necessary to conduct its business, except
  where (i) the failure to do so, individually or in the aggregate, could not reasonably be expected to result in
  a Material Adverse Effect or (ii) such compliance is stayed by the Chapter 11 Cases, and (b) the Bankruptcy
  Code, the Bankruptcy Rules, the Orders, and any other order of the Bankruptcy Court in all material
  respects. In addition, and without limiting the foregoing, each Loan Party will, and will cause each of its
  Subsidiaries to, comply with all applicable Environmental Laws in all material respects, and with Anti-
  Corruption Laws, Anti-Money Laundering Laws, applicable Sanctions and the USA PATRIOT Act and the
  regulations promulgated thereunder in all respects.

           Section 6.8     Use of Proceeds.

                    (a)      The proceeds of the Loans will be used on and after the Effective Date only (i) to
  fund the Chapter 11 Cases in accordance with the Approved Budget (subject to variances permitted under
  Section 6.17), (ii) for the financing of the Company’s and its Subsidiaries’ ordinary working capital and
  other general corporate needs including certain fees and expenses of professionals retained by the Loan
  Parties, subject to the Carve Out, in each case, to the extent permitted under this Agreement and in
  accordance with the Approved Budget, (iii) for certain other Prepetition and pre-filing expenses and
  payments that are approved by the Bankruptcy Court and permitted by the Approved Budget, and (iv) to
  pay the Prepetition ABL Obligations. The Loan Parties shall not be permitted to use the proceeds of the
  Loans in contravention of the provisions of the applicable Order or the Bankruptcy Code, including any
  restrictions or limitations on the use of proceeds contained therein. The Postpetition payment of Prepetition
  ABL Obligations, including principal, interest, fees, penalties or recoverable costs, due and payable in
  connection with the Prepetition ABL Credit Agreement with the proceeds of the Collateral (as defined
  herein) or Collateral (as defined in the Prepetition ABL Credit Agreement) shall be made in accordance
  herewith.

                   (b)      No part of the proceeds of any Loan will be used, whether directly or indirectly,
  and whether immediately, incidentally or ultimately, (i) to purchase, acquire or carry any Margin Stock or
  (ii) for any purpose that entails a violation of any of the regulations of the Board, including Regulations T,
  U, and X. The Borrowers will not request any Loan, and the Borrowers shall not use, and shall ensure that
  each Loan Party, their respective Subsidiaries and their respective directors, officers, employees and agents


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  shall not use, the proceeds of any Loan (A) in furtherance of an offer, payment, promise to pay, or
  authorization of the payment or giving of money, or anything else of value, to any Person in violation of
  any Anti-Corruption Laws or (B) in any manner that would result in the violation of any Anti-Money
  Laundering Laws, applicable Sanctions or any Anti-Terrorism Laws by any Person, including any Credit
  Party.

           Section 6.9      Information Concerning Collateral. Each Loan Party will furnish to the
  Administrative Agent (a) at least thirty (30) days written notice before any change in (i) the legal name or
  jurisdiction of incorporation or formation of any Loan Party, or (ii) the identity or organizational structure
  of any Loan Party, or the Federal Taxpayer Identification Number or company organizational number of
  any Loan Party, and (b) prompt written notice (and in no event later than ten (10) days) after any change in
  the location of the chief executive office of any Loan Party, its principal place of business, any office in
  which it maintains books or records relating to Collateral owned or held by it or on its behalf or any office
  or facility at which Collateral owned or held by it or on its behalf (including the establishment of any such
  new office or facility).

           Section 6.10    Insurance.

                  (a)      Each Loan Party will, and will cause each of its Subsidiaries to, maintain, with
  financially sound and reputable insurance companies, adequate insurance for its insurable properties, all to
  such extent and against such risks, including fire, casualty, business interruption and other risks insured
  against by extended coverage, as is customary with companies in the same or similar businesses operating
  in the same or similar locations and of same or similar size, including public liability insurance against
  claims for personal injury or death or property damage occurring upon, in, about or in connection with the
  use of any properties owned, occupied or controlled by it (including all insurance required pursuant to the
  Collateral Documents); and maintain such other insurance as may be required by law.

                    (b)     The Loan Parties shall maintain flood insurance on all Real Property constituting
  Collateral, from such providers, in amounts and on terms in accordance with the Flood Laws or as otherwise
  satisfactory to all Lenders.

                    (c)     Each Loan Party will, and will cause each of its Subsidiaries to, (i) cause all such
  policies to be endorsed or otherwise amended to include an additional insured endorsement or a “standard”
  or “New York” lender’s loss payable endorsement, as appropriate, each in form and substance reasonably
  satisfactory to the Administrative Agent, and which lender’s loss payable endorsement or amendment shall
  provide that, from and after the Effective Date, if the insurance carrier shall have received written notice
  from the Administrative Agent of the occurrence of an Event of Default, the insurance carrier shall pay all
  proceeds otherwise payable to such Loan Party under such policies directly to the Administrative Agent,
  (ii) cause all such policies to provide that neither such Loan Party, any Subsidiary or the Administrative
  Agent nor any other party shall be a co-insurer thereunder and to contain a “Replacement Cost
  Endorsement”, without any deduction for depreciation, and such other provisions as the Administrative
  Agent may reasonably require from time to time to protect its interests, (iii) upon request by the
  Administrative Agent deliver original or certified copies of all such policies to the Administrative Agent,
  (iv) cause each such policy to provide that it shall not be canceled, modified or not renewed for any other
  reason upon not less than thirty (30) days’ (or 10 days’ in the case of cancellation or non-renewal as a result
  of the failure to pay the premium of any such policy) prior written notice thereof by the insurer to the
  Administrative Agent, (v) deliver to the Administrative Agent, prior to the cancellation, modification or
  non-renewal of any such policy of insurance, a copy of a renewal or replacement policy (or other evidence
  of renewal of a policy previously delivered to the Administrative Agent) together with evidence satisfactory
  to the Administrative Agent of payment of the premium therefor.



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                  (d)      Each Loan Party will promptly upon request of the Administrative Agent or any
  other Lender, deliver to the Administrative Agent (for distribution to all Lenders), evidence of compliance
  by all Loan Parties with the requirements contained Sections 6.10(a) through (c) in form and substance
  reasonably acceptable to the Administrative Agent and the Lenders, including, without limitation, evidence
  of annual renewals of such insurance.

                       (e)   In connection with the covenants set forth in this Section 6.10, it is understood and
  agreed that:

                            (i)       no Credit Party or any of its Related Parties shall be liable for any loss or
           damage insured by the insurance policies required to be maintained under this Section 6.10, it being
           understood that (A) each Loan Party shall look solely to its insurance companies or any other parties
           other than the aforesaid parties for the recovery of such loss or damage and (B) such insurance
           companies shall have no rights of subrogation against any Credit Party or any of their Related
           Parties, provided, however, that if the insurance policies do not provide waiver of subrogation rights
           against such parties, as required above, then each Loan Party (for itself and each of its Subsidiaries)
           hereby agrees, to the extent permitted by law, to waive its right of recovery, if any, against the
           Credit Parties and their Related Parties; and

                            (ii)    the designation of any form, type or amount of insurance coverage by the
           Administrative Agent or the Required Lenders under this Section 6.10 shall in no event be deemed
           a representation, warranty or advice by any Credit Party that such insurance is adequate for the
           purposes of the business of any Loan Party or its Subsidiaries or the protection of their properties
           and the Administrative Agent and the Required Lenders shall have the right from time to time to
           require the Loan Parties and their respective Subsidiaries to keep other insurance in such form and
           amount as the Administrative Agent or the Required Lenders may reasonably request; provided
           that such insurance shall be obtainable on commercially reasonable terms.

           Section 6.11    Casualty Events. Each Loan Party will, and will cause each of its Subsidiaries to,
  furnish to the Credit Parties prompt written notice of (a) each Casualty Event or other insured damage to
  any portion of the Collateral in an amount in excess of $250,000, or (b) the commencement of any action
  or proceeding for the condemnation or other taking of any property or any part thereof or interest therein
  under power of eminent domain or by condemnation or similar proceeding having a value in excess of
  $250,000.

           Section 6.12       Covenant to Guarantee and Provide Security.

                   (a)     Additional Subsidiaries. If any Subsidiary of a Loan Party is formed or acquired
  after the Effective Date, the Borrower Agent will notify the Credit Parties in writing thereof within five
  Business Days following the date on which such Subsidiary is formed or acquired (or such later date as
  may be acceptable to the Administrative Agent in its sole discretion) and, within 30 days of such date (or,
  if in connection with an Acquisition, by such date):

                            (i)     the Loan Parties will cause each such Subsidiary to (A) execute and deliver
           a Subsidiary Joinder Agreement and (B) promptly take such actions to create and perfect Liens on
           such Subsidiary’s assets to secure the Obligations as the Administrative Agent shall reasonably
           request (including the execution and delivery of any collateral document necessary or appropriate
           to create and perfect Liens with respect to such Subsidiary’s owned or leased real property or any
           Collateral Access Agreement or similar document),




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                            (ii)    if any Equity Interests issued by any such Subsidiary are owned or held by
           or on behalf of any Loan Party, the Loan Parties will cause such Equity Interests to be pledged
           pursuant to the Collateral Documents not later than the tenth Business Day after the date on which
           such Subsidiary is formed or acquired, and

                           (iii)    the Loan Parties will deliver or cause to be delivered to the Administrative
           Agent such certificates, instruments and other deliverables as would have been required had such
           Subsidiary been a Guarantor on the Effective Date or as otherwise requested by the Administrative
           Agent.

                       (b)   Further Assurances.

                             (i)     Each Borrower will, and will cause each of the Loan Parties to, grant to
           the Administrative Agent, for the benefit of the Secured Parties, security interests in such of its
           assets and properties as are not covered by the Collateral Documents in order that the Borrowers
           be in compliance with the Collateral and Guarantee Requirement. Such security interests shall (i)
           be granted pursuant to documentation reasonably satisfactory in form and substance to the
           Administrative Agent and (ii) constitute valid and enforceable perfected security interests superior
           to and prior to the rights of all third Persons, and subject to no other Liens, except Liens permitted
           by Section 7.2. Such additional collateral documents and the other instruments related thereto shall
           have been duly recorded or filed in such manner and in such places as are required by law to
           establish, perfect, preserve and protect the Liens in favor of the Administrative Agent required to
           be granted pursuant to such additional collateral documents and all taxes, fees and other charges
           payable in connection therewith shall have been paid in full.

                            (ii)    Each Borrower will, and will cause each of the Loan Parties to, at its own
           expense, make, execute, endorse, acknowledge, file or deliver to the Administrative Agent from
           time to time such vouchers, invoices, schedules, confirmatory assignments, conveyances, financing
           statements, transfer endorsements, powers of attorney, certificates, surveys, reports and other
           assurances or instruments, and take such further steps relating to the Collateral covered by any of
           the Collateral Documents as the Administrative Agent may reasonably require. Each Borrower
           shall cause to be delivered to the Administrative Agent such opinions of counsel and other related
           documents as may be reasonably requested by the Administrative Agent.

                             (iii)    Each action required by this Section 6.12(b) shall be completed as soon as
           possible, but in no event later than 30 days (or such longer period in the case of actions involving
           third parties as determined by the Administrative Agent in its reasonable discretion) after any such
           assets or properties are acquired or such action is requested to be taken by the Administrative Agent,
           as the case may be.

                       (c)   Real Property.

                            (i)    Upon the acquisition by any Loan Party after Effective Date of any
           Material Real Property or if any Real Property becomes Material Real Property, the Borrower
           Agent shall immediately notify the Administrative Agent, setting forth with specificity a
           description of such Material Real Property, including the location thereof, any structures or
           improvements thereon and, as determined by the Administrative Agent in its sole discretion, either
           an appraisal or Borrower Agent’s good faith estimate of the current value of such Material Real
           Property. Within 60 days of the delivery of such notice and unless the Administrative Agent in its
           sole discretion determines not to require a Mortgage on such Material Real Property:



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                                       (A)     the Loan Party that owns such Material Real Property shall have
                       satisfied the Mortgage Requirement, and

                                       (B)     the Borrowers shall, or shall cause such Loan Party to, pay all fees
                       and expenses, including Attorney Costs, and all title insurances charges and premiums, in
                       connection with each Loan Party’s obligations under this Section.

                           (ii)    Notwithstanding the foregoing, no Real Property shall be taken as
           Collateral unless Lenders receive 60 days advance notice and each Lender confirms to the
           Administrative Agent that it has completed all flood due diligence, received copies of all flood
           insurance documentation and confirmed flood insurance compliance as required by the Flood Laws
           or as otherwise satisfactory to such Lender. At any time that any Real Property constitutes
           Collateral, no modification of a Loan Document shall add, increase, renew or extend any loan,
           commitment or credit line hereunder until the completion of flood due diligence, documentation
           and coverage as required by the Flood Laws or as otherwise satisfactory to all Lenders.

           Section 6.13    Environmental Matters. Each Loan Party will, and will cause each of their
  respective Subsidiaries to, (a) conduct its operations in material compliance with all applicable
  Environmental Laws, (b) implement any and all investigation, remediation, removal and response actions
  that either are necessary to materially comply with Environmental Laws pertaining to the presence,
  generation, treatment, storage, use, disposal, transportation or Release of any Hazardous Material on, at,
  under, or from any of their owned or leased property or are requested by any Governmental Authority
  pursuant to Environmental Law, (c) notify the Administrative Agent promptly upon becoming aware of any
  violation of Environmental Laws or any Release of Hazardous Materials on, at, under, or from, any property
  that is reasonably likely to result in an Environmental Claim against any Loan Party or any of its
  Subsidiaries that could reasonably be expected to result in a Material Adverse Effect and promptly forward
  to the Administrative Agent a copy of any written communication received in connection therewith. If the
  Administrative Agent at any time has a reasonable basis to believe that there may be a violation of any
  Environmental Laws or a Release of Hazardous Materials on, at, under, or from any property owned or
  leased by any Loan Party or any of its Subsidiaries in excess of the Threshold Amount, then, subject to
  Section 9.3(d), upon request by the Administrative Agent the Borrowers shall cause such Loan Party to
  permit the Administrative Agent to appoint a nationally-recognized independent environmental testing firm
  or such other consultant as the Administrative Agent shall determine, at the Loan Parties’ expense, to have
  access to all property owned or leased by each Loan Party and each of its Subsidiaries for the purpose of
  conducting such environmental testing, including subsurface sampling of soil and groundwater, as the
  Administrative Agent deems appropriate to investigate the subject of the potential violation or Release.

           Section 6.14        Cash Management.

                    (a)    Maintenance of Controlled Accounts. The Borrowers shall maintain with a
  financial institution acceptable to the Administrative Agent, one or more deposit accounts and related
  lockboxes, for the purpose of receiving payments on Accounts and proceeds of Collateral and in respect of
  which only the Administrative Agent shall have access to withdraw or otherwise direct the disposition of
  the funds on deposit therein (collectively, the “Collections Account”). The Administrative Agent shall have
  control over and a Lien on all funds deposited in the Collections Account and each other Controlled
  Account, for the ratable benefit of Lenders. If requested by the Administrative Agent, the Loan Parties
  shall deliver to the Administrative Agent a Control Agreement in respect of each such deposit account and
  related lockboxes. The Loan Parties shall not maintain any deposit accounts (other than Excluded
  Accounts) which are not Controlled Accounts.




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                    (b)      Collection of Accounts Generally; Proceeds of Collateral. Each Loan Party agrees
  that all invoices rendered and other requests made by any Loan Party for payment in respect of Accounts
  shall contain a written statement directing payment in respect of such Accounts to be paid to the Collections
  Account (or a lockbox associated with the Collections Account). All remittances received by any Loan
  Party in respect of Accounts, together with the proceeds of any other Collateral and all other cash, shall be
  deposited promptly (and in no event more than one Business Day after receipt) in the Collections Account
  and, until so deposited, shall be held in trust for the benefit of the Credit Parties. The Administrative Agent
  retains the right at all times after the occurrence and during the continuance of a Default or an Event of
  Default to notify Account Debtors that the Loan Parties’ Accounts have been assigned to Administrative
  Agent and to collect the Loan Parties’ Accounts directly in its own name, or in the name of the
  Administrative Agent’s agent, and to charge the collection costs and expenses, including attorneys’ fees, to
  the Loan Parties.

           Section 6.15     Borrowing Base Certificates; Collateral Administration.

                   (a)     Borrowing Base Certificates; Account and Inventory Reporting. On the third
  Business Day after (x) the last day of each week and (y) the last day of each month, the Loan Parties shall
  deliver to the Administrative Agent, in form acceptable to the Administrative Agent, a Borrowing Base
  Certificate as of each such last day, with such supporting materials as the Administrative Agent shall
  reasonably request. In addition to the foregoing, the Loan Parties shall deliver to the Administrative Agent,
  in the form reasonably acceptable to the Administrative Agent:

                             (i)      Together with each delivery of each monthly Borrowing Base Certificate,
           (i) reconciliations of the Accounts as shown on the month-end Borrowing Base Certificate for the
           immediately preceding month to the Loan Parties’ accounts receivable agings, to the Loan Parties’
           general ledger and to the Loan Parties’ most recent financial statements, (ii) a reasonably detailed
           aged trial balance of the Accounts, specifying the names, addresses, face values, dates of invoices
           and due dates for each Account Debtor obligated on an Account so listed in a form consistent with
           reports currently prepared by the Loan Parties with respect to such information, (iii) a reasonably
           detailed accounts payable aging, (iv) reporting regarding any funds transferred into the DIP Term
           Loan Proceeds Account from the DIP Term Loan Escrow Account, (v) reconciliations of the Loan
           Parties’ Inventory as shown on the Loan Parties’ perpetual inventory, to the Loan Parties’ general
           ledger and to the Loan Parties’ financial statements, and (vi) Inventory reports in such format and
           detail as the Administrative Agent shall request and which shall include a current list of all locations
           of the Loan Parties’ Inventory, all with supporting materials as the Administrative Agent shall
           reasonably request;

                             (ii)    Each Business Day, prepared as of the end of the most recent Business
           Day, a report listing (A) all Accounts of Borrowers, (B) the amount and age of each Account on an
           original invoice date aging basis, (C) the name of each Account Debtor, (D) all Accounts which do
           not constitute Eligible Accounts, and (E) such other information as the Administrative Agent may
           request; and

                           (iii)   On or before the third Business Day of each week, prepared as of the last
           day of the most recent week, a report listing (A) all Inventory and all Eligible Inventory of
           Borrowers, (B) the cost thereof, (C) raw materials, work-in-process, and finished goods, (D) all
           Inventory which has not been timely sold in the ordinary course of business, and (E) such other
           information as the Administrative Agent may request.

                 (b)     Collateral Reporting Trigger Event. Prior to the occurrence of each Collateral
  Reporting Trigger Event, the Loan Parties shall deliver to the Administrative Agent an updated Borrowing


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  Base Certificate reflecting such Collateral Reporting Trigger Event on a pro forma basis and demonstrating
  that after giving effect to such Collateral Reporting Trigger Event, (A) the Total Revolving Outstandings
  will not exceed the Line Cap and (B) the Borrowers will be in compliance with the applicable financial
  covenant.

                   (c)       Account Verification. The Administrative Agent’s officers, employees or agents
  shall have the right, at any time or times if an Event of Default has occurred and is continuing, in the name
  of the Administrative Agent, any designee of the Administrative Agent or any Loan Party, to verify the
  validity, amount or any other matter relating to any Accounts by mail, telephone, electronic communication
  or otherwise. The Loan Parties shall cooperate fully with the Administrative Agent in an effort to facilitate
  and promptly conclude any such verification process.

                    (d)     Records, Schedules and Assignments of Accounts. The Loan Parties shall keep
  records of their Accounts and all payments and collections thereon, which records shall be complete and
  accurate in all material respects. The Loan Parties shall submit to the Administrative Agent (i) on such
  periodic basis as the Administrative Agent shall reasonably request, a sales and collections report for the
  preceding period, in form acceptable to the Administrative Agent, in its Permitted Discretion, and consistent
  with the reports currently prepared by the Loan Parties with respect to such information and (ii) upon the
  Administrative Agent’s request therefor, copies of proof of delivery and the original copy of all documents,
  including, without limitation, repayment histories and present status reports, relating to the Accounts and
  such other matters and information relating to the status of then existing Accounts as the Administrative
  Agent shall reasonably request. Upon request by the Administrative Agent following the occurrence and
  during the continuation of an Event of Default, the Loan Parties shall execute and deliver to the
  Administrative Agent formal written assignments of all of their Accounts on such periodic basis as the
  Administrative Agent shall request, which shall include all Accounts that have been created since the date
  of the last assignment, together with copies of invoices or invoice registers related thereto.

                  (e)     Administration of Inventory. The Loan Parties shall keep records of their
  Inventory, which records shall be complete and accurate in all material respects. The Loan Parties (or their
  accountants) shall conduct a physical inventory no less frequently than annually and shall provide to
  Administrative Agent a report based on each such physical inventory promptly thereafter, together with
  such supporting information as Administrative Agent shall reasonably request.

                   (f)      Administration of Equipment. The Loan Parties shall keep records of their
  Equipment, which records shall be complete and accurate in all material respects itemizing and describing
  the kind, type, quality, quantity and book value of its Equipment.

                   (g)     Collateral Access Agreements. Any time any Collateral with a book value in
  excess of $50,000 (when aggregated with all other Collateral at the same location) is located on any real
  property of a Loan Party (whether such real property is now existing or acquired after the Effective Date)
  which is not owned by a Loan Party, or is stored on the premises of a bailee, warehouseman, or similar
  party, the Loan Parties shall use commercially reasonable efforts to provide the Administrative Agent with
  a Collateral Access Agreement with respect to such premises. In the event the Loan Parties do not provide
  the Administrative Agent with a Collateral Access Agreement with respect to any such premises, the Loan
  Parties acknowledge that the Administrative Agent may, in the Administrative Agent’s Permitted
  Discretion, (i) not include Inventory at such location as Eligible Inventory or (ii) establish a Reserve for
  such location.

          Section 6.16    Post-Effective Date Obligations. As promptly as practicable, and in any event
  within the time periods after the Effective Date specified in Schedule 6.16 or such later date as the



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  Administrative Agent reasonably agrees to in writing, each Loan Party shall deliver the documents or take
  the actions specified on Schedule 6.16.

           Section 6.17         Approved Budget.

           (a)      The use of proceeds of the Loans and other extensions of credit by the Loan Parties under
  this Agreement and the other Loan Documents shall be limited in accordance with the Approved Budget
  (subject to variances permitted under this Section 6.17) and the terms hereof. The initial Approved Budget
  shall depict, on a weekly basis, cash receipts, operating disbursements, operating cash flow, debt payments,
  bankruptcy related disbursements, net cash flow, beginning and ending cash and debt balances, excess
  availability, total liquidity, borrowing base calculations and the other items set forth therein, for the first
  thirteen (13) week period from the Effective Date and such initial Approved Budget shall be approved by,
  and in form and substance satisfactory to, the Administrative Agent and the Required Lenders (it being
  acknowledged and agreed that the initial Approved Budget attached hereto as Annex A is approved by and
  satisfactory to the Administrative Agent and the Required Lenders). Commencing on July 14, 2022, and
  every Thursday of each week ending thereafter, the Loan Parties shall deliver to Administrative Agent a
  revised proposed budget, and each such updated, modified or supplemented budget shall be approved in
  writing (including by email) by, and shall be in form and substance reasonably satisfactory to, the
  Administrative Agent in its sole discretion and no such updated, modified or supplemented budget shall be
  effective until so approved and once so approved shall be deemed an Approved Budget; provided, however,
  that in the event the Administrative Agent, on the one hand, and the Borrowers, on the other hand, cannot
  agree as to an updated, modified or supplemented budget, such disagreement shall give rise to an Event of
  Default once the period covered by the prior Approved Budget has terminated; provided further, that until
  such time as such proposed budget becomes the Approved Budget, the prior Approved Budget shall
  continue to be the Approved Budget. Each Approved Budget delivered to the Administrative Agent shall
  be accompanied by such supporting documentation as reasonably requested by the Administrative Agent
  and the Required Lenders. Each Approved Budget shall be prepared in good faith based upon assumptions
  which the Borrowers believe to be reasonable at the time made.

         (b)      Commencing with the third calendar week following the Petition Date and for each calendar
  week thereafter, the Borrowers shall not permit:

                 (i)      the variances with respect to the aggregate Actual Operating Disbursement
           Amounts to be greater than:

                              (A)     for the Initial Two Week Disbursements Period, 20%;

                              (B)     for the Initial Three Week Disbursements Period, 20%; and

                              (C)    for the Initial Four Week Disbursements Period and each Four Week
                       Disbursement Period thereafter, 15%; and

                       (ii)   the variances with respect to the Actual Cash Receipts to be greater than:

                              (A)     for the Initial Two Weeks Receipts Period, 15%;

                              (B)     for the Initial Three Week Receipts Period, 15%; and

                               (C)      for the Initial Four Weeks Receipts Period and each Four Week Receipts
                       Period thereafter, 15%.




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           (c)     The Borrowers shall deliver to the Administrative Agent on or before 12:00 p.m. on
  Thursday (or such later time as approved by the Administrative Agent in its sole discretion) of each week,
  commencing on July 7, 2022, a Budget Compliance Certificate and such Budget Compliance Certificate
  shall include such detail as is reasonably satisfactory to the Administrative Agent, signed by a Responsible
  Officer of the Borrower Agent (i) certifying that (A) the Borrowers are in compliance with the covenant
  contained in clause (b) of this Section 6.17 and (B) no Default or Event of Default has occurred or, if such
  a Default or Event of Default has occurred, specifying the nature and extent thereof and any corrective
  action taken or proposed to be taken with respect thereto, and (ii) attaching an Approved Budget Variance
  Report.

           (d)      The Administrative Agent and the Lenders (i) may assume that the Loan Parties will
  comply with the Approved Budget, (ii) shall have no duty to monitor such compliance and (iii) shall not be
  obligated to pay (directly or indirectly from the Collateral) any unpaid expenses incurred or authorized to
  be incurred pursuant to any Approved Budget. The line items in the Approved Budget for payment of
  interest, expenses and other amounts to the Administrative Agent and the Lenders are estimates only, and
  the Loan Parties remain obligated to pay any and all Obligations in accordance with the terms of the Loan
  Documents and the applicable Order regardless of whether such amounts exceed such estimates. Nothing
  in any Approved Budget (including any estimates of a loan balance in excess of borrowing base restrictions)
  shall constitute an amendment or other modification of any Loan Document or any of the borrowing base
  restrictions or other lending limits set forth therein.

          (e)      The Borrowers shall deliver by no later than 12 p.m. on Thursday after the end of each
  calendar week (commencing on the Thursday following the Effective Date), a rolling 13-week cash flow
  forecast for the Loan Parties and their Subsidiaries, commencing with such week, consistent with the form
  and level of detail set forth in the Approved Budget.

          Section 6.18    Required Milestones. The Loan Parties shall comply with each of the covenants
  contained on Schedule 6.18 upon the terms and at the times provided for therein (as such times may be
  extended by the Administrative Agent up to five (5) Business Days, or longer with the consent of the
  Required Lenders).

           Section 6.19      Loan Parties’ Advisors. (a) The Loan Parties shall continue to retain CR3
  Partners, LLC, as financial advisor, and Houlihan Lokey, as investment banker and such additional advisors
  as may be reasonably requested by the Administrative Agent (collectively, the “Loan Party Advisors” and
  each a “Loan Party Advisor”) and on terms and conditions reasonably satisfactory to Administrative Agent.
  The Loan Parties and their representatives will cooperate with any such advisors and consultants (including
  the Loan Party Advisors) and grant them access to the books and records of the Loan Parties. The Loan
  Parties hereby (i) authorize the Administrative Agent (or its agents or advisors) to communicate directly
  with the Loan Party Advisors regarding any and all matters related to the Loan Parties and their Affiliates,
  including, without limitation, all financial reports and projections developed, reviewed or verified by the
  Loan Party Advisors and all additional information, reports and statements reasonably requested by the
  Administrative Agent (provided, that (A) representatives of the Loan Parties shall be given the opportunity
  to participate in any such communications and (B) if an issue is to be discussed or otherwise arises which,
  in the good faith judgment of the Loan Parties, cannot be discussed in the presence of such advisors and
  consultants in order to preserve an attorney-client or accountant-client privilege, then such issue may be
  discussed without such advisor or consultant being present and may be redacted as necessary to preserve
  such privilege from any materials being distributed in connection with such communications), and (ii)
  authorize and direct each Loan Party Advisor to provide the Administrative Agent (or its agents or advisors)
  with copies of reports and other information or materials prepared or reviewed by such Loan Party Advisor
  as the Administrative Agent may reasonably request (in each case, subject to protection as necessary in
  respect of bona fide attorney-client privilege). The Loan Parties shall host periodic telephonic conference


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  calls with the Administrative Agent, the Lenders and the Administrative Agent’s Advisors, if requested by
  the Administrative Agent, to discuss such matters as the Administrative Agent may reasonably request
  (which may include calls with the Loan Party Advisors to discuss the contents of variance reports).
  Notwithstanding anything to the contrary contained in this Section 6.19 or any other provision contained
  herein or in any other Loan Document, none of the Loan Parties will be required to disclose or permit access
  to any document, information or other matter (i) in respect of which disclosure to the Administrative Agent
  or any Lender (or their respective representatives or contractors) is prohibited by law or any binding
  agreement or (ii) that is subject to attorney client or similar privilege or constitutes attorney work product.

          Section 6.20      Administrative Agent’s Advisors. The Administrative Agent, on behalf of itself
  and the Lenders, shall be entitled to retain or to continue to retain (either directly or through counsel) any
  Administrative Agent’s Advisors as it may deem reasonably necessary to provide advice, analysis and
  reporting for the benefit of the Administrative Agent and the Lenders. The Loan Parties shall pay all
  reasonable and documented fees and expenses of each Administrative Agent’s Advisor and all such
  reasonable and documented fees and expenses shall constitute Obligations and be secured by the Collateral.
  The Loan Parties and the Loan Party Advisors shall grant access to, and cooperate with, the Administrative
  Agent, the Lenders, the Administrative Agent’s Advisors, and any other representatives of the foregoing
  and provide all information that such parties may request in a timely manner (subject to the last sentence
  of Section 6.19).

          Section 6.21       Order. Notwithstanding anything herein to the contrary, no portion or proceeds
  of the Loans or the Collateral, and no disbursements set forth in the Approved Budget, shall be used for the
  payments or purposes which would violate the terms of the Order.

          Section 6.22      Debtor-in-Possession Obligations. Comply in a timely manner with its
  obligations and responsibilities as a debtor in possession under the Bankruptcy Code, the Bankruptcy Rules,
  and any other order of the Bankruptcy Court.

          Section 6.23      DIP Term Loan Facilities. The Loan Parties shall keep and maintain the DIP
  Term Loan Agreement in full force and effect and use the proceeds of advances thereunder solely for
  purposes and in amounts set forth in the Approved Budget (subject to variances permitted under Section
  6.17) and as permitted by the DIP Term Loan Agreement, the DIP Term Loan Documents and the Orders.

           Section 6.24      Qualified Bidder; Carve-Out; Challenge Period; Consultation Party.

                  (a)      Wingspire, as the Administrative Agent and Prepetition ABL Agent, shall be
  designated a qualified bidder and be permitted to credit bid on the Prepetition ABL Priority Collateral and
  the DIP ABL Priority Collateral pursuant to section 363(k) of the Bankruptcy Code.

                 (b)     The Carve Out shall be acceptable to the Prepetition ABL Agent, Prepetition ABL
  Lenders, the Administrative Agent and the Lenders.

                  (c)    The Challenge Period (as defined in the Order) shall have a period of no more than
  75 days after the entry of the Interim Order, or with respect to a Committee, if any, 60 days after
  appointment of the Committee.

                  (d)      Subject to the terms of the order approving the Sale Motion (as defined in the
  Interim Order), Wingspire, as the Administrative Agent and Prepetition ABL Agent, shall be designated a
  “consultation party” with respect to the sale process and shall receive copies of all indicative proposals and
  analyses thereof by the Debtors’ advisors.




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                                                  ARTICLE 7

                                          NEGATIVE COVENANTS

  Until the Termination Date, each Loan Party covenants and agrees with the Credit Parties that:

           Section 7.1     Indebtedness; Equity Interests.

                  (a)     The Loan Parties will not, and will not permit any of their Subsidiaries to, create,
  incur, assume or permit to exist any Indebtedness, except:

                           (i)      Indebtedness created under the Loan Documents;

                          (ii)    Indebtedness existing on the Petition Date and set forth in Schedule 7.1,
           and any and any Refinancing Indebtedness with respect thereto;

                            (iii)   Indebtedness of any Borrower or any of its Subsidiaries incurred to finance
           the acquisition, construction or improvement of any fixed or capital assets, including Capitalized
           Lease Obligations and any Indebtedness assumed in connection with the acquisition of any such
           assets or secured by a Lien on any such assets prior to the acquisition thereof, and any Refinancing
           Indebtedness with respect thereto, provided that (A) such Indebtedness (other than Refinancing
           Indebtedness) is incurred prior to or within 20 days after such acquisition or the completion of such
           construction or improvement, and (B) the aggregate outstanding principal amount of such
           Indebtedness permitted under this clause (iii) shall not, without duplication, exceed $2,000,000 at
           any time;

                          (iv)     intercompany Indebtedness of any Borrower or any Subsidiary owing to
           and held by Holdings or any of its Subsidiaries;

                           (v)     Guarantees by any Loan Party of Indebtedness of any other Loan Party,
           provided that such Indebtedness is otherwise permitted by this Section 7.1(a);

                           (vi)     [Reserved];

                            (vii)   Indebtedness arising from the honoring by a bank or other financial
           institution of a check, draft or other similar instrument drawn against insufficient funds in the
           ordinary course of business;

                            (viii) unsecured guarantees arising as a result of customary indemnification
           obligations to purchasers that are not Affiliates of a Loan Party in connection with any Disposition
           permitted by Section 7.5;

                           (ix)    Indebtedness incurred in the ordinary course of business under (A) appeal
           bonds or similar instruments and (B) surety bonds, payment bonds, performance bonds, bid bonds,
           completion guarantees and similar obligations, workers’ compensation claims, health, disability or
           other employee benefits, and bankers acceptances issued for the account of any Loan Party or its
           Subsidiaries and unsecured guarantees thereof;

                           (x)      Indebtedness consisting of the Prepetition Term Loan Obligations, so long
           as such Indebtedness is subject to the Prepetition Intercreditor Agreement;




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                          (xi)     the Indebtedness under the DIP Term Loan Documents in an aggregate
           principal amount outstanding at any time not to exceed the amount thereof approved in the Orders;

                           (xii)   unsecured Indebtedness in an aggregate principal amount not to exceed
           $1,000,000 at any one time outstanding;

                          (xiii)    letters of credit in an aggregate amount at any time outstanding not to
           exceed $2,000,000;

                           (xiv) to the extent constituting Indebtedness, obligations incurred in the
           ordinary course of business for the financing of unpaid insurance premiums;

                            (xv)     Indebtedness incurred in connection with the endorsement of instruments
           for deposit in the ordinary course of business; and

                           (xvi) to the extent constituting Indebtedness, obligations in respect of netting
           services or overdraft protection in connection with deposit or securities accounts in the ordinary
           course of business.

  Notwithstanding any of the foregoing, no Indebtedness permitted under this Section 7.1(a) shall be
  permitted to have an administrative expense claim status under the Bankruptcy Code senior to or pari passu
  with the superpriority administrative expense claims of (A) the Administrative Agent and the Lenders and
  (B) the Prepetition ABL Agent and the Prepetition ABL Lenders, in each case, as set forth herein and in
  the applicable Order, other than (1) solely with respect to Collateral that is not DIP ABL Priority Collateral,
  Indebtedness under the DIP Term Loan Agreement permitted under Section 7.1(a)(xi) and (2) solely with
  respect to Collateral that is not Prepetition ABL Priority Collateral, Indebtedness under the Prepetition
  Term Loan Agreement permitted under Section 7.1(a)(x).
                   (b)     The Loan Parties will not, and will not permit any of their respective Subsidiaries
  to, (i) issue any Disqualified Equity Interests, or (ii) be or become liable in respect of any obligation
  (contingent or otherwise) to purchase, redeem, retire, acquire or make any other payment in respect of any
  Equity Interests of any Loan Party or any of its Subsidiaries, except as permitted under Section 7.8.

          Section 7.2       Liens. The Loan Parties will not, and will not permit any of their respective
  Subsidiaries to, create, incur, assume or permit to exist any Lien on any property or asset now owned or
  hereafter acquired by it, except:

                 (a)     Liens created under the Loan Documents and Liens in favor of the Prepetition ABL
  Agent in connection with the Prepetition ABL Credit Agreement;

                       (b)   Permitted Encumbrances;

                   (c)     any Lien on any property or asset of any Borrower or any Subsidiary existing on
  the Petition Date and (x) that are senior by operation of law or (y) secure Indebtedness of the type specified
  in Section 7.1(a) to the extent permitted under the Prepetition ABL Credit Agreement, and any renewals
  and extensions thereof, provided that (i) the property or asset covered thereby has not changed, and (ii) the
  outstanding principal amount thereof secured by such property or asset does not increase, and (iii) the
  Borrower or Subsidiary liable with respect there to has not changed;

                   (d)       any Lien on fixed or capital assets acquired, constructed or improved by any
  Borrower or any Subsidiary, provided that (i) such Lien secures Indebtedness permitted by
  Section 7.1(a)(iii), (ii) such Lien and the Indebtedness secured thereby are incurred prior to or within 20


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  days after such acquisition or the completion of such construction or improvement, (iii) the Indebtedness
  secured thereby does not exceed the cost of acquiring, constructing or improving such fixed or capital assets
  and (iv) such Lien shall not apply to any other property or assets of Holdings, any Borrower or any
  Subsidiary;

                    (e)     any Lien existing on any property or asset at the time such Person is acquired by,
  merged into or consolidated with any Borrower or any Subsidiary or existing on any property or asset of
  any Person that becomes a Subsidiary after the Effective Date prior to the time such Person becomes a
  Subsidiary, provided that (i) such Lien secures Indebtedness permitted by Sections 7.1(a)(iv) or (xiii), (ii)
  such Lien is not created in contemplation of or in connection with such acquisition or such Person becoming
  a Subsidiary, as applicable, (iii) such Lien shall not apply to any other property or assets of Holdings, any
  Borrower, or any Subsidiary and (iv) such Lien shall secure only the Indebtedness and other obligations
  that it secures on the date of such acquisition or the date such Person becomes a Subsidiary, as applicable,
  and any extensions, renewals and replacements thereof that do not increase the outstanding principal
  amount thereof;

                   (f)     Liens not otherwise permitted by this Section; provided, that (i) such Liens are
  subordinate to the Liens securing the Obligations, (ii) such Liens do not secure Indebtedness for borrowed
  money, and (iii) neither the aggregate outstanding principal amount of the obligations secured thereby nor
  the aggregate fair market value (determined as of the date such Lien is incurred) of the assets subject thereto
  exceeds (as to all Loan Parties) $1,000,000 at any one time outstanding;

                   (g)      Liens securing the Prepetition Term Loan Obligations, so long as such Liens are
  subject to the Prepetition Intercreditor Agreement and the Orders;

                  (h)      Liens on assets securing Indebtedness under the DIP Term Loan Documents, so
  long as such Liens are subject to the Orders; and

                       (i)   The Adequate Protection Liens and Adequate Protection Superpriority Claims.

  The prohibition for in this Section 7.2 specifically includes any effort by any Debtor, an official committee
  in any Chapter 11 Case or any other party in interest in the Chapter 11 Cases, as applicable, to prime or
  create pari passu to any claims, Liens or interests of (A) the Administrative Agent and the Lenders or
  (B) until the indefeasible payment in full in cash of the Prepetition ABL Obligations, the Prepetition ABL
  Agent and the Prepetition ABL Lenders, any Lien, in each case, other than as set forth in the applicable
  Orders and irrespective of whether such claims, Liens or interests may be “adequately protected”.
           Section 7.3       Fundamental Changes; Business; Fiscal Year.

                     (a)      The Loan Parties will not, and will not permit any of their respective Subsidiaries
  to, merge into or consolidate with any other Person, or permit any other Person to merge into or consolidate
  with it, or sell, transfer, lease or otherwise Dispose of (in one transaction or in a series of transactions) all
  or substantially all of its assets, or all or substantially all of the Equity Interests issued by any of its
  Subsidiaries (in each case, whether now owned or hereafter acquired), or liquidate or dissolve or
  consummate a Division, provided that, if at the time thereof and immediately after giving effect thereto, no
  Default or Event of Default shall or would have occurred and be continuing:

                             (i)     any Borrower or any Subsidiary may merge into or consolidate with any
           Person (other than Holdings) in a transaction that is not permitted by Section 7.3(a)(i), provided
           that (A) in the case of a merger involving the Company, the Company shall be the surviving entity
           of such merger, (B) in the case of a merger involving any Borrower (other than the Company), such
           Borrower shall be the surviving entity of such merger, (C) such merger is permitted by Section 7.4


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           and either (1) the Guarantor shall be the surviving entity or (2) such other Person shall become a
           Guarantor pursuant to Section 6.12, and (D) such merger shall not be prohibited by Section 7.5;

                            (ii)    any Guarantor (other than Holdings) may sell, transfer, lease or otherwise
           Dispose of all or substantially all of its assets to any Borrower or to any Guarantor;

                           (iii)    any Borrower or any of their respective Subsidiaries may sell, transfer,
           lease or otherwise Dispose of its assets in a transaction that is not permitted by Section 7.3(a)(iii),
           provided that such sale, transfer, lease or other Disposition is permitted by Section 7.5; and

                             (iv)    any Guarantor (other than Holdings) may liquidate or dissolve so long as
           any remaining assets of such Guarantor are transferred to another Loan Party; provided that, in each
           case, the Borrower Agent determines in good faith that such liquidation or dissolution is in the best
           interests of the Loan Parties and their Subsidiaries and is not disadvantageous to the Administrative
           Agent or any Lender in any material respect.

                   (b)     The Loan Parties will not, and will not permit any of their Subsidiaries to, engage
  to any material extent in any business other than an Approved Line of Business.

                       (c)   The Loan Parties will not, and will not permit any of their Subsidiaries to, change
  its Fiscal Year.

           Section 7.4     Investments, Loans, Advances, Guarantees and Acquisitions. The Loan Parties
  will not, and will not permit any of their Subsidiaries to, purchase, hold or acquire (including pursuant to
  any merger or Division) any Investment except:

                       (a)   Investments in cash and Cash Equivalents;

                       (b)   Investments existing on the Effective Date and set forth in Schedule 5.13 and
  Schedule 7.4;

                (c)     Investments made by Holdings in the Equity Interests of the Company, equity
  Investments made by the Borrowers in the Equity Interests of any Guarantor (other than Holdings) and
  made by any Guarantor (other than Holdings) in the Equity Interests of any other Guarantor (other than
  Holdings);

                   (d)       Investments constituting Indebtedness made by (i) any Loan Party to any
  Subsidiary thereof or (ii) any Subsidiary to any Loan Party or another Subsidiary, in each case subject to
  the limitations set forth in Section 7.1(a)(iv) and (v) and Section 7.15, and are otherwise in accordance with
  the Approved Budget;

                       (e)   Guarantees permitted by Section 7.1(a);

                       (f)   [Reserved];

                       (g)   [Reserved];

                       (h)   Investments to the extent expressly set forth in the Approved Budget;

                  (i)     (i) promissory notes and other non-cash consideration received in connection with
  Dispositions permitted by Section 7.5 and (ii) Investments received in settlement of amounts due to any



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  Loan Party or any of its Subsidiaries effected in the ordinary course of business as a result of insolvency,
  bankruptcy, reorganization, or other similar proceeding involving an Account Debtor;

                  (j)     Investments of any Person existing at the time such Person becomes a Subsidiary
  or consolidates or merges with Borrower, Holdings or any Subsidiary thereof so long as such Investments
  were not made in contemplation of such Person becoming a Subsidiary or of such consolidation or merger;

                   (k)      deposits of cash made in the ordinary course of business to secure performance of
  (i) operating leases and (ii) other contractual obligations that do not constitute Indebtedness;

                   (l)     Investments in negotiable instruments deposited or to be deposited for collection
  in the ordinary course of business;

                   (m)     guaranty obligations in respect of Real Property leases or of other obligations that
  do not constitute Indebtedness, in each case entered into in the ordinary course of business;

                  (n)     Accounts created, acquired or made and trade credit extended in the ordinary
  course of business and payable or dischargeable in accordance with customary trade terms;

               (o)           capital expenditures otherwise permitted hereunder and in accordance with the
  Approved Budget;

                  (p)     Investments received in connection with a Disposition made in accordance with
  the requirements of Section 7.5(m); and

                   (q)     Investments constituting deposits made in connection with the purchase of goods
  or services in the ordinary course of business or otherwise constituting deposits permitted pursuant to (d)
  and (f) of “Permitted Encumbrances”.

  In determining the amount of Investments, acquisitions, loans, and advances permitted under this
  Section 7.4, Investments and acquisitions shall always be taken at the original cost thereof (regardless of
  any subsequent appreciation or depreciation therein), and loans and advances shall be taken at the principal
  amount thereof then remaining unpaid.

          Section 7.5      Dispositions. The Loan Parties will not, and will not permit any of their
  Subsidiaries to, Dispose of any of its assets except:

                   (a)     issuances of Equity Interests (other than Disqualified Equity Interests) by (i) any
  Subsidiary of a Loan Party to a Loan Party or (ii) Holdings to its direct or indirect parent entities, in each
  case subject to the Collateral and Guarantee Requirement and Section 2.5(b);

                       (b)   the sale or lease of inventory in the ordinary course of business;

                  (c)     the use or transfer of money, cash or Cash Equivalents in a manner that is not
  prohibited by the terms of this Agreement or the other Loan Documents and is otherwise in accordance
  with the Approved Budget;

                 (d)      the granting of Liens permitted by Section 7.2, the making of Investments
  permitted by Section 7.4, and the making of Restricted Payments permitted by Section 7.8;




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                  (e)      the licensing and sublicensing on a non-exclusive basis of patents, trademarks,
  copyrights, and other intellectual property rights in the ordinary course of business;

                       (f)   the granting of Liens permitted hereunder and the other transactions permitted by
  Section 7.2;

                       (g)   any Casualty Event and the Disposition of any property subject thereto;

                   (h)      (i) the abandonment, cancellation or lapse of issued patents, registered trademarks
  and other registered intellectual property of a Loan Party or Subsidiary thereof to the extent, in such Loan
  Party’s reasonable business judgment, not economically desirable in the conduct of such Loan Party’s
  business or so long as such lapse is not materially adverse to the interests of the Lenders and (ii) the
  expiration of patents in accordance with their statutory terms;

                     (i)      the sale of assets (other than Equity Interests of any Subsidiary, unless all of the
  Equity Interests of such Subsidiary (other than any Borrower or Holdings) are sold in accordance with this
  clause (i)) for at least fair market value, so long as (A) no Default or Event of Default then exists or would
  immediately result therefrom, (B) at least 75% of the consideration received by the applicable Loan Party
  consists of cash or Cash Equivalents and is paid at the time of the closing of such sale, (C) the net cash
  proceeds therefrom are applied to the repayment of the Obligations and/or reinvested in replacement
  Collateral, (D) the aggregate amount of the cash and non-cash proceeds received from all assets sold
  pursuant to this clause (i) shall not exceed $200,000 in the aggregate in any Fiscal Year (for this purpose,
  using the fair market value of property other than cash and Cash Equivalents) and, (E) such sale is in
  accordance with the Approved Budget;

                       (j)   any trade in of equipment in exchange for other equipment in the ordinary course
  of business;

                       (k)   [Reserved];

                   (l)     the sale, transfer or other disposition of obsolete or worn out tangible personal
  property or Real Property interests which is no longer used or useful in the conduct of business of the Loan
  Parties and their Subsidiaries, including the termination or surrender of any Real Property lease, in each
  case so long as such disposition is made in accordance with the Approved Budget;

                   (m)      the sale, transfer or other disposition of Accounts constituting bad debts in
  connection with the compromise, settlement or collection thereof in the ordinary course of business (and
  not as part of a bulk sale or receivables financing) so long as the proceeds thereof are remitted directly to
  the Administrative Agent at the time of such sale, transfer or other disposition for application to the
  Obligations;

                  (n)     leases or subleases of Real Property or personal property in the ordinary course of
  business and in accordance with the applicable Loan Documents.

           Section 7.6       Sale Leaseback Transactions. The Loan Parties will not, and will not permit any
  of their Subsidiaries to, enter into any Sale Leaseback arrangement, directly or indirectly, with any Person.

          Section 7.7       Swap Agreements. The Loan Parties will not, and will not permit any of their
  Subsidiaries to, enter into any Swap Agreement.




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           Section 7.8      Restricted Payments. The Loan Parties will not, and will not permit any of their
  Subsidiaries to, declare or make, or agree to pay for or make, directly or indirectly, any Restricted Payment,
  or incur any obligation (contingent or otherwise) to do so, except:

                   (a)   subject to the Collateral and Guarantee Requirement, any Subsidiary of Holdings
  may declare and pay, and agree to pay, dividends and other distributions with respect to its Equity Interests
  payable solely in common Equity Interests (other than Disqualified Equity Interests), and

                    (b)     any Subsidiary of Holdings may declare and pay dividends or other distributions
  with respect to its Equity Interests to any direct or indirect parent that is a Loan Party (other than Holdings).

           Section 7.9      Transactions with Affiliates. The Loan Parties will not, and will not permit any of
  their Subsidiaries to, Dispose (including pursuant to a merger or Division) of any property or assets to, or
  purchase, lease or otherwise acquire (including pursuant to a merger or Division) any property or assets
  from, or otherwise engage in any other transactions with, any of its Affiliates, except transactions in the
  ordinary course of business and at prices and on terms and conditions not less favorable to such Loan Party
  or such Subsidiary than could be obtained on an arm’s-length basis from unrelated third parties (it being
  understood that this Section shall not apply to any transaction that is expressly permitted under Sections 7.1,
  7.3, 7.4, 7.5, or 7.8 between or among the Loan Parties and not involving any other Affiliate).

           Section 7.10     Restrictive Agreements. The Loan Parties will not, and will not permit any of their
  Subsidiaries to, directly or indirectly, enter into, incur or permit to exist any agreement or other arrangement
  that prohibits, restricts or imposes any condition upon (a) the ability of any Loan Party or any of its
  Subsidiaries to create, incur or permit to exist any Lien upon any of its property or assets (unless such
  agreement or arrangement does not prohibit, restrict or impose any condition upon the ability of any Loan
  Party to create, incur or permit to exist, or the ability of the Administrative Agent to exercise any right or
  remedy with respect to, any Lien in favor of the Secured Parties created under the Loan Documents) or (b)
  the ability of any Subsidiary to pay dividends or make other distributions with respect to any of its Equity
  Interests or to make or repay loans or advances to the Borrowers or any other Subsidiary or to Guarantee
  Indebtedness of the Borrowers or any other Subsidiary, provided that (i) the foregoing shall not apply to
  (A) restrictions and conditions imposed by law or by the Loan Documents, the Prepetition ABL Loan
  Documents, the DIP Term Loan Documents, and the Prepetition Term Loan Documents; (B) restrictions
  and conditions existing on the Effective Date identified on Schedule 7.10 (but shall apply to any extension
  or renewal of, or any amendment or modification expanding the scope of, any such restriction or condition),
  and (C) customary restrictions on assignment in leases and other contracts.

           Section 7.11     Amendments of Organizational Documents and Certain Material Agreements.

                  (a)     The Loan Parties will not, and will not permit any of their Subsidiaries to, amend,
  supplement, modify the DIP Term Loan Documents or the Prepetition Term Loan Documents except to the
  extent permitted under the Prepetition Intercreditor Agreement and the Orders, respectively.

                   (b)     The Loan Parties will not, and will not permit any of their Subsidiaries to, amend,
  supplement, modify or waive any of its rights under any of its Organizational Documents, other than
  immaterial amendments, modifications or waivers that could not reasonably be expected to adversely affect
  the Credit Parties or the Loan Parties, provided that the Borrower Agent shall deliver or cause to be
  delivered to the Administrative Agent and each Lender a copy of all amendments, modifications or waivers
  thereto promptly after the execution and delivery thereof.




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           Section 7.12   [Reserved].

          Section 7.13      Payments on Certain Debt. The Loan Parties will not, and will not permit any of
  their Subsidiaries to, declare or make, or agree to pay for or make, directly or indirectly, (a) any payment
  of principal or interest or any purchase, redemption, retirement, acquisition or defeasance with respect to
  any Indebtedness of such Person which is subordinated to the payment of the Obligations except that the
  Company, or any Subsidiary may make payments of Subordinated Indebtedness to the extent permitted by
  the subordination provisions applicable thereto or (b) payments on Indebtedness for borrowed money prior
  to the due date under the agreement evidencing such Indebtedness as in effect on the Petition Date (or as
  amended thereafter with the consent of the Administrative Agent), other than:

                          (i)      payments in respect of the Obligations;

                            (ii)     regularly scheduled or mandatory payments, redemptions or defeasances
           of Indebtedness under the (A) DIP Term Loan Facility in accordance with the DIP Term Loan
           Documents and the Orders made in accordance with the Approved Budget, or (B) the Prepetition
           Term Loan documents and the Prepetition ABL Loan Documents in accordance with the
           Prepetition Intercreditor Agreement and made in accordance with the Approved Budget; and

                          (iii)   regularly scheduled or mandatory prepayments, redemptions or
           defeasances of other Indebtedness permitted under Section 7.1(a) made in accordance with the
           Approved Budget.

  Without limiting any other provision hereof, except pursuant to the Approved Budget, without express prior
  written consent of the Administrative Agent and pursuant to an order of the Bankruptcy Court (including
  any Order) after notice and a hearing, no Loan Party shall make any payment or transfer with respect to any
  Lien or Indebtedness incurred or arising prior to the Petition Date that is subject to the automatic stay
  provisions of the Bankruptcy Court whether by way of “adequate protection” under the Bankruptcy Code
  or otherwise.

           Section 7.14    Hazardous Materials. The Loan Parties will not, and will not permit any of their
  Subsidiaries or agents to, cause or permit a Release or threat of Release of Hazardous Materials on, at, in,
  above, to, from or about any of the property where such Release or threat of Release would (a) violate, or
  form the basis for any Environmental Claims under, any Environmental Law or any Environmental Permit
  or (b) otherwise adversely impact the value or marketability of any property of any Loan Party or any of its
  Subsidiaries or any of the Collateral, other than such Release, violation or Environmental Claim as could
  not reasonably be expected to result in a material Environmental Liability.

           Section 7.15     Additional Covenants Applicable to Holdings. Holdings shall not (a) incur,
  directly or indirectly, any Indebtedness or any other obligation or liability whatsoever other than the
  Indebtedness incurred under the Loan Documents, the Prepetition ABL Loan Documents, the DIP Term
  Loan Documents, and the Prepetition Term Loan Documents; (b) create or suffer to exist any Lien upon
  any property or assets now owned or hereafter acquired by it other than Liens permitted under Section 7.2
  of this Agreement; (c) engage in any business or activity or own any assets other than (i) holding 100% of
  the Equity Interests of the Company; (ii) performing its obligations and activities incidental thereto under
  the Loan Documents; (iii) making Restricted Payments and Investments to the extent permitted by this
  Agreement; (iv) maintenance of its legal existence (including the ability to incur fees, costs and expenses
  relating to such maintenance); (v) participating in tax and other administrative matters as a member of the
  consolidated group of Holdings, Company, and Company’s Subsidiaries, in the ordinary course of business;
  (vi) holding any cash incidental to any activities permitted under this Section 7.15, in the ordinary course
  of business; (vii) providing indemnification to officers, managers, and directors, in the ordinary course of


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  business; and (viii) activities and undertakings performed directly in furtherance of the foregoing;
  (d) consolidate with or merge with or into, or convey, transfer, divide, allocate or lease all or substantially
  all its assets to, any Person; (e) sell or otherwise dispose of any Equity Interests of any of its Subsidiaries;
  (f) create or acquire any Subsidiary or make or own any Investment in any Person other than Company; or
  (g) fail to hold itself out to the public as a legal entity separate and distinct from all other Persons.

           Section 7.16    Reclamation Claims. Except as set forth in the Approved Budget, no Loan Party
  shall enter into any agreement to return any of its Inventory to any of its creditors for application against
  any Prepetition Indebtedness, Prepetition trade payables or other Prepetition claims under section 546(c) of
  the Bankruptcy Code or allow any creditor to take any setoff or recoupment against any of its Prepetition
  Indebtedness, Prepetition trade payables or other Prepetition claims based upon any such return pursuant to
  section 553(b)(1) of the Bankruptcy Code or otherwise.

           Section 7.17     Insolvency Proceeding Claims. No Loan Party shall incur, create, assume, suffer
  to exist or permit any other superpriority administrative claim which is pari passu with or senior to the claim
  of the Administrative Agent or the Lenders against the Debtors, except as set forth in the applicable Order.

           Section 7.18     Bankruptcy Actions. No Loan Party shall seek, consent to, or permit to exist,
  without the prior written consent of the Administrative Agent, any order granting authority to take any
  action that is prohibited by the terms of this Agreement, the Order or the other Loan Documents or refrain
  from taking any action that is required to be taken by the terms of this Agreement, the Order or any of the
  other Loan Documents.

          Section 7.19    Subrogation. No Loan Party shall assert any right of subrogation or contribution
  against any other Loan Party.

                                                   ARTICLE 8

                                            EVENTS OF DEFAULT

          Section 8.1       Events of Default. Notwithstanding the provisions of section 362 of the
  Bankruptcy Code, and without notice, application or motion, hearing before, or order of the Bankruptcy
  Court or any notice to any Loan Party, any of the following shall constitute an Event of Default:

                    (a)      Non-Payment of Principal or Interest. Any Loan Party shall fail to pay any
  principal of, or interest on, any Loan when and as the same shall become due and payable, whether at the
  due date thereof or at a date fixed for prepayment thereof or otherwise.

                    (b)    Other Non-Payment. Any Loan Party shall fail to pay any fee, commission or any
  other amount (other than an amount referred to in clause (a) of this Section) payable under any Loan
  Document, when and as the same shall become due and payable, and such failure shall continue unremedied
  for a period of three Business Days.

                   (c)   Representations and Warranties. Any representation or warranty made or deemed
  made by or on behalf of any Loan Party or any of its Subsidiaries in or in connection with any Loan
  Document, or in any report, certificate, financial statement or other document furnished pursuant to or in
  connection with any Loan Document (including, without limitation, any Approved Budget Variance Report,
  Borrowing Base Certificate, or Budget Compliance Certificate), shall prove to have been incorrect in any
  material respect when made or deemed made.




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                   (d)     Specific Covenants. Any Loan Party shall fail to observe or perform any covenant,
  condition or agreement contained in Sections 6.1, 6.2(a), 6.3, 6.7, 6.8, 6.10, 6.12, 6.14, 6.15, 6.16, 6.17,
  6.18, 6.19, 6.20, 6.21, 6.22, 6.23, or 6.24, in Article 7 or any Loan Party shall fail to observe or perform
  any covenant, condition or agreement contained in any Collateral Document to which it is a party.

                  (e)       Other Covenants. Any Loan Party shall fail to observe or perform any covenant,
  condition or agreement contained in any Loan Document to which it is a party (other than those specified
  in Section 8.1(a), (b) or (d)), and such failure shall continue unremedied for a period of 30 days after the
  occurrence thereof.

                  (f)     Cross Default - Payment Default on Material Indebtedness. Except for defaults
  occasioned by the filing of the Chapter 11 Cases or entry into this Agreement and the DIP Term Loan
  Agreement or resulting from obligations with respect to which the Bankruptcy Code prohibits any Loan
  Party or Subsidiary from complying or permits any Loan Party not to comply, any Loan Party shall fail to
  make any payment (whether of principal, interest or otherwise and regardless of amount) in respect of the
  DIP Term Loan Facility, the Prepetition Term Loan Obligations or any other Material Indebtedness when
  and as the same shall become due and payable (after giving effect to any applicable grace period).

                   (g)      Other Cross-Defaults. Except for defaults occasioned by the filing of the Chapter
  11 Cases or entry into this Agreement and the DIP Term Loan Agreement or resulting from obligations
  with respect to which the Bankruptcy Code prohibits any Loan Party or Subsidiary from complying or
  permits any Loan Party not to comply, any event or condition occurs that results in the DIP Term Loan
  Facility, the Prepetition Term Loan Obligations or any other Material Indebtedness becoming due prior to
  its scheduled maturity or payment date, or that enables or permits (with or without the giving of notice, the
  lapse of time or both) the holder or holders of the Indebtedness arising under the DIP Term Loan Agreement
  or any such Material Indebtedness or any trustee or agent on its or their behalf to cause the Term Loan
  Indebtedness or any such Material Indebtedness to become due prior to their scheduled maturity or payment
  date or to require the prepayment, repurchase, redemption or defeasance thereof prior to their scheduled
  maturity or payment date (in each case after giving effect to any applicable notice and any applicable cure
  period).

                  (h)       Judgments. One or more (i) non-monetary judgments which could, individually
  or in the aggregate, reasonably be expected to have a Material Adverse Effect, or (ii) judgments for the
  payment of money in an aggregate amount in excess of the Threshold Amount, shall be rendered against
  any Loan Party or any of its Subsidiaries or any combination thereof (which shall not be fully covered
  (without taking into account any applicable deductibles) by insurance from an unaffiliated insurance
  company with an A.M. Best financial strength rating of at least A-, it being understood that even if such
  amounts are covered by insurance from such an insurance company, such amounts shall count against such
  basket if responsibility for such amounts has been denied by such insurance company) and the same shall
  remain undischarged or unbonded for a period of 30 consecutive days during which execution shall not be
  stayed pursuant to section 362 of the Bankruptcy Code.

                   (i)     ERISA Events. (i) An ERISA Event shall have occurred that, in the opinion of the
  Required Lenders, when taken together with all other ERISA Events that have occurred, could reasonably
  be expected to result in liability of any Loan Party or any of its Subsidiaries (or in the case of an ERISA
  Event described in subsection (b) of the definition of that term in Section 1.1, could reasonably be expected
  to subject any Loan Party, any of its Subsidiaries, any Pension Plan, any trust created thereunder, any trustee
  or administrator thereof, or any party dealing with any Pension Plan or trust to a tax or penalty on
  “prohibited transactions” under Section 502 of ERISA or Section 4975 of the Code) in an aggregate amount
  exceeding the Threshold Amount, individually or in the aggregate, (ii) an ERISA Event shall occur with
  respect to a Pension Plan or Multiemployer Plan that constitutes grounds for appointment of a trustee for


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  or termination by the PBGC of any Pension Plan or Multiemployer Plan; (iii) a Loan Party or ERISA
  Affiliate shall fail to pay when due any installment payment with respect to its withdrawal liability under
  Section 4201 of ERISA under a Multiemployer Plan; or (iv) any event similar to the foregoing shall occur
  or exist with respect to a Foreign Plan; or (v) there shall be at any time a Lien imposed against the assets of
  any Loan Party or ERISA Affiliate under Section 412 or Section 430 of the Code or Sections 302,
  Section 303, or Section 4068 of ERISA.

                   (j)    Invalidity of Loan Documents. Any Loan Document or Prepetition ABL Loan
  Document shall cease, for any reason, to be in full force and effect, or any Loan Party shall so assert in
  writing or shall disavow any of its obligations thereunder.

                   (k)      Guarantees. The Loan Guaranty hereunder or the “Loan Guaranty” under (and
  defined in) the Prepetition ABL Credit Agreement shall fail to remain in full force or effect or any action
  shall be taken to discontinue or to assert the invalidity or unenforceability of the Loan Guaranty hereunder
  or thereunder, or any Guarantor shall fail to comply with any of the terms or provisions of the Loan
  Guaranty hereunder or thereunder, or any Guarantor shall deny that it has any further liability under the
  Loan Guaranty hereunder or thereunder or shall give notice to such effect, including, but not limited to
  notice of termination delivered pursuant to Article 11 hereof or under the Prepetition ABL Credit
  Agreement.

                   (l)    Liens. Any Lien purported to be created under any Collateral Document or under
  the Prepetition ABL Loan Documents shall cease to be, or shall be asserted by any Loan Party not to be, a
  valid and perfected Lien on any material portion of the Collateral, with the priority required by the
  applicable Collateral Document or Prepetition ABL Loan Document, except as a result of the sale or other
  disposition of the applicable Collateral in a transaction permitted under the Loan Documents and the
  Prepetition ABL Loan Documents.

                  (m)     Licenses. There shall occur the loss, suspension or revocation of, or failure to
  renew any license or permit now held or hereafter acquired if such loss, suspension, revocation or failure
  to renew could reasonably be expected to have a Material Adverse Effect.

                       (n)   Change of Control. A Change of Control shall occur.

                  (o)    Cessation of Business. There shall occur a cessation of a substantial part of the
  business of any Loan Party which could reasonably be expected to have a Material Adverse Effect.

                  (p)     Criminal Forfeiture. Any Loan Party shall be criminally indicted or convicted
  under any law that could lead to a forfeiture of any property of any Loan Party.

                    (q)    Invalidity of Subordination Provisions. The subordination provisions of any
  agreement or instrument governing any Subordinated Indebtedness shall for any reason be revoked or
  invalidated, or otherwise cease to be in full force and effect, or any Loan Party shall contest in any manner
  the validity or enforceability thereof or deny that it has any further liability or obligation thereunder, or the
  Obligations for any reason shall not have the priority contemplated by this Agreement or such subordination
  provisions.

                   (r)      Invalidity of Intercreditor Provisions. The provisions of the Prepetition
  Intercreditor Agreement shall for any reason be revoked or invalidated, or otherwise cease to be in full force
  and effect, or any Loan Party shall contest in any manner the validity or enforceability thereof or deny that
  it has any further liability or obligation thereunder, or the Obligations for any reason shall not have the
  priority contemplated by this Agreement or such intercreditor provisions.


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                  (s)     DIP Funding. If the DIP Term Loan Lenders fail to fund any loans or credit
  extensions under the DIP Term Loan Facility, or the DIP Term Loan Agent fails to release any funds to the
  Borrowers, in each case, following a request therefor by any Borrower and after satisfying each of the
  conditions precedent for such loan or credit extension.

                       (t)   Chapter 11 Defaults. The occurrence of any of the following in the Chapter 11
  Cases:

                            (i)     the bringing of a motion, taking of any action or the filing of any plan of
           reorganization or disclosure statement attendant thereto by any of the Loan Parties or any
           Subsidiary, or any Person claiming by or through any Loan Party or any Subsidiary, in the Chapter
           11 Cases: (A) to obtain additional financing under section 364(c) or section 364(d) of the
           Bankruptcy Code not otherwise permitted pursuant to this Agreement; (B) to grant any Lien other
           than Liens permitted pursuant to Section 7.2 upon or affecting any Collateral; (C) except as
           provided in the Interim Order or the Final Order, as the case may be, to use cash collateral of the
           Administrative Agent and the other Secured Parties under section 363(c) of the Bankruptcy Code
           without the prior written consent of the Administrative Agent; or (D) any other action or actions
           materially adverse to the Administrative Agent and the Lenders or their rights and remedies
           hereunder, under any other Loan Document, or their interest in the Collateral;

                            (ii)     (A) the filing of any plan of reorganization or disclosure statement
           attendant thereto, or any direct or indirect amendment to such plan or disclosure statement, by a
           Loan Party that does not propose to indefeasibly repay in full in cash the Obligations under this
           Agreement. or by any other Person to which the Administrative Agent and the Required Lenders
           do not consent, or any of the Loan Parties or their Subsidiaries, to seek, support or fail to contest in
           good faith the filing or confirmation of any such plan or entry of any such order, (B) the entry of
           any order terminating any Loan Party’s exclusive right to file a plan of reorganization, or (C) the
           expiration of any Loan Party’s exclusive right to file a plan of reorganization;

                           (iii)    the entry of an order in any of the Chapter 11 Cases confirming a plan of
           reorganization that (A) is not reasonably acceptable to the Administrative Agent and the Required
           Lenders, or (B) does not contain a provision for termination of the commitments and indefeasible
           repayment in full in cash of all of the Obligations under this Agreement on or before the effective
           date of such plan of reorganization;

                           (iv)      (A) the entry of an order amending, supplementing, staying, vacating or
           otherwise modifying the Loan Documents or the Interim Order or the Final Order without the
           written consent of the Administrative Agent and the Required Lenders or the filing of a motion by
           the Loan Parties or their Affiliates for reconsideration with respect to the Interim Order or the Final
           Order without the prior written consent of the Administrative Agent, or the Interim Order or the
           Final Order shall otherwise not be in full force and effect without the prior written consent of the
           Administrative Agent and the Required Lenders or (B) any Loan Party or any Subsidiary shall fail
           to comply with any Order in any material respect;

                          (v)      the payment of, or application for authority to pay, any Prepetition claim
           without the Administrative Agent’s prior written consent unless in accordance with the Approved
           Budget or pursuant to an order of the Bankruptcy Court;

                        (vi)    the allowance of any claim or claims under section 506(c) of the
           Bankruptcy Code or otherwise against the Administrative Agent, any Lender or any of the
           Collateral;


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                            (vii)    (A) the appointment of an interim or permanent trustee in the Chapter 11
           Cases or the appointment of a trustee receiver or an examiner in the Chapter 11 Cases with
           expanded powers to operate or manage the financial affairs, the business, or reorganization of the
           Loan Parties; or (B) the sale without the Administrative Agent’s and the Required Lenders’ consent
           of all or substantially all of the Debtors’ assets either through a sale under section 363 of the
           Bankruptcy Code, through a confirmed plan of reorganization in the Chapter 11 Cases or otherwise
           that does not result in payment in full in cash of all of the Obligations under this Agreement at the
           closing of such sale or initial payment of the purchase price or effectiveness of such plan, as
           applicable;

                            (viii) the dismissal of any Chapter 11 Case, or the conversion of any Chapter 11
           Case from one under chapter 11 to one under chapter 7 of the Bankruptcy Code or any Loan Party
           shall file a motion or other pleading seeking the dismissal of the Chapter 11 Cases under section
           1112 of the Bankruptcy Code or otherwise or the conversion of the Chapter 11 Cases to chapter 7
           of the Bankruptcy Code in each case, without the prior written consent of the Administrative Agent;

                              (ix)    any Loan Party shall file a motion seeking, or the Bankruptcy Court shall
           enter an order granting, relief from or modifying the Automatic Stay (A) to allow any creditor
           (other than the Administrative Agent) to execute upon or enforce a Lien on any Collateral not
           approved by the Administrative Agent, (B) approving any settlement or other stipulation not
           approved by the Administrative Agent with any secured creditor of any Loan Party providing for
           payments as adequate protection or otherwise to such secured creditor, (C) with respect to any Lien
           on or the granting of any Lien on any Collateral not approved by the Administrative Agent to any
           federal, state or local environmental or regulatory agency or authority, which in either case involves
           a claim that could have a Material Adverse Effect on the Debtors or their estates or (D) permit other
           actions that could have a Material Adverse Effect on the Debtors or their estates;

                             (x)      the commencement of a suit or an action (but not including a motion for
           standing to commence a suit or an action) against the Administrative Agent or any Lender and, as
           to any suit or action brought by any Person other than a Loan Party or a Subsidiary, officer or
           employee of a Loan Party, the continuation thereof without dismissal for twenty (20) days after
           service thereof on the Administrative Agent or such Lender, that asserts or seeks by or on behalf
           of a Loan Party, any state or federal environmental protection or health and safety agency, any
           official committee in any Chapter 11 Case or any other party in interest in any Chapter 11 Cases, a
           claim or any legal or equitable remedy that would (A) have the effect of invalidating, subordinating
           or challenging any or all of the Obligations or Liens of the Administrative Agent or any Lender
           under the Loan Documents to any other claim, or (B) have a material adverse effect on the rights
           and remedies of the Administrative Agent or any Lender under any Loan Document or the
           collectability of all or any portion of the Obligations;

                          (xi)    the entry of an order in the Chapter 11 Cases avoiding or permitting
           recovery of any portion of the payments made on account of the Obligations owing under this
           Agreement or any other Loan Document or Prepetition ABL Loan Document;

                            (xii)   the failure of any Loan Party to perform any of its material obligations
           under, or the occurrence of an event of default under or as defined in, the Interim Order or the Final
           Order;

                          (xiii) the existence of any claims or charges, or the entry of any order of the
           Bankruptcy Court authorizing any claims or charges, other than in respect of this Agreement and
           the other Loan Documents, the DIP Term Loan Documents, or as otherwise permitted under the


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           applicable Loan Documents or permitted under the Orders, entitled to superpriority administrative
           expense claim status in any Chapter 11 Case pursuant to section 364(c)(1) of the Bankruptcy Code
           pari passu with or senior to the claims of the Administrative Agent and the Secured Parties under
           this Agreement and the other Loan Documents, or there shall arise or be granted by the Bankruptcy
           Court (A) any claim having priority over any or all administrative expenses of the kind specified
           in clause (b) of section 503 or clause (b) of section 507 of the Bankruptcy Code or (B) any Lien on
           the Collateral having a priority senior to or pari passu with the Liens and security interests granted
           herein, except, in each case, as expressly provided in the Loan Documents or in the Orders then in
           effect (but only in the event specifically consented to by the Administrative Agent and the Required
           Lenders);

                             (xiv) the Orders shall cease to create a valid and perfected Lien on the Collateral
           or to be in full force and effect, shall have been reversed, modified, amended, stayed, vacated, or
           subject to stay pending appeal, in the case of modification or amendment, without prior written
           consent of the Administrative Agent and the Required Lenders;

                           (xv)     an order in the Chapter 11 Cases shall be entered charging any of the
           Collateral under section 506(c) of the Bankruptcy Code against the Administrative Agent and the
           Secured Parties, or the commencement of any other action that is materially adverse to the
           Administrative Agent, the Secured Parties or their respective rights and remedies under the Loan
           Documents in any of the Chapter 11 Cases or inconsistent with any of the Loan Documents;

                            (xvi) if the Final Order does not include a waiver, in form and substance
           satisfactory to the Administrative Agent, of the right to surcharge the Collateral under section
           506(c) of the Bankruptcy Code;

                            (xvii) without the Administrative Agent’s and the Required Lenders’ prior
           written consent, an order of the Bankruptcy Court shall be entered denying or terminating use of
           cash collateral by the Loan Parties;

                           (xviii) an order materially adversely impacting the rights and interests of the
           Administrative Agent and the Lenders, as determined by the Administrative Agent or the Required
           Lenders, shall have been entered by the Bankruptcy Court;

                         (xix) any Loan Party shall challenge, support or encourage a challenge of any
           payments made to the Administrative Agent or any Lender with respect to the Obligations;

                            (xx)    without the Administrative Agent’s prior written consent, the entry of any
           order by the Bankruptcy Court granting, or the filing by any Loan Party or any of its Subsidiaries
           of any motion or other request with the Bankruptcy Court (in each case, other than the Orders and
           motions seeking entry thereof or permitted amendments or modifications thereto) seeking,
           authority to use any cash proceeds of any of the Collateral without the Administrative Agent’s prior
           written consent or to obtain any financing under section 364 of the Bankruptcy Code other than the
           financing under the Loan Documents and the DIP Term Loan Documents without the
           Administrative Agent’s prior written consent;

                          (xxi) any Loan Party or any Person on behalf of any Loan Party shall file any
           motion seeking authority to consummate a sale of assets of the Loan Parties or the Collateral to the
           extent having a value in excess of $100,000 outside the ordinary course of business and not
           otherwise permitted hereunder (including under the Approved Budget) and without the
           Administrative Agent’s prior written consent;


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                             (xxii) any Loan Party shall make any payment (whether by way of adequate
           protection or otherwise) of principal or interest or otherwise on account of any Prepetition
           Indebtedness or payables other than payments (A) in respect of accrued payroll and related
           expenses as of the commencement of the Chapter 11 Cases, (B) in respect of certain creditors as
           may be reasonably acceptable to the Administrative Agent and (C) permitted under this Agreement,
           in each case, to the extent authorized or required by one or more “first day” or “second day” orders
           or any of the Orders (or other orders with the consent of the Administrative Agent) and consistent
           with the Approved Budget;

                            (xxiii) if an order of the Bankruptcy Court shall be entered providing for a change
           of venue with respect to any of the Chapter 11 Cases and such order shall not be reversed or vacated
           within ten (10) days;

                           (xxiv) any Loan Party or any Subsidiary thereof shall file any motion or other
           request with the Bankruptcy Court seeking (A) to grant or impose, under section 364 of the
           Bankruptcy Code or otherwise, liens or security interests in any DIP Collateral (as defined in the
           Orders), whether senior, equal or subordinate to the Administrative Agent’s or the DIP Term Loan
           Agent’s liens and security interests; or (B) to modify or affect any of the rights of the Administrative
           Agent, the Lenders, the DIP Term Loan Agent or the DIP Term Loan Lenders under any Order,
           any Loan Document or any DIP Term Loan Document by any plan of reorganization confirmed in
           the Chapter 11 Cases or subsequent order entered in the Chapter 11 Cases;

                            (xxv) any Loan Party or any Subsidiary thereof shall take any action in support
           of any matter set forth in this Section 8.1(s) or any other Person shall do so and such application is
           not contested in good faith by the Loan Parties and the relief requested is granted in an order that
           is not stayed pending appeal;

                            (xxvi) the engagement of the Loan Party Advisors shall cease to be in full force
           and effect for a period of five (5) Business Days without a replacement being appointed on terms
           and conditions (including scope of authority) acceptable to the Administrative Agent;

                           (xxvii) the assertion by any of the Loan Parties in any pleading filed in any court
           that any material provision of the Interim Order or the Final Order is not valid and binding for any
           reason;

                           (xxviii) any material provision of the Interim Order, the Final Order, or any other
           order of the Bankruptcy Court approving the use of cash collateral ceases to be valid and binding,
           without the Administrative Agent’s prior consent; or

                             (xxix) the occurrence of a DIP Termination Event (as defined in the Orders).

          Section 8.2       Remedies Upon Event of Default. If any Event of Default occurs and is continuing,
  subject to the Orders and the terms thereof and notwithstanding the provisions of section 362 of the
  Bankruptcy Code and without notice, application or motion, hearing before, or order to the Bankruptcy
  Court, then, and in every such event, and at any time thereafter during the continuance of such event, the
  Administrative Agent may, and at the request of the Required Lenders shall, by five (5) Business Days’
  notice to the Borrower Agent, take either or both of the following actions (whether before or after the
  Effective Date), at the same or different times:

                       (a)   terminate the Commitments, and thereupon the Commitments shall terminate
  immediately;


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                   (b)      declare the Loans then outstanding to be due and payable in whole (or in part, in
  which case any principal not so declared to be due and payable may thereafter be declared to be due and
  payable), and thereupon the principal of the Loans so declared to be due and payable, together with accrued
  interest thereon and all fees and other obligations of each Loan Party accrued under the Loan Documents,
  shall become due and payable immediately, without presentment, demand, protest or other notice of any
  kind, all of which are hereby waived by each Loan Party;

                 (c)     declare that the application of the Carve Out has occurred through the delivery of
  a Carve Out Trigger Notice (as defined in the Orders) to the Borrower Agent;

                   (d)     subject to the Remedies Notice Period, direct any or all of the Loan Parties to sell
  or otherwise dispose of any or all of the Collateral (subject to the Orders) on terms and conditions acceptable
  to the Administrative Agent pursuant to section 363, section 365 and other applicable provisions of the
  Bankruptcy Code (and, without limiting the foregoing, direct any Loan Party to assume and assign any
  lease or executory contract included in the Collateral (subject to the Orders) to the Administrative Agent’s
  designees in accordance with and subject to section 365 of the Bankruptcy Code);

                   (e)       subject to the Remedies Notice Period, (i) exercise on behalf of itself and the
  Secured Parties all rights and remedies available to it and the Secured Parties under the Loan Documents
  or applicable law or (ii) take any and all actions described in the Orders, including, without limitation, those
  actions specified in the Orders; and/or

                  (f)     exercise on behalf of itself and the Lenders all rights and remedies available to it
  and the Lenders under the Loan Documents or applicable law.

  At any hearing during the Remedies Notice Period to contest the enforcement of remedies, the only issue
  that may be raised by any party in opposition thereto shall be whether, in fact, an Event of Default has
  occurred, and the Loan Parties hereby waive their right to and shall not be entitled to seek relief, including,
  without limitation, under section 105 of the Bankruptcy Code, to the extent that such relief would in way
  impair or restrict the rights and remedies of the Administrative Agent or the Secured Parties, as set forth in
  this Agreement, the applicable Order or other Loan Documents.

           Subject to the Orders, the automatic stay of section 362 of the Bankruptcy Code shall be modified
  and vacated to permit the Administrative Agent and the Lenders to exercise all rights and remedies under
  this Agreement, the other Loan Documents or applicable law, without further notice, motion or application
  to, hearing before, or order from, the Bankruptcy Court.

           The Administrative Agent (together with its agents, representatives and designees) is hereby
  granted an irrevocable, non-exclusive license or other right to use, license or sub-license (without payment
  of royalty or other compensation to any Person) any or all Intellectual Property of the Loan Parties,
  computer hardware and software, trade secrets, brochures, customer lists, promotional and advertising
  materials, labels, packaging materials and other property, in advertising for sale, marketing, selling,
  collecting, completing manufacture of, or otherwise exercising any rights or remedies with respect to, any
  Collateral, in each case, after the occurrence and during the continuance of an Event of Default, subject to
  the rights, remedies and priorities of the DIP Term Loan Agent under the Orders. The Administrative Agent
  (together with its agents, representatives and designees) is hereby granted a non-exclusive right to have
  access to, and a rent-free right to use, any and all owned or leased locations (including, without limitation,
  warehouse locations and distribution centers) for the purpose of arranging for and effecting the sale or
  disposition of Collateral, subject to the Orders, including the production, completion, packaging and other
  preparation of such Collateral for sale or disposition, and to engage in bulk sales of Collateral, which rights
  shall be subject to the Orders. It is further understood and agreed that the Administrative Agent and its


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  representatives (and persons employed on their behalf) may continue to operate, service, maintain, process
  and sell the Collateral, subject to the Orders. Upon the occurrence and the continuance of an Event of
  Default and the exercise by the Administrative Agent or Lenders of their rights and remedies under this
  Agreement and the other Loan Documents, the Loan Parties shall assist the Administrative Agent and
  Lenders in effecting a sale or other disposition of the Collateral upon such terms as are reasonably
  acceptable to the Administrative Agent, subject to the Orders.

           Section 8.3    Application of Funds. After the exercise of remedies provided for in Section 8.2
  (or after the Loans have automatically become immediately due and payable), any amounts received on
  account of the Obligations shall be applied by the Administrative Agent in the following order:

                  First, to the payment of that portion of the Obligations constituting fees, indemnities,
           expenses and other amounts (including fees, charges and disbursements of counsel to the
           Administrative Agent and amounts payable under Article 3), in each case payable to the
           Administrative Agent in its capacity as such;

                    Second, to the extent of any excess of such proceeds, to the payment of that portion of the
           Obligations constituting fees, indemnities and other amounts, payable to the Credit Parties
           (including fees, charges and disbursements of counsel to the respective Credit Parties and amounts
           payable under Article 3), ratably among them in proportion to the respective amounts described in
           this clause Second payable to them;

                   Third, to the extent of any excess of such proceeds, to the payment of that portion of the
           Obligations constituting accrued and unpaid interest on the Loans and other Obligations, ratably
           among the Credit Parties in proportion to the respective amounts described in this clause Third
           payable to them;

                   Fourth, to the extent of any excess of such proceeds, to the payment of that portion of the
           Obligations constituting unpaid principal of the Loans, ratably among the Secured Parties in
           proportion to the respective amounts described in this clause Fourth held by them;

                    Fifth, to the extent of any excess of such proceeds, to the payment of all other Obligations
           that are due and payable to the Secured Parties or any other holder of Obligations, or any of them,
           on such date, ratably based on the respective aggregate amounts of all such Obligations owing to
           the Secured Parties on such date; and

                   Last, to the extent of any excess of such proceeds, the balance, if any, after all of the
           Obligations have been paid in full, to the Borrowers or as otherwise required by law.

          Notwithstanding anything to the contrary set forth above, Excluded Swap Obligations with respect
  to any Guarantor shall not be paid with amounts received from such Guarantor or its assets, but appropriate
  adjustments shall be made with respect to payments from other Loan Parties to preserve the allocation to
  Obligations otherwise set forth above in this Section.

                                                  ARTICLE 9

                                      THE ADMINISTRATIVE AGENT

          Section 9.1      Appointment and Authority. Each of the Lenders hereby irrevocably appoints
  Wingspire to act on its behalf as the Administrative Agent hereunder and under the other Loan Documents
  and authorizes the Administrative Agent to take such actions on its behalf and to exercise such powers as


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  are delegated to the Administrative Agent by the terms hereof or thereof, together with such actions and
  powers as are reasonably incidental thereto. Without limiting the generality of the foregoing, each Lender
  hereby authorizes the Administrative Agent to consent, on behalf of each Lender, to the Interim Order and
  the Final Order, each to be negotiated between the Loan Parties, the Administrative Agent, certain other
  parties and any statutory committees appointed pursuant to sections 327 and 1103 of the Bankruptcy Code.
  The provisions of this Article are solely for the benefit of the Administrative Agent and the Lenders, and
  neither any Borrower nor any other Loan Party shall have rights as a third-party beneficiary of any of such
  provisions. It is understood and agreed that the use of the term “agent” herein or in any other Loan
  Documents (or any other similar term) with reference to the Administrative Agent is not intended to connote
  any fiduciary or other implied (or express) obligations arising under agency doctrine of any applicable law.
  Instead such term is used as a matter of market custom, and is intended to create or reflect only an
  administrative relationship between contracting parties.

           Section 9.2     Rights as a Lender. The Person serving as the Administrative Agent hereunder
  shall have the same rights and powers in its capacity as a Lender as any other Lender and may exercise the
  same as though it were not the Administrative Agent, and the term “Lender” or “Lenders” shall, unless
  otherwise expressly indicated or unless the context otherwise requires, include the Person serving as the
  Administrative Agent hereunder in its individual capacity. Such Person and its Affiliates may accept
  deposits from, lend money to, own securities of, act as the financial advisor or in any other advisory capacity
  for, and generally engage in any kind of business with, Holdings or any Subsidiary or other Affiliate thereof
  as if such Person were not the Administrative Agent hereunder and without any duty to account therefor to
  the Lenders.

           Section 9.3     Exculpatory Provisions.

                   (a)      The Administrative Agent shall not have any duties or obligations except those
  expressly set forth herein and in the other Loan Documents, and its duties hereunder shall be administrative
  in nature. Without limiting the generality of the foregoing, the Administrative Agent:

                          (i)     shall not be subject to any fiduciary or other implied duties, regardless of
           whether a Default or Event of Default has occurred and is continuing;

                           (ii)     shall not have any duty to take any discretionary action or exercise any
           discretionary powers, except discretionary rights and powers expressly contemplated hereby or by
           the other Loan Documents that the Administrative Agent is required to exercise as directed in
           writing by the Required Lenders (or such other number or percentage of the Lenders as shall be
           expressly provided for herein or in the other Loan Documents); provided that the Administrative
           Agent shall not be required to take any action that, in its opinion or the opinion of its counsel, may
           expose the Administrative Agent to liability or that is contrary to any Loan Document or applicable
           law, including for the avoidance of doubt any action that may be in violation of the automatic stay
           under any Debtor Relief Law or that may effect a forfeiture, modification or termination of property
           of a Defaulting Lender in violation of any Debtor Relief Law; and

                           (iii)    shall not, except as expressly set forth herein and in the other Loan
           Documents, have any duty to disclose, and shall not be liable for the failure to disclose, any
           information relating to Holdings or any of its Affiliates that is communicated to or obtained by the
           Person serving as the Administrative Agent or any of its Affiliates in any capacity.

                    (b)      The Administrative Agent shall not be liable for any action taken or not taken by
  it (i) with the consent or at the request of the Required Lenders (or such other number or percentage of the
  Lenders as shall be necessary, or as the Administrative Agent shall believe in good faith shall be necessary,


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  under the circumstances as provided in Section 8.2 and Section 10.2), or (ii) in the absence of its own gross
  negligence or willful misconduct as determined by a court of competent jurisdiction by final and non-
  appealable judgment. The Administrative Agent shall be deemed not to have knowledge of any Default or
  Event of Default unless and until notice describing such Default or Event of Default is given to the
  Administrative Agent in writing by the Borrower Agent or a Lender.

                    (c)      The Administrative Agent shall not be responsible for or have any duty to ascertain
  or inquire into (i) any statement, warranty or representation made in or in connection with this Agreement
  or any other Loan Document, (ii) the contents of any certificate, report or other document delivered
  hereunder or thereunder or in connection herewith or therewith, (iii) the performance or observance of any
  of the covenants, agreements or other terms or conditions set forth herein or therein or the occurrence of
  any Default or Event of Default, (iv) the validity, enforceability, effectiveness or genuineness of this
  Agreement, any other Loan Document or any other agreement, instrument or document, or (v) the
  satisfaction of any condition set forth in Article 4 or elsewhere herein, other than to confirm receipt of items
  expressly required to be delivered to the Administrative Agent.

                  (d)      The Administrative Agent shall not be responsible or have any liability for, or have
  any duty to investigate a violation or potential violation of an Environmental Law or a Release or threat of
  Release of a Hazardous Material pursuant to Section 6.13, nor shall it have any liability for any action it
  takes or does not take in connection with any such investigation.

            Section 9.4      Reliance by Administrative Agent. The Administrative Agent shall be entitled to
  rely upon, and shall not incur any liability for relying upon, any notice, request, certificate, consent,
  statement, instrument, document or other writing (including any electronic message, Internet or intranet
  website posting or other distribution) believed by it to be genuine and to have been signed, sent or otherwise
  authenticated by the proper Person. The Administrative Agent also may rely upon any statement made to
  it orally or by telephone and believed by it to have been made by the proper Person and shall not incur any
  liability for relying thereon. In determining compliance with any condition hereunder to the making of a
  Loan, that by its terms must be fulfilled to the satisfaction of a Lender, the Administrative Agent may
  presume that such condition is satisfactory to such Lender unless the Administrative Agent shall have
  received notice to the contrary from such Lender prior to the making of such Loan. The Administrative
  Agent may consult with legal counsel (who may be counsel for the Loan Parties), independent accountants
  and other experts selected by it, and shall not be liable for any action taken or not taken by it in accordance
  with the advice of any such counsel, accountants or experts.

           Section 9.5       Delegation of Duties. The Administrative Agent may perform any and all of its
  duties and exercise its rights and powers hereunder or under any other Loan Document by or through any
  one or more sub-agents appointed by the Administrative Agent. The Administrative Agent and any such
  sub-agent may perform any and all of its duties and exercise its rights and powers by or through their
  respective Related Parties. The exculpatory provisions of this Article shall apply to any such sub-agent and
  to the Related Parties of the Administrative Agent and any such sub-agent, and shall apply to their respective
  activities in connection with the syndication of this Agreement as well as activities as Administrative Agent.
  The Administrative Agent shall not be responsible for the negligence or misconduct of any sub-agents
  except to the extent that a court of competent jurisdiction determines in a final and non-appealable judgment
  that the Administrative Agent acted with gross negligence or willful misconduct in the selection of such
  sub-agents.

           Section 9.6     Resignation of Administrative Agent.

                 (a)    The Administrative Agent may at any time give notice of its resignation to the
  Lenders and the Borrower Agent. Upon receipt of any such notice of resignation, the Required Lenders


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  shall have the right, in consultation with the Borrower Agent, to appoint a successor, which shall be a bank
  with an office in New York, New York, or an Affiliate of any such bank with an office in New York, New
  York. If no such successor shall have been so appointed by the Required Lenders and shall have accepted
  such appointment within 30 days after the retiring Administrative Agent gives notice of its resignation (or
  such earlier day as shall be agreed by the Required Lenders) (the “Resignation Effective Date”), then the
  retiring Administrative Agent may (but shall not be obligated to), on behalf of the Lenders, appoint a
  successor Administrative Agent meeting the qualifications set forth above, provided that in no event shall
  any such successor Administrative Agent be a Defaulting Lender. Whether or not a successor has been
  appointed, such resignation shall become effective in accordance with such notice on the Resignation
  Effective Date.

                   (b)      If the Person serving as Administrative Agent is a Defaulting Lender pursuant to
  clause (d) of the definition thereof, the Required Lenders may, to the extent permitted by applicable law,
  by notice in writing to the Borrower Agent and such Person remove such Person as Administrative Agent
  and, in consultation with the Borrower Agent, appoint a successor. If no such successor shall have been so
  appointed by the Required Lenders and shall have accepted such appointment within 30 days (or such
  earlier day as shall be agreed by the Required Lenders) (the “Removal Effective Date”), then such removal
  shall nonetheless become effective in accordance with such notice on the Removal Effective Date.

                   (c)      With effect from the Resignation Effective Date or the Removal Effective Date (as
  applicable) (i) the retiring or removed Administrative Agent shall be discharged from its duties and
  obligations hereunder and under the other Loan Documents (except that in the case of any collateral security
  held by the Administrative Agent on behalf of the Lenders under any of the Loan Documents, the retiring
  or removed Administrative Agent shall continue to hold such collateral security until such time as a
  successor Administrative Agent is appointed) and (ii) except for any indemnity payments owed to the
  retiring or removed Administrative Agent, all payments, communications and determinations provided to
  be made by, to or through the Administrative Agent shall instead be made by or to each Lender directly,
  until such time, if any, as the Required Lenders appoint a successor Administrative Agent as provided for
  above. Upon the acceptance of a successor’s appointment as Administrative Agent hereunder, such
  successor shall succeed to and become vested with all of the rights, powers, privileges and duties of the
  retiring or removed Administrative Agent (other than any rights to indemnity payments owed to the retiring
  or removed Administrative Agent), and the retiring or removed Administrative Agent shall be discharged
  from all of its duties and obligations hereunder or under the other Loan Documents. The fees payable by
  the Borrowers to a successor Administrative Agent shall be the same as those payable to its predecessor
  unless otherwise agreed between the Borrowers and such successor. After the retiring or removed
  Administrative Agent’s resignation or removal hereunder and under the other Loan Documents, the
  provisions of this Article and Section 10.3 shall continue in effect for the benefit of such retiring or removed
  Administrative Agent, its sub-agents and their respective Related Parties in respect of any actions taken or
  omitted to be taken by any of them while the retiring or removed Administrative Agent was acting as
  Administrative Agent.

          Section 9.7     Non-Reliance on Administrative Agent and Other Lenders. Each Lender
  acknowledges that it has, independently and without reliance upon the Administrative Agent or any other
  Lender or any of their Related Parties and based on such documents and information as it has deemed
  appropriate, made its own credit analysis and decision to enter into this Agreement. Each Lender also
  acknowledges that it will, independently and without reliance upon the Administrative Agent or any other
  Lender or any of their Related Parties and based on such documents and information as it shall from time
  to time deem appropriate, continue to make its own decisions in taking or not taking action under or based
  upon this Agreement, any other Loan Document or any related agreement or any document furnished
  hereunder or thereunder.



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           Section 9.8    No Other Duties, Etc. Anything herein to the contrary notwithstanding, no agent
  listed on the cover page hereof shall have any powers, duties or responsibilities under this Agreement or
  any of the other Loan Documents, except in its capacity, as applicable, as the Administrative Agent, a
  Lender hereunder.

           Section 9.9      [Reserved].

           Section 9.10     Collateral and Guarantee Matters.

                    (a)     The Secured Parties irrevocably authorize the Administrative Agent, at its option
  and in its discretion,

                            (i)      to release any Lien on any property granted to or held by the
           Administrative Agent under any Loan Document (A) at the Termination Date, (B) that is sold or
           otherwise Disposed of or to be sold or otherwise Disposed of as part of or in connection with any
           sale or other Disposition permitted under the Loan Documents (including all of the Collateral of a
           Guarantor which is released from its obligations under the Loan Documents pursuant to clause (iii)
           below); provided, however, any sale or Disposition of all or substantially all of the Collateral or all
           or substantially all of the value of the Guarantees under the Loan Guaranty shall be subject to
           Section 10.2(b), or (C) subject to Section 10.2, if approved, authorized or ratified in writing by the
           Required Lenders;

                          (ii)     to subordinate any Lien on any property granted to or held by the
           Administrative Agent under any Loan Document to the holder of any Lien on such property that is
           permitted by Section 7.2(d); and

                            (iii)   to release any Guarantor from its obligations under the Loan Documents
           if such Person ceases to be a Subsidiary as a result of a transaction permitted under the Loan
           Documents, provided, however, that the release of all or substantially all of the Collateral or all or
           substantially all of the value of the Guarantees under the Loan Guaranty shall be subject to
           Section 10.2(b).

  Upon request by the Administrative Agent at any time, the Required Lenders will confirm in writing the
  Administrative Agent’s authority to release or subordinate its interest in particular types or items of
  property, or to release any Guarantor from its obligations under the Loan Documents pursuant to this
  Section 9.10.

                    (b)     The Administrative Agent shall not be responsible for or have a duty to ascertain
  or inquire into any representation or warranty regarding the existence, value or collectability of the
  Collateral, the existence, priority or perfection of the Administrative Agent’s Lien thereon, or any certificate
  prepared by any Loan Party in connection therewith, nor shall the Administrative Agent be responsible or
  liable to the Lenders for any failure to monitor or maintain any portion of the Collateral.

                                                   ARTICLE 10

                                               MISCELLANEOUS

           Section 10.1     Notices.

                  (a)     Notices Generally. Except in the case of notices and other communications
  expressly permitted to be given by telephone (and except as provided in paragraph (b) below), all notices



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  and other communications provided for herein shall be in writing and shall be delivered by hand or
  overnight courier service, mailed by certified or registered mail or sent by facsimile as follows:

                           (i)      if to any Loan Party:

                                    c/o Corsicana Bedding, LLC
                                    1420 W. Mockingbird Lane, Suite 800
                                    Dallas, TX 75247
                                    Attn: Eric Rhea
                                    E-mail: erhea@corsicanamattress.com
                                    with copy to (which shall not constitute notice):
                                    Haynes and Boone, LLP
                                    2323 Victory Avenue, Suite 700
                                    Dallas, TX 75220
                                    Attn: Steve Pezanosky
                                    E-mail: steve.pezanosky@haynesboone.com

                           (ii)     the Administrative Agent:

                                    Wingspire Capital LLC
                                    Deerfield Corporate Center
                                    13010 Morris Road
                                    Building One, Suite 175
                                    Alpharetta, GA 30004
                                    Attn: Corsicana Bedding Loan Administration
                                    E-mail: jolsen@wingspirecapital.com

                                    with copy to (which shall not constitute notice):

                                    McGuireWoods LLP
                                    1251 Avenue of the Americas, 20th Floor
                                    New York, NY 10020-1104
                                    Attn: Brian Swett, Shawn Fox and Demetra Liggins
                                    E-mail: bswett@mcguirewoods.com, sfox@mcguirewoods.com,
                                    DLiggins@mcguirewoods.com

                             (iii)  if to any other Credit Party, the address or electronic mail address number
           specified in its Administrative Questionnaire.

  Notices sent by hand or overnight courier service, or mailed by certified or registered mail, shall be deemed
  to have been given when received; notices sent by facsimile shall be deemed to have been given when sent
  (except that, if not given during normal business hours for the recipient, shall be deemed to have been given
  at the opening of business on the next Business Day for the recipient). Notices delivered through electronic
  communications to the extent provided in paragraph (b) below, shall be effective as provided in said
  paragraph (b).

                   (b)     Electronic Communications. The Administrative Agent and each of its Affiliates
  is authorized to transmit, post or otherwise make or communicate, in its sole discretion (but shall not be
  required to do so), by Approved Electronic Communications in connection with this Agreement or any


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  other Loan Document and the transactions contemplated therein. The Administrative Agent is hereby
  authorized to establish procedures to provide access to and to make available or deliver, or to accept,
  notices, documents and similar items by posting to ABLSoft. All uses of ABLSoft and other Approved
  Electronic Communications shall be governed by and subject to, in addition to the terms of this Agreement,
  the separate terms, conditions and privacy policy posted or referenced in such system (or such terms,
  conditions and privacy policy as may be updated from time to time, including on such system) and any
  related contractual obligations executed by the Administrative Agent and Loan Parties in connection with
  the use of such system. Each of the Loan Parties and the Administrative Agent hereby acknowledges and
  agrees that the use of ABLSoft and other Approved Electronic Communications is not necessarily secure
  and that there are risks associated with such use, including risks of interception, disclosure and abuse and
  each indicates it assumes and accepts such risks by hereby authorizing the Administrative Agent and each
  of its Affiliates to transmit Approved Electronic Communications. ABLSoft and all Approved Electronic
  Communications shall be provided “as is” and “as available”. None of the Administrative Agent or any of
  its Affiliates or related persons warrants the accuracy, adequacy or completeness of ABLSoft or any other
  electronic platform or electronic transmission and disclaims all liability for errors or omissions therein. No
  warranty of any kind is made by the Administrative Agent or any of its Affiliates or related persons in
  connection with ABLSoft or any other electronic platform or electronic transmission, including any
  warranty of merchantability, fitness for a particular purpose, non-infringement of third-party rights or
  freedom from viruses or other code defects. Each of Borrower and each other Loan Party executing this
  Agreement agrees that the Administrative Agent has no responsibility for maintaining or providing any
  equipment, software, services or any testing required in connection with ABLSoft, any Approved Electronic
  Communication or otherwise required for ABLSoft or any Approved Electronic Communication. No
  Approved Electronic Communications shall be denied legal effect merely because it is made electronically.
  Approved Electronic Communications that are not readily capable of bearing either a signature or a
  reproduction of a signature may be signed, and shall be deemed signed, by attaching to, or logically
  associating with such Approved Electronic Communication, an E-Signature, upon which the
  Administrative Agent and the Loan Parties may rely and assume the authenticity thereof. Each Approved
  Electronic Communication containing a signature, a reproduction of a signature or an E-Signature shall, for
  all intents and purposes, have the same effect and weight as a signed paper original. Each E-Signature shall
  be deemed sufficient to satisfy any requirement for a “signature” and each Approved Electronic
  Communication shall be deemed sufficient to satisfy any requirement for a “writing”, in each case including
  pursuant to this Agreement, any other Loan Document, the UCC, the Uniform Electronic Transactions Act,
  the Electronic Signatures in Global and National Commerce Act and any substantive or procedural law
  governing such subject matter. Each party or beneficiary hereto agrees not to contest the validity or
  enforceability of an Approved Electronic Communication or E-Signature under the provisions of any
  applicable law requiring certain documents to be in writing or signed; provided, that nothing herein shall
  limit such party’s or beneficiary’s right to contest whether an Approved Electronic Communication or E-
  Signature has been altered after transmission.

                  (c)     Change of Address, Etc. Any party hereto may change its address or facsimile
  number for notices and other communications hereunder by notice to the other parties hereto.

           Section 10.2    Waivers; Amendments.

                    (a)     No failure or delay by any Credit Party in exercising any right or power under any
  Loan Document shall operate as a waiver thereof, nor shall any single or partial exercise of any such right
  or power, or any abandonment or discontinuance of steps to enforce such a right or power, preclude any
  other or further exercise thereof or the exercise of any other right or power. The rights and remedies of the
  Credit Parties under the Loan Documents are cumulative and are not exclusive of any rights or remedies
  that they would otherwise have. No waiver of any provision of any Loan Document or consent to any
  departure by any Loan Party therefrom shall in any event be effective unless the same shall be permitted


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  by paragraph (b) of this Section, and then such waiver or consent shall be effective only in the specific
  instance and for the purpose for which given. Without limiting the generality of the foregoing, the making
  of a Loan shall not be construed as a waiver of any Default or Event of Default, regardless of whether any
  Credit Party may have had notice or knowledge of such Default or Event of Default at the time.

                   (b)     Except as expressly provided by Section 2.8 Section 3.3(b), or in the other
  paragraphs of this Section 10.2, neither this Agreement, any other Loan Document (other than the Fee
  Letter) nor any provision thereof may be waived, amended or modified except pursuant to an agreement or
  agreements in writing entered into by the Loan Parties and the Required Lenders, or by the Borrowers and
  the Administrative Agent with the consent of the Required Lenders; provided that no such agreement shall:

                            (i)    extend or increase any Commitment of any Lender without the written
           consent of such Lender (it being understood that a waiver of any condition precedent set forth in
           Article 4 or the waiver of any Default or Event of Default shall not constitute an extension or
           increase of any Commitment of any Lender);

                             (ii)     reduce the principal amount of any Loan or reduce the rate of any interest,
           or reduce any fees or other amounts, payable under the Loan Documents, without the written
           consent of each Credit Party directly and adversely affected thereby; provided that only the consent
           of the Required Lenders shall be necessary to amend or modify the definition of “Default Rate” or
           to waive any obligation of the Borrowers to pay interest at the Default Rate, in each case,
           notwithstanding the fact that any such amendment or modification actually results in reduction in
           the rate of interest or fees;

                           (iii)    postpone any date scheduled for any payment of principal of, or interest
           on, any Loan, or any fees or other amounts payable hereunder or under any other Loan Document,
           or reduce the amount of, waive or excuse any such payment, or postpone the stated termination or
           expiration of the Revolving Commitments or reduce the amount of or postpone the date of any
           prepayment required by Section 2.5(b) without the written consent of each Credit Party directly
           and adversely affected thereby;

                            (iv)    except as provided in subsection (c) below change any provision hereof in
           a manner that would alter the pro rata sharing of payments required by Section 2.6(b) or the pro
           rata reduction of Revolving Commitments required by Section 2.3(d), without the written consent
           of each Credit Party directly and adversely affected thereby;

                           (v)    change any of the provisions of this Section or the definition of the terms
           “Required Lenders” or any other provision hereof specifying the number or percentage of Lenders
           required to waive, amend or modify any rights hereunder or make any determination or grant any
           consent hereunder;

                         (vi)     change the currency in which any Commitment or Loan is, or is to be,
           denominated without the written consent of each Lender directly affected thereby;

                            (vii)  release any Guarantor from its Guarantee under the Loan Guaranty (except
           as expressly provided therein or in Section 9.10), or limit its liability in respect of such Guarantee,
           without the written consent of each Lender;

                            (viii) release all or substantially all of the Collateral from the Liens of the Loan
           Documents (except as expressly provided in the applicable Collateral Document or in connection
           with a transaction permitted by Section 7.3), without the consent of each Lender; or


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                           (ix)     make any modification to the definition of the term “Borrowing Base” (or
           any defined term used in the definition of “Borrowing Base”) which would have the effect of
           increasing the availability thereunder to the Loan Parties (other than changes in Reserves
           implemented by the Administrative Agent in accordance with the terms of this Agreement), without
           the written consent of each Lender;

  provided, further, that no such amendment, waiver or consent shall amend, modify or otherwise affect the
  rights or duties hereunder or under any other Loan Document of the Administrative Agent, unless in writing
  executed by the Administrative Agent, in addition to the Borrowers and the Lenders required above.

                   (c)     Notwithstanding anything herein to the contrary, no Defaulting Lender shall have
  any right to approve or disapprove any amendment, waiver or consent hereunder (and any amendment,
  waiver or consent that by its terms requires the consent of all the Lenders or each affected Lender may be
  effected with the consent of the applicable Lenders other than Defaulting Lenders), except that (x) the
  Commitment of any Defaulting Lender may not be increased or extended, or the maturity of any of its Loan
  may not be extended, the rate of interest on any of its Loans may not be reduced and the principal amount
  of any of its Loans may not be forgiven, in each case without the consent of such Defaulting Lender and
  (y) any amendment, waiver or consent requiring the consent of all the Lenders or each affected Lender that
  by its terms affects any Defaulting Lender more adversely than the other affected Lenders shall require the
  consent of such Defaulting Lender.

                  (d)    In addition, notwithstanding anything in this Section to the contrary, if the
  Administrative Agent and the Borrowers shall have jointly identified an obvious error or any error or
  omission of a technical nature, in each case, in any provision of the Loan Documents, then the
  Administrative Agent and the Borrowers shall be permitted to amend such provision, and, in each case,
  such amendment shall become effective without any further action or consent of any other party to any
  Loan Document if the same is not objected to in writing by the Required Lenders to the Administrative
  Agent within ten Business Days following receipt of notice thereof.

           Section 10.3    Expenses; Indemnity; Damage Waiver.

                   (a)     Costs and Expenses. The Loan Parties, jointly and severally, shall pay all
  reasonable out-of-pocket expenses incurred by the Administrative Agent and its Affiliates in connection
  with this Agreement and the other Loan Documents, the Interim Order, the Final Order and any transaction
  contemplated thereby (whether or not the transactions contemplated hereby or thereby shall be
  consummated) and any refinancing of the obligations hereunder or any “exit financing” requested by the
  Loan Parties in connection with the Chapter 11 Cases or Successor Cases (whether or not the transactions
  contemplated hereby or thereby shall be consummated), including all (i) reasonable fees, charges and
  disbursements of all Administrative Agent Advisors (other than Attorney Costs), (ii) reasonable out-of-
  pocket costs and expenses in connection with field examinations, appraisals and insurance reviews
  (including reasonable fees charged by a third party retained by the Administrative Agent);
  (iii) environmental site assessments; (iv) all reasonable out-of-pocket expenses incurred by the
  Administrative Agent and its Affiliates (including Attorney Costs of one counsel for the Administrative
  Agent) in connection with the syndication of the credit facilities provided for herein, the preparation,
  negotiation, execution, delivery and administration of this Agreement and the other Loan Documents or
  any amendments, modifications or waivers of the provisions hereof or thereof (whether or not the
  transactions contemplated hereby or thereby shall be consummated) and (vi) all out-of-pocket expenses
  incurred by the Administrative Agent or any Credit Party (including Attorney Costs of the Administrative
  Agent or any Credit Party), in connection with the enforcement or protection of its rights (whether through
  negotiations, legal proceedings or otherwise) (A) in connection with this Agreement and the other Loan
  Documents, including its rights under this Section, or (B) in connection with the Loans made hereunder,


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  including all such out-of-pocket expenses incurred during any workout, restructuring or negotiations in
  respect of such Loans.

                   (b)      Indemnification by Loan Parties. The Loan Parties, jointly and severally, shall
  indemnify the Administrative Agent (and any sub-agent thereof), each Credit Party, and each Related Party
  of any of the foregoing Persons (each such Person being called an “Indemnitee”) against, and hold each
  Indemnitee harmless from, any and all losses, claims, damages, liabilities and related expenses (including
  Attorney Costs), incurred by any Indemnitee or asserted against any Indemnitee by any third party or by
  any Loan Party arising out of, in connection with, or as a result of (i) the execution or delivery of this
  Agreement, any other Loan Document or any agreement or instrument contemplated hereby or thereby, the
  performance by the parties hereto of their respective obligations hereunder or thereunder or the
  consummation of the transactions contemplated hereby or thereby, (ii) any Loan or the use or proposed use
  of the proceeds therefrom, (iii) any actual or alleged presence or Release of Hazardous Materials at, on,
  under or from any property owned or operated by any Loan Party or any of its Subsidiaries, or any
  Environmental Claim or Environmental Liability related in any way to any Loan Party or any of its
  Subsidiaries, (iv) any actual or prospective claim, litigation, investigation or proceeding relating to any of
  the foregoing, whether based on contract, tort or any other theory, whether brought by a third party or by
  any Loan Party, and regardless of whether any Indemnitee is a party thereto or (v) any government
  investigation, audit, hearing or enforcement action resulting from any Loan Party’s or any of its Affiliate’s
  noncompliance (or purported noncompliance) with any applicable Sanctions, other Anti-Terrorism Laws
  or Anti-Corruption Laws (it being understood and agreed that the Indemnitees shall be entitled to
  indemnification pursuant to this clause (including indemnification for fines, penalties and other expenses)
  regardless of whether any adverse finding is made against any Loan Party or any of its Affiliates), provided
  that such indemnity shall not, as to any Indemnitee, be available to the extent that such losses, claims,
  damages, liabilities or related expenses (x) are determined by a court of competent jurisdiction by final and
  non-appealable judgment to have resulted from the gross negligence or willful misconduct of such
  Indemnitee or (y) result from a claim brought by any Loan Party against an Indemnitee for breach in bad
  faith of such Indemnitee’s obligations hereunder or under any other Loan Document, if such Loan Party
  has obtained a final and non-appealable judgment in its favor on such claim as determined by a court of
  competent jurisdiction. To the extent that the indemnity set forth above in this paragraph shall be held to
  be unenforceable in whole or in part because it is violative of any law or public policy, the Loan Parties
  shall contribute the maximum portion that it is permitted to pay and satisfy under applicable law to the
  payment and satisfaction of all indemnified amounts incurred by Indemnitees or any of them. Paragraph
  (b) of this Section shall not apply with respect to Taxes other than Taxes that represent losses, claims,
  damages, etc. arising from any non-Tax claim.

                   (c)      Reimbursement by Lenders. To the extent that the Loan Parties for any reason fail
  to indefeasibly pay any amount required under paragraph (a) or (b) of this Section to be paid by it to the
  Administrative Agent (or any sub-agent thereof) or any Related Party, each Lender severally agrees to pay
  to the Administrative Agent (or any such sub-agent) or such Related Party, as the case may be, such
  Lender’s pro rata share (determined as of the time that the applicable unreimbursed expense or indemnity
  payment is sought based on each Lender’s share of the Total Credit Exposure at such time) of such unpaid
  amount (including any such unpaid amount in respect of a claim asserted by such Lender); provided, that
  the unreimbursed expense or indemnified loss, claim, damage, liability or related expense, as the case may
  be, was incurred by or asserted against the Administrative Agent (or any such sub-agent) or against any
  Related Party acting for the Administrative Agent (or any such sub-agent) in connection with such capacity.
  The obligations of the Lenders under this paragraph (c) are subject to the provisions of Section 2.6(d).

                  (d)    Waiver of Consequential Damages, Etc. To the fullest extent permitted by
  applicable law, no Loan Party shall assert, and each Loan Party hereby waives, any claim against any
  Indemnitee, on any theory of liability, for special, indirect, consequential or punitive damages (as opposed


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  to direct or actual damages) arising out of, in connection with, or as a result of, this Agreement, any other
  Loan Document or any agreement or instrument contemplated hereby or thereby, the transactions
  contemplated hereby or thereby, any Loan or the use of the proceeds thereof. No Indemnitee referred to in
  paragraph (b) above shall be liable for any damages arising from the use by unintended recipients of any
  information or other materials distributed by it through telecommunications, electronic or other information
  transmission systems in connection with this Agreement or the other Loan Documents or the transactions
  contemplated hereby or thereby.

                   (e)     Payments. All amounts due under this Section shall be payable promptly and in
  no event later than ten days after demand therefor.

           Section 10.4        Successors and Assigns.

                    (a)     Successors and Assigns Generally. The provisions of this Agreement shall be
  binding upon and inure to the benefit of the parties hereto and their respective successors and assigns
  permitted hereby, except that no Loan Party may assign or otherwise transfer any of its rights or obligations
  hereunder without the prior written consent of the Administrative Agent and each Lender and no Lender
  may assign or otherwise transfer any of its rights or obligations hereunder except (i) to an assignee in
  accordance with the provisions of paragraph (b) of this Section, (ii) by way of participation in accordance
  with the provisions of paragraph (d) of this Section or (iii) by way of pledge or assignment of a security
  interest subject to the restrictions of paragraph (e) of this Section (and any other attempted assignment or
  transfer by any party hereto shall be null and void). Nothing in this Agreement, expressed or implied, shall
  be construed to confer upon any Person (other than the parties hereto, their respective successors and assigns
  permitted hereby, Participants to the extent provided in paragraph (d) of this Section and, to the extent
  expressly contemplated hereby, the Related Parties of each of Credit Party) any legal or equitable right,
  remedy or claim under or by reason of this Agreement.

                    (b)     Assignments by Lenders. Any Lender may at any time assign to one or more
  assignees all or a portion of its rights and obligations under this Agreement (including all or a portion of its
  Commitments and the Loans at the time owing to it); provided that any such assignment shall be subject to
  the following conditions:

                               (i)      Minimum Amounts.

                                        (A)     in the case of an assignment of the entire remaining amount of the
                       assigning Lender’s Commitment and/or the Loans at the time owing to it or
                       contemporaneous assignments to related Approved Funds (determined after giving effect
                       to such assignments) that equal at least the amount specified in paragraph (b)(i)(B) of this
                       Section in the aggregate or in the case of an assignment to a Lender, an Affiliate of a Lender
                       or an Approved Fund, no minimum amount need be assigned; and

                                         (B)    in any case not described in paragraph (b)(i)(A) of this Section,
                       the aggregate amount of the Commitment (which for this purpose includes Loans
                       outstanding thereunder) or, if the applicable Commitment is not then in effect, the principal
                       outstanding balance of the Loans of the assigning Lender subject to each such assignment
                       (determined as of the date the Assignment and Assumption with respect to such assignment
                       is delivered to the Administrative Agent or, if “Trade Date” is specified in the Assignment
                       and Assumption, as of the Trade Date) shall not be less than $5,000,000, unless each of the
                       Administrative Agent and, so long as no Event of Default has occurred and is continuing,
                       the Borrower Agent otherwise consents (each such consent not to be unreasonably withheld
                       or delayed).


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                           (ii)    Proportionate Amounts. Each partial assignment shall be made as an
           assignment of a proportionate part of all the assigning Lender’s rights and obligations under this
           Agreement with respect to the Loan or the Commitment assigned.

                            (iii)   Required Consents. No consent shall be required for any assignment
           except to the extent required by paragraph (b)(i)(B) of this Section and, in addition:

                                        (A)      the consent of the Borrower Agent (such consent not to be
                       unreasonably withheld or delayed) shall be required unless (x) an Event of Default has
                       occurred and is continuing at the time of such assignment or (y) such assignment is to a
                       Lender (other than a Defaulting Lender), an Affiliate of a Lender (other than a Defaulting
                       Lender) or an Approved Fund, provided that the Borrower Agent shall be deemed to have
                       consented to any such assignment unless it shall object thereto by written notice to the
                       Administrative Agent within five Business Days after written notice of such assignment
                       shall have delivered to the Borrower Agent; and

                                       (B)       the consent of the Administrative Agent (such consent not to be
                       unreasonably withheld or delayed) shall be required for assignments to a Person who is not
                       a Lender, an Affiliate of a Lender or an Approved Fund.

                            (iv)     Assignment and Assumption. The parties to each assignment shall execute
           and deliver to the Administrative Agent an Assignment and Assumption, together with a processing
           and recordation fee of $3,500, and the assignee, if it is not a Lender, shall deliver to the
           Administrative Agent an Administrative Questionnaire. In addition, each assignee shall, on or
           before the effective date of such assignment, deliver to the Borrower Agent and the Administrative
           Agent certification as to exemption from deduction or withholding of any United States Taxes in
           accordance with Section 3.5 (g).

                            (v)      No Assignment to Certain Persons. No such assignment shall be made to
           (A) the Company or any of the Company’s Affiliates or Subsidiaries, (B) any Defaulting Lender
           or any of its Subsidiaries, or any Person who, upon becoming a Lender hereunder, would constitute
           a Defaulting Lender or a Subsidiary thereof or (C) a Person who, at the time of such assignment, is
           a Sanctioned Person if such assignment would violate applicable law.

                            (vi)     No Assignment to Natural Persons. No such assignment shall be made to
           a natural person (or a holding company, investment vehicle or trust for, or owned and operated for
           the primary benefit of, a natural person).

                             (vii)   Certain Additional Payments. In connection with any assignment of rights
           and obligations of any Defaulting Lender hereunder, no such assignment shall be effective unless
           and until, in addition to the other conditions thereto set forth herein, the parties to the assignment
           shall make such additional payments to the Administrative Agent in an aggregate amount sufficient,
           upon distribution thereof as appropriate (which may be outright payment, purchases by the assignee
           of participations or subparticipations, or other compensating actions, including funding, with the
           prior written consent of the Borrower Agent and the Administrative Agent, the applicable pro rata
           share of Loans previously requested but not funded by the Defaulting Lender, to each of which the
           applicable assignee and assignor hereby irrevocably consent), to (x) pay and satisfy in full all
           payment liabilities then owed by such Defaulting Lender to the Administrative Agent or any Lender
           hereunder (and interest accrued thereon) and (y) acquire (and fund as appropriate) its full pro rata
           share of all Loans in accordance with its Applicable Percentage. Notwithstanding the foregoing,
           in the event that any assignment of rights and obligations of any Defaulting Lender hereunder shall


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           become effective under applicable law without compliance with the provisions of this paragraph,
           then the assignee of such interest shall be deemed to be a Defaulting Lender for all purposes of this
           Agreement until such compliance occurs.

  Subject to acceptance and recording thereof by the Administrative Agent pursuant to paragraph (c) of this
  Section, from and after the effective date specified in each Assignment and Assumption, the assignee
  thereunder shall be a party to this Agreement and, to the extent of the interest assigned by such Assignment
  and Assumption, have the rights and obligations of a Lender under this Agreement, and the assigning
  Lender thereunder shall, to the extent of the interest assigned by such Assignment and Assumption, be
  released from its obligations under this Agreement (and, in the case of an Assignment and Assumption
  covering all of the assigning Lender’s rights and obligations under this Agreement, such Lender shall cease
  to be a party hereto) but shall continue to be entitled to the benefits of Section 3.5 and Section 10.3 with
  respect to facts and circumstances occurring prior to the effective date of such assignment. Any assignment
  or transfer by a Lender of rights or obligations under this Agreement that does not comply with this
  paragraph shall be treated for purposes of this Agreement as a sale by such Lender of a participation in such
  rights and obligations in accordance with paragraph (d) of this Section.

                   (c)     Register. The Administrative Agent, acting solely for this purpose as an agent of
  the Borrowers, shall maintain a copy of each Assignment and Assumption delivered to it and a register for
  the recordation of the names and addresses of the Lenders, and the Commitments of, and principal amounts
  of the Loans owing to, each Lender pursuant to the terms hereof from time to time (the “Register”). The
  entries in the Register shall be conclusive, and the Borrowers, the Administrative Agent and the Lenders
  may treat each Person whose name is recorded in the Register pursuant to the terms hereof as a Lender
  hereunder for all purposes of this Agreement, notwithstanding notice to the contrary. The Register shall be
  available for inspection by the Borrowers and any Lender, at any reasonable time and from time to time
  upon reasonable prior notice. The parties intend that any interest in or with respect to the Loans under this
  Agreement be treated as being issued and maintained in “registered form” within the meaning of Sections
  163(f), 871(h)(2), and 881(c)(2) of the Code and any regulations thereunder (and any successor provisions),
  including without limitation under United States Treasury Regulations Section 5f.103-1(c) and Proposed
  Regulations Section 1.163-5 (and any successor provisions), and the provisions of this Agreement shall be
  construed in a manner that gives effect to such intent.

                    (d)       Participations. Any Lender may at any time, without the consent of, or notice to,
  the Borrower Agent or the Administrative Agent, sell participations to any Person (other than (i) a natural
  person (or a holding company, investment vehicle or trust for, or owned and operated for the primary benefit
  of, a natural person), (ii) Holdings or any of Holdings’ Affiliates or Subsidiaries, (iii) any Defaulting Lender
  or any of its Subsidiaries, or (iv) a Person who, at the time of such participation, is a Sanctioned Person if
  the sale of such participation would violate applicable law) (each, a “Participant”) in all or a portion of such
  Lender’s rights and/or obligations under this Agreement (including all or a portion of its Revolving
  Commitment and/or the Loans owing to it); provided that (A) such Lender’s obligations under this
  Agreement shall remain unchanged, (B) such Lender shall remain solely responsible to the other parties
  hereto for the performance of such obligations, and (C) the Borrowers, the Administrative Agent and each
  Credit Party shall continue to deal solely and directly with such Lender in connection with such Lender’s
  rights and obligations under this Agreement.

  Any agreement or instrument pursuant to which a Lender sells such a participation shall provide that such
  Lender shall retain the sole right to enforce this Agreement and to approve any amendment, modification
  or waiver of any provision of this Agreement; provided that such agreement or instrument may provide that
  such Lender will not, without the consent of the Participant, agree to any amendment, modification or
  waiver described in Section 10.2(b) that affects such Participant. Each Borrower agrees that each
  Participant shall be entitled to the benefits of Sections 3.4 and 3.5 (subject to the requirements and


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  limitations therein, including the requirements under Section 3.5 (it being understood that the
  documentation required under Section 3.5(g) shall be delivered to the participating Lender)) to the same
  extent as if it were a Lender and had acquired its interest by assignment pursuant to paragraph (b) of this
  Section; provided that such Participant (A) agrees to be subject to the provisions of Sections 3.6 as if it
  were an assignee under paragraph (b) of this Section; and (B) shall not be entitled to receive any greater
  payment under Section 3.5, with respect to any participation, than its participating Lender would have been
  entitled to receive, except to the extent such entitlement to receive a greater payment results from a Change
  in Law that occurs after the Participant acquired the applicable participation. Each Lender that sells a
  participation agrees, at the Borrower Agent’s request and expense, to use reasonable efforts to cooperate
  with the Borrowers to effectuate the provisions of Section 3.6(b) with respect to any Participant. To the
  extent permitted by law, each Participant also shall be entitled to the benefits of Section 10.8 as though it
  were a Lender; provided that such Participant agrees to be subject to Section 2.6(h) as though it were a
  Lender. Each Lender that sells a participation shall, acting solely for this purpose as a non-fiduciary agent
  of the Borrowers, maintain a register complying with the requirements of Sections 163(f), 871(h) and
  881(c)(2) of the Code and the Treasury regulations issued thereunder on which it enters the name and
  address of each Participant and the principal amounts (and stated interest) of each Participant’s interest in
  the Loans or other obligations under the Loan Documents (the “Participant Register”); provided that no
  Lender shall have any obligation to disclose all or any portion of the Participant Register (including the
  identity of any Participant or any information relating to a Participant’s interest in any commitments, loans,
  letters of credit or its other obligations under any Loan Document) to any Person except to the extent that
  such disclosure is necessary to establish that such commitment, loan, letter of credit or other obligation is
  in registered form under Section 5f.103-1(c) of the United States Treasury Regulations. The entries in the
  Participant Register shall be conclusive absent manifest error, and such Lender shall treat each Person
  whose name is recorded in the Participant Register as the owner of such participation for all purposes of
  this Agreement notwithstanding any notice to the contrary. For the avoidance of doubt, the Administrative
  Agent (in its capacity as Administrative Agent) shall have no responsibility for maintaining a Participant
  Register.

                   (e)      Certain Pledges. Any Lender may at any time pledge or assign a security interest
  in all or any portion of its rights under this Agreement and the Loan Documents to secure obligations of
  such Lender, including any pledge or assignment to secure obligations to a Federal Reserve Bank; provided
  that no such pledge or assignment shall release such Lender from any of its obligations hereunder or
  substitute any such pledgee or assignee for such Lender as a party hereto.

                 (f)     Cashless Settlement. Notwithstanding anything to the contrary contained in this
  Agreement, any Lender may exchange, continue or rollover all or a portion of its Loans in connection with
  any refinancing, extension, loan modification or similar transaction permitted by the terms of this
  Agreement, pursuant to a cashless settlement mechanism approved by the Borrower Agent, the
  Administrative Agent and such Lender.

                    (g)      Transactions Among Wingspire Affiliates. Notwithstanding anything in this
  Agreement or any other Loan Document to the contrary, (i) neither Wingspire nor any Affiliate thereof
  (each, a “Wingspire Party”) shall be required to comply with this Section 10.4 in connection with any
  transaction involving any Wingspire Party or any of its or their lenders or funding or financing sources, and
  no Wingspire Party shall have any obligation to disclose any such transaction to any Person, and (ii) there
  shall be no limitation or restriction on (A) the ability of any Wingspire Party to assign or otherwise transfer
  its rights and/or obligations under this Agreement or any other Loan Document, any Commitment, any
  Loan, or any other Obligation to any Wingspire Party or any lender or financing or funding source of a
  Wingspire Party or (B) the ability of any such lender or funding or financing source to assign or otherwise
  transfer its rights and/or obligations under this Agreement or any other Loan Document, any Commitment,
  any Loan, or any other Obligation; provided, however, that to the extent that any Wingspire Party or any


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  such other Person covered by the provisions of this Section 10.4(g) fails to qualify as a “Lender” under this
  Agreement, Wingspire shall continue to be responsible for all of its obligations under this Agreement and
  the other Loan Documents as a “Lender”. Without limiting the foregoing, any assignment by Wingspire of
  its rights and obligations to a Wingspire Party under this Agreement may include Wingspire’s rights and
  obligations as the Administrative Agent hereunder and, in such event, the applicable Wingspire Party shall
  for all purposes be the Administrative Agent under this Agreement and Wingspire shall be deemed to be a
  sub-agent of such Person duly appointed pursuant to Section 9.5 of this Agreement.

           Section 10.5      Survival. All covenants, agreements, representations and warranties made by Loan
  Parties herein and in the certificates or other instruments prepared or delivered in connection with or
  pursuant to this Agreement or any other Loan Document shall be considered to have been relied upon by
  the other parties hereto and shall survive the execution and delivery of any Loan Document and the making
  of any Loans, regardless of any investigation made by any such other party or on its behalf and
  notwithstanding that any Credit Party may have had notice or knowledge of any Default or Event of Default
  or incorrect representation or warranty at the time any credit is extended hereunder, and shall continue in
  full force and effect as long as the principal of or any accrued interest on any Loan or any fee or any other
  amount payable under the Loan Documents is outstanding and unpaid and so long as the Commitments
  have not expired or terminated. The provisions of Sections 3.4, 3.5, 10.3, 10.9, and 10.10 and Article 9
  shall survive and remain in full force and effect regardless of the consummation of the transactions
  contemplated hereby or the Termination Date.

           Section 10.6    Counterparts; Integration; Effectiveness; Electronic Execution.

                    (a)    Counterparts; Integration; Effectiveness. This Agreement may be executed in
  counterparts (and by different parties hereto in different counterparts), each of which shall constitute an
  original, but all of which when taken together shall constitute a single contract. This Agreement and the
  other Loan Documents, and any separate letter agreements with respect to fees payable to the
  Administrative Agent, constitute the entire contract among the parties relating to the subject matter hereof
  and supersede any and all previous agreements and understandings, oral or written, relating to the subject
  matter hereof. Except as provided in Section 4.1, this Agreement shall become effective when it shall have
  been executed by the Administrative Agent and when the Administrative Agent shall have received
  counterparts hereof that, when taken together, bear the signatures of each of the other parties hereto.
  Delivery of an executed counterpart of a signature page of this Agreement by facsimile or in electronic
  (e.g., “pdf” or “tif”) format shall be effective as delivery of a manually executed counterpart of this
  Agreement.

                    (b)      Electronic Execution of Assignments. The words “execution,” “signed,”
  “signature,” and words of like import in any Assignment and Assumption shall be deemed to include
  electronic signatures or the keeping of records in electronic form, each of which shall be of the same legal
  effect, validity or enforceability as a manually executed signature or the use of a paper-based recordkeeping
  system, as the case may be, to the extent and as provided for in any applicable law, including the Federal
  Electronic Signatures in Global and National Commerce Act, the New York State Electronic Signatures
  and Records Act, any other similar state laws based on the Uniform Electronic Transactions Act, the
  Uniform Commercial Code, each as amended, and the parties hereto hereby waive any objection to the
  contrary, provided that (i) nothing herein shall require the Administrative Agent to accept electronic
  signature counterparts in any form or format and (ii) the Administrative Agent reserves the right to require,
  at any time and at its sole discretion, the delivery of manually executed counterpart signature pages to this
  Agreement and the parties hereto agree to promptly deliver such manually executed counterpart signature
  pages.




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          Section 10.7       Severability. In the event any one or more of the provisions contained in this
  Agreement should be held invalid, illegal or unenforceable in any respect, the validity, legality and
  enforceability of the remaining provisions contained herein shall not in any way be affected or impaired
  thereby (it being understood that the invalidity of a particular provision in a particular jurisdiction shall not
  in and of itself affect the validity of such provision in any other jurisdiction). The parties shall endeavor in
  good faith negotiations to replace the invalid, illegal or unenforceable provisions with valid provisions the
  economic effect of which comes as close as possible to that of the invalid, illegal or unenforceable
  provisions.

           Section 10.8     Right of Setoff. If an Event of Default shall have occurred and be continuing, each
  Credit Party and each of their respective Affiliates is hereby authorized at any time and from time to time,
  to the fullest extent permitted by applicable law (notwithstanding the provisions of section 362 of the
  Bankruptcy Code, without any application, motion or notice to, hearing before, or order from, the
  Bankruptcy Court), to set off and apply any and all deposits (general or special, time or demand, provisional
  or final, in whatever currency) at any time held and other obligations (in whatever currency) at any time
  owing by Credit Party or any such Affiliate to or for the credit or the account of any Loan Party or any of
  its Subsidiaries against any and all of the obligations of such Loan Party or such Subsidiary now or hereafter
  existing under this Agreement or any other Loan Document to such Credit Party or Affiliate, irrespective
  of whether or not such Credit Party shall have made any demand under this Agreement or any other Loan
  Document and although such obligations of such Loan Party or Subsidiary may be contingent or unmatured
  or are owed to a branch or office of such Credit Party different from the branch or office holding such
  deposit or obligated on such indebtedness, provided, that in the event that any Defaulting Lender shall
  exercise any right of setoff, (x) all amounts so set off shall be paid over immediately to the Administrative
  Agent for further application in accordance with the provisions of Section 2.7 and, pending such payment,
  shall be segregated by such Defaulting Lender from its other funds and deemed held in trust for the benefit
  of the Administrative Agent and the Lenders, and (y) the Defaulting Lender shall provide promptly to the
  Administrative Agent a statement describing in reasonable detail the Obligations owing to such Defaulting
  Lender as to which it exercised such right of setoff. The rights of each Credit Party and its Affiliates under
  this Section are in addition to other rights and remedies (including other rights of setoff) that such Credit
  Party and its Affiliates may have. Each Credit Party agrees to notify the Borrower Agent and the
  Administrative Agent promptly after any such setoff and application, provided that the failure to give such
  notice shall not affect the validity of such setoff and application.

           Section 10.9     Governing Law; Jurisdiction; Consent to Service of Process.

                 (a)      Governing Law. This Agreement shall be governed by, and construed in
  accordance with, the laws of the State of New York and, to the extent applicable, the Bankruptcy Code.

                    (b)      Submission to Jurisdiction. Each of Loan Parties irrevocably and unconditionally
  submits, for itself and its property, to the exclusive jurisdiction of (i) the courts of the State of New York
  sitting in New York County and of the United States District Court for the Southern District of New York
  and any appellate court from any thereof or (ii) the Bankruptcy Court, in any action or proceeding arising
  out of or relating to this Agreement or any other Loan Document, or for recognition or enforcement of any
  judgment, and each of the parties hereto irrevocably and unconditionally agrees that all claims in respect of
  any such action or proceeding may be heard and determined in such New York State court or, to the fullest
  extent permitted by applicable law, in such Federal court or the Bankruptcy Court and hereby agrees to
  waive any rights it may have to object to adjudication by a judge of the Bankruptcy Court on the basis of a
  right to have matters adjudicated in front of an Article III judge. Each of the parties hereto agrees that a
  final judgment in any such action or proceeding shall be conclusive and may be enforced in other
  jurisdictions by suit on the judgment or in any other manner provided by law. Nothing in this Agreement
  or in any other Loan Document shall affect any right that any Credit Party may otherwise have to bring any


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  action or proceeding relating to this Agreement or any other Loan Document against Holdings or any other
  Loan Party or its properties in the courts of any jurisdiction.

                   (c)      Waiver of Objection to Venue. Each of the parties hereto irrevocably and
  unconditionally waives, to the fullest extent permitted by applicable law, any objection that it may now or
  hereafter have to the laying of venue of any action or proceeding arising out of or relating to this Agreement
  or any other Loan Document in any court referred to in paragraph (b) of this Section. Each of the parties
  hereto hereby irrevocably waives, to the fullest extent permitted by applicable law, the defense of an
  inconvenient forum to the maintenance of such action or proceeding in any such court.

                   (d)     Service of Process. Each of the parties hereto irrevocably consents to service of
  process in the manner provided for notices in Section 10.1. Nothing in this Agreement will affect the right
  of any party to this Agreement to serve process in any other manner permitted by law.

         Section 10.10 WAIVER OF JURY TRIAL.     EACH PARTY HERETO HEREBY
  IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY
  RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
  INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY OTHER LOAN
  DOCUMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY (WHETHER
  BASED ON CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY HERETO HEREBY (A)
  CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON
  HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON WOULD
  NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND (B)
  ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN INDUCED TO
  ENTER INTO THIS AGREEMENT AND THE OTHER LOAN DOCUMENTS BY, AMONG OTHER
  THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

           Section 10.11 Payments Set Aside. To the extent that any payment by or on behalf of the
  Borrowers is made to the Administrative Agent or any Lender, or the Administrative Agent or any Lender
  exercises its right of setoff, and such payment or the proceeds of such setoff or any part thereof is
  subsequently invalidated, declared to be fraudulent or preferential, set aside or required (including pursuant
  to any settlement entered into by the Administrative Agent or such Lender in its discretion) to be repaid to
  a trustee, receiver or any other party, in connection with any proceeding under any Debtor Relief Law or
  under any applicable state Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act,
  Uniform Voidable Transactions Act or similar statute or common law, then (a) to the extent of such
  recovery, the obligation or part thereof originally intended to be satisfied shall be revived and continued in
  full force and effect as if such payment had not been made or such setoff had not occurred, and (b) each
  Lender severally agrees to pay to the Administrative Agent upon demand its applicable share of any amount
  so recovered from or repaid by the Administrative Agent, plus interest thereon from the date of such demand
  to the date such payment is made at a rate per annum equal to the Federal Funds Effective Rate.

           Section 10.12 Headings. Article and Section headings and the Table of Contents used herein are
  for convenience of reference only, are not part of this Agreement and shall not affect the construction of,
  or be taken into consideration in interpreting, this Agreement.

          Section 10.13 Interest Rate Limitation. Notwithstanding anything herein to the contrary, if at any
  time the interest rate applicable to any Loan, together with all fees, charges and other amounts that are
  treated as interest thereon under applicable law (collectively the “charges”), shall exceed the maximum
  lawful rate (the “maximum rate”) that may be contracted for, charged, taken, received or reserved by the
  Lender holding an interest in such Loan in accordance with applicable law, the rate of interest payable in
  respect of such Loan hereunder, together with all of the charges payable in respect thereof, shall be limited


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  to the maximum rate and, to the extent lawful, the interest and the charges that would have been payable in
  respect of such Loan but were not payable as a result of the operation of this Section shall be cumulated,
  and the interest and the charges payable to such Lender in respect of other Loans or periods shall be
  increased (but not above the maximum rate therefor) until such cumulated amount, together with interest
  thereon at the Federal Funds Effective Rate to the date of repayment, shall have been received by such
  Lender.

           Section 10.14   Treatment of Certain Information; Confidentiality.

                     (a)      Each Credit Party agrees to maintain the confidentiality of the Information (as
  defined below), except that Information may be disclosed (i) to its Affiliates and to its and its Affiliates’
  respective partners, directors, officers, employees, agents, advisors and other representatives (it being
  understood that the Persons to whom such disclosure is made will be informed of the confidential nature of
  such Information and instructed to keep such Information confidential), (ii) to the extent requested by any
  regulatory authority purporting to have jurisdiction over it (including any self-regulatory authority, such as
  the National Association of Insurance Commissioners), (iii) to the extent required by applicable laws or
  regulations or by any subpoena or similar legal process, (iv) to any other party hereto, (v) in connection
  with the exercise of any remedies hereunder or under any other Loan Document or any action or proceeding
  (including, without limitation, the Chapter 11 Cases and/or any Successor Cases) relating to this Agreement
  or any other Loan Document or the enforcement of rights hereunder or thereunder, (vi) subject to an
  agreement containing provisions substantially the same as those of this Section, to (A) any assignee of or
  Participant in, or any prospective assignee of or Participant in, any of its rights or obligations under this
  Agreement or (B) any actual or prospective party (or its Related Parties) to any swap, derivative or other
  transaction under which payments are to be made by reference to the Borrowers and their obligations, this
  Agreement or payments hereunder, (vii) on a confidential basis to (A) any rating agency in connection with
  rating the Borrowers, their Subsidiaries or this Agreement or (B) the CUSIP Service Bureau or any similar
  agency in connection with the issuance and monitoring of CUSIP numbers with respect to the credit
  facilities, (viii) with the consent of the Borrower Agent or (ix) to the extent such Information (A) becomes
  publicly available other than as a result of a breach of this Section or (B) becomes available to the
  Administrative Agent, any Credit Party or any of their respective Affiliates on a non-confidential basis from
  a source other than a Loan Party or (C) is independently generated by the Administrative Agent, any Credit
  Party or any of their respective Affiliates. In addition, the Administrative Agent and the Lenders may
  disclose the existence of this Agreement and information about this Agreement to market data collectors,
  league table providers and other similar service providers to the lending industry and service providers to
  the Administrative Agent and the Lenders.

                   (b)      For purposes of this Section, “Information” means all information received from
  any Loan Party or any of its Subsidiaries relating to any Loan Party or any of its Subsidiaries or any of their
  respective businesses, other than any such information that is available to the Administrative Agent or any
  other Credit Party on a non-confidential basis prior to disclosure by any Loan Party or any Subsidiary or
  that is independently prepared by the Administrative Agent or any other Credit Party, provided that, in the
  case of information received from any Loan Party or any of its Subsidiaries after the Effective Date, such
  information is clearly identified at the time of delivery as confidential. Any Person required to maintain
  the confidentiality of Information as provided in this Section shall be considered to have complied with its
  obligation to do so if such Person has exercised the same degree of care to maintain the confidentiality of
  such Information as such Person would accord to its own confidential information. Notwithstanding
  anything herein to the contrary, “Information” shall not include, and each Credit Party (and their Affiliates
  and respective partners, directors, officers, employees, agents, advisors and representatives) may disclose
  to any and all persons, without limitation of any kind, any information with respect to the U.S. federal
  income tax treatment and U.S. federal income tax structure of the transactions contemplated hereby and all



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  materials of any kind (including opinions or other tax analyses) that are provided to such Credit Party
  relating to such tax treatment and tax structure.

                   (c)      The Loan Parties agree, on behalf of themselves and their Affiliates, that they will
  not in the future issue any press releases or other public disclosure using the name of the Administrative
  Agent or any Lender or their respective Affiliates or referring to this Agreement or any of the other Loan
  Documents without the prior written consent of such Person, unless (and only to the extent that) the Loan
  Parties or such Affiliate is required to do so under law and then, in any event, the Loan Parties or such
  Affiliate will consult with such Person before issuing such press release or other public disclosure.

                  (d)     The Loan Parties consent to the publication by the Administrative Agent or any
  Lender of customary advertising material relating to the Transactions using the name, product photographs,
  logo or trademark of the Loan Parties.

           Section 10.15 USA PATRIOT Act Notice. Each Lender that is subject to the USA PATRIOT
  Act and the Administrative Agent (for itself and not on behalf of any Lender) hereby notifies the Loan
  Parties that pursuant to the requirements of the USA PATRIOT Act, it is required to obtain, verify and
  record information that identifies each Loan Party, which information includes the name and address of
  each Loan Party and other information that will allow such Lender or the Administrative Agent, as
  applicable, to identify each Loan Party in accordance with the USA PATRIOT Act. Each Loan Party shall,
  and shall cause each Subsidiary to, provide such information and take such actions as are reasonably
  requested by the Administrative Agent or any Lender in order to assist the Administrative Agent and the
  Lenders in maintaining compliance with the USA PATRIOT Act.

           Section 10.16 No Fiduciary Duty. Each Loan Party agrees that in connection with all aspects of
  the transactions contemplated hereby and any communications in connection therewith, such Loan Party
  and its Affiliates, on the one hand, and the Administrative Agent, the other Credit Parties and their
  respective Affiliates, on the other hand, will have a business relationship that does not create, by implication
  or otherwise, any fiduciary duty on the part of the Administrative Agent, the other Credit Parties or their
  respective Affiliates and no such duty will be deemed to have arisen in connection with any such
  transactions or communications.

           Section 10.17 Acknowledgement and Consent to Bail-In of Affected Financial Institutions.
  Notwithstanding anything to the contrary in any Loan Document or in any other agreement, arrangement
  or understanding among any such parties, each party hereto acknowledges that any liability of any Affected
  Financial Institution arising under any Loan Document, to the extent such liability is unsecured, may be
  subject to the Write-Down and Conversion Powers of the applicable Resolution Authority and agrees and
  consents to, and acknowledges and agrees to be bound by:

                    (a)    the application of any Write-Down and Conversion Powers by the applicable
  Resolution Authority to any such liabilities arising hereunder which may be payable to it by any party
  hereto that is an Affected Financial Institution; and

                       (b)   the effects of any Bail-in Action on any such liability, including, if applicable:

                             (i)     a reduction in full or in part or cancellation of any such liability;

                            (ii)   a conversion of all, or a portion of, such liability into shares or other
           instruments of ownership in such Affected Financial Institution, its parent undertaking, or a bridge
           institution that may be issued to it or otherwise conferred on it, and that such shares or other




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           instruments of ownership will be accepted by it in lieu of any rights with respect to any such liability
           under this Agreement or any other Loan Document; or

                          (iii)  the variation of the terms of such liability in connection with the exercise
           of the Write-Down and Conversion Powers of any applicable Resolution Authority.

           Section 10.18      Certain ERISA Matters.

                    (a)      Each Lender (x) represents and warrants, as of the date such Person became a
  Lender party hereto, to, and (y) covenants, from the date such Person became a Lender party hereto to the
  date such Person ceases being a Lender party hereto, for the benefit of, the Administrative Agent and its
  Affiliates, and not, for the avoidance of doubt, to or for the benefit of Holdings or any other Loan Party,
  that at least one of the following is and will be true:

                           (i)     such Lender is not using “plan assets” (within the meaning of 29 CFR §
           2510.3-101, as modified by Section 3(42) of ERISA) of one or more Benefit Plans in connection
           with the Loans or the Commitments,

                            (ii)    the transaction exemption set forth in one or more PTEs, such as PTE 84-
           14 (a class exemption for certain transactions determined by independent qualified professional
           asset managers), PTE 95-60 (a class exemption for certain transactions involving insurance
           company general accounts), PTE 90-1 (a class exemption for certain transactions involving
           insurance company pooled separate accounts), PTE 91-38 (a class exemption for certain
           transactions involving bank collective investment funds) or PTE 96-23 (a class exemption for
           certain transactions determined by in-house asset managers), is applicable with respect to such
           Lender’s entrance into, participation in, administration of and performance of the Loans, the
           Commitments and this Agreement,

                            (iii)    (A) such Lender is an investment fund managed by a “Qualified
           Professional Asset Manager” (within the meaning of Part VI of PTE 84-14), (B) such Qualified
           Professional Asset Manager made the investment decision on behalf of such Lender to enter into,
           participate in, administer and perform the Loans, the Commitments and this Agreement, (C) the
           entrance into, participation in, administration of and performance of the Loans, the Commitments
           and this Agreement satisfies the requirements of sub-sections (b) through (g) of Part I of PTE 84-
           14 and (D) to the best knowledge of such Lender, the requirements of subsection (a) of Part I of
           PTE 84-14 are satisfied with respect to such Lender’s entrance into, participation in, administration
           of and performance of the Loans, the Commitments and this Agreement, or

                          (iv)    such other representation, warranty and covenant as may be agreed in
           writing between the Administrative Agent, in its sole discretion, and such Lender.

                    (b)     In addition, unless clause (i) in the immediately preceding paragraph (a) is true
  with respect to a Lender or such Lender has not provided another representation, warranty and covenant as
  provided in clause (iv) in the immediately preceding paragraph (a), such Lender further (x) represents and
  warrants, as of the date such Person became a Lender party hereto, to, and (y) covenants, from the date such
  Person became a Lender party hereto to the date such Person ceases being a Lender party hereto, for the
  benefit of, the Administrative Agent and its Affiliates, and not, for the avoidance of doubt, to or for the
  benefit of Holdings or any other Loan Party, that:

                            (i)      none of the Administrative Agent nor any of its Affiliates is a fiduciary
           with respect to the assets of such Lender (including in connection with the reservation or exercise


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           of any rights by the Administrative Agent under this Agreement, any Loan Document or any
           documents related to hereto or thereto),

                            (ii)    the Person making the investment decision on behalf of such Lender with
           respect to the entrance into, participation in, administration of and performance of the Loans, the
           Commitments and this Agreement is independent (within the meaning of 29 CFR § 2510.3-21) and
           is a bank, an insurance carrier, an investment adviser, a broker-dealer or other person that holds, or
           has under management or control, total assets of at least $50 million, in each case as described in
           29 CFR § 2510.3-21(c)(1)(i)(A)-(E),

                            (iii)   the Person making the investment decision on behalf of such Lender with
           respect to the entrance into, participation in, administration of and performance of the Loans, the
           Commitments and this Agreement is capable of evaluating investment risks independently, both in
           general and with regard to particular transactions and investment strategies (including in respect of
           the Obligations),

                            (iv)    the Person making the investment decision on behalf of such Lender with
           respect to the entrance into, participation in, administration of and performance of the Loans, the
           Commitments and this Agreement is a fiduciary under ERISA or the Code, or both, with respect to
           the Loans, the Commitments and this Agreement and is responsible for exercising independent
           judgment in evaluating the transactions hereunder, and

                           (v)      no fee or other compensation is being paid directly to the Administrative
           Agent or any its Affiliates for investment advice (as opposed to other services) in connection with
           the Loans, the Commitments or this Agreement.

                   (c)     The Administrative Agent hereby informs the Lenders that each such Person is not
  undertaking to provide impartial investment advice, or to give advice in a fiduciary capacity, in connection
  with the transactions contemplated hereby, and that such Person has a financial interest in the transactions
  contemplated hereby in that such Person or an Affiliate thereof (i) may receive interest or other payments
  with respect to the Loans, the Commitments and this Agreement, (ii) may recognize a gain if it extended
  the Loans or the Commitments for an amount less than the amount being paid for an interest in the Loans,
  or the Commitments by such Lender or (iii) may receive fees or other payments in connection with the
  transactions contemplated hereby, the Loan Documents or otherwise, including structuring fees,
  commitment fees, arrangement fees, facility fees, upfront fees, underwriting fees, ticking fees, agency fees,
  administrative or other agent fees, utilization fees, minimum usage fees, letter of credit fees, fronting fees,
  deal-away or alternate transaction fees, amendment fees, processing fees, term out premiums, banker’s
  acceptance fees, breakage or other early termination fees or fees similar to the foregoing.

           Section 10.19    The Company as Agent for Borrowers. Each Borrower hereby irrevocably
  appoints the Company as the borrowing agent and attorney-in-fact for all Borrowers (the “Borrower
  Agent”) which appointment shall remain in full force and effect unless and until the Administrative Agent
  shall have received prior written notice signed by each Borrower that such appointment has been revoked
  and that another Borrower has been appointed Borrower Agent. Each Borrower hereby irrevocably
  appoints and authorizes the Borrower Agent (a) to provide the Administrative Agent with all notices with
  respect to Loans obtained for the benefit of any Borrower and all other notices and instructions under this
  Agreement and the other Loan Documents (and any notice or instruction provided by Borrower Agent shall
  be deemed to be given by Borrowers hereunder and shall bind each Borrower), (b) to receive notices and
  instructions from any Credit Party (and any notice or instruction provided by any Credit Party to the
  Borrower Agent in accordance with the terms hereof shall be deemed to have been given to each Borrower),
  and (c) to take such action as the Borrower Agent deems appropriate on its behalf to obtain Revolving


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  Loans and to exercise such other powers as are reasonably incidental thereto to carry out the purposes of
  this Agreement. It is understood that the handling of the Loans and Collateral in a combined fashion, as
  more fully set forth herein, is done solely as an accommodation to Borrowers in order to utilize the
  collective borrowing powers of Borrowers in the most efficient and economical manner and at their request,
  and that no Credit Party shall incur liability to any Borrower as a result hereof. Each Borrower expects to
  derive benefit, directly or indirectly, from the handling of the Loans and the Collateral in a combined
  fashion since the successful operation of each Borrower is dependent on the continued successful
  performance of the integrated group. To induce the Credit Parties to do so, and in consideration thereof,
  each Borrower hereby jointly and severally agrees to indemnify each Credit Party and hold each Credit
  Party harmless against any and all liability, expense, loss or claim of damage or injury, made against such
  Credit Party by any Borrower or by any third party whosoever, arising from or incurred by reason of (i) the
  handling of the Loans and Collateral of Borrowers as herein provided, or (ii) such Credit Party’s relying on
  any instructions of the Borrower Agent, except that Borrowers will have no liability to the relevant Credit
  Party under this Section 10.19 with respect to any liability that has been finally determined by a court of
  competent jurisdiction to have resulted solely from the gross negligence or willful misconduct of such
  Credit Party, as the case may be.

          Section 10.20      Acknowledgement Regarding Any Supported QFCs. To the extent that the Loan
  Documents provide support, through a guarantee or otherwise, for Swap Agreements or any other
  agreement or instrument that is a QFC (such support “QFC Credit Support” and each such QFC a
  “Supported QFC”), the parties acknowledge and agree as follows with respect to the resolution power of
  the Federal Deposit Insurance Corporation under the Federal Deposit Insurance Act and Title II of the
  Dodd-Frank Wall Street Reform and Consumer Protection Act (together with the regulations promulgated
  thereunder, the “U.S. Special Resolution Regimes”) in respect of such Supported QFC and QFC Credit
  Support (with the provisions below applicable notwithstanding that the Loan Documents and any Supported
  QFC may in fact be stated to be governed by the laws of the State of New York and/or of the United States
  or any other state of the United States):

                    In the event a Covered Entity that is party to a Supported QFC (each, a “Covered Party”)
  becomes subject to a proceeding under a U.S. Special Resolution Regime, the transfer of such Supported
  QFC and the benefit of such QFC Credit Support (and any interest and obligation in or under such Supported
  QFC and such QFC Credit Support, and any rights in property securing such Supported QFC or such QFC
  Credit Support) from such Covered Party will be effective to the same extent as the transfer would be
  effective under the U.S. Special Resolution Regime if the Supported QFC and such QFC Credit Support
  (and any such interest, obligation and rights in property) were governed by the laws of the United States or
  a state of the United States. In the event a Covered Party or a BHC Act Affiliate of a Covered Party becomes
  subject to a proceeding under a U.S. Special Resolution Regime, Default Rights under the Loan Documents
  that might otherwise apply to such Supported QFC or any QFC Credit Support that may be exercised against
  such Covered Party are permitted to be exercised to no greater extent than such Default Rights could be
  exercised under the U.S. Special Resolution Regime if the Supported QFC and the Loan Documents were
  governed by the laws of the United States or a state of the United States. Without limitation of the
  foregoing, it is understood and agreed that rights and remedies of the parties with respect to a Defaulting
  Lender shall in no event affect the rights of any Covered Party with respect to a Supported QFC or any
  QFC Credit Support.

           Section 10.21     Parties Including Trustees; Bankruptcy Court Proceedings. This Agreement, the
  other Loan Documents, and all Liens created pursuant to any Loan Document shall be binding upon each
  Loan Party, the estate of each Loan Party, and any trustee or successor in interest of any Loan Party in any
  Chapter 11 Case or any Successor Case or under any other bankruptcy or insolvency laws, and shall not be
  subject to section 365 of the Bankruptcy Code. The Liens created by this Agreement and the other Loan
  Documents shall be and remain valid and perfected in the event of the substantive consolidation or


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  conversion of any Chapter 11 Case or any other bankruptcy case of any Loan Party to a case under chapter
  7 of the Bankruptcy Code, or in the event of dismissal of any Chapter 11 Case or the release of any Collateral
  from the jurisdiction of the Bankruptcy Court for any reason, without the necessity that the Administrative
  Agent or any Lender file financing statements or otherwise perfect its security interests or Liens under
  applicable law.

                                                 ARTICLE 11

                                             LOAN GUARANTY

           Section 11.1        Guaranty. Each Loan Guarantor (other than those that have delivered a separate
  guaranty) hereby agrees that it is jointly and severally liable for, and, as a primary obligor and not merely
  as surety, absolutely, unconditionally and irrevocably guarantees to the Secured Parties, the prompt
  payment when due, whether at stated maturity, upon acceleration or otherwise, and at all times thereafter,
  of the Obligations and all costs and expenses, including, without limitation, all court costs and attorneys’
  and paralegals’ fees (including allocated costs of in-house counsel and paralegals) and expenses paid or
  incurred by the Administrative Agent and the Lenders in endeavoring to collect all or any part of the
  Obligations from, or in prosecuting any action against, any Borrower, any Loan Guarantor or any other
  guarantor of all or any part of the Obligations (such costs and expenses, together with the Obligations,
  collectively the “Guaranteed Obligations”; provided, however, that the definition of “Guaranteed
  Obligations” shall not create any guarantee by any Loan Guarantor of (or grant of security interest by any
  Loan Guarantor to support, as applicable) any Excluded Swap Obligations of such Loan Guarantor for
  purposes of determining any obligations of any Loan Guarantor). Each Loan Guarantor further agrees that
  the Guaranteed Obligations may be extended or renewed in whole or in part without notice to or further
  assent from it, and that it remains bound upon its guarantee notwithstanding any such extension or renewal.
  All terms of this Loan Guaranty apply to and may be enforced by or on behalf of any domestic or foreign
  branch or Affiliate of any Lender that extended any portion of the Guaranteed Obligations.

           Section 11.2       Guaranty of Payment. This Loan Guaranty is a guaranty of payment and not of
  collection. Each Loan Guarantor waives any right to require the Administrative Agent or any Lender to
  sue any Borrower, any Loan Guarantor, any other guarantor of, or any other Person obligated for, all or any
  part of the Guaranteed Obligations (each, an “Obligated Party”), or otherwise to enforce its payment against
  any collateral securing all or any part of the Guaranteed Obligations.

           Section 11.3      No Discharge or Diminishment of Loan Guaranty.

                  (a)      Except as otherwise provided for herein, the obligations of each Loan Guarantor
  hereunder are unconditional and absolute and not subject to any reduction, limitation, impairment or
  termination for any reason (other than the indefeasible payment in full of the Guaranteed Obligations),
  including: (i) any claim of waiver, release, extension, renewal, settlement, surrender, alteration or
  compromise of any of the Guaranteed Obligations, by operation of law or otherwise; (ii) any change in the
  corporate existence, structure or ownership of any Borrower or any other Obligated Party liable for any of
  the Guaranteed Obligations; (iii) any insolvency, bankruptcy, reorganization or other similar proceeding
  affecting any Obligated Party or their assets or any resulting release or discharge of any obligation of any
  Obligated Party; or (iv) the existence of any claim, setoff or other rights which any Loan Guarantor may
  have at any time against any Obligated Party, the Administrative Agent, any Lender, or any other Person,
  whether in connection herewith or in any unrelated transactions.

                  (b)      The obligations of each Loan Guarantor hereunder are not subject to any defense
  or setoff, counterclaim, recoupment or termination whatsoever by reason of the invalidity, illegality or
  unenforceability of any of the Guaranteed Obligations or otherwise, or any provision of applicable law or


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  regulation purporting to prohibit payment by any Obligated Party, of the Guaranteed Obligations or any
  part thereof.

                   (c)      Further, the obligations of any Loan Guarantor hereunder are not discharged or
  impaired or otherwise affected by: (i) the failure of the Administrative Agent or any Lender to assert any
  claim or demand or to enforce any remedy with respect to all or any part of the Guaranteed Obligations;
  (ii) any waiver or modification of or supplement to any provision of any agreement relating to the
  Guaranteed Obligations; (iii) any release, non-perfection or invalidity of any indirect or direct security for
  the obligations of any Borrower for all or any part of the Guaranteed Obligations or any obligations of any
  other Obligated Party liable for any of the Guaranteed Obligations; (iv) any action or failure to act by the
  Administrative Agent or any Lender with respect to any collateral securing any part of the Guaranteed
  Obligations; or (v) any default, failure or delay, willful or otherwise, in the payment or performance of any
  of the Guaranteed Obligations, or any other circumstance, act, omission or delay that might in any manner
  or to any extent vary the risk of such Loan Guarantor or that would otherwise operate as a discharge of any
  Loan Guarantor as a matter of law or equity (other than the indefeasible payment in full of the Guaranteed
  Obligations).

           Section 11.4       Defenses Waived. To the fullest extent permitted by applicable law, each Loan
  Guarantor hereby waives any defense based on or arising out of any defense of any Borrower or any Loan
  Guarantor or the unenforceability of all or any part of the Guaranteed Obligations from any cause, or the
  cessation from any cause of the liability of any Borrower, any Loan Guarantor or any other Obligated Party,
  other than indefeasible payment in full of the Guaranteed Obligations. Without limiting the generality of
  the foregoing, each Loan Guarantor irrevocably waives acceptance hereof, presentment, demand, protest
  and, to the fullest extent permitted by law, any notice not provided for herein, as well as any requirement
  that at any time any action be taken by any Person against any Obligated Party or any other Person. Each
  Loan Guarantor confirms that it is not a surety under any state law and shall not raise any such law as a
  defense to its obligations hereunder. The Administrative Agent may, at its election, foreclose on any
  Collateral held by it by one or more judicial or nonjudicial sales, accept an assignment of any such Collateral
  in lieu of foreclosure or otherwise act or fail to act with respect to any collateral securing all or a part of the
  Guaranteed Obligations, compromise or adjust any part of the Guaranteed Obligations, make any other
  accommodation with any Obligated Party or exercise any other right or remedy available to it against any
  Obligated Party, without affecting or impairing in any way the liability of such Loan Guarantor under this
  Loan Guaranty except to the extent the Guaranteed Obligations have been paid in full. To the fullest extent
  permitted by applicable law, each Loan Guarantor waives any defense arising out of any such election even
  though that election may operate, pursuant to applicable law, to impair or extinguish any right of
  reimbursement or subrogation or other right or remedy of any Loan Guarantor against any Obligated Party
  or any security.

          Section 11.5       Rights of Subrogation. No Loan Guarantor will assert any right, claim or cause
  of action, including, without limitation, a claim of subrogation, contribution or indemnification, that it has
  against any Obligated Party or any collateral, until the Loan Parties and the Loan Guarantors have fully
  performed all their obligations to the Administrative Agent and the Lenders.

           Section 11.6      Reinstatement; Stay of Acceleration. If at any time any payment of any portion
  of the Guaranteed Obligations (including a payment effected through exercise of a right of setoff) is
  rescinded, or must otherwise be restored or returned upon the insolvency, bankruptcy or reorganization of
  any Borrower or otherwise (including pursuant to any settlement entered into by a Secured Party in its
  discretion), each Loan Guarantor’s obligations under this Loan Guaranty with respect to that payment shall
  be reinstated at such time as though the payment had not been made and whether or not the Administrative
  Agent and the Lenders are in possession of this Loan Guaranty. If acceleration of the time for payment of
  any of the Guaranteed Obligations is stayed upon the insolvency, bankruptcy or reorganization of any


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  Borrower, all such amounts otherwise subject to acceleration under the terms of any agreement relating to
  the Guaranteed Obligations shall nonetheless be payable by the Loan Guarantors forthwith on demand by
  the Administrative Agent.

           Section 11.7     Information. Each Loan Guarantor assumes all responsibility for being and
  keeping itself informed of the Borrowers’ financial condition and assets, and of all other circumstances
  bearing upon the risk of nonpayment of the Guaranteed Obligations and the nature, scope and extent of the
  risks that each Loan Guarantor assumes and incurs under this Loan Guaranty, and agrees that none of the
  Administrative Agent or any Lender shall have any duty to advise any Loan Guarantor of information
  known to it regarding those circumstances or risks.

           Section 11.8        Termination. Each of the Lenders may continue to make loans or extend credit
  to the Borrowers based on this Loan Guaranty until five days after it receives written notice of termination
  from any Loan Guarantor. Notwithstanding receipt of any such notice, each Loan Guarantor will continue
  to be liable to the Lenders for any Guaranteed Obligations created, assumed or committed to prior to the
  fifth day after receipt of the notice, and all subsequent renewals, extensions, modifications and amendments
  with respect to, or substitutions for, all or any part of such Guaranteed Obligations. Nothing in this Section
  11.8 shall be deemed to constitute a waiver of, or eliminate, limit, reduce or otherwise impair any rights or
  remedies the Administrative Agent or any Lender may have in respect of, any Default or Event of Default
  that shall exist under Section 8.1(k) as a result of any such notice of termination.

          Section 11.9      Taxes. Each payment of the Guaranteed Obligations will be made by each Loan
  Guarantor without withholding for any Taxes, unless such withholding is required by law. If any Loan
  Guarantor determines, in its sole discretion exercised in good faith, that it is so required to withhold Taxes,
  then such Loan Guarantor may so withhold and shall timely pay the full amount of withheld Taxes to the
  relevant Governmental Authority in accordance with applicable law. If such Taxes are Indemnified Taxes,
  then the amount payable by such Loan Guarantor shall be increased as necessary so that, net of such
  withholding (including such withholding applicable to additional amounts payable under this Section), the
  Administrative Agent or Lender receives the amount it would have received had no such withholding been
  made.

            Section 11.10      Maximum Liability. Notwithstanding any other provision of this Loan Guaranty,
  the amount guaranteed by each Loan Guarantor hereunder shall be limited to the extent, if any, required so
  that its obligations hereunder shall not be subject to avoidance under Section 548 of the Bankruptcy Code
  or under any applicable state Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act,
  Uniform Voidable Transactions Act or similar statute or common law. In determining the limitations, if
  any, on the amount of any Loan Guarantor’s obligations hereunder pursuant to the preceding sentence, it is
  the intention of the parties hereto that any rights of subrogation, indemnification or contribution which such
  Loan Guarantor may have under this Loan Guaranty, any other agreement or applicable law shall be taken
  into account.

           Section 11.11     Contribution.

                   (a)      To the extent that any Loan Guarantor shall make a payment under this Loan
  Guaranty (a “Guarantor Payment”) which, taking into account all other Guarantor Payments then previously
  or concurrently made by any other Loan Guarantor, exceeds the amount which otherwise would have been
  paid by or attributable to such Loan Guarantor if each Loan Guarantor had paid the aggregate Guaranteed
  Obligations satisfied by such Guarantor Payment in the same proportion as such Loan Guarantor’s
  “Allocable Amount” (as defined below) (as determined immediately prior to such Guarantor Payment) bore
  to the aggregate Allocable Amounts of each of the Loan Guarantors as determined immediately prior to the
  making of such Guarantor Payment, then, following indefeasible payment in full in cash of the Guarantor


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  Payment and the indefeasible payment in full of the Guaranteed Obligations and the termination of this
  Agreement, such Loan Guarantor shall be entitled to receive contribution and indemnification payments
  from, and be reimbursed by, each other Loan Guarantor for the amount of such excess, pro rata based upon
  their respective Allocable Amounts in effect immediately prior to such Guarantor Payment.

                     (b)    As of any date of determination, the “Allocable Amount” of any Loan Guarantor
  shall be equal to the excess of the fair saleable value of the property of such Loan Guarantor over the total
  liabilities of such Loan Guarantor (including the maximum amount reasonably expected to become due in
  respect of contingent liabilities, calculated, without duplication, assuming each other Loan Guarantor that
  is also liable for such contingent liability pays its ratable share thereof), giving effect to all payments made
  by other Loan Guarantors as of such date in a manner to maximize the amount of such contributions.

                  (c)     This Section 11.11 is intended only to define the relative rights of the Loan
  Guarantors, and nothing set forth in this Section 11.11 is intended to or shall impair the obligations of the
  Loan Guarantors, jointly and severally, to pay any amounts as and when the same shall become due and
  payable in accordance with the terms of this Loan Guaranty.

                  (d)      The parties hereto acknowledge that the rights of contribution and indemnification
  hereunder shall constitute assets of the Loan Guarantor or Loan Guarantors to which such contribution and
  indemnification is owing.

                  (e)     The rights of the indemnifying Loan Guarantors against other Loan Guarantors
  under this Section 11.11 shall be exercisable upon the indefeasible payment in full of the Guaranteed
  Obligations and the termination of this Agreement.

           Section 11.12     Liability Cumulative. The liability of each Loan Party as a Loan Guarantor under
  this Article 11 is in addition to and shall be cumulative with all liabilities of each Loan Party to the
  Administrative Agent and the Lenders under this Agreement and the other Loan Documents to which such
  Loan Party is a party or in respect of any obligations or liabilities of the other Loan Parties, without any
  limitation as to amount, unless the instrument or agreement evidencing or creating such other liability
  specifically provides to the contrary.

            Section 11.13      Keepwell. Each Qualified ECP Guarantor hereby jointly and severally
  absolutely, unconditionally and irrevocably undertakes to provide such funds or other support as may be
  needed from time to time by each other Loan Party to honor all of its obligations under this Guarantee in
  respect of a Swap Obligation (provided, however, that each Qualified ECP Guarantor shall only be liable
  under this Section for the maximum amount of such liability that can be hereby incurred without rendering
  its obligations under this Section or otherwise under this Loan Guaranty voidable under applicable law
  relating to fraudulent conveyance or fraudulent transfer, and not for any greater amount). Except as
  otherwise provided herein, the obligations of each Qualified ECP Guarantor under this Section shall remain
  in full force and effect until the termination of all Swap Obligations. Each Qualified ECP Guarantor intends
  that this Section constitute, and this Section shall be deemed to constitute, a “keepwell, support, or other
  agreement” for the benefit of each other Loan Party for all purposes of Section 1a(18)(A)(v)(II) of the
  Commodity Exchange Act.


                                            [Signature page follows]




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           IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed by
  their respective authorized officers as of the day and year first above written.

                                              BORROWERS:

                                              CORSICANA BEDDING, LLC, a Delaware limited
                                              liability company


                                              By:
                                              Name:
                                              Title:


                                              EASTERN SLEEP PRODUCTS COMPANY, a
                                              Virginia corporation


                                              By:
                                              Name:
                                              Title:


                                              GUARANTORS:

                                              CORSICANA PARENT CO., LLC, a Delaware
                                              limited liability company


                                              By:
                                              Name:
                                              Title:


                                              CHESTERFIELD LANDCO, L.L.C., a Virginia
                                              limited liability company


                                              By:
                                              Name:
                                              Title:


                                              EASTERN SLEEP-FORT WAYNE, LLC, a Virginia
                                              limited liability company

                                              By:
                                              Name:
                                              Title:




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                                        EASTERN SLEEP-POINCIANA, LLC, a Virginia
                                        limited liability company


                                        By:
                                        Name:
                                        Title:


                                        ENGLANDER-SYMBOL MATTRESS OF
                                        MISSISSIPPI, LLC, a Virginia limited liability
                                        company


                                        By:
                                        Name:
                                        Title:


                                        HYLTON HOUSE FURNITURE, INC., a Virginia
                                        corporation


                                        By:
                                        Name:
                                        Title:


                                        LUUF, LLC, a Virginia limited liability company


                                        By:
                                        Name:
                                        Title:


                                        MASTER CRAFT SLEEP PRODUCTS, INC., an
                                        Alabama corporation


                                        By:
                                        Name:
                                        Title:




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                                        OLIVE BRANCH BUILDING, LLC, a Virginia
                                        limited liability company


                                        By:
                                        Name:
                                        Title:


                                        SYMBOL MATTRESS - LAS VEGAS, LLC, a
                                        Virginia limited liability company


                                        By:
                                        Name:
                                        Title:


                                        SYMBOL MATTRESS OF FLORIDA, INC., a
                                        Virginia corporation


                                        By:
                                        Name:
                                        Title:


                                        SYMBOL MATTRESS OF PENNSYLVANIA, INC.,
                                        a Virginia corporation


                                        By:
                                        Name:
                                        Title:


                                        SYMBOL MATTRESS OF WISCONSIN, INC., a
                                        Virginia corporation


                                        By:
                                        Name:
                                        Title:




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                                        SYMBOL MATTRESS TRANSPORTATION, INC.,
                                        a Virginia corporation


                                        By:
                                        Name:
                                        Title:


                                        THETFORD LEASING, LLC, a Virginia limited
                                        liability company


                                        By:
                                        Name:
                                        Title:




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                                        WINGSPIRE CAPITAL LLC, as the Administrative
                                        Agent and a Lender


                                        By:
                                        Name:
                                        Title:




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                                       ANNEX A

                                 Initial Approved Budget



                                      See attached.




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                                                Schedule 2.1

                                               Commitments

                              Lender                              Revolving Commitment

                       Wingspire Capital LLC                            $40,000,000




                                               Schedule 2.1 - 1
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                                                      Schedule 6.18

                                                  Required Milestones

           (i) No later than 3 Business Days after the Petition Date1, the Interim Order approving the DIP
  Facilities and the adequate protection of the Prepetition Liens shall be entered by the Bankruptcy Court;

         (ii) No later than 3 Business Days following the Petition Date, the Debtors shall file the Sale
  Motion, which motion shall be in form and substance acceptable to the DIP Agents;

          (iii) No later than 35 days after the Petition Date, the Final Order approving the DIP Facilities and
  the adequate protection of the Prepetition Liens shall be entered by the Bankruptcy Court;

           (iv) No later than 35 days after the Petition Date the Bankruptcy Court shall have entered an order
  approving bid and auction procedures, in form and substance reasonably acceptable to the DIP Secured
  Parties;

           (v) If the asset purchase agreement provided by the stalking horse bidder in connection with the
  Sale Motion does not provide for the payment in full in cash of the DIP Revolver Facility (and the
  Prepetition ABL Facility to the extent any amounts remain due and owing thereunder), then no later than
  the later of 50 days after the Petition Date or 3 Business Days prior to the deadline for objecting to the
  approval of the sale of all or substantially all of the Debtors’ assets, the stalking horse bidder shall have
  provided a commitment letter for replacement/refinancing of the DIP Revolver Facility (and the Prepetition
  ABL Facility to the extent any amounts remain due and owing thereunder), in form and substance
  reasonably acceptable to the DIP Revolver Administrative Agent and DIP Revolver Lenders. For the
  avoidance of doubt, Wingspire may provide such commitment letter;

          (vi) No later than 60 days after the Petition Date the Bankruptcy Court shall have entered one or
  more orders authorizing and approving the sale of all or substantially all of the Debtors’ assets pursuant to
  one or a series of related or unrelated transactions, and such order(s) shall be in a form and substance
  reasonably acceptable to the DIP Secured Parties; and

         (vii) No later than 75 days after the Petition Date the approved sale(s) of all or substantially all of
  the Debtors’ assets shall have been consummated.




  1
      Capitalized terms used within this Schedule 6.18 shall have the meanings ascribed them in the Orders.

                                                    Schedule 6.18 - 1
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                                     EXHIBIT B
                                 (DIP Term Loan Note)




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                                                                                        EXECUTION VERSION


                                  DEBTOR IN POSSESSION SECURED
                                     TERM PROMISSORY NOTE

  $18,000,000                                                                              New York, New York
                                                                                           June 25, 2022

                   On June 25, 2022 (the “Petition Date”), CORSICANA BEDDING, LLC., a
  Delaware limited liability company (the “Borrower”), and certain of its direct and indirect
  subsidiaries1 commenced Chapter 11 cases, which cases are being jointly administered under
  Chapter 11 Case No. 22-90016 (elm) (each a “Chapter 11 Case” and collectively, the “Chapter
  11 Cases”), by filing separate voluntary petitions for reorganization relief under chapter 11 of
  title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), with the
  United States Bankruptcy Court for the Northern District of Texas, Fort Worth Division (the
  “Bankruptcy Court”). The Loan Parties (as defined herein) continue to operate their respective
  businesses and manage their respective properties as debtors and debtors in possession pursuant
  to Sections 1107(a) and 1108 of the Bankruptcy Code. The Borrower has requested that the
  lenders (the “DIP Lenders”) from time to time party to this Debtor in Possession Secured Term
  Promissory Note (as amended, restated, amended and restated, supplemented, waived, extended,
  or otherwise modified from time to time, this “Note”), make term loans (the “Term Loans”) from
  time to time evidenced by this Note. Certain subsidiaries of the Borrower who comprise the
  other debtors in the Chapter 11 Cases wish to guaranty the Borrower’s Obligations under this
  Note (collectively, the “Guarantors”), and are simultaneously executing Guarantees in favor of
  Blue Torch Finance, LLC, as agent for the DIP Lenders (in such capacity, the “Agent”). The
  Borrower intends to utilize such Term Loans, subject to the Financing Orders, to (i) fund general
  corporate needs, including without limitation working capital and other needs, and (ii) pay costs,
  premiums, fees, and expenses incurred to administer or related to of the Chapter 11 Cases,
  including fees and expenses of professionals, in each case in accordance with the Budget, subject
  to any Permitted Variances, or as otherwise provided by the Financing Orders. Capitalized terms
  used herein and not otherwise defined herein shall have the meanings provided in Section 18 of
  this Note.

          1.       Term Loans.

                (a)      Subject to the terms and conditions hereof including the Agent’s receipt of
  a Borrowing Request (as defined below), the DIP Lenders agree to provide the Borrower with
  Term Loans on the Closing Date in the principal amount of up to $18,000,000 (of which
  $3,000,000 shall be in the form of a “roll up” of protective advances constituting Obligations


  1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: Corsicana Bedding, LLC (3019) (“Corsicana”); Thetford Leasing LLC (7227) (“Thetford”); Olive
  Branch Building, LLC (7227) (“Olive Branch”); Eastern Sleep Products Company (1185) (“Eastern Sleep”);
  Englander-Symbol Mattress of Mississippi, LLC (5490) (“Englander Symbol”); Hylton House Furniture, Inc. (5992)
  (“Hylton House”); Luuf, LLC (3450) (“Luuf”); Symbol Mattress of Florida, Inc. (4172) (“Symbol Florida”);
  Symbol Mattress of Pennsylvania, Inc. (3160) (“Symbol Pennsylvania”); Symbol Mattress of Wisconsin, Inc. (0871)
  (“Symbol Wisconsin”); Symbol Mattress Transportation, Inc. (1185) (“Symbol Transportation”); and Master Craft
  Sleep Products, Inc. (4961) (“Master Craft”). The Debtors’ service address is P.O. Box 3233, Fort Worth, Texas,
  76113.
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  under the Prepetition Term Loan Agreement; the “Term Loans”). Subject to the terms and
  conditions hereof, to the extent the Interim Order does not permit the full amount of the Term
  Loans to be incurred by the Borrower on the Closing Date, (i) the full amount so authorized shall
  be drawn by the Borrower in a single draw on the Closing Date, and (ii) the DIP Lenders shall
  advance any remaining amount of the Term Loans that are authorized in the Final Order in one
  draw on the date or during the period permitted by the Final Order (any such Term Loans, the
  “Final Order Term Loans”). The Final Order Term Loans shall be Term Loans for all purposes
  of this Note. The Borrower may request the Term Loans pursuant to written notice (which may
  be by email) (a “Borrowing Request”) delivered to the Agent by a Responsible Officer no later
  than 12:00 p.m. New York City time on the proposed borrowing date of the Term Loans (or such
  shorter period as the Agent may agree) or, with respect to any Final Order Term Loans, one (1)
  Business Day prior to the proposed borrowing day of the Final Order Term Loans (or such
  shorter period as the Agent may agree). The Borrowing Request shall be in a form reasonably
  satisfactory to the Agent and shall specify (i) the principal amount of the proposed Term Loan,
  (ii) the initial Interest Period with respect thereto, and (iii) the proposed borrowing date, which
  must be a Business Day. Each DIP Lender shall provide each Term Loan in an aggregate
  amount not to exceed its Commitment with respect to such Term Loan and the obligation of each
  DIP Lender to make the Term Loans under this Note shall be several and not joint and several.
  Upon receipt of a Borrowing Request with respect to any Term Loan, subject to the satisfaction
  (or waiver) of the conditions set forth in Section 2(a) hereof, each DIP Lender shall
  simultaneously and proportionately to its Pro Rata Share of its Commitment with respect to such
  Term Loan, make the proceeds of such Term Loan available to the Borrower on the applicable
  date of funding of the Term Loan by transferring immediately available funds equal to such
  proceeds to the Escrow Account (or to the Agent, which will then transfer such proceeds to the
  Escrow Account). The relevant Commitment of each DIP Lender shall be permanently reduced
  upon the making of the relevant Term Loan in an amount equal to such Term Loan advanced by
  such DIP Lender. The Borrower may request Withdrawals from the Escrow Account in
  accordance with Section 2(b) of this Note. Any principal amount of the Term Loan which is
  repaid or prepaid may not be reborrowed.

                (b)      The aggregate principal amount of Terms Loans outstanding (inclusive of
  $3,000,000 of a “roll up” of protective advances constituting Obligations under the Prepetition
  Term Loan Agreement) shall not exceed $18,000,000, subject to any limitation of credit
  extensions under this Note and the Financing Orders (the “Maximum Amount”).

                  (c)    The Agent shall be entitled to rely upon, and shall be fully protected in
  relying upon, any Borrowing Request or similar notice believed by the Agent to be genuine. The
  Agent may assume that each Person executing and/or delivering any such notice was duly
  authorized, unless the responsible individual acting thereon for the Agent has actual knowledge
  to the contrary.

                  (d)    The Borrower shall utilize the proceeds of Term Loans, subject to the
  Financing Orders, to (i) fund general corporate needs, including without limitation working
  capital and other needs and (ii) pay costs, premiums, fees, and expenses incurred to administer or
  related to the Chapter 11 Cases, including fees and expenses of professionals (including funding
  of the Carve-Out in accordance with the Financing Orders), in each case in accordance with the
  Budget, subject to any Permitted Variances, this Note, the Bankruptcy Code, and the Financing

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  Orders); provided, that, unless otherwise provided in the Budget, subject to any Permitted
  Variance, or approved by the Agent, no portion of any Term Loan shall be used, directly or
  indirectly: (A) to make any payment in respect of, or repurchase, redeem, retire or defease any,
  prepetition Indebtedness or to finance or make any Restricted Payment, except pursuant to the
  terms of the Financing Orders, (B) to pay any fees or similar amounts payable to any Person who
  has proposed or may propose to purchase interests in any of the Borrower or any of its respective
  Subsidiaries or affiliates or who otherwise has proposed or may propose to invest in the
  Borrower or any of its respective Subsidiaries or affiliates (including so-called “topping fees,”
  “exit fees,” and similar amounts), or (C) to make any distribution under a plan of reorganization
  in the Chapter 11 Cases or any similar proceeding of any of the Subsidiaries or affiliates of any
  of the Borrower.

                  (e)    The Borrower shall not transfer any amounts from the Escrow Account
  other than to the DIP Holding Account, and in no event shall any amounts transferred from the
  DIP Holding Account to the ABL Holding Account exceed, for any day or the immediately
  succeeding Business Day, the positive difference of (i) the amount of disbursements required to
  be paid on such day (the "Disbursement Amount") minus (ii) the sum (without duplication) of
  (y) the amount of funds in the ABL Holding Account on such day before giving effect to any
  such transfer and (z) Availability (as defined in the DIP Revolver Facility). Any amounts
  transferred from the DIP Holding Account to the ABL Holding Account on any day shall be used
  to pay the Disbursement Amount for such day or the immediately succeeding Business Day).

        2.       Certain Conditions to Making Term Loans and Withdrawals from the Escrow
  Account.

                 (a)   The effectiveness of this Note and the obligation of each DIP Lender to fund
  the Term Loans requested to be made by it shall be subject to the prior or concurrent satisfaction
  (or waiver by the Agent) of each of the conditions precedent set forth in this clause (a):

                                (1)    the Borrower shall have paid any Obligations then payable
         hereunder (including the reasonable and documented out-of-pocket fees and expenses of
         the Agent, including, without limitation, those of counsel for the Agent) or under any other
         DIP Document;

                               (2)    the Loan Parties shall have delivered corporate resolutions,
         incumbency certificates and similar documents, in form and substance reasonably
         satisfactory to Agent with respect to this Note and the other DIP Documents and the
         transactions contemplated hereby and thereby;

                                (3)  the Escrow Agreement shall be in full force and effect and
         the Escrow Account shall not be subject to any Liens or claims, except for Liens granted
         in favor of the Agent;

                                (4)   the Loan Parties shall have delivered guarantees of each of
         the Guarantors, each in form and substance reasonably satisfactory to Agent with respect
         to this Note and the other DIP Documents and the transactions contemplated hereby and
         thereby;

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                              (5)     the Loan Parties shall have delivered fully executed copies
         of all other DIP Documents, each in form and substance reasonably satisfactory to Agent;

                                (6)     any representation or warranty by any Loan Party contained
         herein or in any other DIP Document shall be true and correct in all material respects
         (except that such materiality qualifier shall not be applicable to any representations and
         warranties that already are qualified or modified by materiality in the text thereof) as of
         such date, except to the extent that such representation or warranty expressly relates to an
         earlier date;

                                 (7)     (i) with respect to the Term Loan made on the Closing Date,
         (A) the Bankruptcy Court shall have entered the Interim Order and (B) the Interim Order
         shall not have been stayed, vacated, reversed, modified or amended without Agent’s
         consent, or (ii) with respect to the Final Order Term Loan, (A) the Bankruptcy Court shall
         have entered the Final Order and (B) the Final Order shall have not been stayed, vacated,
         reversed, modified or amended without Agent’s consent;

                              (8)    no Default or Event of Default shall have occurred and be
         continuing or would result after giving effect to the Term Loans and the transactions
         contemplated herein;

                                (9)   after giving effect to the making of the Term Loans, the
         outstanding principal amount of all Term Loans would not exceed the Maximum Amount;

                               (10) the Agent shall have received and approved the Budget in
         accordance with this Note and the Financing Orders; and

                                (11) the Bankruptcy Court shall have entered an order, in form
         and substance reasonably acceptable to the Agent, authorizing the Loan Parties to use Cash
         Collateral of the Prepetition Secured Parties in a manner consistent with the Budget and
         authorizing the DIP Revolver Facility.

                   (b)    The Borrower shall not request a Withdrawal (and no Withdrawal will be
  permitted), if, in each case, as of the date thereof:

                                (1)     any representation or warranty by any Loan Party contained
         herein or in any other DIP Document shall be untrue or incorrect in any material respect
         (except that such materiality qualifier shall not be applicable to any representations and
         warranties that already are qualified or modified by materiality in the text thereof) as of
         such date, except to the extent that such representation or warranty expressly relates to an
         earlier date;

                                (2)    after entry of the Interim Order, the Interim Order shall have
         been stayed, vacated, reversed, modified or amended without Agent’s consent;

                                (3)    after the entry of the Final Order, the Final Order shall have
         been stayed, vacated, reversed, modified or amended without Agent’s consent;


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                                 (4)    the Withdrawal Liquidity Condition shall not have been
         satisfied;

                                (5)     the proceeds of such Withdrawal shall not have been
         directed to be deposited in the DIP Holding Account;

                                (6)     any Default or Event of Default shall have occurred and be
         continuing or would result after giving effect to the advance of the Final Order Term Loans
         or any release of proceeds of the Term Loans from the Escrow Account; and

                                (7)   the Agent shall have not received from the Borrower at least
         two (2) Business Days (or such shorter period as the Agent may agree) prior to the date of
         such Withdrawal, a Withdrawal Notice and a calculation evidencing satisfaction of the
         Withdrawal Liquidity Condition, which calculation shall be in form and substance
         satisfactory to the Agent.

                  Upon receipt of the Withdrawal Notice, satisfaction of the conditions set forth in
  Section 2(a) and none of the events set forth in Section 2(b) being in existence as of the date
  thereof, the Agent shall promptly direct the Escrow Agent to disburse funds to the DIP Holding
  Account on the funding date set forth in the applicable Withdrawal Notice. Notwithstanding the
  foregoing, if the Agent determines in its sole discretion that one of more of the events set forth in
  Section 2(b) are in existence or one or more conditions in Section 2(a) are not satisfied as of any
  requested Withdrawal Date, then the Agent may decline to direct the Escrow Agent to fund such
  Withdrawal and shall communicate the same to the Escrow Agent and the Borrower.

                  The request and acceptance in the Escrow Account by the Borrower of the
  proceeds of the Term Loans and the request of a Withdrawal shall, in each case, be deemed to
  constitute, as of the date of such request, acceptance or incurrence, a representation and warranty
  by the Borrower that (A) with respect to the request and acceptance in the Escrow Account by
  the Borrower of the proceeds of the Term Loans, the conditions in Section 2(a) have been
  satisfied and (B) with respect to the request of a Withdrawal, the conditions in Section 2(a) have
  been satisfied and none of the events set forth in Section 2(b) are in existence as of the proposed
  Withdrawal Date.

          3.       Payment of Principal. FOR VALUE RECEIVED, the Borrower promises to pay
  to the Agent, for the benefit of the DIP Lenders, the lesser of (x) $18,000,000 and (y) the unpaid
  principal amount of all Term Loans, on the Maturity Date, together with all accrued and unpaid
  interest, fees and expenses to the extent required by this Note.

         4.      Payment of Interest.

                          (a)     Subject to the terms of this Note, the Term Loans or any portion
  thereof shall bear interest on the principal amount thereof from time to time outstanding, from
  the date of the Term Loan until repaid, at a rate per annum equal to the Adjusted Term SOFR
  plus 9.00%.

                        (b)     Interest on the Term Loans shall be payable monthly, in arrears, on
  the last Business Day of each month, commencing on the last Business Day of the month in
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  which the applicable Term Loan is made. If any payment of any of the Obligations becomes due
  and payable on a day other than a Business Day, the maturity thereof will be extended to the next
  succeeding Business Day and, with respect to payments of principal, interest thereon shall be
  payable at the then applicable rate during such extension.

                         (c)     All computations of fees and interest shall be made by the Agent
  on the basis of a 360-day year, in each case for the actual number of days occurring in the period
  for which such fees or interest are payable (including the first day and the last day). Each
  determination by the Agent of an interest rate hereunder shall be final, binding and conclusive on
  the Borrower (absent manifest error).

                         (d)     So long as an Event of Default shall have occurred and be
  continuing, and at the election of the Agent, the interest rate applicable to the Obligations shall
  be increased by two percentage points (2.00%) per annum above the rate of interest otherwise
  applicable hereunder (the “Default Rate”), and all outstanding Obligations shall bear interest at
  the Default Rate applicable to such Obligations. Interest at the Default Rate shall accrue from
  the date of such Event of Default until such Event of Default is cured or waived (notwithstanding
  when the election by the Agent was made) and shall be payable upon demand.

                          (e)    It is the intention of the parties hereto that the Agent and each DIP
  Lender shall conform strictly to usury laws applicable to it. Accordingly, if the transactions
  contemplated hereby or by any other DIP Document would be usurious as to the Agent or any
  DIP Lender under laws applicable to it (including the laws of the United States of America and
  the State of New York or any other jurisdiction whose laws may be mandatorily applicable to the
  Agent or such DIP Lender notwithstanding the other provisions of this Note), then, in that event,
  notwithstanding anything to the contrary in this Note or any other DIP Document or any
  agreement entered into in connection with or as security for the Obligations, it is agreed that the
  aggregate of all consideration which constitutes interest under law applicable to the Agent or any
  DIP Lender that is contracted for, taken, reserved, charged or received by the Agent or such DIP
  Lender under this Note or any other DIP Document or agreements or otherwise in connection
  with the Obligations shall under no circumstances exceed the maximum amount allowed by such
  applicable law, any excess shall be canceled automatically and if theretofore paid shall be
  credited by the Agent or such DIP Lender on the principal amount of the Obligations (or, to the
  extent that the principal amount of the Obligations shall have been or would thereby be paid in
  full, refunded by the Agent or such DIP Lender, as applicable, to the Borrower). If at any time
  and from time to time (i) the amount of interest payable to the Agent or any DIP Lender on any
  date shall be computed at the highest lawful rate applicable to the Agent or such DIP Lender
  pursuant to this Section 4(e) and (ii) in respect of any subsequent interest computation period the
  amount of interest otherwise payable to the Agent or such DIP Lender would be less than the
  amount of interest payable to the Agent or such DIP Lender computed at the highest lawful rate
  applicable to the Agent or such DIP Lender, then the amount of interest payable to the Agent or
  such DIP Lender in respect of such subsequent interest computation period shall continue to be
  computed at the highest lawful rate applicable to the Agent or such DIP Lender until the total
  amount of interest payable to the Agent or such DIP Lender shall equal the total amount of
  interest which would have been payable to the Agent or such DIP Lender if the total amount of
  interest had been computed without giving effect to this Section 4(e).


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                         (f)     If, after the date hereof, the DIP Lenders determine that (i) the
  adoption of or change in any law, rule, regulation or guideline regarding capital requirements for
  banks or bank holding companies, or any change in the interpretation or application thereof by
  any governmental authority charged with the administration thereof, or (ii) compliance by the
  DIP Lenders or its parent bank holding company with any guideline, request, or directive of any
  such entity regarding capital adequacy (whether or not having the force of law), has the effect of
  reducing the return on the DIP Lender’s or such holding company’s capital as a consequence of
  the DIP Lender’s Term Loans hereunder to a level below that which the DIP Lender or such
  holding company could have achieved but for such adoption, change, or compliance (taking into
  consideration the DIP Lender’s or such holding company’s then existing policies with respect to
  capital adequacy and assuming the full utilization of such entity’s capital) by any amount
  reasonably deemed by the DIP Lender to be material, then the DIP Lender may notify the
  Borrower thereof. Following receipt of such notice, the Borrower agrees to pay the DIP Lender
  on demand the amount of such reduction of return of capital as and when such reduction is
  determined, payable promptly (but in no event later than fifteen (15) days) after presentation by
  the DIP Lender to the Borrower of a statement in the amount and setting forth in reasonable
  detail the DIP Lender’s calculation thereof and the assumptions upon which such calculation was
  based (which statement shall be deemed true and correct absent manifest error). In determining
  such amount, the DIP Lender may use any reasonable averaging and attribution methods.

          5.      Payments. All payments of principal, interest and all other Obligations in respect
  of this Note shall be made in lawful money of the United States of America in same day funds to
  the Agent at the account as shall be designated in a written notice delivered by the Agent to the
  Borrower. Each payment made hereunder shall be credited first to fees and expenses then due
  and payable, second to interest then due and payable and the remainder of such payment shall be
  credited to principal, and interest shall thereupon cease to accrue upon the principal so repaid.
  The Borrower shall make each payment required under this Note prior to 2:00 p.m. New York
  City time on the date when due, in immediately available funds. Any amounts received after
  such time on any date may, in the sole discretion of the Agent, be deemed to have been received
  on the next succeeding Business Day for purposes of calculating interest thereon.

          6.      Optional Prepayments. Subject to the terms and conditions of the Financing
  Orders and the Intercreditor Agreement, the Borrower shall have the right at any time and from
  time to time to prepay any Term Loans under this Note in whole or in part (without premium or
  penalty) upon two (2) Business Days’ written notice to the Agent by 1:00 p.m. New York City
  time (or such shorter time as the Agent may agree); provided that each such prepayment shall be
  in a minimum amount of $100,000. Notice of prepayment having been given as aforesaid, the
  principal amount specified in such notice shall become due and payable on the prepayment date
  specified therein in the aggregate principal amount specified therein unless such repayment is
  conditioned on the receipt of any third party funds or the consummation of certain transactions
  that are not received or consummated. Any prepayment or repayment hereunder shall be
  accompanied by interest on the principal amount of the Note being prepaid or repaid to the date
  of prepayment or repayment.

         7.      Mandatory Prepayments.



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                  (a)    In each case, subject to the terms and conditions of the Financing Orders,
  the Intercreditor Agreement and the Budget:

                          i.      No later than one (1) Business Day following receipt by any Loan
  Party of cash proceeds of any asset Disposition, unless the Agent agrees otherwise, the Borrower
  shall prepay the Term Loans in an amount equal to all such proceeds, net of (x) commissions and
  other reasonable and customary transaction costs, fees and expenses properly attributable to such
  transaction and payable by the Borrower or any Loan Party in connection therewith (in each
  case, paid to non-affiliates), and (y) with respect to proceeds from the Disposition of assets
  securing obligations owed to a third party (including, without limitation under the DIP Revolver
  Facility), which Lien is senior to the Liens securing the Obligations under this Note, the amount
  of such proceeds required by an order of the Bankruptcy Court to repay such third party
  obligations.

                        ii.     No later than one (1) Business Day following receipt by any Loan
  Party of cash proceeds of any debt securities or other indebtedness not permitted under this Note,
  the Borrower shall prepay the Term Loans in an amount equal to all such proceeds, net of
  underwriting discounts and commissions and other reasonable costs or fees paid to non-affiliates
  in connection therewith.

                         iii.   No later than one (1) Business Day following receipt by any Loan
  Party of any Extraordinary Receipts, the Borrower shall prepay the outstanding principal of the
  Term Loans in an amount equal to all such Extraordinary Receipts, net of (x) any expenses
  (including reasonable broker’s fees or commissions and legal fees) incurred in connection with
  such Extraordinary Receipts, and (y) with respect to Extraordinary Receipts from assets securing
  obligations owed to a third party, which Lien is senior to the Liens securing the Obligations
  under this Note, the amount of such Extraordinary Receipts required by an order of the
  Bankruptcy Court to repay such third party obligations.

               (b)      Nothing in this Section 7 shall be construed to constitute the Agent’s or
  any DIP Lender’s consent to any transaction that is not permitted by other provisions of the
  Financing Orders, this Note or the other DIP Documents.

         8.      Fees. Borrower shall pay to the Agent the following fees:

                 (a)    Facility Fee. On the Closing Date, the Borrower shall pay to the Agent, for
  the account of the DIP Lenders, an upfront fee in an aggregate amount equal to 2.0% of the
  aggregate principal amount of the Commitments, which fee shall be fully earned upon the entry of
  the Interim Order and non-refundable when paid.

                 (b)    Agent Fee. On the Closing Date, the Borrower shall pay to the Agent an
  annual agent administration fee equal to $100,000 per annum. The first annual agent
  administration fee will be fully earned upon the entry of the Interim Order and non-refundable
  when paid. Thereafter, the annual agent administration fee shall be due on the anniversary of the
  Closing Date to the extent that the Obligations have not been repaid in full prior to such date.

                 (c)     Exit Fee. On the earlier of (i) the date that all of the Obligations under this
  Note are paid in full in cash and (ii) the Maturity Date, the Borrower shall pay to the Agent, for
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  the account of the DIP Lenders, an exit fee equal to 2.0% of the aggregate principal amount of the
  Commitments, of which, an amount equal to 2.0% of the Term Loans authorized to be borrowed
  on the Closing Date shall be earned upon the entry of the Interim Order and the remainder of which
  shall be earned upon entry of the Final Order, and which shall be non-refundable when paid.

          9.      Indemnity. The Borrower shall indemnify and hold harmless the Agent and each
  DIP Lender and each of their respective affiliates, and each such Person’s respective officers,
  directors, employees, attorneys, agents and representatives (each, an “Indemnified Person”),
  from and against any and all suits, actions, proceedings, claims, damages, losses, liabilities and
  expenses (including reasonable attorneys’ fees and disbursements and other costs of
  investigation or defense, including those incurred upon any appeal but limited to the legal fees
  and reasonable and documented out-of-pocket costs and expenses of one legal counsel (and one
  local counsel in each relevant jurisdiction)) that may be instituted or asserted against or incurred
  by any such Indemnified Person as the result of credit having been extended, suspended or
  terminated under this Note and the other DIP Documents and the administration of such credit,
  and in connection with or arising out of the transactions contemplated hereunder and thereunder
  and any actions or failures to act in connection therewith, and legal costs and expenses arising
  out of or incurred in connection with disputes between the Agent and the DIP Lenders on the one
  hand and the Loan Parties on the other hand; provided, that (i) the Borrower shall not be liable
  for any indemnification to an Indemnified Person to the extent that any such suit, action,
  proceeding, claim, damage, loss, liability or expense results solely from that Indemnified
  Person’s gross negligence or willful misconduct as determined in a final nonappealable judgment
  by a court of competent jurisdiction and (ii) this Section 9 shall not apply with respect to taxes
  other than any taxes that represent losses, claims, damages, etc. arising from any non-tax claim.
  NO INDEMNIFIED PERSON SHALL BE RESPONSIBLE OR LIABLE TO ANY
  OTHER PARTY TO ANY DIP DOCUMENT, ANY SUCCESSOR, ASSIGNEE OR
  THIRD PARTY BENEFICIARY OF SUCH PERSON OR ANY OTHER PERSON
  ASSERTING CLAIMS DERIVATIVELY THROUGH SUCH PARTY, FOR INDIRECT,
  PUNITIVE, EXEMPLARY OR CONSEQUENTIAL DAMAGES THAT MAY BE
  ALLEGED AS A RESULT OF CREDIT HAVING BEEN EXTENDED, SUSPENDED OR
  TERMINATED UNDER ANY DIP DOCUMENT OR AS A RESULT OF ANY OTHER
  TRANSACTION CONTEMPLATED HEREUNDER OR THEREUNDER.

         10.     Adjustments for Withholding, Capital Adequacy Etc.

                 All payments to the Agent by the Borrower under this Note shall be made free
  and clear of and without deduction or withholding for any and all taxes, duties, levies, imposts,
  deductions, charges or withholdings and all related liabilities (all such taxes, duties, levies,
  imposts, deductions, charges, withholdings and liabilities being referred to as “Taxes”) imposed
  by the United States of America or any other nation or jurisdiction (or any political subdivision
  or taxing authority of either thereof), unless such Taxes are required by applicable law to be
  deducted or withheld. If the Borrower shall be required by applicable law to deduct or withhold
  any such Taxes from or in respect of any amount payable under this Note other than taxes
  imposed on the Agent or any DIP Lender’s overall net income, then (A) if such Tax is an
  Indemnified Tax, the amount payable shall be increased as may be necessary so that after making
  all required deductions or withholdings, (including deductions or withholdings applicable to any
  additional amounts paid under this Note) the Agent receives an amount equal to the amount it

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  would have received if no such deduction or withholding had been made, (B) the Borrower shall
  make such deductions or withholdings, and (C) the Borrower shall timely pay the full amount
  deducted or withheld to the relevant governmental entity in accordance with applicable law.

                  If the effect of the adoption, effectiveness, phase-in or applicability after the date
  hereof of any law, rule or regulation (including without limitation any tax, duty, charge or
  withholding on or from payments due from the Borrower (but excluding Indemnified Taxes,
  Excluded Taxes, and taxation on the overall net income of the DIP Lenders)), or any change
  therein or in the interpretation or administration thereof by any governmental authority, central
  bank or comparable agency charged with the interpretation or administration thereof, is to reduce
  the rate of return on the capital of the Agent with respect to this Note or to increase the cost to
  the Agent of making or maintaining amounts available under this Note, the Borrower agrees to
  pay to the Agent such additional amount or amounts as will compensate the Agent on an after-
  tax basis for such reduction or increase.

                  The Borrower agrees to timely pay any present or future stamp or documentary
  taxes or any other excise or property taxes, charges, financial institutions duties, debits taxes or
  similar levies (all such taxes, charges, duties and levies being referred to as “Other Taxes”)
  which arise from any payment made by the Borrower under this Note or from the execution,
  delivery or registration of, or otherwise with respect to, this Note.

                  The Borrower shall indemnify the Agent and each of the DIP Lenders for the full
  amount of Indemnified Taxes (including, without limitation, any Indemnified Taxes imposed by
  any jurisdiction on amounts payable by the Borrower hereunder) paid by the Agent or any DIP
  Lender and any liability (including penalties, interest and expenses) arising from or with respect
  to such Indemnified Taxes, whether or not they were correctly or legally asserted, excluding
  taxes imposed on the Agent or any DIP Lender’s overall net income. Payment under this
  indemnification shall be made upon demand. A certificate as to the amount of such Indemnified
  Taxes submitted to the Borrower by the Agent shall be conclusive evidence, absent manifest
  error, of the amount due from the Borrower to the DIP Lenders.

                   The Borrower shall furnish to the DIP Lenders the original or a certified copy of a
  receipt evidencing any payment of Taxes made by the Borrower pursuant to this Section 10
  within thirty (30) days after the date of any such payment. If any Recipient becomes aware that it
  has received a refund of any Taxes with respect to which the Borrower has paid any amount
  pursuant to this Section 10, such Recipient shall pay the amount of such refund (but only to the
  extent of indemnity payments made under this Section with respect to the Taxes giving rise to
  such refund), net of all out-of-pocket expenses (including Taxes) of such Recipient and without
  interest (other than any interest received from the relevant governmental authority with respect
  thereto), to the Borrower promptly after receipt thereof.

                  Any Recipient of a payment hereunder shall, to the extent it is legally entitled to
  do so, deliver to the Borrower and the Agent on or prior to the date hereof (and from time to time
  thereafter upon the reasonable request of the Borrower or the Agent), two properly completed
  and executed copies of IRS Forms W-8 or W-9 and properly completed and executed copies of
  any other form prescribed by applicable law as a basis for claiming exemption from or a
  reduction in U.S. federal withholding tax, together with such supplementary documentation as

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  may be prescribed by applicable law to permit the Borrower or the Agent to determine the
  withholding or deduction (if any) required to be made. In addition, any such Recipient, if
  reasonably requested by the Borrower or the Agent, shall deliver such other documentation
  prescribed by applicable law or reasonably requested by the Borrower or the Agent as will
  enable the Borrower or the Agent to determine whether or not such Recipient is subject to
  backup withholding or information reporting requirements. Each Recipient agrees that if any
  form or certification it previously delivered expires or becomes obsolete or inaccurate in any
  respect, it shall timely update such form or certification or promptly notify the Borrower and the
  Agent in writing of its legal inability to do so.

         11.     Priority of Obligations and DIP Lenders’ Liens.

                   (a)     To secure all of the Borrower’s Obligations now existing or hereafter
  arising, the Agent is granted (i) a super-priority administrative claim against each of the
  Borrower and Guarantors pursuant to Section 364(c)(1) of the Bankruptcy Code, and except as
  set forth in the Financing Orders (including with respect to the DIP Revolver Facility and the
  Carve-Out), having a priority over all other costs and expenses of administration of any kind,
  including those specified in, or ordered pursuant to, sections 105, 326, 328, 330, 331, 363, 364,
  503, 506, 507, 546, 726, 1113 or 1114 or any other provision of the Bankruptcy Code or
  otherwise (whether incurred in these Chapter 11 Cases and any Successor Case), and, except as
  set forth in the Financing Orders (including with respect to the Carve-Out), shall at all times be
  senior to the rights of the Borrower or any domestic or foreign Subsidiary of the Borrower, any
  successor trustee or estate representative, or any other creditor or party in interest in the Chapter
  11 Cases or any Successor Case, and (ii) pursuant to Sections 364(c)(2) and 364(c)(3) of the
  Bankruptcy Code and subject to clause (b) below, Liens on, and security interests in, the
  Collateral; provided that no Liens shall be permitted on either the Escrow Agreement, the
  Escrow Account or the DIP Holding Account, or amounts held therein or proceeds thereof other
  than the lien of the Agent (and, to the extent constituting a Lien, the Carve-Out). The security
  interests and Liens granted to the Agent hereunder pursuant to Sections 364(c)(2) shall not be (i)
  subject to any Lien or security interest that is avoided and preserved for the benefit of the Loan
  Parties’ estate under Section 551 of the Bankruptcy Code, or (ii) except as set forth in the
  Financing Orders (including with respect to the DIP Revolver Facility and the Carve-Out),
  subordinated to or made pari passu with any other Lien or security interest under Section 364(d)
  of the Bankruptcy Code or otherwise.

                (b)     The priority of the Agent’s Liens on the Collateral shall be as set forth in
  the Financing Orders and shall be subject to the Intercreditor Agreement (where applicable).

                   (c)    Notwithstanding anything herein to the contrary (i) all proceeds received
  by the Agent and the DIP Lenders from the Collateral subject to the Liens granted in this Section
  11 and in each other DIP Document and by the Financing Orders shall be subject to the priorities
  set forth in the Financing Orders and the Intercreditor Agreement, the Carve-Out and Permitted
  Prior Liens (provided that neither the Escrow Agreement, nor the Escrow Account, nor the DIP
  Holding Account, nor amounts held therein or proceeds thereof shall be subject to Permitted
  Prior Liens), and (ii) no Person entitled to the Carve Out shall be entitled to sell, or otherwise
  Dispose, or seek or object to the sale or other Disposition of, such Collateral, subject to any such
  Person’s fiduciary obligations.

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                  (d)     Each of the Loan Parties agrees for itself that the Obligations of such
  Person shall constitute allowed administrative expenses in the Chapter 11 Cases, having priority
  over all administrative expenses of and unsecured claims against such Person now existing or
  hereafter arising, of any kind or nature whatsoever, including, without limitation, all
  administrative expenses of the kind specified in, or arising or ordered under, Sections 105, 326,
  327, 328, 330, 331, 361, 362, 363, 364, 365, 503(a), 503(b), 506(c), 507(a), 507(b), 546(c),
  546(d), 726, 1113 and 1114 of the Bankruptcy Code, except as set forth in the Financing Orders.

          12.    Further Assurances. The Borrower agrees that it shall, at the Borrower’s expense
  and upon the reasonable request of the Agent, duly execute and deliver or cause to be duly
  executed and delivered, to the Agent or such DIP Lender, as the Agent shall direct such
  Borrower such further instruments and do and cause to be done such further acts as may be
  necessary or proper in the reasonable opinion of the Agent to carry out more effectively the
  provisions and purposes of this Note or any other DIP Document, including, upon the written
  request of the Agent and in form and substance reasonably satisfactory to the Agent, security
  agreements, UCC-l financing statements and other Collateral Documents confirming and
  perfecting the granting to the Agent, on behalf of the DIP Lenders, of the Liens (subject to the
  Financing Orders) in the Collateral to secure the Obligations.

         13.     [Reserved.]

         14.    Affirmative Covenants. The Borrower agrees that until the Commitments shall
  have expired or been terminated and the Obligations payable under the DIP Documents shall
  have been paid in full in cash:

                  (a)      Upon reasonable request of the Agent, the Loan Parties will permit any
  officer, employee, attorney or accountant or agent of the Agent to audit, review, make extracts
  from or copy, at the Borrower’s expense, any and all corporate and financial and other books and
  records of the Loan Parties at all times during ordinary business hours and, in the absence of an
  Event of Default, upon reasonable advance notice, to discuss the Loan Parties’ affairs with any
  of their directors, officers, employees or accountants, so long as a Responsible Officer of a Loan
  Party is invited to attend such discussions. The Borrower will permit the Agent, or any of its
  officers, employees, accountants, attorneys or agent, to examine and inspect any Collateral or
  any other property of the Loan Parties at any time during ordinary business hours and, in the
  absence of an Event of Default, upon reasonable prior notice. Notwithstanding the foregoing,
  none of the Loan Parties will be required to disclose information to the Agent (or any agent or
  representative thereof) that is prohibited by applicable law or is subject to attorney-client or
  similar privilege or constitutes attorney work product.

                 (b)    (i) The Borrower and its Subsidiaries will comply with all requirements of
  applicable law, the non-compliance with which could reasonably be expected to have a Material
  Adverse Effect and (ii) the Borrower and its Subsidiaries will obtain, maintain in effect and
  comply with all permits, licenses and similar approvals necessary for the operation of its
  business as now or hereafter conducted other than to the extent contemplated by the Budget or
  the Financing Orders.

                 (c)    The Borrower and its Subsidiaries will pay or discharge, when due, (i) all

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  material taxes, assessments and governmental charges levied or imposed upon it or upon its
  income or profits, upon any properties of the Borrower and its Subsidiaries (including, without
  limitation, the Collateral) or upon or against the creation, perfection or continuance of the
  security interest, prior to the date on which penalties attach thereto, except in each case (1) where
  the same are being contested in good faith by appropriate proceedings diligently conducted and
  adequate reserves in accordance with GAAP are being maintained by the Borrower or such
  Subsidiary or (2) taxes the nonpayment of which is permitted or required by the Bankruptcy
  Code or this Note, (ii) all federal, state and local taxes required to be withheld by it, and (iii) all
  lawful claims for labor, materials and supplies which, if unpaid, might by law become a lien or
  charge upon any properties of Borrower and its Subsidiaries.

                  (d)      (i) The Borrower and each of its Subsidiaries will keep and maintain the
  Collateral and all of its other properties necessary or useful in its business in good condition,
  repair and working order (normal wear and tear excepted) other than to the extent contemplated
  by the Budget or the Financing Orders, (ii) the Borrower and each of its Subsidiaries will defend
  the Collateral against all claims or demands of all Persons (other than Permitted Encumbrances)
  claiming the Collateral or any interest therein, and (iii) the Borrower and each of its Subsidiaries
  will keep all Collateral free and clear of all security interests, liens and encumbrances, except
  Permitted Encumbrances and liens otherwise permitted by the Financing Orders.

                 (e)     The Borrower and its Subsidiaries will:

                                (1)     Maintain insurance with respect to the Collateral, covering
         casualty, hazard, theft, flood and other risks, in amounts, with endorsements and with
         insurers (with a Best’s Financial Strength Rating of at least A, unless otherwise approved
         by the Agent in its discretion) satisfactory to the Agent. All proceeds under each policy
         covering Collateral shall be payable to the Agent as a lender loss payee/mortgagee, other
         than proceeds required by an order of the Bankruptcy Court to be applied to the repayment
         of debt secured by a Lien on the related assets that is senior to the Liens securing the
         Obligations under this Note. From time to time upon request, the Borrower shall deliver
         to the Agent the originals or certified copies of its insurance policies. Unless the Agent
         shall agree otherwise, each policy shall include satisfactory endorsements that (i) provide
         for not less than 30 days prior notice to the Agent of termination, lapse or cancellation of
         such insurance, (ii) with respect to insurance covering Collateral, name the Agent as loss
         payee/mortgagee and additional insured, and (iii) specify that the interest of the Agent shall
         not be impaired or invalidated by any act or negligence of any Loan Party or the owner of
         the property, nor by the occupation of the premises for purposes more hazardous than are
         permitted by the policy. If the Borrower fails to provide and pay for any insurance, the
         Agent may, at its option, but shall not be required to, procure the insurance and charge the
         Borrower therefor. The Borrower agrees to deliver to the Agent, promptly as rendered,
         copies of all reports made to insurance companies. The Loan Parties may settle, adjust or
         compromise any insurance claim on terms reasonably acceptable to the Agent, as long as
         the proceeds are delivered to the Agent pursuant to this Note and the Financing Orders.

                                (2)     In addition to the insurance required under clause (e)(1) with
         respect to Collateral, maintain insurance with insurers (with a Best’s Financial Strength
         Rating of at least A, unless otherwise approved by the Agent in its discretion) satisfactory

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         to the Agent, with respect to the properties and business of the Loan Parties, of such type
         (including product liability, workers’ compensation, larceny, embezzlement, or other
         criminal misappropriation insurance), in such amounts, and with such coverages and
         deductibles as are at the time of placing such insurance customary for companies similarly
         situated and which are available at commercially reasonable rates.

                  (f)     The Borrower and its Subsidiaries will preserve and maintain their
  existence and all of their rights, privileges and franchises necessary or desirable in the normal
  conduct of its business, except to the extent contemplated by the Budget or the Financing Orders
  or as permitted hereunder.

                 (g)     The Borrower and its Subsidiaries shall at all times provide reasonable
  access for, and reasonable cooperation with, any financial advisors or other professionals to the
  Agent.

                 (h)     The Borrower and its Subsidiaries each agree that they shall take all
  actions necessary to cause each of the following to occur:

                              (1)     no later than 3 Business Days after the Petition Date, the
         Interim Order approving the Note shall be entered by the Bankruptcy Court;

                                 (2)    no later than 3 Business Days after the Petition Date, the
         Loan Parties shall file one or more motions seeking entry of orders authorizing and
         approving bid and sale procedures for all or substantially all of the Loan Parties’ assets
         (the “Sale Motion”), in form and substance reasonably acceptable to the Agent;

                               (3)     no later than 35 days after the Petition Date, the Final Order
         approving this Note shall be entered by the Bankruptcy Court;

                                (4)     no later than 35 days after the Petition Date the Bankruptcy
         Court shall have entered one or more orders, in form and substance reasonably acceptable
         to the Agent, approving the bid and sale procedures requested in the Sale Motion
         (including, if appropriate, approval of stalking horse and related protections);

                                  (5)     if the asset purchase agreement provided by the stalking
         horse bidder in connection with the Sale Motion does not provide for the payment in full
         in cash of the DIP Revolver Facility (and the Prepetition ABL Facility to the extent any
         amounts remain due and owing thereunder), then no later than the later of 50 days after
         the Petition Date or 3 Business Days prior to the deadline for objecting to the approval of
         the sale of all or substantially all of the Debtors’ assets, the stalking horse bidder shall
         have provided a commitment letter for replacement/refinancing of the DIP Revolver
         Facility (and the Prepetition ABL Facility to the extent any amounts remain due and
         owing thereunder), in form and substance reasonably acceptable to the DIP Revolver
         Administrative Agent and DIP Revolver Lenders. For the avoidance of doubt, Wingspire
         may provide such commitment letter;

                               (6)     no later than 60 days after the Petition Date the Bankruptcy
         Court shall have entered one or more orders authorizing and approving the sale of all or
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         substantially all of the Loan Parties’ assets pursuant to one or a series of related or
         unrelated sale transactions; and

                                  (7)     no later than 75 days after the Petition Date the sale of all
         of all or substantially all of the Debtors’ assets approved by the Bankruptcy Court
         pursuant to one or a series of related or unrelated sale transactions shall have been
         consummated in full.

                (i)      The Borrower agrees that it shall deliver (which delivery may be made by
  electronic communication (including email)) to the Agent each of the reports and other items set
  forth on Schedule I attached hereto no later than the times specified therein (or such later time as
  the Agent may agree). No less than once per week, the Borrower shall make its senior
  management and its advisors available at reasonable times and upon reasonable notice to the
  Agent and DIP Lenders to discuss the financial position, cash flows, variances, operations, sale
  process and general case status of the Loan Parties.

         15.     Negative Covenants. So long as any DIP Lender shall have any Commitment
  hereunder, or any Term Loan or other Obligation hereunder shall remain unpaid or unsatisfied,
  the Borrower shall not, nor shall it permit any Subsidiary to, without the prior written consent of
  the Agent:

                  (a)    Neither the Borrower nor any of its Subsidiaries shall directly or
  indirectly, by operation of law or otherwise, (i) form or acquire any Subsidiary, or (ii) merge
  with, consolidate with, acquire all or substantially all of the assets or Equity Interests of, or
  otherwise combine with or acquire, any Person, except in the case of this clause (ii), with respect
  to existing Subsidiaries to the extent consented to by the Agent (which consent shall not be
  unreasonably withheld), other than, in each case, any such action approved by an order of the
  Bankruptcy Court.

                 (b)    Neither the Borrower nor any of its Subsidiaries shall create, incur,
  assume or permit to exist any Indebtedness, except (without duplication), to the extent not
  prohibited by the Financing Orders, Permitted Indebtedness.

                (c)     Neither the Borrower nor any of its Subsidiaries shall create, incur,
  assume or permit to exist any Lien on or with respect to any of its properties or assets (whether
  now owned or hereafter acquired) except for Permitted Encumbrances.

                  (d)    Neither the Borrower nor any of its Subsidiaries shall (i) make any
  Restricted Payment, except dividends and distributions by Subsidiaries of the Borrower paid to
  the Borrower or other wholly-owned Subsidiaries of the Borrower and (ii) make any payment in
  respect of, or repurchase, redeem, retire or defease any, prepetition Indebtedness, except
  pursuant to the terms of the Financing Orders.

                  (e)     Neither the Borrower nor any of its Subsidiaries will assume, guarantee,
  endorse or otherwise become directly or contingently liable in connection with any obligations of
  any other Person (other than the Borrower or any of its Subsidiaries), except the endorsement of
  negotiable instruments by Borrower and its Subsidiaries for the deposit or collection or similar
  transactions in the ordinary course of business.
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                  (f)    Neither the Borrower nor any of its Subsidiaries will Dispose of any of its
  property, business or assets, whether now owned or hereinafter acquired other than (i) the sale of
  Inventory in the ordinary course of business, (ii) the Disposition of obsolete equipment, (iii) the
  sale of other property on terms acceptable to the Agent, and (iv) the Disposition of assets
  approved by an order of the Bankruptcy Court.

                  (g)      Neither the Borrower nor any of its Subsidiaries shall consent to any
  amendment, supplement or other modification of any of the terms or provisions contained in, or
  applicable to, (i) the Financing Orders or (ii) the Prepetition Obligations. Except for (A) claims
  of employees for unpaid wages, bonuses, accrued vacation and sick leave time, business
  expenses and contributions to employee benefit plans for the period immediately preceding the
  Petition Date and prepetition severance obligations, in each case to the extent permitted to be
  paid by order of the Bankruptcy Court, and (B) payments permitted by the Financing Orders and
  the Budget, subject to Permitted Variance, neither the Borrower nor any of its Subsidiaries shall
  make any payment in respect of, or repurchase, redeem, retire or defease any, prepetition
  Indebtedness, except for other payments consented to by the Agent in writing.

                 (h)     Neither the Borrower nor any of its Subsidiaries shall make any
  investment in, or make loans or advances of money to, any Person (other than another Loan
  Party), through the direct or indirect lending of money, holding of securities or otherwise.

                 (i)     Neither the Borrower nor any of its Subsidiaries shall change its fiscal
  year.

                  (j)     For each most recently ended Variance Testing Period, the Borrower shall
  not permit: (x) the Actual Cash Receipts to be less than Budgeted Cash Receipts (each calculated
  on a cumulative basis as opposed to on a line by line basis), in each case, for such Variance Testing
  Period, by more than the Permitted Variance for such Variance Testing Period, and (y) the
  aggregate amount of Actual Operating Disbursement Amounts to exceed the aggregate amount of
  Budgeted Operating Disbursement Amounts (each calculated on a cumulative basis as opposed to
  on a line by line basis), in each case, for such Variance Testing Period, by more than the Permitted
  Variance.

                  (k)     Neither the Borrower nor any of its Subsidiaries shall, directly or
  indirectly, use the Term Loans or the proceeds of the Term Loans, or lend, contribute or
  otherwise make available the Term Loans or the proceeds of the Term Loans to any Person, to
  fund any activities of or business with any Person, or in any Designated Jurisdiction, that, at the
  time of such funding, is the subject of Sanctions, or in any other manner that will result in a
  violation by any Person (including any Person participating in the transaction, whether as DIP
  Lender, Agent or otherwise) of Sanctions.

          16.     Events of Default; Rights and Remedies. Notwithstanding the provisions of
  Section 362 of the Bankruptcy Code and without application or motion to the Bankruptcy Court,
  the occurrence of any one or more of the following events (regardless of the reason therefor)
  shall constitute an “Event of Default” hereunder:

                 (a)     The Borrower (i) shall fail to make any payment of principal of, or interest

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  on, or fees owing in respect of, the Term Loans or any of the other Obligations when due and
  payable, or (ii) shall fail to pay or reimburse the Agent on behalf of the DIP Lenders for any
  expense reimbursable hereunder or under any other DIP Document within three (3) Business
  Days following the Agent’s demands for such reimbursement or payment and the passage of any
  notice period required in the Financing Orders.

                  (b)     Any Loan Party shall fail to comply with any of the provisions of Sections
  1(d), 1(e), 14(f), 14(g), 14(h), 14(i) and 15 of this Note.

                  (c)    Any Loan Party shall fail to comply with any other provision of this Note
  or any of the other DIP Documents (other than any provision embodied in or covered by any
  other clause of this Section 16) and the same, if capable of being remedied, shall remain
  unremedied for ten (10) Business Days after the earlier of the date (i) a senior officer of any
  Loan Party becomes aware of such failure and (ii) the date written notice of such default shall
  have been given by the Agent to such Loan Party.

                  (d)    Except for defaults occasioned by the filing of the Chapter 11 Cases and
  defaults resulting from obligations with respect to which the Bankruptcy Code prohibits any
  Loan Party from complying or permits any Loan Party not to comply, a default or breach shall
  occur under any agreement, document or instrument to which any Loan Party is a party (other
  than agreements, documents and instruments evidencing Prepetition Obligations) that is not
  cured within any applicable grace period therefor, and such default or breach (i) involves the
  failure to make any payment when due in respect of any Indebtedness (other than the
  Obligations) of any Loan Party in excess of $50,000 in the aggregate, or (ii) causes, or permits
  any holder of such Indebtedness or a trustee to cause, Indebtedness or a portion thereof in excess
  of $50,000 in the aggregate to become due prior to its stated maturity or prior to its regularly
  scheduled dates of payment, regardless of whether such default is waived, or such right is
  exercised, by such holder or trustee.

                  (e)     Any representation or warranty herein or in any other DIP Document or in
  any written statement, report, financial statement or certificate made or delivered to DIP Lenders
  by any Loan Party is untrue or incorrect in any material respect (except that such materiality
  qualifier shall not be applicable to any representations and warranties that already are qualified
  or modified by materiality in the text thereof) as of the date when made or deemed made.

                 (f)      Any Loan Party shall bring a motion in any Chapter 11 Case: (i) to obtain
  financing from any Person other than DIP Lenders or the DIP Revolving Lenders under Section
  364(c) or 364(d) of the Bankruptcy Code, except to the extent the proceeds of such financing
  would be used to repay in full all of the Obligations under this Note; (ii) to grant any Lien other
  than Permitted Encumbrances upon or affecting any Collateral, except to the extent the proceeds
  of any such financing secured by such Lien would be used to repay in full all of the Obligations
  under this Note; or (iii) to authorize any other action or actions adverse to the Agent or the DIP
  Lenders, or the Agent’s rights and remedies hereunder or their interests in the Collateral.

                 (g)     The entry of an order in any of the Chapter 11 Cases confirming a plan or
  plans of reorganization that does not contain a provision for the termination of the DIP Lenders’
  commitment to make Term Loans and the repayment in full in cash of all the Obligations under

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  this Note on or before the effective date of such plan or plans.

                (h)     The filing of any motion by the Borrower or any Loan Party against the
  DIP Lenders seeking, or the entry of any order in the Chapter 11 Cases in respect of, any claim
  or claims under Section 506(c) of the Bankruptcy Code against or with respect to any Collateral.

                 (i)     The sale, without the Agent’s consent, of all or substantially all of the
  Loan Parties’ assets either through a sale under Section 363 of the Bankruptcy Code, through a
  confirmed plan of reorganization in the Chapter 11 Cases, or otherwise, that does not provide for
  payment in full in cash of the Obligations and termination of the DIP Lenders’ commitment to
  make Term Loans.

                  (j)     The entry by the Bankruptcy Court of an order authorizing the
  appointment of an interim or permanent trustee in the Chapter 11 Cases or the appointment of an
  examiner in the Chapter 11 Cases with expanded powers to operate or manage the financial
  affairs, business, or reorganization of any Loan Party.

                (k)    The Chapter 11 Cases, or any of them, shall be dismissed or converted
  from cases under Chapter 11 to cases under Chapter 7 of the Bankruptcy Code.

                 (l)    The entry of an order in any Chapter 11 Case avoiding or requiring
  repayment of any portion of the payments made on account of the Obligations owing under this
  Note or the other DIP Documents.

                  (m)     The entry of an order in any Chapter 11 Case granting any other super-
  priority administrative claim or Lien equal to or superior to that granted to the Agent (other than
  any such claim or Lien permitted by the Financing Orders), unless (i) consented to by the Agent
  or (ii) the Obligations are paid in full in cash and the DIP Lenders’ commitment to make Term
  Loans is terminated.

                (n)     The entry of an order by the Bankruptcy Court granting relief from or
  modifying the automatic stay of Section 362 of the Bankruptcy Code to allow any creditor (other
  than the Agent) to execute upon or enforce a Lien on any Collateral except with respect to
  Permitted Encumbrances arising prior to the Petition Date in an aggregate amount not to exceed
  $50,000.

                 (o)     The Financing Orders (or either of them) shall be stayed, amended,
  modified, reversed or revoked in any respect without the Agent’s prior written consent.

                 (p)      There shall commence any suit or action against the Agent or any DIP
  Lender by or on behalf of (i) any Loan Party or (ii) any official committee in the Chapter 11
  Cases (other than a motion for standing to commence a suit or action), in each case, that asserts a
  claim or seeks a legal or equitable remedy that would have the effect of subordinating the claim
  or Lien of DIP Lenders and, if such suit or action is commenced by any Person other than
  Borrower or any Subsidiary, officer, or employee of Borrower, such suit or action shall not have
  been dismissed or stayed within 10 days after service thereof on the Agent or any DIP Lender, as
  applicable, and, if stayed, such stay shall have been lifted.


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                 (q)     Any provision of any DIP Document shall for any reason cease to be
  valid, binding and enforceable in accordance with its terms (or any Loan Party shall challenge
  the enforceability of any DIP Document or shall assert in writing, or engage in any action or
  inaction based on any such assertion, that any provision of any DIP Document has ceased to be
  or otherwise is not valid, binding and enforceable in accordance with its terms), or any Lien
  created under any DIP Document shall cease to be a valid and perfected first priority Lien
  (except as otherwise permitted herein or in the Financing Orders) in any of the Collateral
  purported to be covered thereby.

               (r)      The occurrence of (i) a DIP Termination Event (as defined in the
  Financing Orders) or (ii) an Event of Default under the DIP Revolver Facility.

                 (s)     Assets of any Loan Party with a fair market value of $200,000 or more are
  attached, seized, levied upon or subjected to a writ or distress warrant, or come within the
  possession of any receiver, trustee, custodian or assignee for the benefit of creditors of any Loan
  Party and such condition continues for ten (10) days or more.

                 (t)    A breach by any Loan Party of the terms of the Financing Orders.

                   (u)      Any agreement for the sale of the Loan Parties’ assets entered into
  pursuant to the Sale Motion and approved by the Bankruptcy Court, or any provision thereof, (i)
  shall fail to be in full force and effect or binding upon and enforceable against any Loan Party or
  any other party thereto in accordance with its terms, (ii) has been amended or modified without
  the consent of the Agent, or (iii) has been breached due to the action or inaction of any Loan
  Party or any other party thereto. Any party to a sale agreement shall have notified any other
  party to such agreement of its intent to terminate such agreement or any other event shall occur,
  or shall fail to occur, which, subject to a notice requirement or passage of time, would result in
  the termination of any such agreement.

                 (v)    Entry of an order authorizing and/or directing the reclamation of goods
  pursuant to section 546(c) of the Bankruptcy Code in excess of $50,000.

                  If any Event of Default shall have occurred and be continuing, then the Agent
  may, upon five (5) Business Days’ written notice to the Borrower and subject to the terms of the
  Financing Orders (the “Remedies Notice Period”): (i) terminate the Commitment of each DIP
  Lender with respect to further Term Loans; (ii) declare all or any portion of the Obligations,
  including all or any portion of any Term Loan, to be forthwith due and payable; (iii) revoke the
  Borrower’s rights to use Cash Collateral in which the Agent and the DIP Lenders have an
  interest; and (iv) exercise any rights and remedies under the DIP Documents (including, without
  limitation, termination of the Escrow Account) or at law or in equity, all in accordance with the
  Financing Orders and the Intercreditor Agreement. Upon the occurrence of an Event of Default
  and the exercise by the Agent or the DIP Lenders of their rights and remedies under this Note
  and the other DIP Documents pursuant to clause (iv) above and subject to the Financing Orders,
  each Loan Party shall assist the Agent in effecting a Disposition of the Collateral upon such
  terms as are designed to maximize the proceeds obtainable from such Disposition. On any date
  on which the Term Loans shall have been accelerated, subject to the Financing Orders, any
  amounts remaining in either the DIP Holding Account or the Escrow Account (other than with

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  respect to amounts necessary to fund the Carve-Out) may be applied by the Agent to reduce the
  Term Loans and other Obligations then outstanding. None of the Loan Parties shall have (and
  each Loan Party hereby affirmatively waives) any right to withdraw, claim or assert any property
  interest in any funds on deposit in the DIP Holding Account or the Escrow Account upon the
  occurrence and continuance of any Default or Event of Default. For the avoidance of doubt,
  notwithstanding the foregoing, during the Remedies Notice Period, unless otherwise provided
  herein, the Debtors (x) may not make any Withdrawal from the Escrow Account, and (y) may
  use Cash Collateral solely in amounts necessary to avoid immediate and irreparable harm to the
  Debtors’ Estates (including funding payroll and paying other administrative expenses) all in
  accordance with the Financing Orders and the Approved Budget, or that have otherwise been
  approved in advance in writing by the Agent.

                  Except as otherwise provided for in this Note, the Financing Orders or by
  applicable law, the Borrower waives: (a) presentment, demand and protest and notice of
  presentment, dishonor, notice of intent to accelerate, notice of acceleration, protest, default,
  nonpayment, maturity, release, compromise, settlement, extension or renewal of any or all
  commercial paper, accounts, contract rights, documents, instruments, chattel paper and
  guaranties at any time held by the Agent on which the Borrower may in any way be liable, and
  hereby ratifies and confirms whatever the Agent may do in this regard; (b) all rights to notice and
  a hearing prior to the Agent taking possession or control of, or Agent’s replevy, attachment or
  levy upon, the Collateral or any bond or security that might be required by any court prior to
  allowing Agent to exercise any of its remedies; and (c) the benefit of all valuation, appraisal,
  marshaling and exemption laws.

                  To the extent permitted by law and subject in all respects to the terms of the
  Financing Orders, the Agent’s sole duty with respect to the custody, safekeeping and physical
  preservation of the Collateral in its possession, under section 9-207 of the Uniform Commercial
  Code or otherwise, shall be to deal with it in the same manner as Agent deals with similar
  securities and property for its own account, the Agent’s duty of care with respect to Collateral in
  the custody or possession of a bailee or other third person shall be deemed fulfilled if the Agent
  exercises reasonable care in the selection of the bailee or other third person, and the Agent need
  not otherwise preserve, protect, insure or care for any Collateral, and the Agent shall not be
  obligated to preserve any rights any Loan Party may have against prior parties.

                  Any amount or payment received by the Agent or any DIP Lender from any Loan
  Party or from the proceeds of Collateral (subject to the terms of the Financing Orders) following
  (i) any acceleration of the Obligations under this Note or (ii) at the direction of the Agent or the
  Required Lenders after any Event of Default, shall be applied to the Obligations as determined
  by the Agent in its sole discretion and once paid in full, any excess shall be paid to the Borrower
  or as otherwise required by applicable law.

          17.    Reference Agreements. This Note evidences the Term Loans that may be made to
  Borrower from time to time in the aggregate principal amount outstanding of up to $18,000,000
  and is issued pursuant to and entitled to the benefits of the Financing Orders, to which reference
  is hereby made for a more complete statement of the terms and conditions under which the Term
  Loans evidenced by this Note are made and are to be repaid.


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         18.     Definitions; Certain Terms.

                  (a)     Definitions. The following terms used in this Note shall have the
  following meanings (and any of such terms may, unless the context otherwise requires, be used
  in the singular or the plural depending on the reference):

                 “ABL Holding Account” shall mean the account number ending in -8915 at Fifth
  Third Bank.

                “Actual Cash Receipts” shall mean with respect to any period, the actual amount
  that corresponds to the line item “Total Operating Receipts” as determined by reference to the
  Budget as then in effect.

                “Actual Net Operating Cash Flow” shall mean with respect to any period, the actual
  amount that corresponds to the line item “Net Cash Flow” in the Budget as then in effect.

                  “Actual Operating Disbursement Amounts” shall mean with respect to any period,
  the actual amount that corresponds to the line item “Total Operating Disbursements” in the Budget
  as then in effect.

                 “Actual Outstanding Debt” shall mean with respect to any period, the actual amount
  that corresponds to the “Ending Loan Balance” line item under the “Wingspire Post-Petition DIP
  Loan Balances” and “BT DIP Loan Balance” in the Budget as then in effect.

                 "Adjusted Term SOFR" means, for purposes of any calculation, the rate per annum
  equal to (a) Term SOFR for such calculation plus (b) the Term SOFR Adjustment.

                 "Anticipated Net Disbursements" shall mean, with respect to Friday of any week,
  the positive difference of (a) the amount of disbursements reasonably anticipated to be made
  during the week immediately following such Friday as set forth in the Budget (subject to Permitted
  Variance), minus (b) the sum of (x) the amount of cash receipts expected to be received by the
  Loan Parties during such week as set forth in the Budget (subject to Permitted Variance), (y)
  estimated cash in the ABL Holding Account as of such Friday, and (z) estimated Availability under
  the DIP Revolver Facility.

                  “Approved Budget Variance Report” shall mean a report provided by the
  Borrower to the Agent and the DIP Lenders (a) showing, in each case, on a line item by line item
  and a cumulative basis, the Actual Cash Receipts, the Actual Operating Disbursement Amounts,
  the Actual Net Operating Cash Flow and the Actual Outstanding Debt, in each case as of the last
  day of the Variance Testing Period then most recently ended, noting therein (i) all variances, on a
  cumulative basis, from the Budgeted Cash Receipts, the Budgeted Operating Disbursement
  Amounts, the Budgeted Net Operating Cash Flow and the Budgeted Outstanding Debt for such
  period as set forth in the Approved Budget as in effect for such period and (ii) containing an
  indication as to whether each variance is temporary or permanent and analysis and explanations
  for all material variances, (iii) certifying compliance or non-compliance in such Variance Testing
  Period with the Permitted Variances and (iv) including explanations for all material variances
  and violations, if any, of such covenant and if any such violation exists, setting forth the actions
  which the Borrower has taken or intend to take with respect thereto and (b) which such reports
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  shall contain supporting information, satisfactory to the Agent in its sole discretion.

                 “Bankruptcy Code” shall have the meaning given such term in the recital to this
  Note.

                 “Bankruptcy Court” shall have the meaning given such term in the recital to this
  Note.

                 “Borrower” shall have the meaning given such term in the recital to this Note.

                 “Budget” shall mean a rolling thirteen (13) week forecast of projected receipts,
  disbursements, net cash flow, liquidity and loans for the immediately following consecutive
  thirteen (13) weeks after the date of delivery, which shall be in substantially the form of the
  Initial Budget or otherwise in form and substance acceptable to the Agent and shall be approved
  by the Agent, in the Agent’s sole discretion. The initial Budget (the “Initial Budget”) is attached
  hereto as Exhibit A.

                 “Budgeted Cash Receipts” shall mean with respect to any period, the amount that
  corresponds to the line item “Total Cash Receipts” in the Budget, as then in effect.

                “Budgeted Net Operating Cash Flow” shall mean with respect to any period, the
  actual amount that corresponds to the line item “Net Cash Flow” in the Budget as then in effect.

                “Budgeted Operating Disbursement Amounts” shall mean with respect to any
  period, the amount that corresponds to the line item “Total Operating Disbursements” in the
  Budget.

                “Budgeted Outstanding Debt” shall mean with respect to any period, the actual
  amount that corresponds to the “Ending Loan Balance” line item for the “Wingspire Post-Petition
  DIP Loan Balances” and “BT DIP Loan Balance” in the Budget as then in effect.

                 “Business Day” shall mean (a) for all purposes other than as described in clause
  (b) below, any day other than a Saturday, Sunday or legal holiday under the laws of the State of
  New York or any other day on which banking institutions located in the State of New York are
  authorized or required by law or other governmental action to close, and (b) with respect to the
  borrowing, payment or continuation of, or determination of interest rate on the Term Loans, any
  U.S. Government Securities Business Day.

                 “Carve-Out” shall have the meaning given such term in the Financing Orders.

                 “Cash Collateral” shall have the meaning given to such term in the Financing
  Orders.

                 “Chapter 11 Case” and “Chapter 11 Cases” shall have the respective meanings
  given such terms in the recital to this Note.

                 “Closing Date” shall mean the Business Day when each of the conditions applicable
  to the funding of the Term Loans (other than any Final Order Term Loans) and listed in Section

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  2(a) of this Note shall have been satisfied or waived in a manner satisfactory to the Agent.

                  “Collateral” shall mean the assets and property covered by the Financing Orders
  and the other Collateral Documents and any other assets and property, real or personal, tangible or
  intangible, now existing or hereafter acquired, that may at any time be or become subject to a
  security interest or Lien in favor of the Agent on behalf of the DIP Lenders, to secure the
  Obligations and the Guaranteed Obligations. Without limiting the foregoing, the Collateral shall
  include all present and future property of each Loan Party under Section 541(a) of the Bankruptcy
  Code (including, without limitation, the proceeds of avoidance actions upon entry of the Final
  Order) and all proceeds thereof.

                 “Collateral Documents” shall mean each agreement entered into pursuant to
  Section 12 hereof and all similar agreements entered into guaranteeing payment of, or granting a
  Lien upon property as security for payment of, the Obligations and the Guaranteed Obligations,
  including the Financing Orders and the Guaranty.

                 “Commitment” shall mean, with respect to each DIP Lender, the commitment of
  such DIP Lender to make its portion of the Term Loans to the Borrower in the principal amount
  set forth on Schedule II hereto, as the same may be terminated or reduced from time to time in
  accordance with the terms of this Note.

                 "Conforming Changes" means, with respect to the use or administration of Term
  SOFR, any technical, administrative or operational changes (including changes to the definition of
  "Business Day," the definition of "U.S. Government Securities Business Day," the definition of
  "Interest Period" or any similar or analogous definition (or the addition of a concept of "interest
  period"), timing and frequency of determining rates and making payments of interest, timing of
  borrowing requests or prepayment, conversion or continuation notices, the applicability and length
  of lookback periods, and other technical, administrative or operational matters) that the Agent
  decides may be necessary or appropriate to reflect the adoption and implementation of any such
  rate or to permit the use and administration thereof by the Agent in a manner substantially
  consistent with market practice (or, if the Agent decides that adoption of any portion of such
  market practice is not administratively feasible or if the Agent determines that no market practice
  for the administration of any such rate exists, in such other manner of administration as the Agent
  decides is reasonably necessary or appropriate in connection with the administration of this
  Agreement and the other DIP Documents).

                 “Debtors” shall have the meaning given to such term in the Financing Orders.

                 “Default” shall mean an event which, with the giving of notice or the lapse of time
  or both, would constitute an Event of Default.

                 “Default Rate” shall have the meaning given such term in Section 4(d) of this Note.

                 “Designated Jurisdiction” shall mean any country or territory that is the target of a
  Sanction.

               “DIP Documents” shall mean the Note, the Collateral Documents, the Guaranty,
  the Escrow Agreement and all other agreements, instruments, documents and certificates executed
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  and delivered to, or in favor of the Agent in connection with this Note. Any reference in this Note
  or any other DIP Document to a DIP Document shall include all appendices, exhibits or schedules
  thereto, and all amendments, restatements, amendments and restatements supplements or other
  modifications thereto, and shall refer to such DIP Document as the same may be in effect at any
  and all times such reference becomes operative.

                “DIP Holding Account” shall mean the account into which the proceeds of each
  Withdrawal from the Escrow Account shall be deposited and maintained pending transfer to the
  ABL Holding Account.

                 “DIP Lenders” shall have the meaning given such term in the recital to this Note.

                 “DIP Revolver Agent” shall have the meaning given to such term in the Financing
  Order.

                 “DIP Revolver Facility” shall have the meaning given to such term in the Financing
  Orders.

                 “DIP Revolver Lenders” shall have the meaning given to such term in the Financing
  Order.

                 “Dispose” or “Disposition” means any transaction, or series of related transactions,
  pursuant to which any Person or any of its Subsidiaries sells, assigns, transfers, leases, licenses (as
  licensor) or otherwise disposes of any property or assets (whether now owned or hereafter
  acquired) to any other Person, in each case, whether or not the consideration therefor consists of
  cash, securities or other assets owned by the acquiring Person. For purposes of clarification,
  “Disposition” shall include (a) the sale or other disposition for value of any contracts, (b) any
  disposition of property through a “plan of division” under the Delaware Limited Liability
  Company Act or any comparable transaction under any similar law, (c) the early termination or
  modification of any contract resulting in the receipt by any Loan Party of a cash payment or other
  consideration in exchange for such event (other than payments in the ordinary course for accrued
  and unpaid amounts due through the date of termination or modification) or (d) any sale of
  merchant accounts (or any rights thereto (including, without limitation, any rights to any residual
  payment stream with respect thereto)) by any Loan Party.

                 “Dollars” or “$” shall mean lawful currency of the United States of America.

               “Equity Interests” shall have the meaning given such term in the Prepetition Term
  Loan Credit Agreement whether or not such agreement remains in effect.

                  “Escrow Account” shall mean an escrow account with the Escrow Agent into which
  the proceeds of the Term Loans (and amounts described in Section 1(f)) shall be deposited and
  retained subject to withdrawal thereof by the Borrower pursuant to the terms hereof for use in
  accordance with the terms hereof and of the Budget (subject to any Permitted Variance) or return
  thereof to the DIP Lenders upon the occurrence of the Maturity Date.

                 “Escrow Agent” shall mean Alter Domus.


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                 “Escrow Agreement” shall mean an Escrow Agreement dated as of the Closing
  Date (as amended, restated, amended and restated, supplemented or otherwise modified from time
  to time) among the Borrower, the Escrow Agent and the Agent (for and on behalf of the DIP
  Lenders) relating to the Escrow Account in form and substance reasonably satisfactory to the DIP
  Agent and the Borrower.

                 “Event of Default” shall have the meaning given such term in Section 16 of this
  Note.

                  “Excluded Taxes” shall mean any of the following Taxes imposed on or with
  respect to a Recipient or required to be withheld or deducted from a payment to a Recipient, (a)
  Taxes imposed on or measured by net income (however denominated), franchise Taxes, and
  branch profits Taxes, in each case, imposed as a result of such Recipient being organized under
  the laws of, or having its principal office or, in the case of any DIP Lender, its applicable lending
  office located in, the jurisdiction imposing such Tax (or any political subdivision thereof), (b) in
  the case of a DIP Lender, federal withholding Taxes imposed on amounts payable to or for the
  account of such DIP Lender with respect to an applicable interest in Term Loans or Commitment
  pursuant to a law in effect on the date on which (i) such DIP Lender acquires such interest in the
  Term Loans or Commitment or (ii) such DIP Lender changes its lending office, except in each
  case to the extent that, pursuant to Section 10, amounts with respect to such Taxes were payable
  either to such DIP Lender’s assignor immediately before such DIP Lender became a party hereto
  or to such DIP Lender immediately before it changed its lending office, (c) Taxes attributable to
  such Recipient’s failure to provide the Borrower with the tax documentation described in Section
  10 hereof and (d) any withholding Taxes imposed under FATCA.

                 “Extraordinary Receipts” shall mean any cash received by Borrower or any of its
  Subsidiaries not in the ordinary course of business (and not consisting of proceeds described in
  Sections 7(a)(i) and 7(a)(ii) hereof) from (i) foreign, United States, state or local tax refunds, (ii)
  pension plan reversions, (iii) proceeds of insurance (other than to the extent such insurance
  proceeds are immediately payable to a Person that is not Corsicana Parent Co., LLC (“Parent”), a
  Delaware limited liability company, or any of its Subsidiaries), (iv) judgments, proceeds of
  settlements or other consideration of any kind in connection with any cause of action, (v)
  condemnation awards (and payments in lieu thereof), (vi) indemnity payments (other than to the
  extent such payments described in the foregoing clauses (iv), (v) and (vi) are immediately payable
  to a Person that is not an affiliate of the Parent or any of its Subsidiaries) and (vii) any purchase
  price adjustment received in connection with any purchase agreement.

                  “FATCA” shall mean Sections 1471 through 1474 of the Internal Revenue Code,
  as of the date of this Note (or any amended or successor version that is substantively comparable
  and not materially more onerous to comply with), any current or future regulations or official
  interpretations thereof, any agreements entered into pursuant to Section 1471(b)(1) of the Internal
  Revenue Code and any fiscal or regulatory legislation, rules or practices adopted pursuant to any
  intergovernmental agreement, treaty or convention among governmental authorities and
  implementing such Sections of the Internal Revenue Code.

                 “Final Order” shall mean the order of the Bankruptcy Court entered in the Chapter
  11 Cases after a final hearing pursuant to Section 364 of the Bankruptcy Code and Bankruptcy

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  Rule 4001, in form and substance satisfactory to the Agent, together with all extensions,
  modifications and amendments thereto, authorizing Borrower to obtain credit, incur Indebtedness,
  and grant Liens under this Note and/or certain financing documentation, all as set forth in such
  order.

                   “Final Order Term Loan” shall have the meaning given such term in Section 1(a).

                   “Financing Orders” shall mean, collectively, the Interim Order and the Final Order,
  as applicable.

                   "Floor" shall mean a rate of interest equal to 1.5%.

                   “GAAP” shall mean generally accepted accounting principles in the United States
  of America.

                “Guaranteed Obligations” shall mean the obligations to be guaranteed by each
  Guarantor pursuant to the terms of the Guaranty.

                   “Guarantor” shall have the meaning given such term in the recital to this Note.

                 “Guaranty” shall mean the Guaranty, dated as of the date hereof, made by the
  Guarantors in favor of the Agent.

                 “Indebtedness” shall have the meaning given such term in the Prepetition Term
  Loan Credit Agreement (and the defined terms used in such definition and defined in the
  Prepetition Term Loan Credit Agreement shall have the meanings given such terms therein, unless
  any such term is also defined herein, in which case each such defined term used in such definition
  shall have the meaning provided herein) whether or not such agreement remains in effect and
  without giving effect to any amendments or other modifications thereto made after the Closing
  Date.

                   “Indemnified Person” shall have the meaning given such term in Section 9 of this
  Note.

                 “Indemnified Taxes” shall mean (a) Taxes, other than Excluded Taxes, imposed on
  or with respect to any payment made by or on account of any obligation of the Borrower under
  any DIP Document and (b) to the extent not otherwise described in (a), Other Taxes.

               “Intercreditor Agreement” shall have the meaning given to such term in the
  Financing Orders.

                  "Interest Period" means, with respect to each Term Loan, a period commencing
  on the date of the making of such Term Loan (or the continuation of a Term Loan) and ending 3
  months thereafter; provided, however, that (a) if any Interest Period would end on a day that is
  not a Business Day, such Interest Period shall be extended (subject to clauses (c)-(e) below) to
  the next succeeding Business Day, (b) interest shall accrue at the applicable rate based upon
  Adjusted Term SOFR from and including the first day of each Interest Period to, but excluding,
  the day on which any Interest Period expires, (c) any Interest Period that would end on a day that

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  is not a Business Day shall be extended to the next succeeding Business Day unless such
  Business Day falls in another calendar month, in which case such Interest Period shall end on the
  next preceding Business Day, (d) with respect to an Interest Period that begins on the last
  Business Day of a calendar month (or on a day for which there is no numerically corresponding
  day in the calendar month at the end of such Interest Period), the Interest Period shall end on the
  last Business Day of the calendar month that is 3 months after the date on which the Interest
  Period began, as applicable, and (e) the Borrowers may not elect an Interest Period which will
  end after the Maturity Date.

                 “Interim Order” shall mean the interim order of the Bankruptcy Court entered in
  the Chapter 11 Cases after an interim hearing (assuming satisfaction of the standards prescribed in
  Section 364 of the Bankruptcy Code and Bankruptcy Rule 4001 and other applicable law), together
  with all extensions, modifications and amendments thereto, satisfactory in form and substance to
  the Agent, authorizing, on an interim basis, Borrower to execute and perform under the terms of
  this Note and the other DIP Documents.

              “Inventory” shall have the meaning given such term in the Prepetition ABL Credit
  Agreement whether or not such agreement remains in effect.

                  “Lien” shall mean any mortgage or deed of trust, pledge, hypothecation,
  assignment, deposit arrangement, lien, charge, claim, security interest, easement or encumbrance,
  or preference, priority or other security agreement or preferential arrangement of any kind or nature
  whatsoever (including any lease or any financing lease having substantially the same economic
  effect as any of the foregoing, and the filing of, or agreement to give, any financing statement
  perfecting a security interest under the Uniform Commercial Code or comparable law of any
  jurisdiction).

                 “Loan Party” shall mean the Borrower and any Guarantor.

                    “Material Adverse Effect” shall mean a material adverse effect on (i) the
  operations, business, assets, properties or financial condition of the Loan Parties taken as a whole,
  (ii) the ability of the Loan Parties to perform payment or other material obligations under any DIP
  Document, (iii) the legality, validity or enforceability of this Note or any other DIP Document,
  (iv) the rights and remedies of the Agent and the DIP Lenders under any DIP Document, or (v) the
  validity, perfection or priority of a Lien in favor of DIP Lenders on any of the Collateral; provided,
  however that “Material Adverse Effect” shall expressly exclude any change, event or occurrence,
  arising individually or in the aggregate, from events that could reasonably be expected to result
  from the filing or commencement of the Chapter 11 Cases or the announcement of the filing or
  commencement of the Chapter 11 Cases.

                  “Maturity Date” shall mean the earliest to occur of (i) October 23, 2022, or if such
  date is not a Business Day the immediately following Business Day, (ii) July 30, 2022, if the Final
  Order has not been entered by the Bankruptcy Court on or prior to such date, or if such date is not
  a Business Day the immediately following Business Day, (iii) the consummation of a sale of all or
  substantially of the Debtors’ assets pursuant to the Sale Motion or otherwise; (iv) the substantial
  consummation of a plan of reorganization filed in the Chapter 11 Cases that is confirmed pursuant
  to an order of the Bankruptcy Court, or (v) the date on which the Term Loans are accelerated

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  pursuant to Section 16.

                 “Maximum Amount” shall have the meaning given such term in Section 1 of this
  Note.

                 “Note” shall have the meaning given such term in the recital to this Note.

                  “Obligations” shall mean all loans, advances, debts, liabilities and obligations for
  the performance of covenants, tasks or duties or for payment of monetary amounts (whether or not
  such performance is then required or contingent, or such amounts are liquidated or determinable)
  owing by Borrower to Agent and DIP Lenders arising under the Note or any of the other DIP
  Documents, and all covenants and duties regarding such amounts, of any kind or nature, present
  or future, arising under the Note or any of the other DIP Documents. This term includes all
  principal, interest, fees, charges, expenses, reasonable and documented attorneys’ fees and any
  other sum chargeable to Borrower under the Note or any of the other DIP Documents.

                “OFAC” shall mean the Office of Foreign Assets Control of the United States
  Department of the Treasury.

                 “Other Taxes” shall have the meaning given such term in Section 10 of this Note.

                 “Participant Register” shall have the meaning given such term in Section 21 of this
  Note.

                 “Payment Office” shall mean such account, office or offices of the Agent as may
  be designated in writing from time to time by the Agent to Borrower.

                  "Periodic Term SOFR Determination Day" has the meaning specified therefor in
  the definition of “Term SOFR”.

                   “Permitted Encumbrances” shall mean the following encumbrances: (a) Liens for
  taxes or assessments or other governmental charges (i) not yet due and payable, (ii) that are being
  contested in good faith by appropriate proceedings diligently conducted and adequate reserves
  with respect thereto are maintained on the books of the applicable Person in accordance with
  GAAP, or (iii) the nonpayment of which is permitted or required by the Bankruptcy Code; (b)
  pledges or deposits of money securing statutory obligations under workmen’s compensation,
  unemployment insurance, social security or public liability laws or similar legislation (excluding
  Liens under ERISA); (c) pledges or deposits of money securing bids, tenders, contracts (other than
  contracts for the payment of money) or leases to which any Loan Party is a party as lessee made
  in the ordinary course of business; (d) carriers’, warehousemen’s, suppliers’ or other similar
  possessory liens arising in the ordinary course of business; (e) deposits securing, or in lieu of,
  surety, appeal or customs bonds in proceedings to which any Loan Party is a party; (f) zoning
  restrictions, easements, licenses, or other restrictions on the use of any real estate or other minor
  irregularities in title (including leasehold title) thereto so long as the same do not materially impair
  the use, value, or marketability of such real estate; (g) the Agent’s and DIP Lenders’ Liens; (h)
  Liens existing on the Petition Date (to the extent valid, enforceable, perfected and not subject to
  avoidance as of the Petition Date or perfected after the Petition Date pursuant to section 546(b) of
  the Bankruptcy Code); (i) Liens in favor of the Prepetition Secured Parties and other Liens granted
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  pursuant to the Financing Orders (including, to the extent constituting a Lien, the Carve-Out); and
  (j) to the extent constituting Liens, Liens on goods delivered to any Loan Party after the Petition
  Date under any consignment or similar title retention agreements; provided that no encumbrance
  (other than the Liens described in clause (g) above and the Carve-Out) on the Escrow Agreement,
  the DIP Holding Account or the Escrow Account or amounts held therein or proceeds thereof shall
  be a Permitted Encumbrance.

                 “Permitted Indebtedness” shall mean: (a) current Indebtedness incurred in the
  ordinary course of business for inventory, supplies, equipment, services, taxes or labor; (b)
  Indebtedness arising under this Note and the other DIP Documents; (c) DIP Revolver Facility
  Indebtedness; (d) Prepetition Obligations; (e) deferred taxes and other expenses incurred in the
  ordinary course of business; (f) any Indebtedness existing on the Petition Date; and (g)
  administrative expenses of Borrower for which the Bankruptcy Court has not directed payment.

                  “Permitted Prior Liens” shall mean certain permitted senior liens as expressly set
  forth in the Financing Orders.

                  “Permitted Variances” shall mean, with respect to any Variance Testing Period, (a)
  in respect of the aggregate amount of Actual Operating Disbursement Amounts, (x) 20% for the
  Initial Two Week Disbursements Period, (y) 20% for the Initial Three Week Disbursements
  Period, and (z) 15% for the Initial Four Week Disbursements Period and each Four Week
  Disbursements Period and (b) in respect of Actual Cash Receipts (x) 20% for the Initial Two Week
  Receipts Period, (y) 15% for the Initial Three Week Receipts Period, and (z) 15% for the Initial
  Four Week Receipts Period and each Four Week Receipts Period thereafter..

                 “Person” shall mean any individual, sole proprietorship, partnership, joint venture,
  trust, unincorporated organization, association, corporation, limited liability company, institution,
  public benefit corporation, other entity or government (whether federal, state, county, city,
  municipal, local, foreign, or otherwise, including any instrumentality, division, agency, body or
  department thereof).

                 “Petition Date” shall have the meaning given such term in the recital to this Note.

                 “Prepetition Obligations” shall have the meaning given such term in the Financing
  Orders.

               “Prepetition Secured Parties” shall have the meaning given such term in the
  Financing Orders.

                “Prepetition Term Loan Agreement” shall have the meaning given to such term in
  the Financing Orders.

                “Pro Rata Share” shall mean with respect to a DIP Lender’s obligation to make
  Term Loans and receive payments of interest, fees and principal with respect thereto, the
  percentage obtained by dividing (i) such DIP Lender’s Commitment by (ii) the Maximum Amount.

                 “Recipient” shall mean the Agent or any DIP Lender, as applicable.


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                 “Register” shall have the meaning given such term in Section 21 of this Note.

                 “Registered Loan” shall have the meaning given such term in Section 21 of this
  Note.

                 “Related Fund” shall mean, with respect to any Person, an affiliate of such Person,
  or a fund or account managed by such Person or an affiliate of such Person.

                 “Related Parties” shall mean, with respect to any specified Person, such Person’s
  affiliates and the respective managers, administrators, trustees, partners, investors, directors,
  officers, employees, agents, advisors, sub-advisors or other representatives of such Person and
  such Person’s affiliates.

                "Relevant Governmental Body" shall mean the Board of Governors of the Federal
  Reserve System or the Federal Reserve Bank of New York, or a committee officially endorsed or
  convened by the Board of Governors of the Federal Reserve System or the Federal Reserve Bank
  of New York, or any successor thereto.

                “Required Lenders” shall mean, at any time, DIP Lenders whose aggregate Pro
  Rata Shares exceed 50%.

                 “Reserve Percentage” means, on any day, for any DIP Lender, the maximum
  percentage prescribed by the Board (or any successor Governmental Authority) for determining
  the reserve requirements (including any basic, supplemental, marginal, or emergency reserves)
  that are in effect on such date with respect to eurocurrency funding (currently referred to as
  “eurocurrency liabilities”) of that DIP Lender, but so long as such DIP Lender is not required or
  directed under applicable regulations to maintain such reserves, the Reserve Percentage shall be
  zero.

                 "Resignation Effective Date" shall have the meaning given such term in Section
  20(g)(1).

                  “Restricted Payment” shall mean any dividend or other distribution (whether in
  cash, securities or other property) with respect to any capital stock or other Equity Interest of any
  Person or any of its Subsidiaries, or any payment (whether in cash, securities or other property),
  including any sinking fund or similar deposit, on account of the purchase, redemption, retirement,
  defeasance, acquisition, cancellation or termination of any such capital stock or other Equity
  Interest, or on account of any return of capital to any Person’s stockholders, partners or members
  (or the equivalent of any thereof), or any option, warrant or other right to acquire any such dividend
  or other distribution or payment.

                 “Responsible Officer” means the chief executive officer, chief financial officer,
  chief operating officer, general counsel or chief restructuring officer of the Borrower.

                 “Sale Motion” shall have the meaning given such term in Section 14 of this Note.

               “Sanction” shall mean any sanction administered or enforced by the United States
  Government (including, without limitation, OFAC), the United Nations Security Council, the

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  European Union, Her Majesty’s Treasury or other relevant sanctions authority.

                "SOFR" means a rate equal to the secured overnight financing rate as
  administered by the SOFR Administrator.

                "SOFR Administrator" means the Federal Reserve Bank of New York (or a
  successor administrator of the secured overnight financing rate).

                   “Subsidiary” of a Person shall mean a corporation, partnership, joint venture,
  limited liability company or other business entity of which a majority of the shares of securities or
  other interests having ordinary voting power for the election of directors or other governing body
  (other than securities or interests having such power only by reason of the happening of a
  contingency) are at the time beneficially owned, or the management of which is otherwise
  controlled, directly, or indirectly through one or more intermediaries, or both, by such Person.
  Unless otherwise specified, all references herein to a “Subsidiary” or to “Subsidiaries” shall refer
  to a Subsidiary or Subsidiaries of the Borrower.

                 “Successor Case” shall have the meaning given such term in the Financing Orders.

                 “Taxes” shall have the meaning given such term in Section 10 of this Note.

                 “Term Loans” shall have the meaning given such term in Section 1 of this Note.

                   “Term SOFR” shall mean the Term SOFR Reference Rate for a tenor comparable
  to the applicable Interest Period on the day (such day, the "Periodic Term SOFR Determination
  Day") that is two (2) U.S. Government Securities Business Days prior to the first day of such
  Interest Period, as such rate is published by the Term SOFR Administrator; provided, however,
  that if as of 5:00 p.m. (New York City time) on any Periodic Term SOFR Determination Day the
  Term SOFR Reference Rate for the applicable tenor has not been published by the Term SOFR
  Administrator, then Term SOFR will be the Term SOFR Reference Rate for such tenor as
  published by the Term SOFR Administrator on the first preceding U.S. Government Securities
  Business Day for which such Term SOFR Reference Rate for such tenor was published by the
  Term SOFR Administrator so long as such first preceding U.S. Government Securities Business
  Day is not more than three (3) U.S. Government Securities Business Days prior to such Periodic
  Term SOFR Determination Day; provided, further, that if Term SOFR determined as provided
  above (including as determined in the first proviso) shall ever be less than the Floor, then Term
  SOFR shall be deemed to be the Floor.

                "Term SOFR Adjustment" means, for any calculation with respect to a Term
  Loan, a percentage per annum equal to 0.26161%.

                  "Term SOFR Administrator" means CME Group Benchmark Administration
  Limited (CBA) (or a successor administrator of the Term SOFR Reference Rate selected by the
  Agent in its reasonable discretion).

                 "Term SOFR Reference Rate" means the forward-looking term rate based on
  SOFR.


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                 “U.S. Government Securities Business Day” means any day except for (a) a
  Saturday, (b) a Sunday or (c) a day on which the Securities Industry and Financial Markets
  Association recommends that the fixed income department of its members be closed for the entire
  day for purposes of trading in United States government securities.

                 “Variance Testing Period” shall mean each of (a) in respect of Actual Operating
  Disbursement Amounts, (w) the two week period ending on July 15, 2022 (“Initial Two Week
  Disbursements Period”), (x) the three week period ending on July 22, 2022 (“Initial Three Week
  Disbursements Period”), (y) the four week period ending on July 29, 2022 (“Initial Four Week
  Disbursements Period”), and (z) thereafter the rolling four week period ending on each Friday
  (each a, “Four Week Disbursements Period”) and (b) in respect of Actual Cash Receipts (w) the
  two week period ending on July 15, 2022 (“Initial Two Week Receipts Period”), (x) the three week
  period ending on July 22, 2022 (“Initial Three Week Receipts Period”), (y) the four week period
  ending on July 29, 2022 (“Initial Four Week Receipts Period”), and (z) thereafter the rolling four
  week period ending on each Friday (each a “Four Week Receipts Period”).

                    “Withdrawal” means a withdrawal from the Escrow Account made in accordance
  with Section 2.

                 “Withdrawal Date” means the date of the making of any Withdrawal.

                  “Withdrawal Liquidity Condition” shall mean, with respect to any Withdrawal, the
  amount of the requested withdrawal does not exceed the positive difference of (a) the amount of
  disbursements reasonably anticipated to be made during the period from such withdrawal date to
  the last Business Day of the week following such withdrawal date as set forth in the Approved
  Budget (subject to Permitted Variances), minus (b) the sum (without duplication) of (x) the amount
  of cash receipts reasonably expected to be received by the Debtors during the period from such
  withdrawal date to the last Business Day of the week following such withdrawal date as set forth
  in the Budget (subject to Permitted Variances), (y) estimated cash in Debtor bank accounts as of
  such withdrawal date, and (z) Availability (as defined in the DIP Revolver Facility) expected to
  be available to the Debtors from the withdrawal date to the last Business Day of the week following
  such Withdrawal Date.

               “Withdrawal Notice” means a request to make a Withdrawal, which shall include
  the Withdrawal Date and a certification by a Responsible Officer of the satisfaction of the
  Withdrawal Liquidity Condition for such Withdrawal.

                  (b)      Rates. The Agent does not warrant or accept responsibility for, and shall
  not have any liability with respect to (a) the continuation of, administration of, submission of,
  calculation of or any other matter related to the Term SOFR Reference Rate, Adjusted Term SOFR
  or Term SOFR, or any component definition thereof or rates referred to in the definition thereof,
  or (b) the effect, implementation or composition of any Conforming Changes. The Agent and its
  Affiliates or other related entities may engage in transactions that affect the calculation of the Term
  SOFR Reference Rate, Term SOFR, Adjusted Term SOFR, or any relevant adjustments thereto,
  in each case, in a manner adverse to the Borrowers. The Agent may select information sources or
  services in its reasonable discretion to ascertain the Term SOFR Reference Rate, Term SOFR,
  Adjusted Term SOFR, in each case pursuant to the terms of this Note, and shall have no liability

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  to the Borrower, any Lender or any other Person for damages of any kind, including direct or
  indirect, special, punitive, incidental or consequential damages, costs, losses or expenses (whether
  in tort, contract or otherwise and whether at law or in equity), for any error or calculation of any
  such rate (or component thereof) provided by any such information source or service.

         19.      Representations and Warranties. The Borrower and each of the other Loan Parties
  represents as follows:

                 (a)     the Borrower and each of the Loan Parties are duly formed and/or organized
  and validly existing under the laws of their jurisdictions of incorporation or formation;

                  (b)   upon entry of the Financing Orders, the execution and delivery of this Note
  and the other DIP Documents and the performance by the Borrower of the Borrower’s obligations
  hereunder and under the other DIP Documents are within its corporate powers, have been duly
  authorized by all necessary corporate action of the Borrower, have received all necessary
  bankruptcy, insolvency or governmental approvals, and do not and will not contravene or conflict
  with any provisions of applicable material law or of the Borrower’s corporate charter or by-laws
  or of any agreements binding upon or applicable to the Borrower or any of its Subsidiaries or any
  of their properties;

                 (c)     the Chapter 11 Cases have been duly authorized by all necessary legal and
  corporate action by or on behalf of each Loan Party and have been duly and properly commenced;

                   (d)    upon entry of the Financing Orders, this Note and each other DIP Document
  is a legal, valid and binding obligation, enforceable against the Borrower in accordance with its
  terms subject to applicable bankruptcy, insolvency, reorganization, moratorium or other laws
  affecting creditors’ rights generally, including the entry of the Financing Orders and subject to
  general principles of equity, regardless of whether considered in a proceeding in equity or at law;

                 (e)      other than as a result of the Chapter 11 Cases and subject to any necessary
  orders or authorization of the Bankruptcy Court, the Borrower and the Loan Parties have good and
  marketable title to, or valid leasehold interests in, all of its material property and assets; none of
  the properties and assets of the Borrower and its Subsidiaries are subject to any Liens other than
  Permitted Encumbrances;

                  (f)    no written statement furnished by or on behalf of the Borrower and its
  Subsidiaries to the DIP Lenders pursuant to the terms of this Note (other than any projections, the
  Budget, estimates and information of a general economic nature or general industry nature), when
  taken as a whole, contains any untrue statement of a material fact or omits to state a material fact
  necessary to make the statements contained herein or therein not materially misleading in light of
  all of the circumstances under which they were made;

                  (g)    upon entry of the Financing Orders, the Liens granted to the DIP Lenders
  pursuant to the Collateral Documents and the Financing Orders will at all times be fully perfected
  Liens in and to the Collateral described therein, subject, as to priority, only to Permitted Prior Liens
  or other Liens permitted to have such priority under the Financing Orders and the Intercreditor
  Agreement;

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                 (h)     except for proceedings in or related to the Chapter 11 Cases, no action,
  claim, lawsuit, demand, investigation or proceeding is now pending or, to the knowledge of the
  Borrower, threatened in writing against the Borrower of its Subsidiaries before any governmental
  authority or before any arbitrator or panel of arbitrators that challenges the rights or powers of the
  Borrower or its Subsidiaries to enter into or perform any of its obligations under the DIP
  Documents to which it is a party, or the validity or enforceability of any DIP Document or any
  action taken thereunder;

                    (i)     each Loan Party is in compliance in all material respects with the
  requirements of all laws and regulations and all orders, writs, injunctions and decrees applicable
  to it or to its properties, except in such instances in which (a) such requirement of law or regulation
  or order, writ, injunction or decree is being contested in good faith by appropriate proceedings
  diligently conducted or (b) the failure to comply therewith, either individually or in the aggregate,
  could not reasonably be expected to have a Material Adverse Effect;

                  (j)   none of the Loan Parties is an “investment company”, “affiliated person”,
  “promoter” of, or “principal underwriter” of or for, an “investment company”, as such terms are
  defined in the Investment Company Act of 1940, as amended;

                  (k)     no Loan Party, nor, to the knowledge of the Loan Parties, any director,
  officer, employee, agent, affiliate or representative thereof, is an individual or entity that is, or is
  owned or controlled by any individual or entity that is, (i) currently the subject or target of any
  Sanctions or (ii) located, organized or resident in a Designated Jurisdiction;

                (l)    since the Petition Date, there has been no event or circumstance that has had
  or would reasonably be expected to have a Material Adverse Effect; and

                  (m)     the Borrower and its Subsidiaries have filed all material federal, state and
  other tax returns and reports required to be filed, and have paid all material federal, state and other
  taxes, assessments, fees and other governmental charges levied or imposed upon them or their
  properties, income or assets otherwise due and payable other than those not yet delinquent or are
  being contested in good faith by appropriate proceedings.

         20.     Agent.

                  (a)     Appointment. Each DIP Lender hereby irrevocably appoints and authorizes
  the Agent to perform the duties of the Agent as set forth in this Note including: (i) to receive on
  behalf of each DIP Lender any payment of principal of or interest on the Term Loans outstanding
  hereunder and all other amounts accrued hereunder for the account of the DIP Lenders and paid to
  the Agent, and to distribute promptly to each DIP Lender its Pro Rata Share of all payments so
  received; (ii) to distribute to each DIP Lender copies of all material notices and agreements
  received by the Agent; (iii) to maintain, in accordance with its customary business practices,
  ledgers and records reflecting the status of the Obligations, the Term Loans, and related matters
  and to maintain, in accordance with its customary business practices, ledgers and records reflecting
  the status of the Collateral and related matters; (iv) to execute or file any and all notices,
  amendments, renewals, supplements, documents, instruments, proofs of claim, notices and other
  written agreements with respect to this Note or any other DIP Document; (v) to perform, exercise,

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  and enforce any and all other rights and remedies of the DIP Lenders with respect to the Borrower,
  the Obligations, or otherwise related to any of same to the extent reasonably incidental to the
  exercise by the Agent of the rights and remedies specifically authorized to be exercised by the
  Agent by the terms of this Note or any other DIP Document; (vi) to incur and pay such fees
  necessary or appropriate for the performance and fulfillment of its functions and powers pursuant
  to this Note or any other DIP Document; and (vii) to take such action as the Agent deems
  appropriate on its behalf to administer the Term Loans and the DIP Documents and to exercise
  such other powers delegated to the Agent by the terms hereof or the other DIP Documents together
  with such powers as are reasonably incidental thereto to carry out the purposes hereof and thereof.
  The Agent may perform any of its duties hereunder or under the other DIP Documents by or
  through any one or more sub-agents or attorneys-in-fact appointed by the Agent. The Agent and
  any such sub-agent or attorney-in-fact may perform any and all of its duties and exercise its rights
  and powers through their respective Related Parties. The exculpatory provisions set forth in this
  Section 20 shall apply to any such sub-agent or attorney-in-fact and the Related Parties of the
  Agent, any such sub-agent and any such attorney-in-fact and shall apply to their respective
  activities in connection with the syndication of the credit facilities provided for herein as well as
  activities as Agent.

                 (b)     Nature of Duties. The Agent shall have no duties or responsibilities except
  those expressly set forth in this Note or in the other DIP Documents.

                (c)     Rights, Exculpation, Etc. The Agent and its directors, officers, agents or
  employees shall not be liable for any action taken or omitted to be taken by them under or in
  connection with this Note or the other DIP Documents, except for their own gross negligence or
  willful misconduct as determined by a final nonappealable judgment of a court of competent
  jurisdiction.

                  (d)     Reliance. The Agent shall be entitled to rely upon any written notices,
  statements, certificates, orders or other documents or any telephone message believed by it in good
  faith to be genuine and correct and to have been signed, sent or made by the proper Person, and
  with respect to all matters pertaining to this Note or any of the other DIP Documents and its duties
  hereunder or thereunder, upon advice of counsel selected by it.

                 (e)     Indemnification. To the extent that the Agent is not reimbursed and
  indemnified by the Borrower, the DIP Lenders will reimburse and indemnify the Agent from and
  against any and all liabilities, obligations, losses, damages, penalties, actions, judgments, suits,
  costs, expenses, advances or disbursements of any kind or nature whatsoever which may be
  imposed on, incurred by, or asserted against the Agent in any way relating to or arising out of this
  Note or any of the other DIP Documents or any action taken or omitted by the Agent under this
  Note or any of the other DIP Documents, in proportion to each DIP Lender’s Pro Rata Share.

                 (f)     Collateral Matters.

                               (1)     The DIP Lenders hereby irrevocably authorize the Agent, to
         release any Lien granted to or held by the Agent upon any Collateral upon cancellation of
         the Note and payment and satisfaction of the Term Loans and all other Obligations which
         have matured and which the Agent has been notified in writing are then due and payable;

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         or constituting property Disposed of in the ordinary course of the Borrower’s business or
         otherwise in compliance with or as permitted by the terms of this Note and the other DIP
         Documents; or if approved, authorized or ratified in writing by the DIP Lenders.

                               (2)     Without in any manner limiting the Agent’s authority to act
         without any specific or further authorization or consent by the DIP Lenders, each DIP
         Lender agrees to confirm in writing, upon request by the Agent, the authority to release
         Collateral conferred upon the Agent under paragraph (f)(1) above.

                   The Agent shall have no obligation whatsoever to any DIP Lender to assure that
  the Collateral exists or is owned by the Loan Parties, or is cared for, protected or insured or has
  been encumbered or that the Lien granted to the Agent pursuant to this Note or any other DIP
  Document has been properly or sufficiently or lawfully created, perfected, protected or enforced
  or is entitled to any particular priority, or to exercise at all or in any particular manner or under
  any duty of care, disclosure or fidelity, or to continue exercising, any of the rights, authorities and
  powers granted or available to the Agent in this section or in any other DIP Document, it being
  understood and agreed that in respect of the Collateral, or any act, omission or event related thereto,
  the Agent may act in any manner it may deem appropriate, in its sole discretion, given the Agent’s
  own interest in the Collateral as one of the DIP Lenders and that the Agent shall have no duty or
  liability whatsoever to any other DIP Lender, except as otherwise provided herein.

                 (g)     Successor Agent.

                                 (1)     The Agent may at any time give at least 30 days prior written
         notice of its resignation to the DIP Lenders and the Borrower. Upon receipt of any such
         notice of resignation, the Required Lenders shall have the right to appoint a successor
         Agent which is reasonably acceptable to the Borrower. If no such successor Agent shall
         have been so appointed by the Required Lenders and shall have accepted such appointment
         within 30 days after the retiring Agent gives notice of its resignation (or such earlier day
         as shall be agreed by the Required Lenders) (the "Resignation Effective Date"), then the
         retiring Agent may (but shall not be obligated to), on behalf of the DIP Lenders, appoint a
         successor Agent. Whether or not a successor Agent has been appointed, such resignation
         shall become effective in accordance with such notice on the Resignation Effective Date.

                                 (2)    With effect from the Resignation Effective Date, (i) the
         retiring Agent shall be discharged from its duties and obligations hereunder and under the
         other DIP Documents (except that in the case of any Collateral held by such Agent on
         behalf of the DIP Lenders under any of the DIP Documents, the retiring Agent shall
         continue to hold such collateral security until such time as a successor Agent is appointed)
         and (ii) all payments, communications and determinations provided to be made by, to or
         through such retiring Agent shall instead be made by or to each DIP Lender directly, until
         such time, if any, as a successor Agent shall have been appointed as provided for
         above. Upon the acceptance of a successor's Agent's appointment as Agent hereunder,
         such successor shall succeed to and become vested with all of the rights, powers, privileges
         and duties of the retiring Agent, and the retiring Agent shall be discharged from all of its
         duties and obligations hereunder or under the other DIP Documents. After the retiring
         Agent's resignation hereunder and under the other DIP Documents, the provisions of this

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         Article, Section 9 and Section 21(b) shall continue in effect for the benefit of such retiring
         Agent, its sub-agents and their respective Related Parties in respect of any actions taken or
         omitted to be taken by it while the retiring Agent was acting as Agent.

         21.     Miscellaneous.

                 (a)     All notices and other communications provided for hereunder shall be in
  writing (including facsimile communication) and mailed, emailed or delivered as follows:

               If to Borrower:          Corsicana Bedding, LLC
                                        1420 W. Mockingbird Land, Suite 800
                                        Dallas, TX 75247
                                        Attn: Eric Rhea
                                        Email: erhea@corsicanamattress.com

               with copies to          Haynes Boone
               (which shall not        301 Commerce Street
               constitute notice):     Suite 2600
                                       Fort Worth, TX 76102
                                       Attn: Steve Pezanosky and Ian Peck
                                       Email: Stephen.pezanosky@haynesboone.com
                                       Ian.peck@haynesboone.com

               If to Agent or any       Blue Torch Finance, LLC
               Lender:                  c/o Blue Torch Capital LP
                                        150 East 58th Street, 18th Floor
                                        New York, New York 10155
                                        Email: BlueTorchAgency@alterdomus.com

               with copies to:          SEI- Blue Torch Capital Loan Ops
                                        1 Freedom Valley Drive
                                        Oaks, Pennsylvania 19456
                                        Email: bluetorch.loanops@seic.com

                                       Schulte Roth & Zabel LLP
                                       919 Third Avenue
                                       New York, New York 10022
                                       Attn: Adam Harris
                                       Email: adam.harris@srz.com


          All such notices and communications shall, when mailed or sent by overnight courier, be
  effective when deposited in the mails or delivered to the overnight courier, as the case may be, or
  when sent by email be effective when confirmation is received.

               (b)    The Borrower shall reimburse the Agent for all reasonable and
  documented out-of-pocket expenses incurred in connection with the negotiation and preparation

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  of the DIP Documents and the obtaining of approval of the DIP Documents by the Bankruptcy
  Court, including fees, costs and expenses of financial and other advisors (provided, that, with
  respect to legal fees and expenses, limited to the legal fees and reasonable and documented out-
  of-pocket costs and expenses of one legal counsel (and one local counsel in each relevant
  jurisdiction)). Subject to the foregoing, the Borrower shall reimburse the Agent for all
  reasonable and documented out-of-pocket fees, costs and expenses (provided, that, with respect
  to legal fees and expenses, limited to the legal fees and reasonable and documented out-of-
  pocket costs and expenses of one legal counsel (and one local counsel in each relevant
  jurisdiction)), including fees, costs and expenses of financial and other advisors, in connection
  with:

                               (1)    any amendment, modification or waiver of, consent with
         respect to, or termination or enforcement of, any of the DIP Documents or advice in
         connection with the administration of the Term Loans made pursuant hereto or its rights
         hereunder or thereunder;

                              (2)    the review of pleadings and documents related to the Chapter
         11 Cases and any subsequent Chapter 7 case, attendance at meetings related to the Chapter
         11 Cases and any subsequent Chapter 7 case, and general monitoring of the Chapter 11
         Cases and any subsequent Chapter 7 case;

                                (3)     any litigation, contest, dispute, suit, proceeding or action
         (whether instituted by the Agent, the Borrower or any other Person, and whether as a party,
         witness or otherwise) in any way relating to the Collateral, any of the DIP Documents or
         any other agreement to be executed or delivered in connection herewith or therewith,
         including any litigation, contest, dispute, suit, case, proceeding or action, and any appeal
         or review thereof, in connection with a case commenced by or against Borrower or any
         other Person that may be obligated to the Agent by virtue of the DIP Documents, including
         any such litigation, contest, dispute, suit, proceeding or action arising in connection with
         any work-out or restructuring of the Term Loans during the pendency of one or more
         Events of Default;

                                (4)    any attempt to enforce any remedies of the Agent against any
         or all of the Borrower or any other Person that may be obligated to the Agent by virtue of
         any of the DIP Documents, including any such attempt to enforce any such remedies in the
         course of any work-out or restructuring of the Term Loans during the pendency of one or
         more Events of Default;

                              (5)   any work-out or restructuring of the Term Loans during the
         pendency of one or more Events of Default; and

                                (6)      any efforts to (A) monitor the Term Loans or any of the other
         Obligations, (B) evaluate, observe or assess any of the Borrower or their respective affairs,
         (C) verify, protect, evaluate, assess, appraise, collect, sell, liquidate or otherwise Dispose
         of any of the Collateral and (D) monitor any sales;

  all of which shall, subject to the Financing Orders, be payable within 10 Business Days of the

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  Borrower’s receipt of an invoice. Without limiting the generality of the foregoing, such expenses,
  costs, charges and fees may include: fees, costs and expenses of accountants, appraisers,
  investment bankers, management and other consultants and paralegals; court costs and expenses;
  photocopying and duplication expenses; court reporter fees, costs and expenses; long distance
  telephone charges; air express charges; and expenses for travel, lodging and food paid or incurred
  in connection with the performance of such legal or other advisory services. All expenses incurred
  by the Agent shall receive super-priority administrative expense status per Section 364 of the
  Bankruptcy Code (subject to the Financing Orders).

                  (c)    No failure or delay on the part of the Agent or any other holder of this Note
  to exercise any right, power or privilege under this Note and no course of dealing between
  Borrower and the Agent shall impair such right, power or privilege or operate as a waiver of any
  default or an acquiescence therein, nor shall any single or partial exercise of any such right, power
  or privilege preclude any other or further exercise thereof or the exercise of any other right, power
  or privilege. The rights and remedies expressly provided in this Note are cumulative to, and not
  exclusive of, any rights or remedies that the Agent would otherwise have. No notice to or demand
  on the Borrower in any case shall entitle the Borrower to any other or further notice or demand in
  similar or other circumstances or constitute a waiver of the right of the Agent to any other or further
  action in any circumstances without notice or demand.

                  (d)     Borrower and any endorser of this Note hereby consent to renewals and
  extensions of time at or after the maturity hereof without notice, and hereby waive diligence,
  presentment, protest, demand and notice of every kind and, to the full extent permitted by law, the
  right to plead any statute of limitations as a defense to any demand hereunder.

                 (e)     If any provision in or obligation under this Note shall be invalid, illegal or
  unenforceable in any jurisdiction, the validity, legality and enforceability of the remaining
  provisions or obligations, or of such provision or obligation in any other jurisdiction, shall not in
  any way be affected or impaired thereby.

            (f)   THIS NOTE AND THE RIGHTS AND OBLIGATIONS OF THE
  BORROWER AND THE AGENT HEREUNDER SHALL BE GOVERNED BY, AND
  SHALL BE CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE
  INTERNAL LAWS OF THE STATE OF NEW YORK (INCLUDING WITHOUT
  LIMITATION SECTION 5-1401 OF THE GENERAL OBLIGATIONS LAW OF THE
  STATE OF NEW YORK), WITHOUT REGARD TO CONFLICTS OF LAWS
  PRINCIPLES AND, TO THE EXTENT APPLICABLE, THE BANKRUPTCY CODE.

                  (g)      Each party hereto hereby irrevocably and unconditionally submits, for itself
  and its property, to the exclusive jurisdiction of the Bankruptcy Court and, if the Bankruptcy Court
  does not have (or abstains from) jurisdiction, the Supreme Court of the State of New York sitting
  in New York County and of the United States District Court of the Southern District of New York,
  and any appellate court from any thereof, in any action or proceeding arising out of or relating to
  this Note or any DIP Document, and each of the parties hereto hereby irrevocably and
  unconditionally agrees that all claims in respect of any such action or proceeding may be heard
  and determined in such New York State or, to the extent permitted by law, in such Federal court.


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                  (h)     THE BORROWER AND, BY THEIR ACCEPTANCE OF THIS
  NOTE, THE AGENT, ANY DIP LENDER AND ANY SUBSEQUENT HOLDER OF THIS
  NOTE, HEREBY IRREVOCABLY AGREE TO WAIVE THEIR RESPECTIVE RIGHTS
  TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR
  ARISING OUT OF THIS NOTE OR ANY DEALINGS BETWEEN THEM RELATING TO
  THE SUBJECT MATTER OF THIS NOTE AND THE AGENT’S/BORROWER
  RELATIONSHIP THAT IS BEING ESTABLISHED. The scope of this waiver is intended to
  be all-encompassing of any and all disputes that may be filed in any court and that relate to the
  subject matter of this transaction, including without limitation contract claims, tort claims, breach
  of duty claims and all other common law and statutory claims. The Borrower and, by their
  acceptance of this Note, the Agent, any DIP Lender and any subsequent holder of this Note, each
  (i) acknowledges that this waiver is a material inducement to enter into a business relationship,
  that each has already relied on this waiver in entering into this relationship, and that each will
  continue to rely on this waiver in their related future dealings and (ii) further warrants and
  represents that each has reviewed this waiver with its legal counsel and that each knowingly and
  voluntarily waives its jury trial rights following consultation with legal counsel. THIS WAIVER
  IS IRREVOCABLE, MEANING THAT IT MAY NOT BE MODIFIED EITHER ORALLY
  OR IN WRITING) THIS WAIVER SHALL APPLY TO ANY SUBSEQUENT
  AMENDMENTS, RENEWALS, SUPPLEMENTS OR MODIFICATIONS OF THIS
  NOTE. In the event of litigation, this provision may be filed as a written consent a trial by the
  court.

                  (i)     The Borrower shall not have the right to assign their obligations or liabilities
  under this Note without the prior written consent of the Agent. The DIP Lenders may, with the
  prior written consent of the Agent and to the extent no Event of Default then exists the Borrower
  (which consent of the Borrower shall not be required for any assignment to the Agent, a DIP
  Lender, a Related Fund or an affiliate of the Agent or a DIP Lender or which consent shall not be
  unreasonably conditioned, withheld or delayed), assign to one or more entitles all or any part of,
  or may grant participation’s to one or more entities in or to all or any part of, the amounts
  outstanding hereunder, and to the extent of any such assignment or participation (unless otherwise
  stated therein) the assignee or participant shall have the same rights and benefits hereunder as it
  would have if it were a DIP Lender hereunder. An assigning DIP Lender shall deliver to the Agent
  (and notify the Borrower thereof) an assignment agreement in a form approved by the Agent,
  which shall include a description of the assignment and include customary instructions from the
  DIP Lender and such assignee with respect to the making of payments and other communications
  with the DIP Lender and such assignee, together with a processing and recordation fee of $3,500
  and all documentation and other information required by regulatory authorities under applicable
  “know your customer” and anti-money laundering rules and regulations.

                 (j)    The Agent shall, acting solely for this purpose as a non-fiduciary agent of
  Borrower, maintain, or cause to be maintained at one of its offices, a copy of each assignment
  notice delivered to and accepted by it and a register (the “Register”) for the recordation of the
  names and addresses of the Persons, if any, that take an assignment from it and the principal
  amount of the Term Loans and stated interest thereon (the “Registered Loans”) owing to each DIP
  Lender from time to time. The entries in the Register shall be conclusive and binding for all
  purposes, absent manifest error, and the Borrower and the Agent may treat each Person whose
  name is recorded in the Register as a DIP Lender hereunder for all purposes of this Note. The
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  Register shall be available for inspection by Borrower and the DIP Lenders at any reasonable time
  and from time to time upon reasonable prior written notice.

                 (k)     Upon receipt by the Agent of an assignment notice, subject to the consent
  rights in clause (i) above, the Agent shall accept such assignment and record the information
  contained therein in the Register.

                  (l)    A Registered Loan may be assigned or sold in whole or in part only by
  registration of such assignment or sale on the Register. Any assignment or sale of all or part of
  such Registered Loan may be effected only by registration of such assignment or sale on the
  Register. Prior to the registration of assignment or sale of any Registered Loan, the Agent shall
  treat the Person in whose name such Registered Loan is registered as the owner thereof for the
  purpose of receiving all payments thereon and for all other purposes, notwithstanding notice to the
  contrary.

                  (m)    In the event that a DIP Lender sells participations in a Registered Loan, such
  DIP Lender shall maintain a register for this purpose as a non-fiduciary agent of Borrower on
  which it enters the name of all participants in the Registered Loans held by it and the principal
  amount (and stated interest thereon) of the portion of the Registered Loan that is the subject of the
  participation (the “Participant Register”). A Registered Loan may be participated in whole or in
  part only by registration of such participation on the Participant Register. Any participation of
  such Registered Loan may be effected only by the registration of such participation on the
  Participant Register. The Participant Register shall be available for inspection by the Borrower
  and the DIP Lenders at any reasonable time and from time to time upon reasonable prior notice.

              (n)    No provision of this Note may be amended or waived unless such
  amendment or waiver is in writing and is signed by the Borrower, the Agent and the Required
  Lenders.

                  (o)    This Note may be executed and delivered in any number of counterparts,
  and by different parties hereto on separate counterparts, each of which when so executed and
  delivered shall be deemed to be an original and all of which counterparts taken together shall
  constitute one and the same instrument. Execution of this Note via facsimile or electronic mail
  shall be effective, and signatures received via facsimile or electronic mail shall be binding upon
  the parties hereto and shall be effective as originals. The parties hereto irrevocably and
  unreservedly agree that this Note may be executed by way of electronic signatures and the parties
  agree that neither this Note, nor any part hereof, shall be challenged or denied any legal effect,
  validity and/or enforceability solely on the ground that it is in the form of an electronic record.

                  (p)    This Note, the other DIP Documents, and all Liens created hereby or
  pursuant to the Collateral Documents or any other DIP Document shall be binding upon the
  Borrower and each other Loan Party, the estates of the Borrower, and any trustee or successor in
  interest of the Borrower and each other Loan Party in the Chapter 11 Case or any subsequent case
  commenced under Chapter 7 of the Bankruptcy Code, and shall not be subject to Section 365 of
  the Bankruptcy Code. This Note and the other DIP Documents and the Financing Orders shall be
  binding upon, and inure to the benefit of, the successors of the Agent and the DIP Lenders and
  each of their respective permitted assigns, transferees and endorsees. The Liens created by this

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  Note, and the other DIP Documents shall be and remain valid and perfected in the event of the
  substantive consolidation or conversion of the Chapter 11 Case or any other bankruptcy case of
  any Loan Party to a case under chapter 7 of the Bankruptcy Code or in the event of dismissal of
  the Chapter 11 Case or the release of any Collateral from the jurisdiction of the Bankruptcy Court
  for any reason, without the necessity that the Agent file financing statements or otherwise perfect
  its security interests or Liens under applicable law.

                (q)    In the event of any inconsistency between the terms and conditions of this
  Note and the Financing Orders, the provisions of the Financing Orders shall govern and control.

             (r)   THIS WRITTEN PROMISSORY NOTE REPRESENTS THE FINAL
  AGREEMENT BETWEEN THE PARTIES, AND MAY NOT BE CONTRADICTED BY
  EVIDENCE OF PRIOR, CONTEMPORANEOUS OR SUBSEQUENT ORAL AGREEMENTS
  OF THE PARTIES. THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE
  PARTIES.

                                        *    *     *      *   *




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                  IN WITNESS WHEREOF, the Borrower has caused this Note to be executed and
  delivered by its duly authorized officer as of the day and year and at the place first above written.


                                                CORSICANA BEDDING, LLC, as Debtor and
                                                Debtor in Possession

                                                By: ____________________________________
                                                    Name:
                                                    Title




                                      [Signature Page to DIP Note]
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   Acknowledged and Agreed

   BLUE TORCH FINANCE, LLC, as Agent

   By: ____________________________________
       Name: Kevin Genda
       Title: Authorized Signer

   LENDERS:
                                       BTC HOLDINGS FUND II LLC

                                       By: Blue Torch Credit Opportunities Fund II LP, its
                                       sole member
                                       By: Blue Torch Credit Opportunities GP II LLC, its
                                       general partner
                                       By: KPG BTC Management LLC, its sole member


                                       By: ______________________________
                                       Name: Kevin Genda
                                       Title: Authorized Signer

                                       BTC HOLDINGS SBAF FUND LLC

                                       By: Blue Torch Credit Opportunities SBAF Fund
                                       LP, its sole member
                                       By: Blue Torch Credit Opportunities SBAF GP
                                       LLC, its general partner
                                       By: KPG BTC Management LLC, its sole member


                                       By: ______________________________
                                       Name: Kevin Genda
                                       Title: Authorized Signer




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                                       BTC HOLDINGS KRS FUND LLC

                                       By: Blue Torch Credit Opportunities KRS Fund LP,
                                       its sole member
                                       By: Blue Torch Credit Opportunities KRS GP LLC,
                                       its general partner
                                       By: KPG BTC Management LLC, its sole member


                                       By: ______________________________
                                       Name: Kevin Genda
                                       Title: Authorized Signer
                                       BTC OFFSHORE HOLDINGS FUND II-B LLC

                                       By: Blue Torch Offshore Credit Opportunities
                                       Master Fund II LP, its Sole Member
                                       By: Blue Torch Offshore Credit Opportunities GP II
                                       LLC, its General Partner
                                       By: KPG BTC Management LLC, its sole member


                                       By: __________________________
                                       Name: Kevin Genda
                                       Title: Authorized Signer

                                       BTC HOLDINGS SC FUND LLC

                                       By: Blue Torch Credit Opportunities SC Master
                                       Fund LP, its sole member
                                       By: Blue Torch Credit Opportunities SC GP LLC,
                                       its general partner
                                       By: KPG BTC Management LLC, its sole member


                                       By: ______________________________
                                       Name: Kevin Genda
                                       Title: Authorized Signer




                               [Signature Page to DIP Note]
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                                       SWISS CAPITAL BTC OL PRIVATE DEBT
                                       OFFSHORE SP
                                       A SEGREGATED PORTFOLIO OF SWISS
                                       CAPITAL PRIVATE DEBT (OFFSHORE) FUNDS
                                       SPC


                                       By:___________________________
                                       Name: Kevin Genda
                                       Title: Authorized Signatory of Blue Torch Capital
                                       LP in its capacity as investment manager to SWISS
                                       CAPITAL BTC OL PRIVATE DEBT OFFSHORE
                                       SP

                                       Swiss Capital BTC OL Private Debt Fund L.P.


                                       By:
                                       Name: Kevin Genda, in his capacity as authorized
                                       signatory of Blue Torch Capital LP, as agent and
                                       attorney-in-fact for Swiss Capital BTC OL Private
                                       Debt Fund L.P.




                               [Signature Page to DIP Note]
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  Protective Advance Holders:

                                        BLUE TORCH CREDIT OPPORTUNITIES
                                        SBAF FUND LP

                                        By: Blue Torch Credit Opportunities SBAF GP LLC,
                                        its general partner
                                        By: KPG BTC Management LLC, its sole member


                                        By: _______________________________
                                        Name: Kevin Genda
                                        Title: Authorized Signer

                                        BLUE TORCH CREDIT OPPORTUNITIES SC
                                        MASTER FUND LP

                                        By: Blue Torch Credit Opportunities SC GP LLC, its
                                        general partner
                                        By: KPG BTC Management LLC, its sole member


                                        By: ______________________________
                                        Name: Kevin Genda
                                        Title: Authorized Signer

                                        BLUE TORCH OFFSHORE CREDIT
                                        OPPORTUNITIES MASTER FUND II LP

                                        By: Blue Torch Offshore Credit Opportunities GP II
                                        LLC, its General Partner
                                        By: KPG BTC Management LLC, its sole member


                                        By: ______________________________
                                        Name: Kevin Genda
                                        Title: Authorized Signer




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                                       BLUE TORCH CREDIT OPPORTUNITIES
                                       FUND II LP

                                       By: Blue Torch Credit Opportunities GP II LLC, its
                                       general partner
                                       By: KPG BTC Management LLC, its sole member


                                       By: ______________________________
                                       Name: Kevin Genda
                                       Title: Authorized Signer

                                       BLUE TORCH CREDIT OPPORTUNITIES KRS
                                       FUND LP

                                       By: Blue Torch Credit Opportunities KRS GP LLC,
                                       its general partner
                                       By: KPG BTC Management LLC, its sole member


                                       By: _______________________________
                                       Name: Kevin Genda
                                       Title: Authorized Signer

                                       SWISS CAPITAL BTC OL PRIVATE DEBT
                                       OFFSHORE SP
                                       A SEGREGATED PORTFOLIO OF SWISS
                                       CAPITAL PRIVATE DEBT (OFFSHORE) FUNDS
                                       SPC


                                       By:___________________________
                                       Name: Kevin Genda
                                       Title: Authorized Signatory of Blue Torch Capital LP
                                       in its capacity as investment manager to SWISS
                                       CAPITAL BTC OL PRIVATE DEBT OFFSHORE
                                       SP

                                       Swiss Capital BTC OL Private Debt Fund L.P.


                                       By:___________________________
                                       Name: Kevin Genda, in his capacity as authorized
                                       signatory of Blue Torch Capital LP, as agent and
                                       attorney-in-fact for Swiss Capital BTC OL Private
                                       Debt Fund L.P.



                               [Signature Page to DIP Note]
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                                              Schedule I


          Deliver (which delivery may be made by electronic communication (including email)) to
  the Agent, the monthly reports and quarterly reports and other information required by Section
  7.01(a) (commencing with the fiscal quarter ending June 30, 2022) of the Prepetition Term Loan
  Agreement (and the defined terms used in such sections and defined in the Prepetition Term Loan
  Agreement shall have the meanings given such terms therein, unless any such term is also defined
  herein, in which case each such defined term used in such definition shall have the meaning
  provided herein) (whether or not such agreement remains in effect and without giving effect to any
  amendments or other modifications thereto made after the Closing Date unless the Agent shall
  otherwise agree) and each of the financial statements, reports, or other items set forth below at the
  following times in form reasonably satisfactory to the Agent:

   on July 7, 2022 and every (a)        a certificate which shall include such detail as is
   Thursday of each week ending reasonably satisfactory to the Agent (i) certifying that the
   thereafter                   Loan Parties are in compliance with the covenants contained
                                in Section 15(j) and (ii) certifying that no Default or Event of
                                Default has occurred or, if such a Default or Event of Default
                                has occurred, specifying the nature and extent thereof and any
                                corrective action taken or proposed to be taken with respect
                                thereto, and attaching thereto the Approved Budget Variance
                                Report which shall be prepared by the Borrower as of the last
                                day of the most recently ended Variance Testing Period,

   on July 14, 2022 and every (b)      a revised proposed budget (it being understood that
   Thursday of each week ending upon written approval of such proposed budget by the Agent
   thereafter                   (and not before such written approval), in its sole discretion,
                                such proposed budget shall become the “Approved Budget”
                                and provided that until such time as such proposed budget
                                becomes the Approved Budget, the prior Approved Budget
                                shall continue to be the Approved Budget) and timing
                                changes with respect to any periods that were included in a
                                previously delivered report and which shall be in form and
                                substance acceptable to the Agent and DIP Lenders,

   promptly, to the          extent (c)    copies of all material pleadings, motions, applications
   reasonably feasible,             or financial information filed by any Loan Party with the
                                    Bankruptcy Court; provided that any such documents that are
                                    publicly available shall be deemed to have been delivered,

   promptly, but in any event (d)       notice of such event or condition and a statement of
   within five (5) Business Days the curative action that Borrower proposes to take with
   after Borrower has knowledge respect thereto, and
   of any event or condition that
   constitutes a Default,
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   Promptly following delivery (e)     copies of all borrowing base certificates, notices and
   thereof,                    other information delivered to any Prepetition Secured
                               Parties, and

   upon the reasonable request of (f)     any other information relating to the business,
   the Agent,                     financial, legal or corporate affairs of the Borrower or its
                                  Subsidiaries.
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                                         Schedule II

                                        Commitments

                                Term Loan Principal Amounts

  Fund                                   Allocation %          Allocation Amount

  BTC Holdings Fund II LLC                        28.06%                    4,208,340.23
  BTC Offshore Holdings Fund II-B
  LLC                                             26.10%                    3,915,723.92
  BTC Holdings SC Fund LLC                        10.87%                    1,630,489.99
  BTC Holdings SBAF Fund LLC                      14.39%                    2,158,561.64
  BTC Holdings KRS Fund LLC                        9.82%                    1,472,900.88
  Swiss Capital BTC OL Private Debt
  Fund L.P.                                        6.62%                     993,220.52
  Swiss Capital BTC OL Private Debt
  Offshore SP                                      4.14%                     620,762.82



                                                                           15,000,000.00

                                 Protective Advance Amounts

  Fund                                   Allocation %          Allocation Amount

  Blue Torch Credit Opportunities
  Fund II, LP                                     28.06%                     841,668.05
  Blue Torch Offshore Credit
  Opportunities Master Fund II, LP                26.10%                     783,144.78
  Blue Torch Credit Opportunities SC
  Master Fund LP                                  10.87%                     326,098.00
  Blue Torch Credit Opportunities
  SBAF Fund LP                                    14.39%                     431,712.33
  Blue Torch Credit Opportunities KRS
  Master Fund LP                                   9.82%                     294,580.18
  Swiss Capital BTC OL Private Debt
  Fund L.P.                                        6.62%                     198,644.10
  Swiss Capital BTC OL Private Debt
  Offshore SP                                      4.14%                     124,152.56



                                                                            3,000,000.00
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                                     EXHIBIT A

                                      (Budget)
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                                    EXHIBIT C
                                 (Approved Budget)




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DIP Budget                                                                                                                                                                                        Unaudited

Consolidated 13 Week Cash Flow
                                         EST         FCST       FCST       FCST       FCST        FCST         FCST       FCST        FCST        FCST        FCST        FCST        FCST         FCST        FCST        FCST
 Values in $000s                        Wk 0         Wk 1       Wk 2       Wk 3       Wk 4        Wk 5         Wk 6       Wk 7        Wk 8        Wk 9       Wk 10        Wk 11       Wk 12        Wk 13       FINAL       Total
 Week Ending                           6/25/22      7/2/22     7/9/22     7/16/22    7/23/22     7/30/22      8/6/22     8/13/22     8/20/22     8/27/22     9/3/22      9/10/22     9/17/22      9/24/22      FINAL
Total Gross Sales                        4,738        5,384      4,526      4,776       4,917       4,888       5,075       5,381       5,416       5,098      5,583        5,311                                          56,355
Total Net Sales                          4,371        4,999      4,232      4,491       4,619       4,590       4,771       5,046       5,074       4,758      5,228        4,988                                          52,796

Total Cash Receipts                       3,903      3,342      3,261       3,257      3,093       4,452        4,682      4,745       4,578       4,659       4,989       4,998                                           46,056

Operating Disbursements
Materials Purchase                        (1,980)    (3,909)    (2,857)    (2,902)     (2,866)     (2,587)     (2,524)     (3,005)     (2,778)     (2,736)    (2,630)      (2,666)            ‐            ‐           ‐   (31,461)
Payroll & Benefits                        (1,168)    (1,194)    (1,341)      (621)     (1,160)     (1,101)     (1,116)       (661)     (1,185)       (696)    (1,630)        (737)            ‐            ‐           ‐   (11,443)
Freight                                     (861)      (877)      (669)      (848)       (780)       (812)       (568)       (493)       (527)       (529)      (536)        (687)            ‐            ‐           ‐    (7,325)
Insurance                                      ‐       (301)         ‐        (63)       (146)          ‐        (155)        (63)          ‐           ‐        (11)           ‐             ‐            ‐           ‐      (739)
Rents & Utilities                              ‐       (587)       (45)       (45)       (205)       (156)       (543)        (45)        (45)        (45)      (543)         (45)            ‐            ‐           ‐    (2,304)
Other                                       (383)      (379)      (405)      (304)       (304)       (779)       (499)       (329)       (329)       (329)      (499)        (329)            ‐            ‐           ‐    (4,488)
Total Operating Disbursements             (4,392)    (7,248)    (5,316)    (4,783)     (5,461)     (5,436)     (5,405)     (4,597)     (4,864)     (4,335)    (5,850)      (4,465)        ‐            ‐           ‐       (57,760)

Oper. CF Before Debt Svc & Pro Fees        (489)     (3,906)    (2,056)    (1,527)     (2,368)      (983)        (723)       149        (286)        324        (861)        534              ‐            ‐           ‐   (11,704)

Debt Service, Mgt Fees and Pro Fees
Debt Service / WS Interest                    ‐       (225)         ‐           ‐          ‐           ‐         (160)         ‐           ‐           ‐        (195)         (65)            ‐            ‐           ‐      (644)
DIP Origination / Interest                    ‐          ‐          ‐           ‐          ‐           ‐         (186)         ‐           ‐           ‐        (135)         (45)            ‐            ‐           ‐      (366)
UCC                                           ‐        (27)       (27)        (27)       (27)        (27)         (27)       (27)        (27)        (27)        (27)         (27)            ‐            ‐           ‐      (300)
KEIP                                          ‐          ‐          ‐           ‐          ‐           ‐            ‐          ‐           ‐           ‐           ‐         (360)            ‐            ‐           ‐      (360)
Lender Professionals                          ‐       (600)      (234)          ‐          ‐           ‐            ‐       (517)          ‐           ‐           ‐         (467)            ‐            ‐           ‐    (1,818)
Debtor Professionals                       (334)      (303)      (303)       (403)      (303)       (253)        (253)      (353)       (253)       (228)       (228)      (1,078)            ‐            ‐           ‐    (3,958)
Claims Agent                                (18)       (52)       (42)        (20)       (20)        (20)         (20)       (20)        (20)        (20)        (20)         (20)            ‐            ‐           ‐      (274)
UST Fees                                      ‐          ‐          ‐           ‐          ‐        (100)           ‐          ‐           ‐           ‐           ‐         (503)            ‐            ‐           ‐      (603)
Debt Svc, Mgt Fees and Pro Fees            (352)     (1,207)     (606)       (450)      (350)       (400)        (646)      (917)       (300)       (275)       (605)      (2,565)            ‐            ‐           ‐    (8,323)

Net Cash Flow After Debt Svc & Other       (841)     (5,113)    (2,662)    (1,977)     (2,719)     (1,384)     (1,370)      (769)       (586)         49      (1,466)      (2,031)            ‐            ‐           ‐   (20,027)

Outside Capital Contributions
Capital Contributions                          ‐          ‐          ‐          ‐           ‐           ‐           ‐           ‐           ‐           ‐          ‐            ‐             ‐            ‐           ‐            ‐

Total Disbursements                       (4,744)    (8,455)    (5,922)    (5,233)     (5,811)     (5,836)     (6,052)     (5,514)     (5,165)     (4,610)    (6,455)      (7,029)            ‐            ‐           ‐   (66,083)

Net Cash Flow                              (841)     (5,113)    (2,662)    (1,977)     (2,719)     (1,384)     (1,370)       (769)       (586)         49     (1,466)      (2,031)          ‐            ‐           ‐     (20,027)
Cumulative NCF                                ‐      (5,113)    (7,774)    (9,751)    (12,470)    (13,853)    (15,223)    (15,992)    (16,578)    (16,530)   (17,996)     (20,027)    (20,027)     (20,027)    (20,027)

Beginning Book Cash                          549        400        400        400         400         400         400         400         400         400        400          400        400           400        400          448
Net Cash Flow                               (841)    (5,113)    (2,662)    (1,977)     (2,719)     (1,384)     (1,370)       (769)       (586)         49     (1,466)      (2,031)         ‐             ‐          ‐      (20,027)
Revolver Paydown Sweeps                   (3,903)    (3,342)    (3,261)    (3,257)     (3,093)     (4,452)     (4,682)     (4,745)     (4,578)     (4,659)    (4,989)      (4,998)         ‐             ‐          ‐      (46,056)
Revolver Draws                             4,594      8,451      4,949      4,402       4,472       4,625       4,812       5,018       5,010       4,606      5,324        4,991          ‐             ‐          ‐       56,660
BT DIP Draws                                   ‐          ‐        973        831       1,339       1,211       1,239         496         155           4      1,131        2,039          ‐             ‐          ‐        9,418
Bank Variance Adjustment                       0          0          ‐          ‐           0           0          (0)         (0)          ‐           0          ‐            ‐         (0)            0         (0)           0
Ending Book Cash                             400        396        400        400         400         400         400         400         400         400        400          400        400           400        400          444




                                                                                                             6/24/2022 2:13 PM                                                                                                     Page 1 of 2
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DIP Budget                                                                                                                                                                                      Unaudited

Consolidated 13 Week Cash Flow
                                          EST        FCST       FCST       FCST       FCST        FCST          FCST         FCST       FCST       FCST       FCST          FCST       FCST      FCST       FCST        FCST
Values in $000s                          Wk 0        Wk 1       Wk 2       Wk 3       Wk 4        Wk 5          Wk 6         Wk 7       Wk 8       Wk 9      Wk 10          Wk 11      Wk 12     Wk 13      FINAL       Total
Week Ending                             6/25/22     7/2/22     7/9/22     7/16/22    7/23/22     7/30/22       8/6/22       8/13/22    8/20/22    8/27/22    9/3/22        9/10/22    9/17/22   9/24/22     FINAL

Wingspire Pre‐Petition Loan Balances
Beginning Loan Balance                    17,500           ‐          ‐          ‐           ‐            ‐             ‐         ‐          ‐          ‐             ‐          ‐          ‐          ‐            ‐    17,500
Less: Revolver Paydown                   (17,500)          ‐          ‐          ‐           ‐            ‐             ‐         ‐          ‐          ‐             ‐          ‐          ‐          ‐            ‐   (17,500)
Plus: Revolver Draws                           ‐           ‐          ‐          ‐           ‐            ‐             ‐         ‐          ‐          ‐             ‐          ‐          ‐          ‐            ‐         ‐
Ending Loan Balance                            ‐           ‐          ‐          ‐           ‐            ‐             ‐         ‐          ‐          ‐             ‐          ‐          ‐          ‐            ‐         ‐

Wingspire Post‐Petition DIP Loan Balances
Beginning Loan Balance                 16,808        17,500     22,608     24,297      25,443      26,822       26,995       27,125     27,398     27,829     27,777        28,112     28,104     28,104    28,104       17,500
Less: Revolver Paydown                  (3,903)      (3,342)    (3,261)    (3,257)     (3,093)     (4,452)      (4,682)      (4,745)    (4,578)    (4,659)    (4,989)       (4,998)         ‐          ‐         ‐      (46,056)
Plus: Revolver Draws                   17,500
                                         4,594        8,451      4,949      4,402       4,472       4,625        4,812        5,018      5,010      4,606      5,324         4,991          ‐          ‐         ‐       56,660
Ending Loan Balance                    17,500        22,608     24,297     25,443      26,822      26,995       27,125       27,398     27,829     27,777     28,112        28,104     28,104     28,104    28,104       28,104

BT Protective Advance Loan Balance
Beginning Loan Balance                     3,000           ‐          ‐          ‐           ‐            ‐             ‐         ‐          ‐          ‐             ‐          ‐          ‐          ‐            ‐     3,000
Plus: Draws                                    ‐           ‐          ‐          ‐           ‐            ‐             ‐         ‐          ‐          ‐             ‐          ‐          ‐          ‐            ‐         ‐
Less: Paydowns                            (3,000)          ‐          ‐          ‐           ‐            ‐             ‐         ‐          ‐          ‐             ‐          ‐          ‐          ‐            ‐    (3,000)
Ending Loan Balance                            ‐           ‐          ‐          ‐           ‐            ‐             ‐         ‐          ‐          ‐             ‐          ‐          ‐          ‐            ‐         ‐

BT DIP Loan Balance
Beginning Loan Balance                         ‐      3,000      3,000      3,973       4,804        6,143       7,354        8,594      9,090      9,245      9,249        10,379     12,418     12,418    12,418       3,000
Plus: Draws                               3,000‐          ‐        973        831       1,339        1,211       1,239          496        155          4      1,131         2,039          ‐          ‐         ‐       9,418
Less: Paydowns                                 ‐          ‐          ‐          ‐           ‐            ‐           ‐            ‐          ‐          ‐          ‐             ‐          ‐          ‐         ‐           ‐
Ending Loan Balance                       3,000       3,000      3,973      4,804       6,143        7,354       8,594        9,090      9,245      9,249     10,379        12,418     12,418     12,418    12,418      12,418

Global Notes:
1) All items after week 11 remain subject further review, analysis, and ongoing discussion with the proposed stalking horse bidder.
2) Ending balances as of 6/25/22 are preliminary estimate subject to final cash reconciliation.




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                                              EXHIBIT D
                                              (Milestones)



  (i) No later than 3 Business Days after the Petition Date, the Interim Order approving the DIP
  Facilities and the adequate protection of the Prepetition Liens shall be entered by the Bankruptcy
  Court;

  (ii) No later than 3 Business Days following the Petition Date, the Debtors shall file the Sale
  Motion, which motion shall be in form and substance reasonably acceptable to the DIP Agents;

  (iii) No later than 35 days after the Petition Date, the Final Order approving the DIP Facilities and
  the adequate protection of the Prepetition Liens shall be entered by the Bankruptcy Court;

  (iv) No later than 35 days after the Petition Date the Bankruptcy Court shall have entered an order
  approving bid and auction procedures, in form and substance reasonably acceptable to the DIP
  Secured Parties;

  (v) If the asset purchase agreement provided by the stalking horse bidder in connection with the
  Sale Motion does not provide for the payment in full in cash of the DIP Revolver Facility (and the
  Prepetition ABL Facility to the extent any amounts remain due and owing thereunder), then no
  later than the later of 50 days after the Petition Date or 3 Business Days prior to the deadline for
  objecting to the approval of the sale of all or substantially all of the Debtors’ assets, the stalking
  horse bidder shall have provided a commitment letter for replacement/refinancing of the DIP
  Revolver Facility (and the Prepetition ABL Facility to the extent any amounts remain due and
  owing thereunder), in form and substance reasonably acceptable to the DIP Revolver
  Administrative Agent and DIP Revolver Lenders. For the avoidance of doubt, Wingspire may
  provide such commitment letter;

  (vi) No later than 60 days after the Petition Date the Bankruptcy Court shall have entered one or
  more orders authorizing and approving the sale of all or substantially all of the Debtors’ assets
  pursuant to one or a series of related or unrelated transactions, and such order(s) shall be in a form
  and substance reasonably acceptable to the DIP Secured Parties; and

  (vii) No later than 75 days after the Petition Date the approved sale(s) of all or substantially all of
  the Debtors’ assets shall have been consummated.




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                                                     EXHIBIT E

                                      Lien and Superpriority Claim Priority


    Order         Prepetition ABL        Prepetition Term        Non-Lender         Unencumbered     Superpriority
      of         Priority Collateral          Priority           Encumbered            Assets           Claims
   Priority    (whether in existence         Collateral            Assets
                on the Petition Date        (whether in
               or thereafter arising)     existence on the
                                          Petition Date or
                                        thereafter arising)

      1st         Carve Out and          Carve Out and           Non-Lender           Carve Out     Carve Out and
                  Permitted Liens        Permitted Liens        Existing Liens                      Permitted Liens

     2nd       Revolver DIP Liens        DIP Term Loan            Carve Out         Revolver DIP       Revolver
                                             Liens                                  Liens and DIP    Superpriority
                                                                                     Term Loan      Claim and DIP
                                                                                        Liens         Term Loan
                                                                                                     Superpriority
                                                                                                        Claim

     3rd       Prepetition ABL Liens     Prepetition Term       Revolver DIP         Prepetition    Prepetition ABL
                                            Loan Liens          Liens and DIP       ABL Adequate       Adequate
                                                               Term Loan Liens       Protection        Protection
                                                                                      Liens and       Claims and
                                                                                     Prepetition       Prepetition
                                                                                     Term Loan        Term Loan
                                                                                      Adequate         Adequate
                                                                                     Protection        Protection
                                                                                        Liens            Claims

     4th         Prepetition ABL         Prepetition Term      Prepetition ABL
                Adequate Protection           Loan                 Adequate
                      Liens                 Adequate           Protection Liens
                                         Protection Liens       and Prepetition
                                                                  Term Loan
                                                              Adequate Protection
                                                                    Liens

     5th       DIP Term Loan Liens        Revolver DIP
                                             Liens

     6th       Prepetition Term Loan     Prepetition ABL
                        Liens                 Liens

     7th       Prepetition Term Loan     Prepetition ABL
                Adequate Protection         Adequate
                        Liens            Protection Liens




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